     Case 5:15-md-02617-LHK         Document 315-4    Filed 10/19/15   Page 1 of 213



 1   ALTSHULER BERZON LLP
     EVE CERVANTEZ (SBN 164709)
 2   ecervantez@altshulerberzon.com
     JONATHAN WEISSGLASS (SBN 185008)
 3   jweissglass@altshulerberzon.com
     177 Post Street, Suite 300
 4   San Francisco, CA 94108
     Telephone: (415) 421-7151
 5   Facsimile: (415) 362-8064
 6   COHEN MILSTEIN SELLERS & TOLL PLLC
     ANDREW N. FRIEDMAN (admitted pro hac vice)
 7   afriedman@cohenmilstein.com
     SALLY M. HANDMAKER (SBN 281186)
 8   shandmaker@cohenmilstein.com
     ERIC KAFKA (admitted pro hac vice)
 9   ekafka@cohenmilstein.com
     1100 New York Ave. NW
10   Suite 500, West Tower
     Washington, DC 20005
11   Telephone: (202) 408-4600
     Facsimile: (202) 408-4699
12
     Lead Plaintiffs’ Counsel
13

14                                UNITED STATES DISTRICT COURT
     Plaintiffs’ Interim Lead Class Counsel
15                              NORTHERN DISTRICT OF CALIFORNIA
16                                        SAN JOSE DIVISION
17                                               Case No: 15-md-02617-LHK
     In Re Anthem, Inc. Data Breach Litigation
18                                               CONSOLIDATED AMENDED CLASS
                                                 ACTION COMPLAINT
19

20                                               DEMAND FOR JURY TRIAL
21                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
22

23

24

25

26
27

28

                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                           Document 315-4                   Filed 10/19/15               Page 2 of 213



 1                                                          TABLE OF CONTENTS
 2   I. INTRODUCTION ..........................................................................................................................1
 3
     II. JURISDICTION AND VENUE....................................................................................................3
 4
     III. PARTIES .....................................................................................................................................3
 5
          A. Plaintiffs .................................................................................................................................3
 6

 7        B. Defendants .............................................................................................................................42

 8   IV. STATEMENT OF FACTS ..........................................................................................................46

 9        A. The Anthem Database ............................................................................................................46
10
          B. Defendants Promised To Protect Personal Information.........................................................47
11
          C. Defendants Had an Obligation to Protect Personal Information under Federal and
12           State Law and the Applicable Standard of Care ....................................................................53

13        D. Defendants Were On Notice of Cyber Attack Threats, and the Inadequacy of Their
             Data Security..........................................................................................................................57
14

15        E. Anthem Allowed a Massive Data Breach ..............................................................................59

16        F. Anthem’s Data Breach Was a Direct Result of Anthem’s Inadequate Data Security ...........67
17        G. Affected Individuals Were Grievously Harmed By The Anthem Data Breach.....................73
18
     V. CLASS ALLEGATIONS .............................................................................................................76
19
          A. Statewide Classes ...................................................................................................................76
20
          B. Federal Employee Class .........................................................................................................76
21

22        C. Certification of the Proposed Classes is Appropriate ............................................................77

23   VI. CAUSES OF ACTION ................................................................................................................80

24               COUNT I – NEGLIGENCE ..................................................................................................80
25               COUNT II – NEGLIGENCE PER SE ...................................................................................82
26
                 COUNT III – BREACH OF CONTRACT ............................................................................83
27
                 COUNT IV – BREACH OF CONTRACT ............................................................................85
28
                                                      i
                               CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                          Document 315-4                 Filed 10/19/15              Page 3 of 213



 1               COUNT V – BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
                    DEALING .......................................................................................................................88
 2

 3               COUNT VI – THIRD-PARTY BENEFICIARY CLAIM FOR BREACH OF CONTRACT
                    UNDER FEDERAL LAW .............................................................................................89
 4
                 COUNT VII – NEGLIGENT MISREPRESENTATION......................................................92
 5
                 COUNT VIII – UNJUST ENRICHMENT ............................................................................93
 6

 7               COUNT IX – STATE CONSUMER PROTECTION LAWS...............................................94

 8                    California
                      CALIFORNIA UNFAIR COMPETITION LAW,
 9                    CAL. BUS. & PROF. CODE § 17200, et seq..................................................................96
10
                      Colorado
11                    COLORADO CONSUMER PROTECTION ACT,
                      COLO. REV. STAT. § 6-1-101, et. seq. ..........................................................................99
12
                      Connecticut
13                    CONNECTICUT UNFAIR TRADE PRACTICES ACT,
                      C.G.S. § 42-110a et seq., .................................................................................................101
14

15                    District of Columbia
                      DISTRICT OF COLUMBIA CONSUMER PROTECTION PROCEDURES ACT,
16                    D.C. CODE § 28-3904, et seq..........................................................................................103
17                    Hawaii
                      HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION STATUTE,
18
                      HAW. REV. STAT. § 480-1, et seq. ...............................................................................105
19
                      Illinois
20                    ILLINOIS CONSUMER FRAUD ACT,
                      815 Ill. COMP. STAT. 505/1 et seq. ...............................................................................107
21

22                    ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                      815 Ill. COMP. STAT. § 510/2(a) et. seq. .......................................................................109
23
                      Indiana
24                    INDIANA DECEPTIVE CONSUMER SALES ACT,
                      IND. CODE § 24-5-0.5-3.................................................................................................110
25

26                    Kentucky
                      KENTUCKY CONSUMER PROTECTION ACT,
27                    KY REV. STAT. § 367.110, et. seq. ...............................................................................112

28
                                                      ii
                               CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                   Document 315-4               Filed 10/19/15            Page 4 of 213



 1               Maine
                 MAINE UNIFORM DECEPTIVE TRADE PRACTICES ACT,
 2               10 ME. REV. STAT. § 1212, et. seq. ..............................................................................114
 3
                 Maryland
 4               MARYLAND CONSUMER PROTECTION ACT,
                 MD CODE COMMERCIAL LAW, § 13-301, et. seq. ...................................................115
 5
                 Massachusetts
 6               MASSACHUSETTS CONSUMER PROTECTION ACT,
 7               MASS. GEN. LAWS ANN. CH. 93A, § 1, et. seq. .........................................................117

 8               Minnesota
                 MINNESOTA CONSUMER FRAUD ACT,
 9               MINN. STAT. § 325F.68, et. seq. AND MINN. STAT. §8.31, et. seq. ..........................119
10
                 MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
11               MINN. STAT. § 325D.43, et. seq. ...................................................................................121

12               Missouri
                 MISSOURI MERCHANDISING PRACTICES ACT,
13               MO. STAT. § 407.010, et seq. .........................................................................................124
14
                 Montana
15               MONTANA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION
                 ACT, MCA § 30-14-101, et seq.......................................................................................126
16
                 Nebraska
17               NEBRASKA CONSUMER PROTECTION ACT,
                 NEB. REV. STAT. § 59-1601, et. seq. ............................................................................128
18

19               NEBRASKA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                 NEB. REV. STAT. § 87-301, et. seq. ..............................................................................130
20
                 Nevada
21               NEVADA DECEPTIVE TRADE PRACTICES ACT,
22               NEV. REV. STAT. § 598.0915, et. seq.; NEV. REV. STAT. § 41.600, et. seq. ............132

23               New Jersey
                 NEW JERSEY CONSUMER FRAUD ACT,
24               N.J. STAT. ANN. § 56:8-1, et. seq. .................................................................................134
25               New Mexico
26               NEW MEXICO UNFAIR PRACTICES ACT,
                 N.M. STAT. ANN. § 57-12-1, et. seq..............................................................................136
27

28
                                               iii
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                      Document 315-4               Filed 10/19/15           Page 5 of 213



 1                   New York
                     NEW YORK GENERAL BUSINESS LAW,
 2                   N.Y. GEN. BUS. LAW § 349, et. seq. ............................................................................138
 3
                     North Carolina
 4                   NORTH CAROLINA UNFAIR TRADE PRACTICES ACT,
                     N.C. GEN. STAT. ANN. § 75-1.1, et. seq.......................................................................140
 5
                     North Dakota
 6                   NORTH DAKOTA UNLAWFUL SALES OR ADVERTISING ACT,
 7                   N.D. CENT. CODE §§ 51-10-01, et. seq.........................................................................142

 8                   Oklahoma
                     OKLAHOMA CONSUMER PROTECTION ACT,
 9                   15 OKL. STAT. ANN. § 751, et. seq. .............................................................................144
10
                     Pennsylvania
11                   PENNSYLVANIA UNFAIR TRADE PRACTICES,
                     73 PA STAT. ANN. § 201-1, et. seq. ..............................................................................147
12
                     Rhode Island
13                   RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,
                     R.I. GEN. LAWS § 6-13.1, et. seq. .................................................................................149
14

15                   South Dakota
                     SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND CONSUMER
16                   PROTECTION ACT, S.D. CODIFIED LAWS § 37-24-1, et. seq. .................................151
17                   Tennessee
                     TENNESSEE CONSUMER PROTECTION ACT,
18
                     TENN. CODE ANN. §§ 47-18-101, et. seq. ...................................................................153
19
                     Vermont
20                   VERMONT CONSUMER FRAUD ACT,
                     9 VT. STAT. ANN. §§ 2451, et. seq. ..............................................................................156
21

22                   Washington
                     WASHINGTON CONSUMER PROTECTION ACT,
23                   WASH. REV. CODE § 19.86.020, et. seq. ......................................................................158

24               COUNT X – DATA BREACH STATUTES.........................................................................160
25                   California
26                   CALIFORNIA CUSTOMER RECORDS ACT,
                     CAL. CIV. CODE § 1798.80, et. seq. .............................................................................160
27
                     Colorado
28                   COLO. REV. STAT. ANN. § 6-1-716(2), et. seq. ..........................................................161
                                                    iv
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                  Document 315-4               Filed 10/19/15            Page 6 of 213



 1
                 Delaware
 2               DEL. CODE ANN. TIT. 6 § 12B-102(a), et seq. ............................................................162
 3
                 District of Columbia
 4               D.C. CODE § 28-3852(a), et. seq. ...................................................................................163

 5               Georgia
                 GA. CODE ANN. § 10-1-912(a), et. seq. ........................................................................163
 6

 7               Hawaii
                 HAW. REV. STAT. § 487N-2(a), et. seq. .......................................................................164
 8
                 Iowa
 9               IOWA CODE ANN. § 715C.2(1), et. seq........................................................................165
10
                 Kansas
11               KAN. STAT. ANN. § 50-7a02(a), et. seq. ......................................................................166

12               Kentucky
                 KY. REV. STAT. ANN. § 365.732(2), et. seq. ...............................................................166
13
                 Louisiana
14
                 LA. REV. STAT. ANN. § 51:3074(A), et. seq. ...............................................................167
15
                 Michigan
16               MICH. COMP. LAWS ANN. § 445.72(1), et. seq. .........................................................168
17               New Hampshire
                 N.H. REV. STAT. ANN. § 359-C:20(I)(a), et. seq. ........................................................169
18

19               Oregon
                 OR. REV. STAT. ANN. § 646A.604(1), et. seq..............................................................169
20
                 South Carolina
21               S.C. CODE ANN. § 39-1-90(A), et. seq. .........................................................................170
22
                 Tennessee
23               TENN. CODE ANN. § 47-18-2107(b), et. seq. ...............................................................171

24               Virginia
                 VA. CODE ANN. § 18.2-186.6(B), et. seq. ....................................................................172
25

26               Washington
                 WASH. REV. CODE ANN. § 19.255.010(1), et. seq. ....................................................173
27
                 Wisconsin
28               WIS. STAT. ANN. § 134.98(2), et. seq. ..........................................................................174
                                                     v
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                          Document 315-4                  Filed 10/19/15             Page 7 of 213



 1                    Wyoming
                      WYO. STAT. ANN. § 40-12-502(a), et. seq. ..................................................................174
 2

 3               COUNT XI – STATE UNFAIR INSURANCE PRACTICE STATUTES ...........................175

 4                    Arizona
                      ARIZONA UNFAIR INSURANCE PRACTICES STATUTE,
 5                    (A.R.S. § 20-442, 443, 444) .............................................................................................175
 6                    Massachusetts
 7                    UNFAIR METHODS OF COMPETITION AND UNFAIR AND DECEPTIVE ACTS
                      AND PRACTICES IN THE BUSINESS OF INSURANCE,
 8                    (MASS. GEN. LAWS ANN. CH. 176D, § 1, et seq.) .....................................................177

 9                    New Mexico
                      TRADE PRACTICES AND FRAUDS IN INSURANCE BUSINESS,
10
                      (N.M. STAT. ANN. § 59A-16-1, et seq.) ........................................................................178
11
                      North Dakota
12                    PROHIBITED PRACTICES IN INSURANCE BUSINESS,
                      (N.D. CENT. CODE § 26.1-04-01, et seq.) .....................................................................179
13
                      Texas
14
                      TEXAS UNFAIR AND DECEPTIVE INSURANCE PRACTICE LAWS,
15                    (TEX. INS. CODE §§ 541.003, 541.051, 541.052, 541.061, 541.151) ...........................180

16                    West Virginia
                      UNFAIR TRADE PRACTICES IN THE BUSINESS OF INSURANCE,
17                    (W. VA. CODE § 33-11-1, et seq.)..................................................................................181
18
                 COUNT XII: STATE INSURANCE PERSONAL INFORMATION PRIVACY
19               STATUTES............................................................................................................................183

20                    Arizona
                      ARIZONA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
21                    (A.R.S. §20-2113, § 20-2118(b)) .....................................................................................183
22
                      Connecticut
23                    CONNECTICUT INSURANCE INFORMATION AND PRIVACY PROTECTION
                      ACT, (CONN. GEN. STAT. §38a-988, 995, 999) ..........................................................183
24
                      Georgia
25                    GEORGIA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
26                    (GA. CODE §33-39-14, 21(b)) ........................................................................................184

27                    Illinois
                      ILLINOIS INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
28                    (215 ILCS 5/1014, 1021) .................................................................................................185
                                                                  vi
                             CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                           CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                          Document 315-4                  Filed 10/19/15             Page 8 of 213



 1                    Maine
                      MAINE INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 2                    (ME. REV. STAT. 24-A, § 2215(1), 24-A, § 2217(2)) ...................................................186
 3
                      Massachusetts
 4                    MASSACHUSETTS INSURANCE INFORMATION AND PRIVACY PROTECTION
                      ACT, (MASS. GEN. LAWS CH. 175I, § 1, et seq.) .......................................................187
 5
                      Minnesota
 6                    MINNESOTA INSURANCE FAIR INFORMATION REPORTING ACT,
 7                    (MINN. STAT. § 72A.49, et seq.) ...................................................................................188

 8                    Montana
                      MONTANA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 9                    (MONT. CODE § 33-19-101, et seq.) .............................................................................189
10
                      New Jersey
11                    NEW JERSEY INSURANCE INFORMATION PRACTICES ACT,
                      (N.J. STAT. § 17:23A-1, et seq.) .....................................................................................189
12
                      North Carolina
13                    NORTH CAROLINA CONSUMER AND CUSTOMER INFORMATION PRIVACY
                      ACT, (N.C. GEN. STAT. § 58-39-1, et seq.) ..................................................................190
14

15                    Ohio
                      OHIO INSURANCE TRANSACTION INFORMATION STANDARDS LAW,
16                    (OHIO REV. CODE § 3904.13, §3904.21(b) ..................................................................191
17                    Oregon
                      OREGON USE AND DISCLOSURE OF INSURANCE INFORMATION,
18
                      (OR. REV. STAT. § 746.600, et seq.) .............................................................................192
19
                 COUNT XIII: STATE MEDICAL AND HEALTH INFORMATION PRIVACY
20               STATUTES............................................................................................................................193
21                    California
22                    CALIFORNIA CONFIDENTIALITY OF MEDICAL INFORMATION ACT,
                      (CIVIL CODE §56 et seq.) ..............................................................................................193
23
                      Maryland
24                    MARYLAND DISCLOSURE REQUIREMENTS FOR INSURERS,
                      (MD. CODE, INS. § 4-403) .............................................................................................194
25

26                    MARYLAND DISCLOSURE REQUIREMENTS FOR NONPROFIT HEALTH
                      SERVICE PLANS, (MD. CODE, INS. § 14-138) ..........................................................195
27
                      MARYLAND CONFIDENTIALITY OF MEDICAL RECORDS ACT,
28                    (MD. CODE, HEALTH-GEN. § 4-301, et seq.) .............................................................196
                                                   vii
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                     Document 315-4                 Filed 10/19/15            Page 9 of 213



 1                 Minnesota
                   MINNESOTA HEALTH RECORDS ACT,
 2                 (MINN. STAT. § 144.291, et seq.) ..................................................................................197
 3
                   Rhode Island
 4                 RHODE ISLAND CONFIDENTIALITY OF HEALTH CARE INFORMATION ACT,
                   (R.I. GEN. LAWS § 5-37.3-1, et seq.) ............................................................................197
 5
                   Virginia
 6                 VIRGINIA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 7                 (VA. CODE § 38.2-600, et seq.) ......................................................................................198

 8                 VIRGINIA HEALTH RECORDS PRIVACY STATUTE,
                   (VA. CODE § 32.1-127.1:03) ..........................................................................................199
 9
                   Washington
10
                   WASHINGTON UNIFORM HEALTH CARE INFORMATION ACT,
11                 (WASH. REV. CODE §70.02.045, § 70.02.170) ............................................................200

12                 Wisconsin
                   WISCONSIN INSURANCE MEDICAL INFORMATION PRIVACY STATUTE,
13                 (WIS. STAT. § 610.70)....................................................................................................201
14
                   WISCONSIN CONFIDENTIALITY OF HEATH RECORDS LAW,
15                 (WIS. STAT. § 146.82(5), §142.84) ................................................................................201

16   VII. PRAYER FOR RELIEF .............................................................................................................202
17   VIII. DEMAND FOR JURY TRIAL.................................................................................................204
18

19

20

21

22

23

24

25

26
27

28
                                                  viii
                            CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                Document 315-4         Filed 10/19/15       Page 10 of 213



 1               Plaintiffs identified below (collectively, “Plaintiffs”), individually, and on behalf of the Classes
 2   defined below of similarly situated persons, file this Consolidated Amended Class Action Complaint
 3   pursuant to the Court’s Case Management Order (ECF No. 285). Plaintiffs file suit against Anthem,
 4   Inc., Anthem’s affiliates and subsidiaries identified below, the Blue Cross Blue Shield Association,
 5   and other Blue Cross Blue Shield licensees identified below (collectively, “Defendants”).
 6                                              I.      INTRODUCTION
 7               1.      In 2014 and 2015, Anthem, Inc. experienced one of the largest data security breaches
 8   in history (the “Anthem Data Breach”). Cyberattackers stole the personal information of
 9   approximately 80 million Americans (“Affected Individuals”).
10               2.      Despite the fact that it was storing sensitive personal information that it knew was
11   valuable to, and vulnerable to, cyberattackers, Anthem and its fellow Defendants failed to take even
12   the most basic security precautions that could have protected Affected Individuals’ data. Instead,
13   Anthem and other Defendants used grossly inadequate computer systems and data security practices
14   that allowed the hackers to easily make off with Affected Individuals’ personal data. Stealing this
15   much data takes time, and there were numerous steps along the way when any company following
16   standard IT security practices would have foiled the hackers. But Anthem and its fellow Defendants
17   failed to take these basic precautions.
18               3.      Anthem and its fellow Defendants placed the personal information of approximately
19   80 million Americans in one centralized database (the “Anthem Database”). The Anthem Database
20   included the types of information that federal and state law requires companies to take security
21   measures to protect: names, dates of birth, Social Security numbers, health care ID numbers, home
22   addresses, email addresses, employment information, income data, and confidential medical records
23   (“Personal Information”). This data should have received extra protection, not substandard
24   protection.
25               4.      Defendants made repeated promises and representations to Affected Individuals, by
26   mail and on their website, that they were protecting this sensitive information. They promised that
27   they would provide reasonable security in accordance with federal and state law. They did not.
28
                                                  1
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK           Document 315-4        Filed 10/19/15      Page 11 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22               7.   Since the Anthem Data Breach, Affected Individuals have been repeatedly harmed.
23   For example, Affected Individuals have had fake tax returns filed in their names, allowing criminals
24   to abscond with their tax refunds, have had bank accounts drained, and have had credit cards or
25   fraudulent loans taken out in their names. They have spent countless hours filing police reports and
26   poring over credit reports to combat identity theft. Many are now paying monthly or annual fees for
27   identity theft and credit monitoring services. Now that their sensitive personal information (e.g.,
28   their Social Security numbers, dates of birth, and home addresses) has been released, Affected
                                                        2
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 12 of 213



 1   Individuals must worry about being victimized throughout the rest of their lives.
 2               8.    Because Defendants failed to provide even minimally adequate computer systems and
 3   data security practices, Affected Individuals are forced to suffer the consequences. This Court must
 4   hold Defendants accountable.
 5                                      II.    JURISDICTION AND VENUE
 6               9.    This Court has subject matter jurisdiction over this action under 28 U.S.C. §
 7   1332(d)(2) because this is a class action wherein the amount in controversy exceeds the sum or value
 8   of $5,000,000, exclusive of interest and costs, there are more than 100 members in each of the
 9   proposed classes, and at least one member of the class of Plaintiffs is a citizen of a state different
10   from a Defendant.
11               10.   This Court has personal jurisdiction over Defendants because Defendants conduct
12   business in the state of California.
13               11.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) based on the transfer
14   order of the Judicial Panel on Multidistrict Litigation. Venue was proper in this Court with respect
15   to the actions originally filed in this Court pursuant to 28 U.S.C. §1391(b) because a substantial part
16   of the events or omissions giving rise to the claims occurred in, was directed to, and/or emanated
17   from this District.
18                                                 III.    PARTIES
19               A.    Plaintiffs
20                                                    Arizona
21               12.   Plaintiff Pearl Bruno is a citizen and resident of the State of Arizona. Ms. Bruno was
22   enrolled in a Blue Cross Blue Shield of Georgia health plan and paid premiums on a regular basis.
23   Blue Cross Blue Shield of Georgia and Anthem collected and received Ms. Bruno’s Personal
24   Information, which Anthem maintained in its database. Ms. Bruno received a letter from Anthem
25   informing her that her Personal Information may have been compromised as a result of the Anthem
26   Data Breach. Ms. Bruno now engages in monthly monitoring of her credit and her bank accounts. As
27   a result of the Anthem breach, Ms. Bruno has spent numerous hours addressing issues arising from
28   the Anthem data breach.
                                                3
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 13 of 213



 1

 2                                                    Arkansas
 3               13.   Plaintiff LaQuarius Hall is a citizen and resident of the State of Arkansas. Mr. Hall
 4   was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a regular basis.
 5   Blue Cross Blue Shield and Anthem collected and received Mr. Hall’s Personal Information, which
 6   Anthem maintained in its database. When Mr. Hall’s tax refund did not arrive as expected, he
 7   contacted the IRS and learned that someone had filed a false tax return in his name using his
 8   Personal Information. As a result of the Anthem breach, Mr. Hall was forced to submit affidavits to
 9   the IRS, travel to the Social Security Administration office to verify his identity, and spend
10   numerous hours on the phone with the IRS. He still has not received his tax refund for $6,789.00. As
11   a result of the Anthem breach, Mr. Hall has spent numerous hours addressing issues arising from the
12   Anthem data breach and has been denied access to his federal tax refund.
13               14.   Plaintiff Adam Mannis is a citizen and resident of the State of Arkansas. Mr. Mannis
14   was enrolled in a Blue Cross Blue Shield Blue Preferred Select health plan. Blue Cross Blue Shield
15   and Anthem collected and received Mr. Mannis’s Personal Information, which Anthem maintained
16   in its database. Mr. Mannis received a letter informing him that his Personal Information may have
17   been compromised as a result of the Anthem breach. Mr. Mannis now closely reviews his identity
18   theft and credit monitoring services and monitors his bank accounts. As a result of the Anthem
19   breach, Mr. Mannis has spent numerous hours addressing issues arising from the Anthem data
20   breach.
21                                                    California
22               15.   Plaintiff Michael Bronzo is a citizen and resident of the State of California. Mr.
23   Bronzo was enrolled in an Anthem Blue Cross, a trade name of Anthem Insurance Companies,
24   health plan that he purchased individually, and for which he paid premiums on a regular basis.
25   Previously, Mr. Bronzo was enrolled in a Blue Cross Blue Shield of California health plan that he
26   purchased individually and for which he has paid premiums on a regular basis. Anthem Blue Cross
27   and Blue Cross Blue Shield of California and Anthem collected and received Mr. Bronzo’s Personal
28   Information, which Anthem maintained in its database. Mr. Bronzo received a letter from Anthem
                                                     4
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15       Page 14 of 213



 1   informing him that his information may have been compromised as a result of the Anthem data
 2   breach. Mr. Bronzo subsequently received a letter from the IRS informing him that someone had
 3   filed a false tax return in his name using his Personal Information. Mr. Bronzos’s state tax refund of
 4   approximately $700 and his Federal tax refund of approximately $7,000 were delayed. Mr. Bronzo
 5   pays approximately $216 annually for identity theft and credit monitoring services in order to
 6   monitor for identity theft and fraudulent activity resulting from the Anthem breach. As a result of the
 7   Anthem breach, Mr. Bronzo has spent numerous hours addressing issues arising from the Anthem
 8   data breach.
 9               16.   Plaintiff Daniel Randrup is a citizen and resident of the State of California. Mr.
10   Randrup was enrolled in an Anthem Blue Cross Self-Insured Schools of California (SISC) III health
11   plan through his employer, the San Joaquin County Office of Education, and paid premiums on a
12   regular basis. Anthem Blue Cross and Anthem collected and received Mr. Randrup’s Personal
13   Information, which Anthem maintained in its database. Mr. Randrup received a letter from Anthem
14   and his employer informing him that his information may have been compromised as a result of the
15   Anthem data breach. Mr. Randrup subsequently received notification from the California Franchise
16   Tax Board stating that he owed thousands of dollars in additional withholding tax based on a tax
17   return that Mr. Randrup did not file. As a result, Mr. Randrup was forced to submit affidavits to the
18   IRS and California Franchise Tax Board, file a police report, file a report with the Federal Trade
19   Commission, and spend significant time and effort attempting to resolve the issue. Mr. Randrup still
20   has not received his expected 2014 tax return payment. As a result of the Anthem breach, Mr.
21   Randrup has spent numerous hours addressing issues relating to his tax fraud, monitoring his
22   accounts, and addressing issues arising from the Anthem data breach.
23               17.   Plaintiff Mary Ella Carter is a citizen and resident of the State of California. Ms.
24   Carter was enrolled in a state-sponsored Anthem Blue Cross health plan through her husband’s
25   employer, a California municipality, and paid premiums on a regular basis. Anthem collected and
26   received Ms. Carter and her family’s Personal Information, which Anthem maintained in its
27   database. In approximately March, 2015, Ms. Carter received notification from All-Clear ID that her
28   minor daughter’s Social Security Number had been compromised. She contacted All-Clear ID for
                                                    5
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15     Page 15 of 213



 1   assistance, but they were unable to provide Ms. Carter with any guidance to protect her daughter’s
 2   Personal Information. As a result of the Anthem breach, Ms. Carter placed credit freezes on her
 3   daughter’s credit reports with U.S. consumer credit reporting service TransUnion in order to detect
 4   potential additional identity theft and fraudulent activity. As a result of the Anthem breach, Ms.
 5   Carter has spent her own money and numerous hours addressing issues arising from the Anthem data
 6   breach.
 7               18.   Plaintiff Kenneth Coonce is a citizen and resident of the State of California. Mr.
 8   Coonce was enrolled in Anthem Blue Cross and Blue Shield of California health plans and paid
 9   premiums on a regular basis. Anthem Blue Cross, Blue Shield of California and Anthem collected
10   and received Mr. Coonce’s Personal Information, which Anthem maintained in its database. Mr.
11   Coonce received a letter from Anthem in March 2015 informing him that his personal information
12   may have been compromised as a result of the Anthem breach. In September 2015, Mr. Coonce was
13   notified by his credit union’s fraud department that his debit card number had been stolen and used
14   for unauthorized charges. Mr. Coonce was forced to submit numerous forms to the credit union and
15   to file a police report in order to reverse the charges, and spent hours on the phone and in person
16   with the bank’s customer representatives as well as additional time filling out a police report. Mr.
17   Coonce pays approximately $312 annually for identity theft and credit monitoring services in order
18   to monitor for identity theft and fraudulent activity resulting from the Anthem breach. As a result of
19   the Anthem breach, Mr. Coonce has spent numerous hours addressing issues arising from the
20   Anthem data breach.
21               19.   Plaintiff Steve Kawai is a citizen and resident of the State of California. Mr. Kawai
22   was enrolled in an Anthem Blue Cross health plan through his employer, the State of California, and
23   paid premiums on a regular basis. Anthem Blue Cross and Anthem collected and received Mr.
24   Kawai’s personal information, which Anthem maintained in its database. Mr. Kawai received an e-
25   mail from CalPERS, the administrator of his health insurance plan, informing him that his
26   information may have been compromised as a result of the Anthem data breach. As a result of the
27   Anthem breach, Mr. Kawai has spent numerous hours monitoring his accounts and addressing issues
28   arising from the Anthem data breach.
                                                6
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 16 of 213



 1               20.   Plaintiff Kenneth Solomon is a citizen and resident of the State of California. Mr.
 2   Solomon was enrolled in an Anthem Blue Cross Senior Class F Medicare Supplement health plan
 3   that he purchased independently and paid premiums for on a regular basis. Anthem Blue Cross and
 4   Anthem collected and received Mr. Solomon’s Personal Information, which Anthem maintained in
 5   its database. Mr. Solomon received a letter from Anthem informing him that his Personal
 6   Information may have been compromised as a result of the Anthem breach. As a result of the
 7   Anthem breach, Mr. Solomon has spent numerous hours addressing issues arising from the Anthem
 8   data breach.
 9               21.   Plaintiffs Daniel Tharp and Kelly Tharp are husband and wife and citizens and
10   residents of the State of California. Mr. and Mrs. Tharp were enrolled in an Anthem Blue Cross plan
11   and paid insurance premiums on a regular basis. Anthem Blue Cross and Anthem collected and
12   received the Tharps’ Personal Information, which Anthem maintained in its database. On or about
13   February 7, 2015, after the announcement of the Anthem breach, the Tharps attempted to
14   electronically file their taxes but the filing was rejected because someone else had filed a false tax
15   return using their Personal Information. In April, 2015, the Tharps received a confirmatory letter
16   from the IRS informing them that someone may have attempted to impersonate them by using their
17   names and Social Security numbers to file a 2014 federal tax return. Mr. and Mrs. Tharp were forced
18   to submit numerous forms to the IRS, file a police report, and spend hours on the phone with IRS
19   representatives to correct their tax filing. As a result, their 2014 tax return payments were delayed by
20   approximately six months. The Tharps had to spend money for postage and facsimile costs in order
21   to correspond with the IRS. The Tharps also spent approximately $60 out-of-pocket to place credit
22   freezes on their credit reports with the three major U.S. consumer credit reporting agencies in order
23   to detect potential identity theft and fraudulent activity. As a result of the Anthem breach, the Tharps
24   have spent numerous hours monitoring their accounts and addressing issues arising from the Anthem
25   data breach.
26               22.   Plaintiff Joseph Blanchard is a citizen and resident of the State of California. Mr.
27   Blanchard was enrolled in a Blue Cross Blue Shield of Texas health plan and paid premiums on a
28   regular basis. Blue Cross Blue Shield of Texas and Anthem collected and received Mr. Blanchard’s
                                                      7
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 17 of 213



 1   Personal Information, which Anthem maintained in its database. Mr. Blanchard’s wife, who was
 2   enrolled in the same health plan, received a letter from Anthem informing her that her Personal
 3   Information may have been compromised as a result of the Anthem breach. Following
 4   announcement of the Anthem breach, at least 10 credit cards or credit accounts were opened or
 5   attempted to be opened in Mr. Blanchard’s name and using his Personal Information. In most
 6   instances, hundreds or thousands of dollars were charged on the credit cards and Mr. Blanchard had
 7   to personally dispute every charge by making phone calls, submitting affidavits, sending
 8   identification, and filing police reports at his expense. Because of the rampant fraud on Mr.
 9   Blanchard’s accounts, Mr. Blanchard’s credit card company denied him an increase in his credit
10   limit during the middle of a home remodel. Additionally, Mr. Blanchard’s near-perfect credit score
11   decreased by approximately 130 points. Mr. Blanchard placed credit freezes on his credit reports
12   with the three major U.S. consumer credit reporting agencies in order to detect potential identity
13   theft and fraudulent activity. As a result of the Anthem breach, Mr. Blanchard has spent over 60
14   hours addressing credit fraud, monitoring his accounts, and addressing issues arising from the
15   Anthem data breach.
16               23.   Plaintiff Lillian Brisko is a citizen and resident of the State of California. Ms. Brisko
17   was enrolled in a Blue Shield of California health plan and paid premiums on a regular basis. Blue
18   Shield of California and Anthem collected and received Ms. Brisko’s Personal Information, which
19   Anthem maintained in its database. Ms. Brisko received a letter from Anthem informing her that her
20   Personal Information may have been compromised as a result of the Anthem breach. An Anthem
21   customer representative later confirmed to Ms. Brisko that her Personal Information was in fact
22   compromised. Ms. Brisko and her husband received a letter from the IRS requesting them to verify
23   their identities for their 2014 tax return. Ms. Brisko was later informed by an IRS agent that
24   someone had filed a false tax return in her name using her Personal Information. After contacting the
25   consumer reporting agencies, Ms. Brisko learned that someone had also fraudulently taken out a
26   $3,000 loan in her name from a Check ‘n Go store in another city. As a result, Ms. Brisko and her
27   husband were forced to travel to the IRS offices, submit affidavits to the IRS, file a police report, file
28   a complaint with the Federal Trade Commission, and submit extensive documentation to the lending
                                                    8
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 18 of 213



 1   company. Ms. Brisko spent $82.15 in unreimbursed notary fees, USPS fees and FedEx fees to
 2   address these issues. As a result of the Anthem breach, Ms. Brisko has spent over 200 hours
 3   addressing issues relating to her tax and credit fraud, monitoring her accounts, and addressing issues
 4   arising from the Anthem data breach.
 5               24.   Plaintiff Alvin Lawson is a citizen and resident of the State of California. Mr.
 6   Lawson was enrolled in a Blue Cross Blue Shield Federal Employee PPO health plan through his
 7   wife’s employer, the U.S. Postal Service, and paid premiums on a regular basis. Blue Cross Blue
 8   Shield Federal and Anthem collected and received Mr. Lawson’s Personal Information, which
 9   Anthem maintained in its database. Mr. Lawson received a letter from Anthem informing him that
10   his Personal Information may have been compromised as a result of the Anthem breach. As a result
11   of the Anthem breach, Mr. Lawson has spent numerous hours monitoring his accounts and
12   addressing issues arising from the Anthem data breach.
13                                                    Colorado
14               25.   Plaintiff James Schatzman is a citizen and resident of the State of Colorado. Mr.
15   Schatzman was enrolled in a Blue Cross Blue Shield health plan and paid premiums on a regular
16   basis. Blue Cross Blue Shield and Anthem collected and received Mr. Schatzman’s Personal
17   Information, which Anthem maintained in its database. Mr. Schatzman subsequently received a
18   letter from the IRS informing him that someone had filed a false tax return in his name using his
19   Personal Information. The IRS informed Mr. Schatzman the suspicious tax return was likely a result
20   of the Anthem data breach. Mr. Schatzman’s $7,000 tax refund was delayed for 6 months. As a
21   result of the Anthem data breach, Mr. Schatzman has spent numerous hours addressing issues arising
22   from the Anthem data breach.
23                                                   Connecticut
24               26.   Plaintiff Janet Brunton is a citizen and resident of the State of Connecticut. Ms.
25   Brunton was enrolled in an AT&T East Bargained Employee Medical Program health plan that was
26   administered by Blue Cross Blue Shield of Illinois and Ms. Brunton paid premiums on a regular
27   basis. Blue Cross Blue Shield of Illinois and Anthem collected and received Ms. Brunton’s Personal
28   Information, which Anthem maintained in its database. Ms. Brunton received a letter from Anthem
                                                     9
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 19 of 213



 1   informing her that her Personal Information may have been compromised as a result of the Anthem
 2   data breach. Ms. Brunton subsequently received notice from her tax preparer that the IRS had
 3   received a false tax return filed in Ms. Brunton’s name using her Personal Information. Ms.
 4   Brunton’s approximately $10,000 tax return was delayed four months. As a result of the Anthem
 5   breach, Ms. Brunton has spent numerous hours addressing issues arising from the Anthem data
 6   breach.
 7               27.   Plaintiff Kimberly Kos-Williams is a citizen and resident of the State of Connecticut.
 8   Ms. Kos-Williams was enrolled in an Anthem Blue Cross Blue Shield health plan that she purchased
 9   directly from Anthem, and paid premiums on a regular basis. Blue Cross Blue Shield and Anthem
10   collected and received Ms. Kos-Williams’s Personal Information, which Anthem maintained in its
11   database. Ms. Kos-Williams, her husband, and her two sons received a letter from Anthem informing
12   them that their Personal Information may have been compromised as a result of the Anthem breach.
13   In or about April of 2015, Ms. Kos-Williams and her husband learned from the IRS that a false tax
14   return had been filed in their names using their Personal Information. Ms. Kos-Williams and her
15   husband were forced to submit affidavits to the IRS, file a complaint with the Federal Trade
16   Commission, and report the fraudulent return to the State of Connecticut. Their 2014 tax refund was
17   delayed until approximately May 2015. As a result of the Anthem breach, Ms. Kos-Williams has
18   spent numerous hours addressing issues arising from the Anthem data breach.
19               28.   Plaintiff Gary Lasneski is a citizen and resident of the State of Connecticut. Mr.
20   Lasneski was enrolled in an Anthem Blue Cross Blue Shield PPO health plan and an Anthem Blue
21   Cross Blue Shield BlueCare HMO health plan that he purchased independently and paid premiums
22   for on a regular basis. Anthem Blue Cross Blue Shield and Anthem collected and received Mr.
23   Lasneski’s Personal Information, which Anthem maintained in its database. Mr. Lasneski received a
24   letter from Anthem informing him that his Personal Information may have been compromised as a
25   result of the Anthem breach. Mr. Lasneski subsequently received a letter from the IRS indicating
26   that someone had tried to file a false tax return in his name using his Personal Information. Mr.
27   Laneski also received letters from Best Buy, Office Depot, and Capitol One indicating that someone
28   was trying to open credit accounts in his name using his Personal Information including his name,
                                                      10
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 20 of 213



 1   address, Social Security number and other personally-identifiable information. As a result, Mr.
 2   Lasneski has placed extended fraud alerts on his credit reports with the three major U.S. consumer
 3   credit reporting agencies in order to detect potential identity theft and fraudulent activity. Because of
 4   the fraud tied to Mr. Lasneski’s accounts, Mr. Lasneski has been delayed in getting approval for
 5   small business loans relating to his business. As a result of the Anthem breach, Mr. Lasneski has
 6   spent numerous hours addressing fraudulent activity, monitoring his accounts, and addressing issues
 7   arising from the Anthem data breach.
 8               29.   Plaintiff Ralph Staffieri is a citizen and resident of the State of Connecticut. Mr.
 9   Staffieri was enrolled in an Anthem Blue Cross Blue Shield Federal health plan through his
10   employer, the federal government, and paid premiums on a regular basis. Anthem Blue Cross Blue
11   Shield Federal and Anthem collected and received Mr. Staffieri’s Personal Information, which
12   Anthem maintained in its database. Mr. Staffieri received a letter from Anthem informing him that
13   his Personal Information may have been compromised as a result of the Anthem breach. As a result
14   of the Anthem breach, Mr. Staffieri has spent numerous hours monitoring his accounts and
15   addressing issues arising from the Anthem data breach.
16               30.   Plaintiff Jessica Holguin is a citizen and resident of the State of Connecticut. Ms.
17   Holguin was enrolled in a Blue Cross Blue Shield of Vermont health plan and paid premiums on a
18   regular basis. Ms. Holguin’s father, who was enrolled in the same health plan, received a letter from
19   Anthem informing him that his Personal Information may have been compromised as a result of the
20   Anthem breach. Ms. Holguin subsequently contacted the U.S. Department of Education to update
21   her student loan account information and learned that the Department had received a check for
22   $5,000 from an IRS federal tax return that was fraudulently filed in Ms. Holguin’s name. Ms.
23   Holguin contacted the IRS and confirmed that a false tax return had been filed in her name using her
24   Personal Information. Ms. Holguin was advised by the IRS that when she filed her 2014 tax return it
25   would take approximately 180 days to receive her anticipated $9,000 refund, which she still has not
26   received. Ms. Holguin, who has two young children, intended to use her anticipated 2014 tax refund
27   to help pay for her family’s living expenses and is now experiencing financial difficulties due to the
28   lengthy delay in receiving her tax refund as a result of the fraudulent filing. As a result of the
                                                        11
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15     Page 21 of 213



 1   Anthem breach, Ms. Holguin has spent over 50 hours addressing issues relating to tax fraud,
 2   monitoring her accounts, and addressing issues arising from the Anthem data breach.
 3                                                    Delaware
 4               31.   Danielle DiFonzo is a citizen and resident of the State of Delaware. Ms. DiFonzo was
 5   enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a regular basis.
 6   Anthem Blue Cross Blue Shield and Anthem collected and received Ms. DiFonzo’s Personal
 7   Information, which Anthem maintained in its database. Following announcement of the Anthem
 8   breach, fraudsters attempted to open numerous credit applications in Ms. DiFonzo’s name and using
 9   her Personal Information. At least one attempt was successful and Ms. DiFonzo spent considerable
10   time and effort addressing the issue, including taking a trip to the state police office to report the
11   fraud. Mr. DiFonzo pays approximately $120 annually for identity theft and credit monitoring
12   services in order to monitor for identity theft and fraudulent activity resulting from the Anthem
13   breach. As a result of the Anthem breach, Ms. DiFonzo has spent numerous hours monitoring her
14   accounts and addressing issues arising from the Anthem data breach.
15                                                     Florida
16               32.   Plaintiff Glenn Kahn is a citizen and resident of the State of Florida. Mr. Kahn was
17   enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a regular basis.
18   Anthem Blue Cross Blue Shield and Anthem collected and received Mr. Kahn’s Personal
19   Information, which Anthem maintained in its database. Mr. Kahn received a letter from Anthem
20   informing him that his Personal Information may have been compromised as a result of the Anthem
21   data breach. As a result of the Anthem data breach, Mr. Kahn has spent numerous hours addressing
22   issues arising from the Anthem data breach.
23               33.   Plaintiff Gerald Keaton is a citizen and resident of the State of Florida. Mr. Keaton
24   was enrolled in a Blue Cross Blue Shield health plan and paid premiums on a regular basis. Blue
25   Cross Blue Shield and Anthem collected and received Mr. Keaton’s Personal Information, which
26   Anthem maintained in its database. Mr. Keaton received a letter from Anthem informing him that his
27   personal information may have been compromised as a result of the Anthem breach. Mr. Keaton
28   subsequently received a letter from the IRS informing him that someone had filed a false tax return
                                                      12
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 22 of 213



 1   in his name using his Personal Information. As a result of the Anthem breach, Mr. Keaton and his
 2   wife were forced to submit affidavits to the IRS and take additional trips to their accountant’s office
 3   to file paper tax returns. Their 2014 tax return payment was delayed until approximately July 2015
 4   and they are forced to file paper returns for at least the next two years. As a result of the Anthem
 5   breach, Mr. Keaton has spent numerous hours addressing issues arising from the Anthem data
 6   breach.
 7               34.   Plaintiff John McAffry is a citizen and resident of the State of Florida. Mr. McAffry
 8   was enrolled in a state-sponsored Anthem Blue Cross Blue Shield health plan through his employer,
 9   the City of Cincinnati, and paid premiums on a regular basis. Blue Cross Blue Shield and Anthem
10   collected and received Mr. McAffry’s Personal Information, which Anthem maintained in its
11   database. Mr. McAffry received notice via his personal Anthem online insurance portal informing
12   him that his Personal Information may have been compromised as a result of the Anthem breach.
13   Mr. McAffry pays approximately $120 annually for identity theft and credit monitoring services in
14   order to monitor for identity theft and fraudulent activity resulting from the Anthem breach. As a
15   result of the Anthem breach, Mr. McAffry has spent numerous hours addressing issues arising from
16   the Anthem data breach.
17               35.   Plaintiff Charles Platt is a citizen and resident of the State of Florida. Mr. Platt was
18   enrolled in a Blue Cross Blue Shield of Florida Blue Options health plan that he purchased
19   independently and paid premiums for on a regular basis. Blue Cross Blue Shield of Florida and
20   Anthem collected and received Mr. Platt’s Personal Information, which Anthem maintained in its
21   database. Mr. Platt received a letter from Blue Cross Blue Shield of Florida and Anthem informing
22   him that his Personal Information may have been compromised as a result of the Anthem breach. As
23   a result of the Anthem breach, Mr. Platt has spent numerous hours addressing issues arising from the
24   Anthem data breach.
25                                                      Georgia
26               36.   Plaintiff John Thomas, II is a citizen and resident of the State of Georgia. Mr. Thomas
27   was enrolled in a Blue Cross Blue Shield of Georgia PPO state health benefit plan through his
28   employer, a county school board, and paid premiums on a regular basis. Blue Cross Blue Shield of
                                                    13
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 23 of 213



 1   Georgia and Anthem collected and received Mr. Thomas’s Personal Information, which Anthem
 2   maintained in its database. Mr. Thomas received a letter from Anthem informing him that his
 3   Personal Information may have been compromised as a result of the Anthem breach. Mr. Thomas’s
 4   wife subsequently received a letter from the IRS informing them that someone had attempted to file
 5   a false tax return in their names using their Personal Information. As a result of the Anthem breach,
 6   Mr. Thomas and his wife have spent numerous hours addressing issues arising from the Anthem data
 7   breach.
 8               37.   Plaintiff Lauren Roberts is a citizen and resident of the State of Georgia. Ms. Roberts
 9   was enrolled in a Blue Cross Blue Shield of Minnesota health plan and paid premiums on a regular
10   basis. Blue Cross Blue Shield of Minnesota and Anthem collected and received Ms. Roberts’s
11   Personal Information, which Anthem maintained in its database. Ms. Roberts received a letter from
12   Anthem informing her that her Personal Information may have been compromised as a result of the
13   Anthem breach. In February 2015, Ms. Roberts received a letter from the health insurance
14   marketplace indicating that someone had fraudulently opened a health insurance policy in her name
15   using her Personal Information. Ms. Roberts spent significant time and effort attempting to cancel
16   the fraudulent policy that was taken out in her name. Ms. Roberts pays approximately $180 annually
17   for identity theft and credit monitoring services in order to monitor for identity theft and fraudulent
18   activity resulting from the Anthem breach. As a result of the Anthem breach, Ms. Roberts has spent
19   numerous hours addressing issues arising from the Anthem data breach.
20               38.   Plaintiff Karen Coppedge is a citizen and resident of the State of Georgia. Ms.
21   Coppedge was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a
22   regular basis. Blue Cross Blue Shield and Anthem collected and received Ms. Coppedge’s Personal
23   Information, which Anthem maintained in its database. Ms. Coppedge, her husband, and her four
24   daughters received letters from Anthem informing them that their Personal Information may have
25   been compromised as a result of the Anthem breach. As a result of the Anthem breach, Ms.
26   Coppedge has spent numerous hours addressing issues arising from the Anthem data breach.
27               39.   Plaintiff Allison Swank is a citizen and resident of the State of Georgia. Ms. Swank
28   was enrolled in a state-sponsored Blue Cross Blue Shield Health Plan of Georgia through her
                                                     14
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4          Filed 10/19/15     Page 24 of 213



 1   employer, a Georgia public school, and paid premiums on a regular basis. Blue Cross Blue Shield
 2   Health Plan of Georgia and Anthem collected and received Ms. Swank’s Personal Information,
 3   which Anthem maintained in its database. Ms. Swank received an email and a subsequent letter from
 4   Anthem informing her that her Personal Information may have been compromised as a result of the
 5   Anthem breach. As a result of the Anthem breach, Ms. Swank has spent numerous hours addressing
 6   issues arising from the Anthem data breach.
 7               40.   Plaintiff Kevin Donnelly is a citizen and resident of the State of Georgia. Mr.
 8   Donnelly was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a
 9   regular basis. Blue Cross Blue Shield and Anthem collected and received Mr. Donnelly’s Personal
10   Information, which Anthem maintained in its database. Mr. Donnelly received a letter from Anthem
11   informing him that his Personal Information may have been compromised as a result of the Anthem
12   breach. Additionally, Mr. Donnelly suffered from extensive identity theft when someone opened a
13   fraudulent company in his name using his Personal Information. As a result of the Anthem breach,
14   Mr. Donnelly was forced to file police reports for the identity theft, freeze his wife’s and his credit
15   reports with the three major U.S. consumer credit reporting agencies in order to detect potential
16   additional identity theft and fraudulent activity, and assist the Georgia Attorney General’s office
17   with the dissolution of the fraudulently created corporation. As a result of the Anthem breach, Mr.
18   Donnelly has spent numerous hours addressing issues arising from the Anthem data breach.
19               41.   Plaintiff Harold Lott is a citizen and resident of the State of Georgia. Mr. Lott was
20   enrolled in a Blue Cross Blue Shield of Georgia health plan through Medicare and paid premiums on
21   a regular basis. Blue Cross Blue Shield of Georgia and Anthem collected and received Mr. Lott’s
22   Personal Information, which Anthem maintained in its database. Mr. Lott contacted Anthem after
23   seeing a story on the news about the breach, and Anthem informed him that his information had been
24   compromised. As a result of the Anthem breach, Mr. Lott has spent numerous hours addressing
25   issues arising from the Anthem data breach.
26                                                      Idaho
27               42.   Plaintiff Cynthia Kelley is a citizen and resident of the State of Idaho. Ms. Kelley was
28   enrolled in a Blue Shield of California health plan and an Anthem Blue Cross Blue Shield health
                                                        15
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 25 of 213



 1   plan through the Motion Picture Industry Pension & Health Plans. Ms. Kelley was notified of the
 2   Anthem breach through the Motion Picture Industry Pension and Health Plans website. As a result of
 3   the Anthem breach, Ms. Kelley spent significant time monitoring her accounts and took trips to her
 4   bank two hours away in order to put blocks on her accounts. Ms. Kelley pays approximately $302
 5   annually for identity theft and credit monitoring services in order to monitor for identity theft and
 6   fraudulent activity resulting from the Anthem breach. As a result of the Anthem breach, Ms. Kelley
 7   has spent numerous hours monitoring her accounts and addressing issues arising from the Anthem
 8   data breach.
 9                                                      Illinois
10               43.   Plaintiff Mary Wicklund is a citizen and resident of the State of Illinois. Ms.
11   Wicklund worked for Blue Cross Blue Shield from 1968 through 1973 and was enrolled in a Blue
12   Cross Blue Shield health plan. Blue Cross Blue Shield and Anthem collected and received Ms.
13   Wicklund’s Personal Information, which Anthem maintained in its database. Ms. Wicklund received
14   a letter from Anthem informing her that her Personal Information may have been compromised as a
15   result of the Anthem data breach. As a result of the Anthem breach, Ms. Wicklund has spent
16   numerous hours addressing issues arising from the Anthem data breach.
17               44.   Plaintiff David Klemer is a citizen and resident of the State of Illinois. Mr. Klemer
18   was enrolled in a Blue Cross Blue Shield of Illinois – Blue Advantage HMO health plan and his wife
19   paid premiums on a regular basis. Prior to that, Mr. Klemer was enrolled in an Anthem Blue
20   Southeast Wisconsin health plan through his employer, a government entity, and paid premiums on a
21   regular basis. Blue Cross Blue Shield of Illinois and Anthem Blue Southeast collected and received
22   Mr. Klemer’s Personal Information, which Anthem maintained in its database. Mr. Klemer and his
23   wife received a letter from Anthem informing them that their Personal Information may have been
24   compromised as a result of the Anthem breach. Mr. Klemer and his wife subsequently received a
25   letter from the IRS informing them that someone had filed a false tax return in their name using their
26   Personal Information. Mr. Klemer and his wife’s tax refund of approximately $580 was delayed two
27   months. As a result of the Anthem breach, Mr. Klemer has spent numerous hours addressing issues
28   arising from the Anthem data breach.
                                               16
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 26 of 213



 1               45.   Plaintiff Nadine Foster is a citizen and resident of the State of Illinois. Mrs. Foster
 2   was enrolled in Unicare insurance and paid premiums on a regular basis. Unicare and Anthem
 3   collected and received Mrs. Foster’s Personal Information, which Anthem maintained in its
 4   database. Mrs. Foster’s husband and two of her daughters received letters from Anthem informing
 5   them that their Personal Information may have been compromised as a result of the Anthem data
 6   breach. Mrs. Foster subsequently received a notice from the IRS informing her that her name and
 7   Social Security Number were compromised. Mrs. Foster and her husband were forced to file police
 8   reports, sign Federal Trade Commission affidavits, and file their taxes by mail. As a result of the
 9   Anthem data breach, Mrs. Foster has spent numerous hours addressing issues arising from the
10   Anthem data breach.
11               46.   Plaintiff Cynthia Reichrath is a citizen and resident of the State of Illinois. Ms.
12   Reichrath was enrolled in a HealthLink State of Illinois health plan through her husband’s employer,
13   the State of Illinois Department of Corrections, and paid premiums on a regular basis. HealthLink
14   and Anthem collected and received Ms. Reichrath’s Personal Information, which Anthem
15   maintained in its database. Ms. Reichrath received a letter from Anthem informing her that her
16   Personal Information may have been compromised as a result of the Anthem breach. As a result of
17   the Anthem breach, Ms. Reichrath has spent numerous hours monitoring her accounts and
18   addressing issues arising from the Anthem data breach.
19               47.   Plaintiff Wanda Pratt is a citizen and resident of the State of Illinois. Ms. Pratt was
20   enrolled in a Blue Cross Blue Shield of Illinois PPO health plan and paid premiums on a regular
21   basis. Blue Cross Blue Shield of Illinois and Anthem collected and received Ms. Pratt’s Personal
22   Information, which Anthem maintained in its database. Ms. Pratt received a letter from Anthem and
23   Blue Cross Blue Shield of Illinois informing her that her Personal Information may have been
24   compromised as a result of the Anthem breach. Ms. Pratt pays approximately $360 annually for
25   identity theft and credit monitoring services in order to monitor for identity theft and fraudulent
26   activity resulting from the Anthem breach. As a result of the Anthem breach, Ms. Pratt has spent
27   numerous hours monitoring her accounts and addressing issues arising from the Anthem data breach.
28
                                               17
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 27 of 213



 1                                                     Indiana
 2               48.   Plaintiff Brent Harris is a citizen and resident of the State of Indiana. Mr. Harris was
 3   enrolled in an Anthem Blue Cross Blue Shield/Bronze Pathway X HMO health plan that he
 4   purchased individually, and paid premiums for on a regular basis. Anthem and Anthem Blue Cross
 5   Blue Shield collected and received Mr. Harris’s Personal Information, which Anthem maintained in
 6   its database. Mr. Harris received a letter and email from Anthem informing him that his Personal
 7   Information may have been compromised as a result of the Anthem breach. As a result of the
 8   Anthem breach, Mr. Harris has spent numerous hours addressing issues arising from the Anthem
 9   data breach.
10               49.   Plaintiff Stella Williams is a citizen and resident of the State of Indiana. Ms. Williams
11   was enrolled in a Blue Cross Blue Shield Federal Employee Program health plan through her
12   employer, a department of the federal government, and paid premiums on a regular basis. Blue Cross
13   Blue Shield Federal Employee Program and Anthem collected and received Ms. Williams’s Personal
14   Information, which Anthem maintained in its database. Ms. Williams received a letter from her
15   employer informing her that her Personal Information may have been compromised as a result of the
16   Anthem breach. As a result of the Anthem breach, Ms. Williams has spent numerous hours
17   addressing issues arising from the Anthem data breach.
18               50.   Plaintiff Steven Quinnette is a citizen and resident of the State of Indiana. Mr.
19   Quinnette was enrolled in an Anthem Blue Cross Blue Shield through Archdioceses of Indianapolis
20   health plan, and paid premiums on a regular basis. Anthem and Anthem Blue Cross Blue Shield
21   collected and received Mr. Quinnette’s Personal Information, which Anthem maintained in its
22   database. Mr. Quinnette received an email from his employer and a letter from Anthem informing
23   him that his Personal Information may have been compromised as a result of the Anthem breach.
24   Mr. Quinnette was notified by All Clear ID that his son, a minor victim of the Anthem data breach,
25   had suspicious use of his Social Security Number. As a result of the Anthem breach, Mr. Quinnette
26   has spent numerous hours addressing issues arising from the Anthem data breach.
27               51.   Plaintiff Darrell Hunter is a citizen and resident of the State of Indiana. Mr. Hunter
28   was enrolled in a Blue Cross Blue Shield of Massachusetts health plan, and paid premiums on a
                                                     18
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15     Page 28 of 213



 1   regular basis. Blue Cross Blue Shield of Massachusetts and Anthem collected and received Mr.
 2   Hunter’s Personal Information, which Anthem maintained in its database. Mr. Hunter’s wife
 3   received a letter from her employer informing them that their Personal Information may have been
 4   compromised as a result of the Anthem breach. Mr. Hunter and his wife subsequently received
 5   notification from the IRS informing them that someone had filed a false tax return in their name
 6   using their Personal Information. Mr. Hunter and his wife were forced to submit affidavits to the IRS
 7   and contact their congressman for assistance. Their 2014 tax return payment of approximately
 8   $2,000 was delayed five months. Additionally Mr. Hunter pays approximately $348 annually for
 9   identity theft and credit monitoring services in order to monitor for identity theft and fraudulent
10   activity resulting from the Anthem breach. As a result of the Anthem breach, Mr. Hunter has spent
11   numerous hours addressing issues arising from the Anthem data breach.
12               52.   Plaintiff Cheryl Grissom is a citizen and resident of the State of Indiana. Ms. Grissom
13   was enrolled in an Anthem Blue Cross Blue Shield health plan that she purchased individually and
14   she paid premiums on a regular basis. Anthem Blue Cross Blue Shield collected and received Ms.
15   Grissom’s Personal Information, which Anthem maintained in its database. Ms. Grissom received a
16   letter from Anthem informing her that her Personal Information may have been compromised as a
17   result of the Anthem breach. Ms. Grissom subsequently received a letter from the IRS informing her
18   that someone had filed a false tax return in her name using her Personal Information. Ms. Grissom
19   still has not received her 2014 tax return payment in the approximate amount of $10,262. As a result
20   of the Anthem breach, Ms. Grissom has spent numerous hours addressing issues arising from the
21   Anthem data breach.
22               53.   Plaintiff Melinda Lambert is a citizen and resident of the State of Indiana. Mrs.
23   Lambert was enrolled in an Anthem Blue Cross Blue Shield PPO health plan and paid premiums on
24   a regular basis. Anthem and Anthem Blue Cross Blue Shield collected and received Ms. Lambert’s
25   Personal Information, which Anthem maintained in its database. Mrs. Lambert and her husband
26   received a letter from Anthem informing them that their Personal Information may have been
27   compromised as a result of the Anthem breach. Mrs. Lambert and her husband subsequently
28   received a letter from the IRS informing them that someone had filed a false tax return in their name
                                                      19
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15       Page 29 of 213



 1   using their Personal Information. Additionally, Ms. Lambert pays approximately $40 annually for
 2   identity theft and credit monitoring services in order to monitor for identity theft and fraudulent
 3   activity resulting from the Anthem breach. As a result of the Anthem breach, Mrs. Lambert and her
 4   husband have spent numerous hours addressing issues arising from the Anthem data breach.
 5               54.   Plaintiff Amy Whittaker is a citizen and resident of the State of Indiana. Ms.
 6   Whittaker was enrolled in a Blue Cross Blue Shield Administrative of Arkansas health plan and paid
 7   premiums on a regular basis. Anthem and Blue Cross Blue Shield Administrative of Arkansas
 8   collected and received Ms. Whittaker’s Personal Information, which Anthem maintained in its
 9   database. Ms. Whittaker’s husband received a letter from Anthem informing him that his Personal
10   Information may have been compromised as a result of the Anthem breach. Ms. Whittaker and her
11   husband subsequently received an email from their tax preparer informing them that a false tax
12   return had been filed in their name using their Personal Information. Ms. Whittaker and her husband
13   still have not received their 2014 tax return payment in the approximate amount of $500. As a result
14   of the Anthem breach, Ms. Whittaker has spent numerous hours addressing issues arising from the
15   Anthem data breach.
16               55.   Plaintiff Jason Price is a citizen and resident of the State of Indiana. Mr. Price was
17   enrolled in an Anthem Blue Cross Blue Shield health plan through his wife’s employer, a
18   government entity, and paid premiums on a regular basis. Anthem and Anthem Blue Cross Blue
19   Shield collected and received Mr. Price’s Personal Information, which Anthem maintained in its
20   database. Mr. Price and his wife received a letter from Anthem informing them that their Personal
21   Information may have been compromised as a result of the Anthem breach. Mr. Price and his wife
22   received a letter from their tax preparer informing them that a false tax return had been filed in their
23   name using their Personal Information. As a result of the Anthem breach, Mr. Price and his wife
24   were forced to submit affidavits to the IRS. Their 2014 tax return payment of approximately $4,500
25   was delayed seven months. As a result of the Anthem breach, Mr. Price has spent numerous hours
26   addressing issues arising from the Anthem data breach.
27               56.   Plaintiff Carrie Donoghue is a citizen and resident of the State of Indiana. Ms.
28   Donoghue was enrolled in a Blue Cross Blue Shield health plan through Medicaid and Medicare and
                                                   20
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4          Filed 10/19/15     Page 30 of 213



 1   paid premiums on a regular basis. Anthem and Blue Cross Blue Shield collected and received Ms.
 2   Donoghue’s Personal Information, which Anthem maintained in its database. Ms. Donoghue
 3   received a letter from Anthem informing her that her Personal Information may have been
 4   compromised as a result of the Anthem breach. Ms. Donoghue subsequently received a letter from
 5   the IRS informing her that someone had filed a false tax return in her name using her Personal
 6   Information. Ms. Donoghue still has not received her 2014 tax return payment of approximately
 7   $2,800. As a result of the Anthem breach, Ms. Donoghue has spent numerous hours addressing
 8   issues arising from the Anthem data breach.
 9                                                       Iowa
10               57.   Plaintiff Shantel Jones is a citizen and resident of the State of Iowa. Ms. Jones was
11   enrolled in a Blue Cross Blue Shield of Texas health plan and her husband paid premiums on a
12   regular basis. Blue Cross Blue Shield of Texas and Anthem collected and received Ms. Jones’s
13   Personal Information, which Anthem maintained in its database. Ms. Jones received a letter
14   informing her that her Personal Information may have been compromised as a result of the Anthem
15   breach. Fraudulent charges appeared on Ms. Jones’s husband’s debit card that were disputed and
16   eventually refunded. Ms. Jones and her husband have spent numerous hours addressing issues
17   arising from the Anthem data breach.
18                                                     Kansas
19               58.   Plaintiff Jason Jenkins is a citizen and resident of the State of Kansas. Mr. Jenkins
20   was enrolled in a Blue Cross Blue Shield Blue health plan and paid premiums on a regular basis.
21   Blue Cross Blue Shield and Anthem collected and received Mr. Jenkins’s Personal Information,
22   which Anthem maintained in its database. Mr. Jenkins received a letter from Anthem informing him
23   that his Personal Information may have been compromised as a result of the Anthem breach. As a
24   result of the Anthem breach, Mr. Jenkins has spent numerous hours monitoring his accounts and
25   addressing issues arising from the Anthem data breach.
26               59.   Plaintiff Kelli Smith is a citizen and resident of the State of Kansas. Mrs. Smith and
27   her husband Joseph enrolled their three minor children in an Amerigroup KanCare health plan that
28   they purchased independently and paid premiums for on a regular basis. Amerigroup and Anthem
                                                   21
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 31 of 213



 1   collected and received the Personal Information of Mrs. Smith and her three minor children, which
 2   Anthem maintained in its database. Mrs. Smith received a letter from Anthem informing her that the
 3   Personal Information of herself and her minor children may have been compromised as a result of
 4   the Anthem breach. Mrs. Smith was subsequently notified by her accountant that someone had filed
 5   a false tax return in her and her husband’s name using their Personal Information. As a result of the
 6   Anthem breach, Mrs. Smith and her husband were forced to travel to the IRS office, submit
 7   documentation to the IRS, file a police report, pay postage, and take multiple trips to the post office
 8   and police precinct to address issues relating to tax fraud at their expense. Mrs. Smith and her
 9   husband will need to use a PIN to file her taxes in the future, and her 2014 tax refund payment was
10   delayed by more than six months. This delay caused hardships to Mrs. Smith and her husband who
11   needed their tax refund to pay down medical bills. As a result of the Anthem breach, Mrs. Smith and
12   her husband have spent numerous hours addressing issues relating to their tax fraud, monitoring their
13   accounts, and addressing issues arising from the Anthem data breach.
14                                                    Kentucky
15               60.   Plaintiff Dianne Reistroffer is a citizen and resident of the State of Kentucky. Ms.
16   Reistroffer was enrolled in an Anthem Blue Cross Blue Shield Medicare Select health plan that she
17   purchased directly from Anthem, and she paid premiums on a regular basis. Blue Cross Blue Shield
18   and Anthem collected and received Ms. Reistroffer’s Personal Information, which Anthem
19   maintained in its database. Ms. Reistroffer received a letter from Anthem informing her that her
20   Personal Information may have been compromised as a result of the Anthem breach. Ms. Reistroffer
21   pays approximately $108 annually for identity theft and credit monitoring services in order to
22   monitor for identity theft and fraudulent activity resulting from the Anthem Breach. As a result of
23   the Anthem breach, Ms. Reistroffer has spent numerous hours addressing issues arising from the
24   Anthem data breach.
25               61.   Plaintiff Christopher Ruberg is a citizen and resident of the State of Kentucky. Mr.
26   Ruberg was enrolled in an Anthem Blue Access PPO health plan that he purchased directly from
27   Anthem, and paid premiums on a regular basis. Blue Cross Blue Shield and Anthem collected and
28   received Mr. Ruberg’s Personal Information, which Anthem maintained in its database. Mr. Ruberg
                                                    22
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4          Filed 10/19/15    Page 32 of 213



 1   received two emails and a letter from Anthem informing him that his Personal Information may have
 2   been compromised as a result of the Anthem breach. As a result of the Anthem breach, Mr. Ruberg
 3   has spent numerous hours addressing issues arising from the Anthem data breach.
 4               62.   Plaintiff Frank Bailey is a citizen and resident of the State of Kentucky. Mr. Bailey
 5   was enrolled in a Blue Cross Blue Shield Minnesota health plan and paid premiums on a regular
 6   basis. Blue Cross Blue Shield Minnesota and Anthem collected and received Mr. Bailey’s Personal
 7   Information, which Anthem maintained in its database. Mr. Bailey received a letter from Anthem
 8   informing him that his Personal Information may have been compromised as a result of the Anthem
 9   breach. As a result of the Anthem breach, Mr. Bailey has spent numerous hours monitoring his
10   accounts and addressing issues arising from the Anthem data breach.
11                                                      Maine
12               63.   Plaintiff Robin Wilkey is a citizen and resident of the State of Maine. Ms. Wilkey
13   was enrolled in an Anthem Blue Cross Blue Shield––Anthem Health Plans of Maine, Inc., Maine
14   Education Trust (MEA Benefits Trust) health plan through her employer, a public school, and paid
15   premiums on a regular basis while her husband was enrolled in that plan. Anthem and Anthem Blue
16   Cross Blue Shield collected and received Ms. Wilkey’s Personal Information, which Anthem
17   maintained in its database. Ms. Wilkey and her husband placed credit freezes on their credit reports
18   with the three major U.S. consumer credit reporting agencies in order to detect potential identity
19   theft and fraudulent activity. In February 2015 Ms. Wilkey was notified by her accountant that
20   someone had filed a false tax return in her name using her Personal Information. As a result of the
21   Anthem breach, Ms. Wilkey was forced to submit an affidavit to the IRS, file a police report, take
22   trips to the bank and post office, and make calls to the State of Maine’s Insurance Bureau. Ms.
23   Wilkey’s $4,400 tax refund was delayed six months and Ms. Wilkey was forced to take odd jobs
24   over the summer. Ms. Wilkey also submitted an identity theft claim to the All Clear ID service that
25   Anthem offered as a result of the breach and that claim was denied. As a result of the Anthem data
26   breach, Ms. Wilkey has spent over 100 hours addressing issues arising from the Anthem data breach.
27               64.   Plaintiff Gary Bellegarde is a citizen and resident of the State of Maine. Mr.
28   Bellegarde was enrolled in a Blue Cross Blue Shield of Maine plan and paid premiums on a regular
                                                     23
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 33 of 213



 1   basis. Anthem and Blue Cross Blue Shield of Maine collected and received Mr. Bellegarde’s
 2   Personal Information, which Anthem maintained in its database. Mr. Bellegarde received a letter
 3   from Anthem informing him that his Personal Information may have been compromised as a result
 4   of the Anthem breach, as did his wife, who was a member of the same health plan. After
 5   announcement of the Anthem breach, Mr. Bellegarde received a call from his accounting firm
 6   informing him that his tax returns had been rejected because someone had filed a false tax return in
 7   his name using his Personal Information. Mr. Bellegarde had to drive to the local IRS office to
 8   provide proof of identification and fill out an affidavit. As a result, his 2014 tax refund payment was
 9   delayed by four months. Mr. Bellegarde also had to travel to the state capital with the paper returns
10   to prevent possible state tax fraud. As a result of the Anthem breach, Mr. Bellegarde has spent
11   numerous hours monitoring his accounts and addressing issues arising from the Anthem data breach.
12               65.   Plaintiff Mark Hatcher is a citizen and resident of the State of Maine. Mr. Hatcher
13   purchased Anthem Blue Cross Blue Shield independently and paid premiums on a regular basis.
14   Anthem and Blue Cross Blue Shield collected and received Mr. Hatcher’s Personal Information,
15   which Anthem maintained in its database. Mr. Hatcher received a letter from Anthem informing him
16   that his Personal Information may have been compromised as a result of the Anthem breach. After
17   announcement of the Anthem breach, Mr. Hatcher’s Social Security Number was used to change the
18   PIN on his bank account and the account balance of approximately $913 was withdrawn. During the
19   period before the unauthorized charges were returned, Mr. Hatcher was unable to pay several bills,
20   which damaged his credit, but also left him unable to purchase necessities. One of the bills Mr.
21   Hatcher was unable to pay during this period was his monthly premium to Anthem, and his policy
22   lapsed. Mr. Hatcher could not be reinstated and must wait until the next open enrollment period to
23   reenroll. As such, Mr. Hatcher is currently without health insurance. Mr. Hatcher also incurred a
24   $20.00 late fee for the storage unit he was renting. The late payment was a result of a failed auto-
25   payment which fell 2 days after his bank account was breached and during the time his bank account
26   was frozen. As a result of the Anthem breach, Mr. Hatcher has spent numerous hours monitoring his
27   accounts and addressing issues arising from the Anthem data breach.
28
                                               24
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 34 of 213



 1                                                   Maryland
 2               66.   Plaintiff Don West is a citizen and resident of the State of Maryland. Mr. West
 3   enrolled in a CareFirst Blue Choice, Inc. health plan and paid premiums on a regular basis. CareFirst
 4   Blue Choice, Inc. and Anthem collected and received Mr. West’s Personal Information, which
 5   Anthem maintained in its database. Mr. West received a letter from Anthem and his employer
 6   informing him that his Personal Information may have been compromised as a result of the Anthem
 7   breach. In or about February 2015, Mr. West was notified that someone had filed a false tax return
 8   under his name using his Personal Information. Mr. West was forced to submit affidavits to the IRS,
 9   file a police report, and file his taxes by mail. Mr. West’s federal tax refund of $1,700 was delayed
10   six months and Mr. West’s State of Maryland tax refund of $400 was delayed eight months. Mr.
11   West received notification that an attempt was made to open a Capital One credit card with Mr.
12   West’s Personal Information. As a result of the Anthem breach, Mr. West has spent numerous hours
13   addressing issues arising from the Anthem data breach.
14                                                 Massachusetts
15               67.   Plaintiff Fazi Zand is a citizen and resident of the State of Massachusetts. Mr. Zand
16   was enrolled in an Anthem Blue Cross health plan and paid premiums on a regular basis. Anthem
17   Blue Cross and Anthem collected and received Mr. Zand’s Personal Information, which Anthem
18   maintained in its database. Mr. Zand received notification e-mails from Anthem and his employer
19   informing him that his information may have been compromised as a result of the Anthem data
20   breach. As a result of the Anthem breach, Mr. Zand has spent numerous hours monitoring his
21   accounts and addressing issues arising from the Anthem data breach.
22               68.   Plaintiff Claudia Cass is a citizen and resident of the State of Massachusetts. Ms. Cass
23   was enrolled in an Empire New York State Governmental Employee health plan through her
24   employer, the City School District of New Rochelle, New York. Six months after getting married,
25   Ms. Cass was enrolled in a different Empire Plan NYSHIP through her husband’s employer, the
26   New York State Thruway Authority. Anthem and Empire collected and received Ms. Cass’s
27   Personal Information, which Anthem maintained in its database. Ms. Cass received a letter from
28   Anthem informing her that her Personal Information may have been compromised as a result of the
                                                    25
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 35 of 213



 1   Anthem breach. Ms. Cass then learned from an Anthem representative that her daughter’s Personal
 2   Information was also compromised. After announcement of the Anthem breach, Ms. Cass received a
 3   notification that her tax return had been rejected because someone had filed a false tax return in her
 4   name using her Personal Information and a refund had already been given. The IRS sent Ms. Cass to
 5   her local Social Security office, the police, and her bank. Ms. Cass will need to use a PIN to file her
 6   taxes in the future, and her 2014 tax refund payment was delayed by almost six months.
 7   Additionally, Ms. Cass pays approximately $100 annually for identity theft and credit monitoring
 8   services in order to monitor for identity theft and fraudulent activity resulting from the Anthem
 9   breach. As a result of the Anthem breach, Ms. Cass has spent numerous hours monitoring her
10   accounts and addressing issues arising from the Anthem data breach.
11               69.   Plaintiff Robert Roy is a citizen and resident of the State of Massachusetts. Mr. Roy
12   was enrolled in a Unicare State Indemnity Plan, a trade name of Anthem Insurance Companies,
13   health plan through his employer, the Commonwealth of Massachusetts, and he paid premiums on a
14   regular basis. Unicare State Indemnity Plan and Anthem collected and received Mr. Roy’s Personal
15   Information, which Anthem maintained in its database. Mr. Roy received a letter from Anthem
16   informing him that his Personal Information may have been compromised as a result of the Anthem
17   breach. Mr. Roy pays approximately $252 annually for identity theft and credit monitoring services
18   in order to monitor for identity theft and fraudulent activity resulting from the Anthem breach. Mr.
19   Roy was subsequently notified by his CPA that someone had filed a false tax return under his name
20   using his Personal Information. As a result of the Anthem breach, Mr. Roy was forced to submit an
21   affidavit to the IRS, file a police report, and file his taxes by mail. Mr. Roy’s $1,700 tax refund was
22   delayed 2.5 months. As a result of the Anthem breach, Mr. Roy has spent numerous hours
23   addressing issues arising from the Anthem data breach.
24               70.   Plaintiff Carrie Ramos is a citizen and resident of the State of Massachusetts. Ms.
25   Amos was enrolled in a state-sponsored Blue Cross Blue Shield of Massachusetts Preferred Blue
26   PPO and paid premiums on a regular basis. Blue Cross Blue Shield of Massachusetts and Anthem
27   collected and received Ms. Ramos’s Personal Information, which Anthem maintained in its database.
28   Around March 2015, Ms. Ramos received a letter from Blue Cross Blue Shield of Massachusetts
                                                   26
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15     Page 36 of 213



 1   informing her that some of her Personal Information was accessed during the breach. She
 2   subsequently received a letter from Anthem informing her that her Personal Information may have
 3   been compromised as a result of the Anthem breach. As a result of the Anthem breach, Ms. Ramos
 4   has spent numerous hours addressing issues arising from the Anthem data breach.
 5               71.   Plaintiff Lisa Daniels is a citizen and resident of the State of Massachusetts. Ms.
 6   Daniels was enrolled in an Anthem Blue Cross Blue Shield plan and paid premiums on a regular
 7   basis. Anthem collected and received Ms. Daniels’ Personal Information, which Anthem maintained
 8   in its database. Ms. Daniels received a letter from Anthem informing her that her Personal
 9   Information may have been compromised as a result of the breach. Prior to the announcement of the
10   Anthem breach but, on information and belief, after the breach had occurred, Ms. Daniels was
11   notified that her bank account was overdrawn. Upon receiving the account statement, she found that
12   multiple fraudulent withdrawals had been made from her account. Ms. Daniel notified her bank and
13   they told her to file a police report. Ms. Daniel filed a police report and the investigation is ongoing.
14   To date, Ms. Daniels has not been reimbursed for the fraudulently withdrawn funds. As a result, Ms.
15   Daniels lost her apartment, her health insurance (though it was subsequently reinstated), and has
16   been hospitalized for depression and anxiety. She is presently homeless and her belongings are in a
17   storage facility for which she cannot make payments, so risks losing her possessions as well. As a
18   result of the Anthem breach, Ms. Daniels has spent numerous hours monitoring her accounts and
19   addressing issues arising from the Anthem data breach.
20                                                    Michigan
21               72.   Plaintiff Michelle Kaseta-Collins is a citizen and resident of the State of Michigan.
22   Ms. Kaseta-Collins was enrolled in a Blue Care Network HMO affiliated with Blue Cross Blue
23   Shield of Michigan health plan and paid premiums on a regular basis. In the past, Ms. Kaseta-Collins
24   was enrolled in a MESSA Blue Cross Blue Shield of Michigan plan through her employer, a public
25   university, and paid premiums on a regular basis. Also in the past, Ms. Kaseta-Collins was enrolled
26   in a Blue Cross Blue Shield of Michigan Community Blue PPO ASC health plan through her
27   employer, a public school, and paid premiums on a regular basis. Also in the past, Ms. Kaseta-
28   Collins was enrolled in an Allegis CareFirst Blue Cross Blue Shield health plan and paid premiums
                                                      27
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 37 of 213



 1   on a regular basis. These entities and Anthem collected and received Ms. Kaseta-Collins’ Personal
 2   Information, which Anthem maintained in its database. Ms. Kaseta-Collins and her daughter
 3   received a letter from Anthem informing them that their Personal Information may have been
 4   compromised as a result of the Anthem breach. Ms. Kaseta-Collins placed credit freezes on her and
 5   her daughter’s credit reports with the three major U.S. consumer credit reporting agencies in order to
 6   detect potential identity theft and fraudulent activity. As a result of the Anthem breach, Ms. Kaseta-
 7   Collins has spent numerous hours addressing issues arising from the Anthem data breach.
 8                                                   Minnesota
 9               73.   Plaintiff Hank Maurer is a citizen and resident of the State of Minnesota. Mr. Maurer
10   was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a regular basis.
11   Anthem Blue Cross Blue Shield and Anthem collected and received Mr. Maurer’s Personal
12   Information, which Anthem maintained in its database. Mr. Maurer received a letter from Anthem
13   informing him that his Personal Information may have been compromised as a result of the Anthem
14   breach. Mr. Maurer pays approximately $180 annually for identity theft and credit monitoring
15   services in order to monitor for identity theft and fraudulent activity resulting from the Anthem
16   breach. As a result of the Anthem breach, Mr. Maurer has spent numerous hours addressing issues
17   arising from the Anthem data breach.
18               74.   Plaintiff Jack Wenglewick is a citizen and resident of the State of Minnesota. Mr.
19   Wenglewick was enrolled in a Blue Cross and Blue Shield of Illinois health plan and an Anthem
20   Blue Cross Blue Shield Choice Plus PPO health plan and paid premiums on a regular basis. Anthem
21   and Blue Cross and Blue Shield of Illinois collected and received Mr. Wenglewick’s Personal
22   Information, which Anthem maintained in its database. Mr. Wenglewick received notification e-
23   mails from Anthem and his employer informing him that his Personal Information may have been
24   compromised as a result of the Anthem data breach. As a result of the Anthem breach, Mr.
25   Wenglewick has spent numerous hours monitoring his accounts and addressing issues arising from
26   the Anthem data breach.
27                                                   Mississippi
28               75.   Plaintiff Charles McCullough is a citizen and resident of the State of Mississippi. Mr.
                                                         28
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                           CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 38 of 213



 1   McCullough was enrolled in a Blue Cross Blue Shield health plan and paid premiums on a regular
 2   basis. Blue Cross Blue Shield and Anthem collected and received Mr. McCullough’s Personal
 3   Information, which Anthem maintained in its database. Mr. McCullough received a letter from
 4   Anthem informing him that his Personal Information may have been compromised as a result of the
 5   Anthem breach. Mr. McCullough also placed fraud alerts on his credit reports with the three major
 6   U.S. consumer credit reporting agencies in order to detect potential identity theft and fraudulent
 7   activity. As a result of the Anthem breach, Mr. McCullough has spent numerous hours addressing
 8   issues arising from the Anthem data breach.
 9                                                    Missouri
10               76.   Plaintiff Debbie Stein is a citizen and resident of the State of Missouri. Ms. Stein was
11   enrolled in an Anthem Blue Access Choice health plan through her employer, a Missouri public
12   school, and paid premiums on a regular basis. Anthem Blue Access Choice and Anthem collected
13   and received Ms. Stein’s Personal Information, which Anthem maintained in its database. Ms. Stein
14   received a letter from Anthem informing her that her Personal Information may have been
15   compromised as a result of the Anthem breach. Ms. Stein subsequently received a fraudulent tax
16   refund check from the IRS. She filed an identity theft affidavit with the IRS. Ms. Stein also placed
17   credit freezes on her credit reports with the three major U.S. consumer credit reporting agencies in
18   order to detect potential identity theft and fraudulent activity. As a result of the Anthem breach, Ms.
19   Stein took time off of work and has spent numerous hours addressing issues arising from the Anthem
20   data breach.
21               77.   Plaintiff Melody Eads is a citizen and resident of the State of Missouri. Ms. Eads was
22   enrolled in an Anthem Blue Cross Blue Shield Blue Access PPO health plan and an Anthem Blue
23   Cross Blue Shield health plan and paid premiums on a regular basis. Anthem Blue Cross Blue Shield
24   and Anthem collected and received Ms. Eads’s Personal Information, which Anthem maintained in
25   its database. Ms. Eads received a letter from her employer and Anthem informing her that her
26   Personal Information may have been compromised as a result of the Anthem breach. Ms. Eads
27   subsequently received a letter from the IRS indicating that someone had tried to file a false tax return
28   in her name using her Personal Information. As a result, Ms. Eads was forced to submit affidavits to
                                                     29
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 39 of 213



 1   the IRS and file a police report documenting the fraud. As a result of the Anthem breach, Ms. Eads
 2   has spent over 100 hours addressing tax fraud, monitoring her accounts, and addressing issues
 3   arising from the Anthem data breach.
 4               78.   Plaintiff Christopher Allen is a citizen and resident of the State of Missouri. Mr. Allen
 5   was enrolled in an Anthem Blue Cross and Blue Shield / RightChoice Managed Care, Inc. health
 6   insurance plan, and paid premiums on a regular basis. Anthem Blue Cross and Blue Shield /
 7   RightChoice Managed Care, Inc. and Anthem collected and received Mr. Allen’s Personal
 8   Information, which Anthem maintained in its database. Mr. Allen received two letters from Anthem
 9   informing him that his and his family’s Personal Information may have been compromised as a
10   result of the Anthem breach. Mr. Allen subsequently received a letter from the IRS informing him
11   that someone had filed a false tax return in his name using his Personal Information. As a result, his
12   2014 tax refund payment was delayed by a number of months. As a result of the Anthem breach, Mr.
13   Allen has spent numerous hours monitoring his family’s accounts and addressing issues arising from
14   the Anthem data breach.
15                                                    Nebraska
16               79.   Plaintiff Troy Hobbs is a citizen and resident of the State of Nebraska. Mr. Hobbs
17   was enrolled in an Anthem Blue Cross Blue Shield of Wisconsin health plan and paid premiums on a
18   regular basis. Anthem Blue Cross Blue Shield of Wisconsin and Anthem collected and received Mr.
19   Hobbs’s Personal Information, which Anthem maintained in its database. Mr. Hobbs received a
20   letter from Anthem informing him that his Personal Information may have been compromised as a
21   result of the Anthem breach. In or around February 2015, Mr. Hobbs and his spouse attempted to file
22   their taxes online and received an error message stating their taxes had already been filed, even
23   though Mr. and Mrs. Hobbs had not yet filed a tax return. Mr. Hobbs subsequently received a letter
24   from the IRS informing him that someone had filed a false tax return in his name using his Personal
25   Information. Mr. Hobbs was forced to contact and submit documents to the IRS and file a police
26   report relating to the tax fraud at his own expense. Additionally, Mr. Hobbs’s 2014 tax refund
27   payment was delayed by at least six months. In September of 2015, Mr. Hobbs learned that someone
28   had taken out an online loan in his name and using his Personal Information in the amount of $1720.
                                                      30
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 40 of 213



 1   Mr. Hobbs is still in the process of attempting to clear his name with respect to the fraudulent loan.
 2   As a result of the Anthem breach, Mr. Hobbs has spent numerous hours addressing issues relating to
 3   his tax and credit fraud, monitoring his accounts, and addressing issues arising from the Anthem data
 4   breach.
 5                                                     Nevada
 6               80.   Plaintiff David Ifversen is a citizen and resident of the State of Nevada. Mr. Ifversen
 7   was enrolled in an Anthem Blue Cross Blue Shield Federal Employees Program health plan through
 8   his employer, the U.S. State Department, and paid premiums on a regular basis. Blue Cross Blue
 9   Shield and Anthem collected and received Mr. Ifversen’s Personal Information, which Anthem
10   maintained in its database. Mr. Ifversen received a letter from Anthem informing him that his
11   Personal Information may have been compromised as a result of the Anthem breach. As a result of
12   the Anthem breach, Mr. Ifversen has spent numerous hours addressing issues arising from the
13   Anthem data breach.
14                                                New Hampshire
15               81.   Plaintiff Joseph LeBrun is a citizen and resident of the State of New Hampshire. Mr.
16   LeBrun was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a
17   regular basis. Anthem Blue Cross Blue Shield and Anthem collected and received Mr. LeBrun’s
18   Personal Information, which Anthem maintained in its database. Mr. LeBrun received a letter from
19   Anthem informing him that his Personal Information may have been compromised as a result of the
20   Anthem breach. Mr. LeBrun subsequently received a letter from the IRS informing him that
21   someone had filed a false tax return using his Personal Information. Mr. LeBrun also placed credit
22   freezes on his credit reports with the three major U.S. consumer credit reporting agencies in order to
23   detect potential identity theft and fraudulent activity. As a result of the Anthem breach, Mr. LeBrun
24   has spent numerous hours addressing issues arising from the Anthem data breach.
25               82.   Plaintiff Brenda Harrington is a citizen and resident of the State of New Hampshire.
26   Ms. Harrington was enrolled in an Anthem Blue Cross Blue Shield health plan that she purchased
27   directly from Anthem, and paid premiums on a regular basis. Blue Cross Blue Shield and Anthem
28   collected and received Ms. Harrington’s Personal Information, which Anthem maintained in its
                                                     31
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 41 of 213



 1   database. Ms. Harrington received a letter from Anthem informing her that her Personal Information
 2   may have been compromised as a result of the Anthem breach. Ms. Harrington subsequently
 3   received a letter from the IRS informing her that someone had filed a false tax return in her name
 4   using her Personal Information. As a result of the Anthem breach, Ms. Harrington was forced to
 5   submit affidavits to the IRS and file paper tax returns. As a result of the Anthem breach, Ms.
 6   Harrington has spent numerous hours addressing issues arising from the Anthem data breach.
 7                                                  New Jersey
 8               83.   Plaintiff Elizabeth Ames is a resident and citizen of the State of New Jersey. Ms.
 9   Ames was enrolled in a Horizon Blue Cross Blue Shield of New Jersey health plan that she
10   purchased independently from Horizon Blue Cross Blue Shield of New Jersey and was previously
11   enrolled in a Blue Cross Blue Shield of Florida health plan. Ms. Ames paid premiums on a regular
12   basis. Horizon Blue Cross Blue Shield of New Jersey, Blue Cross Blue Shield of Florida, and
13   Anthem collected and received Ms. Ames’s Personal Information, which Anthem maintained in its
14   database. Ms. Ames received a letter from Anthem informing her that her Personal Information may
15   have been compromised as a result of the data breach. As a result of the Anthem breach, Ms. Ames
16   has spent numerous hours addressing issues arising from the Anthem data breach.
17                                                  New Mexico
18               84.   Plaintiff Ronald Percy is a citizen and resident of the State of New Mexico. Mr. Percy
19   was enrolled in a Unicare Security Choice Medicare health plan that he purchased independently and
20   paid premiums for on a regular basis. Unicare Security Choice Medicare and Anthem collected and
21   received Mr. Percy’s Personal Information, which Anthem maintained in its database. Mr. Percy
22   received a letter from Anthem informing him that his Personal Information may have been
23   compromised as a result of the Anthem breach. Mr. Percy and his wife Linda placed credit freezes
24   on their credit reports with the three major U.S. consumer credit reporting agencies in order to detect
25   potential identity theft and fraudulent activity. Additionally, Mr. Percy and his wife pay
26   approximately $230 annually for identity theft and credit monitoring services in order to monitor for
27   identity theft and fraudulent activity resulting from the Anthem breach. As a result of the Anthem
28   breach, Mr. Percy and his wife have spent numerous hours monitoring their accounts and addressing
                                                    32
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 42 of 213



 1   issues arising from the Anthem data breach.
 2                                                   New York
 3               85.   Plaintiff Barbara Gold is a citizen and resident of the State of New York. Ms. Gold
 4   was enrolled in a state-sponsored Empire Blue Cross Blue Shield health plan through her husband’s
 5   employer, the State of New York, and paid premiums on a regular basis. Empire Blue Cross Blue
 6   Shield and Anthem collected and received Ms. Gold’s Personal Information, which Anthem
 7   maintained in its database. Ms. Gold received a letter from Anthem informing her that her Personal
 8   Information may have been compromised as a result of the Anthem breach. Anthem confirmed to
 9   Ms. Gold over the telephone that her data was in fact compromised. Ms. Gold pays approximately
10   $191 annually for identity theft and credit monitoring services in order to monitor for identity theft
11   and fraudulent activity resulting from the Anthem breach. As a result of the Anthem breach, Ms.
12   Gold has spent numerous hours addressing issues arising from the Anthem data breach, which has
13   caused her undue distress.
14               86.   Plaintiff Matthew Gates is a citizen and resident of the State of New York. Mr. Gates
15   was enrolled in an Anthem Blue Cross Blue Shield PPO health plan and paid premiums on a regular
16   basis. Anthem Blue Cross Blue Shield and Anthem collected and received Mr. Gates’s Personal
17   Information, which Anthem maintained in its database. Mr. Gates received a letter from Anthem
18   informing him that his Personal Information may have been compromised as a result of the Anthem
19   breach. Mr. Gates’s minor son, who was a member of the same health plan, subsequently received a
20   letter from the IRS seeking confirmation of his identity. As a result of the Anthem breach, Mr. Gates
21   and his wife spent numerous hours on the phone with the IRS and police attempting to correct their
22   son’s tax filing. As a result, his 2014 tax refund payment was delayed by six months. As a result of
23   the Anthem breach, Mr. Gates and his family have spent numerous hours monitoring their accounts
24   and addressing issues arising from the Anthem data breach.
25               87.   Plaintiff Juan Carlos Cerro is a citizen and resident of the State of New York. Mr.
26   Cerro was enrolled in a state-sponsored Empire HealthChoice health plan through his wife’s
27   employer, a New York public school, and paid premiums on a regular basis. Anthem collected and
28   received Mr. Cerro’s Personal Information, which Anthem maintained in its database. Mr. Cerro
                                                    33
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 43 of 213



 1   received a letter from Anthem informing him that his Personal Information may have been
 2   compromised as a result of the Anthem breach. Mr. Cerro and his wife subsequently received a letter
 3   from the IRS informing them that someone had filed a false tax return in their name using their
 4   Personal Information. As a result of the Anthem breach, Mr. Cerro and his wife were forced to
 5   submit affidavits to the IRS, file a police report, file a complaint with the Federal Trade
 6   Commission, and take trips to the Social Security Administration office. Their 2014 tax return
 7   payment was delayed until September 2015. Mr. Cerro and his wife also placed credit freezes on
 8   their credit reports with the three major U.S. consumer credit reporting agencies in order to detect
 9   potential identity theft and fraudulent activity. Additionally, Mr. Cerro pays approximately $300
10   annually for identity theft and credit monitoring services in order to monitor for identity theft and
11   fraudulent activity resulting from the Anthem breach. As a result of the Anthem breach, Mr. Cerro
12   has spent numerous hours addressing issues arising from the Anthem data breach.
13               88.   Plaintiff Marne Onderdonk is a citizen and resident of the State of New York. Ms.
14   Onderdonk was enrolled in a Blue Cross Blue Shield United HealthCare plan via The Empire Plan
15   New Health Insurance Program through her employer, a county family court, and paid premiums on
16   a regular basis. Blue Cross Blue Shield United HealthCare plan via The Empire Plan New Health
17   Insurance Program and Anthem collected and received Ms. Onderdonk’s Personal Information,
18   which Anthem maintained in its database. Ms. Onderdonk placed credit freezes on her credit reports
19   with the three major U.S. consumer credit reporting agencies in order to detect potential identity
20   theft and fraudulent activity, which has caused her delays when applying for credit. Additionally,
21   Ms. Onderdonk pays approximately $240 annually for identity theft and credit monitoring services
22   in order to monitor for identity theft and fraudulent activity resulting from the Anthem breach. As a
23   result of the Anthem breach, Ms. Onderdonk has spent numerous hours monitoring her accounts and
24   addressing issues arising from the Anthem data breach.
25                                                North Carolina
26               89.   Plaintiff Randy Polacsek is a citizen and resident of the State of North Carolina. Mr.
27   Polacsek was enrolled in a Blue Cross Blue Shield of California health plan and paid premiums on a
28   regular basis. Prior to that, Mr. Polacsek was enrolled in a Blue Cross Blue Shield of Pennsylvania
                                                        34
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4          Filed 10/19/15     Page 44 of 213



 1   health plan and paid premiums on a regular basis. Prior to that, Mr. Polacsek was enrolled in a Blue
 2   Cross Blue Shield of Massachusetts health plan and paid premiums on a regular basis. These entities
 3   and Anthem collected and received Mr. Polacsek’s Personal Information, which Anthem maintained
 4   in its database. Mr. Polacsek received a letter from Anthem informing him that his Personal
 5   Information may have been compromised as a result of the Anthem breach. In March 2015, Mr.
 6   Polacsek was informed by a detective in Illinois that someone had a credit card in Illinois with Mr.
 7   Polacsek’s Personal Information. Mr. Polacsek had his credit cards cancelled and reissued. As a
 8   result of the Anthem data breach, Mr. Polacsek has spent numerous hours addressing issues arising
 9   from the Anthem data breach.
10               90.   Plaintiff Francis Nicosia is a citizen and resident of the State of North Carolina. Mr.
11   Nicosia was enrolled in a North Carolina Blue Cross Blue Shield health plan and an Anthem Blue
12   Cross health plan and paid premiums on a regular basis. North Carolina Blue Cross Blue Shield,
13   Anthem Blue Cross and Anthem collected and received Mr. Nicosia’s Personal Information, which
14   Anthem maintained in its database. Following Anthem’s announcement of the data breach, Mr.
15   Nicosia received a letter from the IRS informing him that someone had filed a false tax return in his
16   name using his Personal Information. Mr. Nicosia thereafter called Anthem and was informed that
17   his Personal Information may have been compromised by the Anthem breach. Mr. Nicosia still has
18   not received his 2014 tax return payment. Additionally, Mr. Nicosia pays approximately $780
19   annually for identity theft and credit monitoring services in order to monitor for identity theft and
20   fraudulent activity resulting from the Anthem breach. As a result of the Anthem breach, Mr. Nicosia
21   has spent numerous hours addressing issues arising from the Anthem data breach.
22                                                       Ohio
23               91.   Plaintiff Connie McDaniel is a citizen and resident of the State of Ohio. Ms.
24   McDaniel was enrolled in a Blue Cross Blue Shield of Alabama plan and paid premiums on a
25   regular basis. Anthem collected and received Ms. McDaniel’s Personal Information, which Anthem
26   maintained in its database. Ms. McDaniel received a letter from Anthem informing her that her
27   Personal Information may have been compromised as a result of the Anthem breach. After the
28   announcement of the Anthem breach, Ms. McDaniel was notified that her joint tax return had been
                                                35
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15      Page 45 of 213



 1   rejected because someone had filed a false return in her name using her Personal Information. Ms.
 2   McDaniel went to the local police department to file a report, called credit reporting agencies, went
 3   to her bank and credit union, and communicated with the IRS regarding this matter. As a result, her
 4   2014 tax refund payment was delayed by three months. As a result of the Anthem breach, Ms.
 5   McDaniel has spent numerous hours monitoring her accounts and addressing issues arising from the
 6   Anthem data breach.
 7               92.   Plaintiff Janett Tillman is a citizen and resident of the State of Ohio. Ms. Tillman
 8   purchased Anthem Blue Cross Advantage through Medicare and paid premiums on a regular basis.
 9   Anthem collected and received Ms. Tillman’s Personal Information, which Anthem maintained in its
10   database. Ms. Tillman received a letter from Anthem informing her that her Personal Information
11   may have been compromised as a result of the Anthem breach. As a result of the Anthem breach,
12   Ms. Tillman has spent numerous hours monitoring her accounts and addressing issues arising from
13   the Anthem data breach.
14               93.   Plaintiff Rachel Calo is a citizen and resident of the State of Ohio. Ms. Calo was
15   enrolled in an Anthem Blue Cross Blue Shield plan and paid premiums on a regular basis. Anthem
16   and Blue Cross Blue Shield collected and received Ms. Calo’s Personal Information, which Anthem
17   maintained in its database. Ms. Calo received a letter from Anthem informing her that her Personal
18   Information may have been compromised as a result of the Anthem breach, as did her minor
19   children, who were members of the same health plan. As a result of the Anthem breach, Ms. Calo
20   has spent numerous hours monitoring her accounts and addressing issues arising from the Anthem
21   data breach.
22               94.   Plaintiff Nicholas Bowes is a citizen and resident of the State of Ohio. Mr. Bowes
23   was enrolled in an Anthem Blue Cross Blue Shield plan through his employer, a public university,
24   and was previously enrolled in an Anthem Blue Cross Blue Shield plan through a parent. Mr. Bowes
25   paid premiums on a regular basis. Anthem collected and received Mr. Bowes’ Personal Information,
26   which Anthem maintained in its database. Mr. Bowes received a letter from Anthem informing him
27   that his Personal Information may have been compromised as a result of the Anthem breach and also
28   received notification from his employer. As a result of the Anthem breach, Mr. Bowes has spent
                                                      36
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 46 of 213



 1   numerous hours monitoring his accounts and addressing issues arising from the Anthem data breach.
 2               95.   Plaintiff Martin Williams is a citizen and resident of the State of Ohio. Mr. Williams
 3   was enrolled in an Anthem Blue Cross Blue Shield plan, which he purchased independently, and
 4   also under a separate Anthem Blue Cross Blue Shield plan. Mr. Williams paid premiums on a
 5   regular basis. Anthem collected and received Mr. Williams’ Personal Information, which Anthem
 6   maintained in its database. Mr. Williams received a letter from Anthem informing him that his
 7   Personal Information may have been compromised as a result of the Anthem breach, as did his wife.
 8   After announcement of the Anthem breach, Mr. Williams was notified of fraudulent charges to one
 9   of his accounts, resulting in cancellation and reissuance of the affected card. As a result of the
10   Anthem breach, Mr. Williams has spent numerous hours monitoring his accounts and addressing
11   issues arising from the Anthem data breach.
12                                                   Oklahoma
13               96.   Plaintiff Rosanne M. Stanley is a citizen and resident of the State of Oklahoma. Ms.
14   Stanley was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a
15   regular basis. Anthem Blue Cross Blue Shield collected and received Ms. Stanley’s Personal
16   Information, which Anthem maintained in its database. Ms. Stanley received a letter from Anthem
17   informing her that her Personal Information may have been compromised as a result of the Anthem
18   breach. Ms. Stanley now closely reviews her identity theft and credit monitoring services and
19   monitors her bank accounts. As a result of the Anthem breach, Ms. Stanley has spent numerous
20   hours addressing issues arising from the Anthem data breach.
21                                                  Pennsylvania
22               97.   Plaintiff Gregory Kremer is a citizen and resident of the State of Pennsylvania. Mr.
23   Kremer was enrolled in a Blue Cross Blue Shield of Illinois health plan and paid premiums on a
24   regular basis. Prior to that, Mr. Kremer was enrolled in an Anthem health plan. Blue Cross Blue
25   Shield of Illinois and Anthem collected and received Mr. Kremer’s Personal Information, which
26   Anthem maintained in its database. Mr. Kremer received a letter from Anthem informing him that
27   his Personal Information may have been compromised as a result of the Anthem breach. Mr. Kremer
28   has enrolled in an identity theft and credit monitoring service in order to monitor for identity theft
                                                        37
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 47 of 213



 1   and fraudulent activity resulting from the Anthem breach. As a result of the Anthem breach, Mr.
 2   Kremer has spent numerous hours addressing issues arising from the Anthem data breach.
 3               98.    Plaintiff Denise Masloski is a citizen and resident of the State of Pennsylvania. Ms.
 4   Masloski was enrolled in a Highmark Blue Cross Blue Shield health plan and paid premiums on a
 5   regular basis. Highmark Blue Cross Blue Shield and Anthem collected and received Ms. Masloski’s
 6   Personal Information, which Anthem maintained in its database. When Ms. Masloski was unable to
 7   file her 2014 tax return she learned that someone had filed a false tax return in her name using her
 8   Personal Information. As a result of the Anthem breach, Ms. Masloski was forced to submit
 9   affidavits to the IRS, travel to the Social Security Administration office to verify her identity, and
10   spend numerous hours on the phone with the IRS. She still has not received her tax refund for
11   $3,425.00. As a result of the Anthem breach, Ms. Masloski has been denied access to her federal tax
12   refund and has spent numerous hours addressing issues arising from the Anthem data breach.
13                                                  South Carolina
14               99.    Plaintiff Lakeysha Gant is a citizen and resident of the State of South Carolina. Ms.
15   Gant was enrolled in an Anthem Blue Cross Blue Shield Bronze Plus Choice health plan and paid
16   premiums on a regular basis. Anthem collected and received Ms. Gant’s personal information, which
17   Anthem maintained in its database. Ms. Gant received a letter from Anthem informing her that her
18   information may have been compromised as a result of the Anthem data breach. Ms. Gant now
19   engages in frequent monitoring of her credit and her bank accounts. As a result of the Anthem
20   breach, Ms. Gant has spent numerous hours addressing issues arising from the Anthem data breach.
21                                                     Tennessee
22               100.   Plaintiff Jonathan B. Pulcini is a citizen and resident of the State of Tennessee. Mr.
23   Pulcini was enrolled in an Anthem Blue Cross Blue Shield health plan and paid premiums on a
24   regular basis. Anthem Blue Cross Blue Shield collected and received Mr. Pulcini’s Personal
25   Information, which Anthem maintained in its database. Mr. Pulcini received a letter from Anthem
26   informing him that his Personal Information may have been compromised as a result of the Anthem
27   breach. Mr. Pulcini now closely reviews his identity theft and credit monitoring services and
28   monitors his bank accounts. As a result of the Anthem breach, Mr. Pulcini has spent numerous hours
                                                      38
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15     Page 48 of 213



 1   addressing issues arising from the Anthem data breach.
 2                                                      Texas
 3               101.   Plaintiff Lane Wagner is a citizen and resident of the State of Texas. Mr. Wagner was
 4   enrolled in a Blue Cross Blue Shield of Texas health plan that he purchased individually, and he paid
 5   premiums on a regular basis. Blue Cross Blue Shield of Texas and Anthem collected and received
 6   Mr. Wagner’s Personal Information, which Anthem maintained in its database. Mr. Wagner received
 7   a letter from Anthem informing him that his Personal Information may have been compromised as a
 8   result of the Anthem breach. Mr. Wagner pays approximately $480 annually for identity theft and
 9   credit monitoring services in order to monitor for identity theft and fraudulent activity resulting from
10   the Anthem breach. That service notified Mr. Wagner that his Personal Information was for sale on
11   two dark web sites. Mr. Wagner then placed credit freezes on his credit reports with the three major
12   U.S. consumer credit reporting agencies in order to detect potential identity theft and fraudulent
13   activity. Mr. Wagner also filed a police report and filed a complaint with the Federal Trade
14   Commission. As a result of the Anthem breach, Mr. Wagner has spent numerous hours addressing
15   issues arising from the Anthem data breach.
16               102.   Plaintiff Joseph Beckerman is a citizen and resident of the State of Texas. Mr.
17   Beckerman was enrolled in an Anthem Blue Cross Blue Shield PPO health plan and an Anthem Blue
18   View Plus Insurance Vision health plan. Mr. Beckerman paid premiums on a regular basis. Anthem
19   collected and received Mr. Beckerman’s Personal Information, which Anthem maintained in its
20   database. Mr. Beckerman received a letter from Anthem informing him that his Personal Information
21   may have been compromised as a result of the Anthem breach. Mr. Beckerman pays approximately
22   $700 annually for identity theft and credit monitoring services for himself and his three children,
23   who were members of the same health plan, in order to monitor for identity theft and fraudulent
24   activity resulting from the Anthem breach. As a result of the Anthem breach, Mr. Beckerman has
25   spent numerous hours monitoring his accounts and addressing issues arising from the Anthem data
26   breach on behalf of himself and his three children.
27                                                     Virginia
28               103.   Plaintiff Amanda Davis is a citizen and resident of the State of Virginia. Mrs. Davis
                                                          39
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 49 of 213



 1   was enrolled in a state-sponsored Anthem Healthkeepers health plan through her employer, a public
 2   school, and an Anthem Blue Cross Blue Shield of Virginia health plan that she purchased
 3   independently through the health insurance marketplace. Mrs. Davis paid premiums for her health
 4   plans on a regular basis. Anthem Healthkeepers, Anthem Blue Cross Blue Shield of Virginia and
 5   Anthem collected and received Mrs. Davis’s Personal Information, which Anthem maintained in its
 6   database. Mrs. Davis received a letter from Anthem informing her that her Personal Information may
 7   have been compromised as a result of the Anthem breach. Mrs. Davis subsequently learned that
 8   someone had filed a false tax return in her name using her Personal Information and later received a
 9   letter from the IRS confirming the same. As a result, Mrs. Davis and her husband still have not
10   received their 2014 tax refund payment. Because of the delay in receiving their tax refund, Mrs.
11   Davis and her husband have experienced difficulties submitting current tax returns for their student
12   loan income based repayment plans which caused their percentage of monthly principal to increase
13   sixfold. Mrs. Davis and her husband placed credit freezes on their credit reports with the three major
14   U.S. consumer credit reporting agencies in order to detect potential identity theft and fraudulent
15   activity. Additionally, Mrs. Davis and her husband pay approximately $480 annually for identity
16   theft and credit monitoring services in order to monitor for identity theft and fraudulent activity
17   resulting from the Anthem breach. As a result of the Anthem breach, Mrs. Davis and her husband
18   have spent numerous hours attempting to renegotiate their student loan terms, monitoring their
19   accounts and addressing issues arising from the Anthem data breach.
20               104.   Plaintiff Michael S. Weinberger is a citizen and resident of the State of Virginia. Mr.
21   Weinberger was enrolled in an Anthem-Blue Cross Blue Shield health plan and paid premiums on a
22   regular basis. Anthem-Blue Cross Blue Shield and Anthem collected and received Mr. Weinberger’s
23   Personal Information, as well as that of his wife, Karen H. Weinberger and his daughter, Alyssa D.
24   Weinberger, which Anthem maintained in its database. Mr. Weinberger received an e-mail and letter
25   from Anthem informing him that his Personal Information may have been compromised as a result
26   of the Anthem breach. As a result of the Anthem breach, Mr. Weinberger, his wife and his daughter,
27   have spent numerous hours addressing issues arising from the Anthem data breach.
28
                                                40
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4         Filed 10/19/15      Page 50 of 213



 1                                                    Washington
 2               105.   Plaintiff Vernon Davitte is a citizen and resident of the State of Washington. Mr.
 3   Davitte was enrolled in a Premera Blue Cross Blue Shield health plan and his wife paid premiums on
 4   a regular basis. Prior to that, Mr. Davitte was enrolled in an Anthem Blue Cross Blue Shield health
 5   plan and paid premiums on a regular basis. Premera Blue Cross Blue Shield, Anthem Blue Cross
 6   Blue Shield and Anthem collected and received Mr. Davitte’s Personal Information, which Anthem
 7   maintained in its database. Mr. Davitte received a letter from Anthem informing him that his
 8   Personal Information may have been compromised as a result of the Anthem breach. Mr. Davitte
 9   pays approximately $192 annually for identity theft and credit monitoring services in order to
10   monitor for identity theft and fraudulent activity resulting from the Anthem breach. Mr. Davitte
11   placed a credit freeze on his credit report with Experian in order to detect potential identity theft and
12   fraudulent activity. As a result of the Anthem breach, Mr. Davitte has spent numerous hours
13   addressing issues arising from the Anthem data breach.
14                                                   West Virginia
15               106.   Plaintiff Lisa Shiltz is a resident and citizen of the State of West Virginia. Ms. Shiltz
16   was enrolled in an Anthem Blue Cross and Blue Shield health plan and paid premiums on a regular
17   basis. Anthem collected and received Mr. Weinberger’s Personal Information, which Anthem
18   maintained in its database. Ms. Shiltz received a letter from Anthem informing her that her Personal
19   Information may have been compromised as a result of the data breach. Ms. Shiltz subsequently had
20   identity thieves attempt to open bank accounts in her name. As a result of the Anthem breach, Ms.
21   Shiltz has spent numerous hours addressing issues arising from the Anthem data breach.
22                                                     Wisconsin
23               107.   Plaintiff Susan H. Jones is a citizen and resident of the State of Wisconsin. Ms. Jones
24   was enrolled in an Anthem Dental plan and a United Health Care Choice Plus health plan through
25   her employer, a Wisconsin public school, and paid premiums on a regular basis. Anthem Dental,
26   United Health Care Choice Plus, and Anthem collected and received Ms. Jones’s Personal
27   Information, which Anthem maintained in its database. Ms. Jones received a letter from Anthem
28   informing her that her Personal Information may have been compromised as a result of the Anthem
                                                     41
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 51 of 213



 1   breach. Ms. Jones subsequently received a letter from the IRS informing her that someone had filed
 2   a false tax return using her Personal Information. As a result of the Anthem breach, Ms. Jones has
 3   spent numerous hours addressing issues arising from the Anthem data breach.
 4               108.   Plaintiff Jennifer Rud is a citizen and resident of the State of Wisconsin. Ms. Rud was
 5   enrolled in a Blue Cross Blue Shield of California health plan and paid premiums on a regular basis.
 6   Prior to that, Ms. Rud was enrolled in a Blue Cross Blue Shield of Minnesota health plan. Blue
 7   Cross Blue Shield of California, Blue Cross Blue Shield of Minnesota, and Anthem collected and
 8   received Ms. Rud’s Personal Information, which Anthem maintained in its database. Ms. Rud
 9   received a letter from Anthem informing her that her Personal Information may have been
10   compromised as a result of the Anthem breach. Ms. Rud subsequently received a letter from the IRS
11   informing her that someone had filed a false tax return using her Personal Information. As a result of
12   the Anthem Breach, Ms. Rud was required to submit five forms of identification to the IRS, file a
13   police report, and delay purchase of a house. Her tax refund has also been delayed. As a result of the
14   Anthem breach, Ms. Rud has spent numerous hours addressing issues arising from the Anthem data
15   breach.
16               B.     Defendants
17               109.   Defendant Anthem, Inc. (“Anthem”) is incorporated and headquartered in Indiana.
18   Anthem is one of the largest health benefits and health insurance companies in the United States.
19   Anthem serves its medical members through its health benefits and insurance subsidiaries and
20   affiliates (“Anthem Affiliates”). Anthem is the parent company of the Anthem Affiliates. Anthem
21   also cooperated with other independent Blue Cross Blue Shield licensee insurance and health benefit
22   companies (“non-Anthem BCBS”) to create the BlueCard program.
23               110.   Defendant Blue Cross and Blue Shield of Georgia, Inc. is incorporated and
24   headquartered in Georgia. Defendant is an Anthem Affiliate.
25               111.   Defendant Blue Cross and Blue Shield Healthcare Plan of Georgia, Inc. is
26   incorporated and headquartered in Georgia. Defendant is an Anthem Affiliate.
27               112.   Defendant Anthem Insurance Companies, Inc. d/b/a Anthem Blue Cross and Blue
28   Shield of Indiana is incorporated and headquartered in Indiana. Defendant is an Anthem Affiliate.
                                                      42
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 52 of 213



 1               113.   Defendant Blue Cross of California, Inc. d/b/a Anthem Blue Cross of California is
 2   incorporated and headquartered in California. Defendant is an Anthem Affiliate.
 3               114.   Defendant Anthem Blue Cross Life and Health Insurance Company is incorporated
 4   and headquartered in California. Defendant is an Anthem Affiliate.
 5               115.   Defendant Rocky Mountain Hospital and Medical Service, Inc. d/b/a Anthem Blue
 6   Cross and Blue Shield of Colorado in Colorado and d/b/a Anthem Blue Cross and Blue Shield of
 7   Nevada in Nevada, is incorporated and headquartered in Colorado. Defendant is an Anthem
 8   Affiliate.
 9               116.   Defendant Anthem Health Plans, Inc. d/b/a Anthem Blue Cross and Blue Shield of
10   Connecticut is incorporated and headquartered in Connecticut. Defendant is an Anthem Affiliate.
11               117.   Defendant Anthem Health Plans of Kentucky, Inc. d/b/a Anthem Blue Cross and Blue
12   Shield of Kentucky is incorporated and headquartered in Kentucky. Defendant is an Anthem
13   Affiliate.
14               118.   Defendant Anthem Health Plans of Maine, Inc. d/b/a Anthem Blue Cross and Blue
15   Shield of Maine is incorporated and headquartered in Maine. Defendant is an Anthem Affiliate.
16               119.   Defendant HMO Missouri, Inc. d/b/a Anthem Blue Cross and Blue Shield of Missouri
17   is incorporated and headquartered in Missouri. Defendant is an Anthem Affiliate.
18               120.   Defendant RightChoice Managed Care, Inc. d/b/a Anthem Blue Cross and Blue
19   Shield of Missouri is incorporated and headquartered in Missouri. Defendant is an Anthem Affiliate.
20               121.   Defendant Healthy Alliance Life Insurance Company d/b/a Anthem Blue Cross and
21   Blue Shield of Missouri is incorporated and headquartered in Missouri. Defendant is an Anthem
22   Affiliate.
23               122.   Defendant Anthem Health Plans of New Hampshire, Inc. d/b/a Anthem Blue Cross
24   and Blue Shield of New Hampshire is incorporated and headquartered in New Hampshire.
25   Defendant is an Anthem Affiliate.
26               123.   Defendant Empire HealthChoice Assurance, Inc. d/b/a Empire Blue Cross and Blue
27   Shield is incorporated and headquartered in New York. Defendant is an Anthem Affiliate.
28               124.   Defendant Community Insurance Company d/b/a Anthem Blue Cross and Blue Shield
                                                      43
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 53 of 213



 1   of Ohio is incorporated and headquartered in Ohio. Defendant is an Anthem Affiliate.
 2               125.   Defendant Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue Cross and Blue
 3   Shield of Virginia is incorporated and headquartered in Virginia. Defendant is an Anthem Affiliate.
 4               126.   HMO HealthKeepers, Inc. d/b/a Anthem Blue Cross and Blue Shield of Virginia is
 5   incorporated and headquartered in Virginia. Defendant is an Anthem Affiliate.
 6               127.   Defendant Blue Cross Blue Shield of Wisconsin d/b/a Anthem Blue Cross and Blue
 7   Shield of Wisconsin is incorporated and headquartered in Wisconsin. Defendant is an Anthem
 8   Affiliate.
 9               128.   Defendant Compcare Health Services Insurance Corporation d/b/a Anthem Blue
10   Cross and Blue Shield of Wisconsin is incorporated and headquartered in Wisconsin. Defendant is
11   an Anthem Affiliate.
12               129.   Amerigroup Services, Inc. is incorporated and headquartered in Virginia. Defendant
13   is an Anthem Affiliate.
14               130.   Defendant HealthLink, Inc. is incorporated in Illinois and headquartered in Missouri.
15   Defendant is an Anthem Affiliate.
16               131.   Defendant Unicare Life & Health Insurance Company is incorporated and
17   headquartered in Indiana. Defendant is an Anthem Affiliate.
18               132.   Defendant CareMore Health Plan is incorporated and headquartered in California.
19   Defendant is an Anthem Affiliate.
20               133.   Defendant The Anthem Companies, Inc. is incorporated and headquartered in
21   Indiana. Defendant is an Anthem Affiliate.
22               134.   Defendant The Anthem Companies of California, Inc. is incorporated in California
23   and headquartered in Indiana. Defendant is an Anthem Affiliate.
24               135.   Discovery may reveal additional Anthem Affiliate Defendants.
25               136.   Defendant Blue Cross and Blue Shield of Alabama is incorporated and headquartered
26   in Alabama. Defendant is a non-Anthem BCBS company.
27               137.   Defendant Blue Cross Blue Shield of Arizona, Inc. is incorporated and headquartered
28   in Arizona. Defendant is a non-Anthem BCBS company.
                                                  44
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 54 of 213



 1               138.   Defendant USAble Mutual Insurance Company d/b/a Arkansas Blue Cross and Blue
 2   Shield is incorporated and headquartered in Arkansas. Defendant is a non-Anthem BCBS company.
 3               139.   Defendant California Physicians’ Service, Inc. d/b/a Blue Shield of California is
 4   incorporated and headquartered in California. Defendant is a non-Anthem BCBS company.
 5               140.   Defendant Blue Cross and Blue Shield of Illinois is a division of Health Care Service
 6   Corporation, which is incorporated in Illinois. Defendant is headquartered in Illinois. Defendant is a
 7   non-Anthem BCBS company.
 8               141.   Defendant Blue Cross and Blue Shield of Florida, Inc. is incorporated and
 9   headquartered in Florida. Defendant is a non-Anthem BCBS company.
10               142.   Defendant CareFirst of Maryland, Inc. d/b/a CareFirst BlueCross BlueShield is
11   incorporated and headquartered in Maryland. Defendant is a non-Anthem BCBS company.
12               143.   Defendant Blue Cross and Blue Shield of Massachusetts, Inc. is incorporated and
13   headquartered in Massachusetts. Defendant is a non-Anthem BCBS company.
14               144.   Defendant Blue Cross and Blue Shield of Michigan is incorporated and headquartered
15   in Michigan. Defendant is a non-Anthem BCBS company.
16               145.   Defendant BCBSM, Inc. d/b/a Blue Cross and Blue Shield of Minnesota is
17   incorporated and headquartered in Minnesota. Defendant is a non-Anthem BCBS company.
18               146.   Defendant Horizon Healthcare Services, Inc. d/b/a Horizon Blue Cross and Blue
19   Shield of New Jersey is incorporated and headquartered in New Jersey. Defendant is a non-Anthem
20   BCBS company.
21               147.   Defendant Blue Cross and Blue Shield of North Carolina, Inc. is incorporated and
22   headquartered in North Carolina. Defendant is a non-Anthem BCBS company.
23               148.   Defendant Highmark Health Services d/b/a Highmark Blue Shield is incorporated and
24   headquartered in Pennsylvania. Defendant is a non-Anthem BCBS company.
25               149.   Defendant Highmark West Virginia, Inc. d/b/a Highmark Blue Cross Blue Shield
26   West Virginia is incorporated and headquartered in West Virginia. Defendant is a non-Anthem
27   BCBS company.
28               150.   Defendant BlueCross BlueShield of Tennessee, Inc. is incorporated and
                                                       45
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 55 of 213



 1   headquartered in Tennessee. Defendant is a non-Anthem BCBS company.
 2               151.   Defendant Blue Cross and Blue Shield of Texas is a division of Health Care Service
 3   Corporation, which is incorporated in Illinois. Defendant is headquartered in Texas. Defendant is a
 4   non-Anthem BCBS company.
 5               152.   Defendant Blue Cross and Blue Shield of Vermont is incorporated and headquartered
 6   in Vermont. Defendant is a non-Anthem BCBS company.
 7               153.   Defendant Blue Cross Blue Shield Association (“BCBSA”) is incorporated and
 8   headquartered in Illinois.
 9               154.   Discovery may reveal additional non-Anthem BCBS Defendants.
10
                                         IV.    STATEMENT OF FACTS
11
     A.          The Anthem Database
12               155.   Anthem is one of the largest health benefits and health insurance companies in the
13   United States. Anthem serves its medical members through its fourteen Blue Cross Blue Shield
14   (“BCBS”) licensee affiliates (“Anthem BCBS Affiliates”), as well as its non-Blue Cross Blue Shield
15   affiliates (“Anthem non-BCBS Affiliates”), such as Amerigroup Corporation, CareMore Health
16   Group, Inc., HealthLink, and UniCare. (Collectively, Anthem’s health benefits and insurance
17   subsidiaries and affiliates will be referred to as “Anthem Affiliates.”)
18               156.   Anthem also cooperated with other independent Blue Cross Blue Shield licensee
19   insurance and health benefit companies (“non-Anthem BCBS”) to create the BlueCard program.
20   Under the BlueCard program, members of one BCBS licensee may access another BCBS licensee’s
21   provider networks and discounts when the members are out of state. Thus, non-Anthem BCBS
22   members may access an Anthem BCBS Affiliate’s provider discounts and network when they travel
23   to an area where an Anthem Affiliate serves as the BCBS licensee.
24               157.   As health insurance and health benefits companies, Anthem, Anthem Affiliates, and
25   non-Anthem BCBS collect, receive, and access their customers’ and members’ extensive
26   individually identifiable health record information. These records include personal information (such
27   as names, dates of birth, Social Security numbers, health care ID numbers, home addresses, email
28
                                                46
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 56 of 213



 1   addresses, and employment information, including income data) and individually-identifiable health
 2   information (pertaining to the individual claims process, medical history, diagnosis codes, payment
 3   and billing records, test records, dates of service, and all other health information that an insurance
 4   company has or needs to have to process claims). (Collectively, both the personal information and
 5   individually identifiable health information will be referred to as “Personal Information.”)
 6               158.   Anthem created a common computer database that it referred to as a “single data
 7   warehouse” and the “main subscriber file” containing Personal Information for tens of millions of
 8   individuals (the “Anthem Database”). The Anthem Database includes Personal Information that was
 9   provided by current and former customers or members of Anthem Affiliates. The Anthem Database
10   also includes Personal Information for current and former customers or members of non-Anthem
11   BCBS plans who obtained health care services in areas where Anthem Affiliates serve as the BCBS
12   licensees, as well as employees of self-insured employer groups where Anthem received information
13   about non-Anthem members to provide analytics and administrative services. The Anthem Database
14   also contains Personal Information for Anthem and Anthem Affiliate employees.
15               159.   Anthem publicly admitted that the Anthem Database contained information from
16   former customers or members going back to 2004, and that Anthem generally retains data for 10
17   years, even though Anthem acknowledges it is not legally required to retain data going back that far
18   in time.
19               160.   Further discovery may demonstrate that the Anthem Database contained information
20   regarding additional individuals.
21   B.          Defendants Promised To Protect Personal Information
22               161.   Defendants made promises to protect Personal Information.1
23               162.   On information and belief, Anthem BCBS Affiliates all mailed the same privacy
24   notices to individuals as well as to members enrolled in Anthem BCBS Affiliate group plans. These
25   notices made promises regarding Personal Information, such as:
26
27        1
            In some of their materials, Defendants utilized the term “Personal Health Information” (“PHI”)
     to refer to health information and “Personally Identifiable Information” (“PII” or “PI”) to refer to
28   non-health individually identifiable information.
                                                        47
                         CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15     Page 57 of 213



 1
                 We may collect, use and share your nonpublic personal information (PI) as described
 2               in this notice. PI identifies a person and is often gathered in an insurance matter.
                 We may collect PI about you from other persons or entities, such as doctors, hospitals,
 3
                 or other carriers. We may share PI with persons or entities outside of our company—
 4               without your OK in some cases. If we take part in an activity that would require us to
                 give you a chance to opt out, we will contact you. We will tell you how you can let us
 5               know that you do not want us to use or share your PI for a given activity. You have the
                 right to access and correct your PI. Because PI is defined as any information that can
 6               be used to make judgements about your health, finances, character habits, hobbies,
                 reputation, career and credibility, we take reasonable safety measures to protect the
 7
                 PI we have about you. A more detailed state notice is available upon request. Please
 8               call the phone number printed on your ID card.2

 9   (emphasis added).

10               163.   Anthem BCBS Affiliates also made promises regarding Personal Health Information

11   in their mailed notices, such as:

12               We are dedicated to protecting your PHI, and have set up a number of policies
                 and practices to help make sure your PHI is kept secure.
13               We have to keep your PHI private. If we believe your PHI has been breached, we must
14               let you know.

15               We keep your oral, written and electronic PHI safe using physical, electronic, and
                 procedural means. These safeguards follow federal and state laws. Some of the
16               ways we keep your PHI safe include securing ofﬁces that hold PHI, password-
                 protecting computers, and locking storage areas and ﬁling cabinets. We require our
17               employees to protect PHI through written policies and procedures. These policies limit
18               access to PHI to only those employees who need the data to do their job. Employees
                 are also required to wear ID badges to help keep people who do not belong out of areas
19               where sensitive data is kept. Also, where required by law, our afﬁliates and
                 nonafﬁliates must protect the privacy of data we share in the normal course of
20               business. They are not allowed to give PHI to others without your written OK, except
                 as allowed by law and outlined in this notice.3
21
     (emphasis added).
22
                 164.   Anthem BCBS Affiliates’ mailed notices also promise to keep the “financial
23
     information of our current and former members private, as required by law, accreditation standards,
24

25

26        2
           Anthem Insurance Companies, Inc. (Anthem BCBS Affiliate in Indiana) Mailed Privacy
27   Notice.
         3
           Anthem Insurance Companies, Inc. Mailed Privacy Notice; Blue Cross of California Mailed
28   Privacy Notice.
                                                   48
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4         Filed 10/19/15      Page 58 of 213



 1   and our rules.”4
 2               165.   Anthem BCBS Affiliates’ mailed notices also promised to follow state and federal
 3   law: “HIPAA (the federal privacy law) generally does not pre-empt, or override, other laws that give
 4   people greater privacy protections. As a result, if any state or federal privacy law requires us to
 5   provide you with more privacy protections, then we must also follow that law in addition to
 6   HIPAA.”5
 7               166.   On Anthem and Anthem BCBS Affiliates’ websites, Anthem and Anthem BCBS
 8   Affiliates made additional promises regarding their privacy policies. The website for every Anthem
 9   BCBS Affiliate states:
10               Personal Information (including Social Security Number) Privacy Protection
11               Policy
                 [Name of Anthem BCBS Affiliate] maintains policies that protect the
12               confidentiality of personal information, including Social Security numbers,
                 obtained from its members and associates in the course of its regular business
13               functions. [Name of Anthem BCBS Affiliate] is committed to protecting information
                 about its customers and associates, especially the confidential nature of their personal
14               information (PI).
15               Personal Information is information that is capable of being associated with an
                 individual through one or more identifiers including but not limited to, a Social Security
16               number, a driver’s license number, a state identification card number, and account
                 number, a credit or debit card number, a passport number, an alien registration number
17               or a health insurance identification number, and does not include publicly available
                 information that is lawfully made available to the general public from federal, state or
18               local government records or widely distributed media.
19               [Name of Anthem BCBS Affiliate] is committed to protecting the confidentiality of
                 Social Security numbers and other Personal Information.
20
                [Name of Anthem BCBS Affiliate]’s Privacy Policy imposes a number of
21               standards to:
                     o guard the confidentiality of Social Security numbers and other personal
22
                        information,
23                   o prohibit the unlawful disclosure of Social Security numbers, and
                     o limit access to Social Security numbers.
24               [Name of Anthem BCBS Affiliate] will not use or share Social Security numbers or
                 Personal information with anyone outside the company except when permitted or
25               required by federal and state law.
                 [Name of Anthem BCBS Affiliate] Associates must only access Social Security
26
27        4
            Id.
          5
28          Id.
                                                 49
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15     Page 59 of 213



 1               numbers or personal information as required by their job duties. [Name of Anthem
                 BCBS Affiliate] has in place a minimum necessary policy which states that associates
 2               may only access, use or disclose Social Security numbers or personal information to
 3               complete a specific task and as allowed by law.
                 [Name of Anthem BCBS Affiliate] safeguards Social Security numbers or other
 4               personal information by having physical, technical, and administrative
                 safeguards in place.
 5               If you have questions regarding this policy, please contact Customer Service by dialing
                 the number that is located on the back of your ID card.6
 6

 7   (emphasis added).
                 167.   On information and belief, all Anthem Affiliates (including Anthem non-BCBS
 8
     Affiliates) made similar promises and representations in their mailed privacy notices and on their
 9
     websites.
10
                 168.   For example, Unicare’s website contains the same “Personal Information (Including
11
     Social Security Number) Privacy Protection Policy” as the Anthem BCBS websites.7
12
                 169.    Amerigroup sent a mailed notice, also posted on its website, which states:
13

14               Information about your health and money is private. The law says we must keep
                 this kind of information, called PHI, safe for our members. That means if you’re a
15               member right now or if you used to be, your information is safe.
                 …
16               Federal law says we must tell you what the law says we have to do to protect PHI that’s
17               told to us, in writing or saved on a computer. We also have to tell you how we keep it
                 safe. To protect PHI:
18               • On paper (called physical), we:
                 – Lock our offices and files
19               – Destroy paper with health information so others can’t get it
                 • Saved on a computer (called technical), we:
20               – Use passwords so only the right people can get in
21               – Use special programs to watch our systems
                 • Used or shared by people who work for us, doctors or the state, we:
22               – Make rules for keeping information safe (called policies and procedures)

23

24        6
            Anthem BlueCross BlueShield Privacy, https://www.anthem.com/health-insurance/about-
25   us/privacy (last visited Oct. 19, 2015); see also Anthem BlueCross Privacy,
     https://www.anthem.com/ca/health-insurance/about-us/privacy (last visited Oct. 19, 2015); Empire
26   BlueCross BlueShield HIPAA Privacy Notice,
     https://www.empireblue.com/wps/portal/ehpfooter?content_path=shared/noapplication/f0/s0/t0/pw_
27   ad068128.htm&label=HIPAA%20Privacy%20Notice (last visited Oct. 19, 2015).
          7
            Unicare Privacy, https://www.unicare.com/health-insurance/about-us/privacy (last visited Oct.
28   19, 2015).
                                                        50
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 60 of 213



 1               – Teach people who work for us to follow the rules8
                 …
 2
     (emphasis added).
 3

 4               170.   Furthermore, Caremore’s website privacy notice states that:
 5
                 CareMore already follows current state confidentiality laws, but the federal
 6               government now requires that this notice be given to help educate patients about their
                 rights.
 7               …
                 CareMore is required by law to maintain the privacy of Protected Health Information
 8               ("PHI") and to provide you with notice of our legal duties and privacy practices with
 9               respect to PHI and to notify affected individuals following a breach of unsecured PHI.
                 …
10               CareMore will make reasonable efforts to avoid incidental disclosures of
                 protected health information.9
11
     (emphasis added).
12
                 171.   Non-Anthem BCBS Defendants made similar promises and representations in their
13
     mailed privacy notices and on their websites. In general, the non-Anthem BCBS Defendants
14
     promised to maintain physical, electronic, and procedural safeguards that comply with state and
15
     federal law to safeguard individuals’ Personal Information.
16
                 172.   The Blue Cross and Blue Shield Association (“BCBSA”), Anthem, Anthem
17
     Affiliates, and non-Anthem BCBS also contracted to protect the Personal Information of federal
18
     government employees who enrolled in the Blue Cross Blue Shield Service Benefit Plan. The
19
     Federal Employees Health Benefits Act of 1959 establishes a comprehensive program of health
20
     insurance for federal employees and authorizes the Office of Personnel Management (“OPM”) to
21
     contract with private carriers to offer federal employees an array of health plans. Among the plans
22
     offered to federal employees is the Blue Cross Blue Shield Service Benefit Plan (“Federal BCBSA
23
     Plan”), which is governed by Contract No. CS 1039 (“Federal BCBSA Contract”) between OPM and
24
     BCBSA, acting on behalf of, and as agent for, the local BCBS plans (Anthem BCBS Affiliates and
25

26        8
            Amerigroup Mailed Privacy Notice,
27   https://www.amerigroup.com/sites/amerigroup.com/files/files/FLFL_ALL_NOPP.pdf (last visited
     Oct. 19, 2015).
          9
28          http://www.caremore.com/Current-Members/Member-Materials/AboutHIPAA.aspx
                                                   51
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4       Filed 10/19/15      Page 61 of 213



 1   non-Anthem BCBS) that process claims under the Federal BCBSA Plan and underwrite the plan in
 2   their localities. The Federal BCBSA Plan has been described by the Congressional Committee on
 3   Oversight and Government Reform as an “aggregation” of BCBS local plans.
 4               173.   In the Federal BCBSA Contract, BCBSA, as agent for the Anthem BCBS Affiliates
 5   and non-Anthem BCBS, promised to protect the Personal Information of the individuals insured
 6   under the Federal BCBSA Plan. The Personal Information provided to BCBSA, as agent for the
 7   Anthem BCBS Affiliates and non-Anthem BCBS, in order for it to administer the Federal BCBSA
 8   Plan, includes Social Security numbers and other Personal Information. OPM is required to
 9   maintain sufficient records that BCBSA can use to determine the name and Social Security number
10   for all plan enrollees. Under the agreement, BCBSA, as agent for the Anthem BCBS Affiliates and
11   non-Anthem BCBS, was limited to using “the personal data on employees and annuitants that is
12   provided by agencies and OPM, including social security numbers, for only those routine uses
13   stipulated for the data . . . .”
14               174.   BCBSA, as agent for the Anthem BCBS Affiliates and non-Anthem BCBS,
15   undertook specific obligations with respect to protecting this and other sensitive Personal
16   Information. Beginning with at least the version operative as of January 1, 2014, the Federal
17   BCBSA Contract provides, among other things, that BCBSA, as agent for the Anthem BCBS
18   Affiliates and non-Anthem BCBS, has express contractual obligations to: (i) “hold all medical
19   records, and information relating thereto confidential” (with limited exceptions that do not apply
20   here); (ii) allocate the necessary resources “to meet its obligation under the contract,” including
21   security obligations; (iii) permit the OPM to use NIST SP 800-53 (Security and Privacy Controls for
22   Federal Information Systems and Organizations) or its equivalent as a benchmark for conducting
23   audits of information systems and to recommend that BCBSA, Anthem, the Anthem BCBS
24   Affiliates, and the non-Anthem BCBS, adopt a best practice drawn from NIST SP 800-53; (iv) either
25   adopt recommendations made by the OPM, or represent that it is already in compliance with the
26   recommendation or explain why its current practice, notwithstanding its refusal to adopt the
27   recommendation is equally if not more appropriate for its business purposes than the recommended
28   best practice; (v) demonstrate to the OPM their compliance with either a recommended best practice
                                                      52
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 62 of 213



 1   or an alternative current practice they had adopted and (vi) permit OPM “to inspect or evaluate the
 2   work performed or being performed under the contract.” The BCBS website devoted to the Federal
 3   BCBSA Plan similarly promises that the plan will “hold all our member records confidential, and
 4   will only release them to the appropriate entities if required to do so by law.”
 5               175.   BCBSA also issued an official statement of benefits in relation to the Federal BCBSA
 6   Plan, which is incorporated into the Federal BCBSA Contract. On the OPM website the same
 7   document appears when a user selects “Plan Brochure,” regardless of the state for which plans are
 8   being displayed. Under the heading “Your Medical and Claims Records are Confidential,” the
 9   statement of benefits promises that “we will keep your medical and claims information confidential.”
10   A copy of the statement of benefits is available on the Anthem website.
11               176.   The website maintained by BCBSA, the Anthem BCBS Affiliates, and the non-
12   Anthem BCBS for the Federal BCBSA Plan provides: “We have measures in place to protect PHI
13   [Personal Health Information] according to state and federal standards. The measures are designed to
14   protect oral, written, and electronic PHI, and include: Security and privacy training for all
15   employees. Employee access is limited to need-to-know basis. . . . All users of our electronic
16   systems are required to use strong passwords. All users must change their computer passwords
17   periodically.”
18   C.          Defendants Had an Obligation to Protect Personal Information under Federal and
                 State Law and the Applicable Standard of Care
19

20               177.   Defendants are entities covered by HIPAA (see 54 C.F.R. § 160.102) and as such are
21   required to comply with the HIPAA Privacy Rule and Security Rule, 45 CFR Part 160 and Part 164,
22   Subparts A and E (“Standards for Privacy of Individually Identifiable Health Information”).
23               178.   HIPAA limits the permissible uses of “protected health information” and prohibits
24   unauthorized disclosures of “protected health information.”10 In response to the Anthem Data
25   Breach, a senior Department of Health and Human Services advisor explained that “[t]he personally
26   identifiable information health plans maintain on enrollees and members — including names and
27
          10
28             45 C.F.R. § 164.502 (2009).
                                                53
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 63 of 213



 1   social security numbers — is protected under HIPAA, even if no specific diagnostic or treatment
 2   information is disclosed.”11
 3               179.   HIPAA requires that Defendants implement appropriate safeguards for this
 4   information.12
 5               180.   HIPAA requires that Defendants provide notice of a breach of unsecured protected
 6   health information, which includes protected health information that is not rendered unusable,
 7   unreadable, or indecipherable to unauthorized persons – i.e. non-encrypted data.13
 8               181.   Additionally, HIPPA requires that Defendants:
 9                      (a) Implement technical policies and procedures for electronic information systems
10
                        that maintain electronic protected health information to allow access only to those
11
                        persons or software programs that have been granted access rights, see 45 CFR §
12
                        164.312(a)(1);
13

14                      (b) Implement policies and procedures to prevent, detect, contain, and correct security

15                      violations, see 45 CFR § 164.306(a)(1);

16                      (c) Protect against any reasonably anticipated threats or hazards to the security or
17                      integrity of electronic protected health information, see 45 CFR § 164.306(a)(2);
18
                        (d) Protect against reasonably anticipated uses or disclosures of electronic protected
19
                        health information that are not permitted under the privacy rules regarding
20
                        individually identifiable health information, see 45 CFR § 164.306(a)(3);
21

22                      (e) Ensure compliance with the HIPAA security standard rules by its workforce, see

23                      45 CFR § 164.306(a)(4); and

24

25
          11
            Elizabeth Weise, Anthem fined $1.7 million in 2010 breach, USA TODAY (Feb. 5, 2015,
26   6:13 PM), http://www.usatoday.com/story/tech/2015/02/05/anthem-health-care-computer-security-
     breach-fine-17-million/22931345.
27       12
            45 C.F.R. § 164.530(c)(1) (2009).
         13
28          45 C.F.R. § 164.404 (2009); 45 C.F.R. § 164.402 (2009).
                                                     54
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 64 of 213



 1                      (f) Effectively train all members of its workforce on the policies and procedures with
 2                      respect to protected health information as necessary and appropriate for the members
 3
                        of its workforce to carry out their functions and to maintain security of protected
 4
                        health information in violation of 45 § CFR 164.530(b).
 5

 6               182.   Defendants are also entities covered by Gramm-Leach-Bliley, 15 U.S.C. § 6801, et.
 7   seq. Thus, each Defendant had an “affirmative and continuing obligation to respect the privacy of its
 8   customers and to protect the security and confidentiality of those customers’ nonpublic personal
 9   information.” 15 U.S.C. § 6801.
10               183.   Defendants are prohibited by the Federal Trade Commission Act (15 U.S.C. § 45)
11   from engaging in “unfair or deceptive acts or practices in or affecting commerce.” The Federal Trade
12   Commission has found that a company’s failure to maintain reasonable and appropriate data security
13   for consumers’ sensitive personal information is an “unfair practice” in violation of the Federal
14   Trade Commission Act.14
15               184.   As described below, Defendants are also required by various state laws and
16   regulations to protect individuals’ Personal Information.
17               185.   In addition to their obligations under federal and state laws, Defendants owed a duty
18   to Affected Individuals, who entrusted them with sensitive Personal Information, to exercise
19   reasonable care in obtaining, retaining, securing, safeguarding, deleting, and protecting the Personal
20   Information in their possession from being compromised, lost, stolen, accessed, and misused by
21   unauthorized persons. Defendants owed a duty to Affected Individuals to provide reasonable
22   security, including consistency with industry standards and requirements, and to ensure that their
23   computer systems and networks, and the personnel responsible for them, adequately protected the
24   Personal Information of the Affected Individuals.
25               186.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
26   Personal Information, to design, maintain, and test their computer systems to ensure that the
27
          14
28             See e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236, 243 (3d Cir. 2015).
                                                     55
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15    Page 65 of 213



 1   Personal Information in Defendants’ possession was adequately secured and protected.
 2               187.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
 3   Personal Information, to create and implement reasonable data security practices and procedures to
 4   protect the Personal Information in their possession, including adequately training their employees
 5   and others who accessed Personal Information within their computer systems on how to adequately
 6   protect Personal Information.
 7               188.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
 8   Personal Information, to implement processes that would detect a breach of their data security
 9   systems in a timely manner.
10               189.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
11   Personal Information, to act upon data security warnings and alerts in a timely fashion.
12               190.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
13   Personal Information, to disclose if their computer systems and data security practices were
14   inadequate to safeguard individuals’ Personal Information from theft because such an inadequacy
15   would be a material fact in the decision to purchase insurance or other health care services from
16   Defendants, or to entrust Personal Information with Defendants.
17               191.   Defendants owed a duty to Affected Individuals, who entrusted them with sensitive
18   Personal Information, to disclose in a timely and accurate manner when data breaches occurred.
19               192.   Defendants owed a duty of care to Affected Individuals because they were
20   foreseeable and probable victims of any inadequate data security practices. Anthem collected
21   Affected Individuals’ Personal Information either directly or indirectly from Anthem Affiliates.
22   Non-Anthem BCBS, and/or BCBSA. Anthem knew that a breach of its data systems would cause
23   Affected Individuals to incur damages. Anthem Affiliates and Non-Anthem BCBS collected their
24   current and former customers and members’ Personal Information, and provided that information to
25   Anthem. Thus, Anthem Affiliates and Non-Anthem BCBS knew that a breach of Anthem’s system
26   would cause those people to incur damages.
27

28
                                                56
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15      Page 66 of 213



 1
     D.          Defendants Were On Notice of Cyber Attack Threats, and the Inadequacy of Their
 2               Data Security
 3               193.   Defendants knew or should have known that Anthem and Anthem Affiliates had

 4   previous problems with their data security.

 5               194.   In late 2009 and early 2010, over 600,000 customers of Wellpoint (Anthem’s former

 6   trade name) and Blue Cross of California had their personal information and protected healthcare

 7   information compromised due to a data breach.15 Customers’ Personal Information had not been

 8   password protected.16

 9               195.   In 2013, the Department of Health and Human Services fined Anthem $1.7 million

10   for HIPAA violations. The HHS’ Office for Civil Rights found that Anthem “had not enacted

11   appropriate administrative, technical, and physical safeguards for data as required by HIPAA.”17

12               196.   Also in 2013, the OIG conducted an audit of Wellpoint’s information system pursuant

13   to the Federal BCBSA Contract. In September 10, 2013, the OIG issued a report titled Audit of

14   Information System General and Applications Controls at Wellpoint, Inc. The purpose of the audit

15   was to examine the “information systems used to process BCBSA’s [insurance claims], as well as

16   the various business processes and IT systems used to support these applications.”

17               197.   One of the tests OIG routinely conducts is a configuration compliance audit, which is

18   the process of routinely comparing the actual security configuration of computer servers to an

19   approved baseline configuration. In its audit report, OIG noted that “[f]ailure to implement a

20   thorough configuration compliance auditing program increases the risk that insecurely configured

21   servers remain undetected, creating a potential gateway for malicious virus and hacking activity that

22   could lead to data breaches.” Despite the importance of ensuring the sufficiency of its configuration

23   compliance auditing program, Wellpoint frustrated OIG’s efforts to perform this test, claiming that

24
          15
             Settlement Agreement, Blue Cross of California Website Security Cases, Case No. JCCP
25   4647 (Apr. 18, 2011 Cal. Super. Ct.),
     https://anthembluecrosssecuritysettlement.com/SettlementAgreement.pdf.
26        16
             Id.
          17
27           Rachel Landen and Joseph Conn, WellPoint to pay $1.7 million HIPAA penalty, MODERN
     HEALTHCARE (July 11, 2013),
28   http://www.modernhealthcare.com/article/20130711/NEWS/307119954 (last visited Oct. 19, 2015).
                                                     57
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 67 of 213



 1   company policy prohibited external entities such as OIG from accessing Wellpoint’s network. As a
 2   result, the Federal BCBSA Plan “was unable to provide satisfactory evidence to confirm that it had a
 3   program in place to routinely monitor the configuration of its servers.” After the Anthem Data
 4   Breach, Anthem again refused to submit itself to standard tests for determining the vulnerability of
 5   its computer systems, again citing “corporate policy.”
 6               198.   Despite Wellpoint’s efforts to frustrate the OIG audit, OIG was able to determine that
 7   Wellpoint’s information systems were deficient in at least the following ways: (i) weaknesses in
 8   privileged user monitoring, (ii) no implementation of controls to prevent rogue devices from
 9   accessing the network, (iii) not subjecting all servers to routine vulnerability scans, and (iv)
10   Wellpoint’s mainframe password settings were not in compliance with its own standards. OIG
11   offered numerous recommendations for how Wellpoint could improve its data security procedures.
12   On information and belief, Wellpoint failed to implement all or many of OIG’s recommendations.
13               199.   Defendants were also on notice that healthcare companies were targets for
14   cyberattacks. Indeed, Anthem publicly admitted that Anthem itself is subject to several hundred
15   credible hacking threats per month.
16               200.   Defendants were on notice that the FBI was concerned about healthcare company
17   data security. In August 2014, after a cyber-attack on Community Health Systems, Inc., the FBI
18   warned companies within the healthcare industry that hackers were targeting them.18 The warning
19   stated that “[t]he FBI has observed malicious actors targeting healthcare related systems, perhaps for
20   the purpose of obtaining Protected Healthcare Information (PHI) and/or Personally Identifiable
21   Information (PII).”
22               201.   Defendants were on notice that the federal government was concerned about
23   healthcare company data encryption and Anthem knew a large portion of the Anthem Database was
24   not encrypted. The United States Department of Health and Human Services’ Office for Civil
25   Rights urges health care providers and insurers to encrypt data containing sensitive personal
26
          18
27         Jim Finkle, FBI warns healthcare firms that they are targeted by hackers, REUTERS (Aug.
     2014, 4:32 PM), http://www.reuters.com/article/2014/08/20/us-cybersecurity-healthcare-fbi-
28   idUSKBN0GK24U20140820.
                                                     58
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 68 of 213



 1   information. In April 2014, the Department fined Concentra Health Services and QCA Health Plan
 2   Inc. of Arkansas approximately two million dollars for failing to encrypt laptops containing sensitive
 3   personal information. In announcing the fines, Susan McAndrew, the DHHS’ Office of Human
 4   Rights’ deputy director of health information privacy, stated “[our] message to these organizations is
 5   simple: encryption is your best defense against these incidents.”
 6               202.   Defendants were also on notice of the threat of cyberattacks due to prior, high-profile
 7   security breaches at retail chains such as Home Depot, Target, and Neiman Marcus, as well as the
 8   hundreds of credible cyber threats that Anthem received on a monthly basis.
 9   E.          Anthem Allowed a Massive Data Breach
10               203.   In February, 2015, after it began to receive media inquiries, Anthem announced to the
11   general public that cyberattackers had breached the Anthem Database, and accessed Personal
12   Information about individuals in the Anthem Database.19
13               204.   Anthem later announced that the hackers had accessed Personal Information for 78.8
14   million people.20
15               205.   Anthem admits that the information accessed about Affected Individuals included
16   names, dates of birth, Social Security numbers, health care ID numbers, home addresses, email
17   addresses, and employment information, including income data.21
18               206.   On information and belief, medical and health care information was also stolen from
19   Affected Individuals during or as a result of the Anthem Data Breach. On information and belief,
20   the data that Anthem admits was compromised, including Social Security Numbers and dates of
21   birth, can be used to access medical and health care information through Anthem, Anthem affiliates,
22   and non-Anthem BCBS’ online portals. News reports corroborate that medical data was stolen from
23   Affected Individuals during the Anthem Data Breach.
24

25
          19
             https://www.anthemfacts.com/ (last visited Oct. 19, 2015)
26        20
             Anna Mathews, Anthem: Hacked Database Included 78.8 Million People, WALL STREET
27   JOURNAL (Feb. 24, 2015, 2:49 PM), http://www.wsj.com/articles/anthem-hacked-database-
     included-78-8-million-people-1424807364.
          21
28           https://www.anthemfacts.com/ (last visited Oct. 19, 2015).
                                                       59
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15     Page 69 of 213



 1

 2

 3

 4

 5               208.   The Mandiant Report demonstrates that Anthem and Anthem Affiliates’ computer
 6   systems and data security practices were grossly inadequate to secure the highly sensitive and
 7   valuable Personal Information that had been entrusted to them. Anthem and Anthem Affiliates’
 8   failures were widespread.
 9               209.
10

11

12

13

14

15

16

17

18

19

20

21

22

23                                        . If Anthem had implemented any of these basic data security
24   tools, the cyberattackers would not have been able to access Affected Individuals’ Personal
25   Information, or would not have been able to access so much of Affected Individuals’ Personal
26   Information.
27

28
                                                60
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4       Filed 10/19/15      Page 70 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17                          Anthem took none of these basic security steps to protect Affected
18   Individuals’ sensitive Personal Information.
19

20

21

22

23

24

25

26
27

28
                                            61
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                 CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK   Document 315-4   Filed 10/19/15   Page 71 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                        62
                  CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                             CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK   Document 315-4   Filed 10/19/15   Page 72 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                        63
                  CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                             CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK   Document 315-4   Filed 10/19/15   Page 73 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                        64
                  CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                             CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK   Document 315-4   Filed 10/19/15   Page 74 of 213



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                        65
                  CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                             CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15     Page 75 of 213



 1

 2

 3

 4

 5

 6               237.   Anthem and Anthem Affiliates also lacked reasonable encryption policies. Anthem’s
 7   Information Technology Executive, Stacia Grosso, publicly admitted that a large portion of the
 8   Anthem Database was not encrypted. Instead, Anthem and Anthem Affilites only used encryption
 9   when data was being moved around within their information environment and for such things as
10   mobile phones and laptops. Anthem also promised after the Anthem Data Breach that it would
11   investigate encryption best practices and determine whether it should encrypt the Anthem Database.
12   If Anthem had encrypted the data in the Anthem Database, then the cyberattackers would have been
13   unable to use Affected Individuals’ Personal Information.
14

15

16

17

18

19

20               239.   The cyberattackers stole Personal Information for approximately 79 million Affected
21   Individuals. On information and belief, Anthem and Anthem Affiliates have still not implemented
22   necessary computer systems and date security practices to ensure that Affected Individuals’ Personal
23   Information will not be accessed or stolen by additional cyberattackers.
24

25

26
27               Each day, new individuals’ Personal Information is entered into the Anthem Database, and
28   this Personal Information is at risk until Anthem and Anthem Affiliates improve their data security.
                                                       66
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 76 of 213



 1   Anthem and Anthem Affiliates must put into place a security management framework, as defined by
 2   numerous government standards, and conduct audits by third-party independent auditors on a regular
 3   basis, to ensure that it keeps abreast of future threats to the Personal Information in its care.
 4   F. Anthem’s Data Breach Was a Direct Result of Anthem’s Inadequate Data Security
 5               240.   Affected Individuals’ Personal Information was compromised in the Anthem Data
 6   Breach because Defendants violated their promises and legal obligations to maintain the security of
 7   the highly sensitive Personal Information that Affected Individuals entrusted to Defendants.
 8               241.   Despite their promises and legal obligations, Defendants did not provide reasonable
 9   or adequate security for Affected Individuals’ Personal Information. As the creator and main
10   operator of the Anthem Database, Anthem is responsible for the inadequate and unreasonable
11   computer systems and data security practices as well as the unnecessarily large amount of unneeded
12   data contained in that database.
13               242.   Despite their promises and legal obligations, Anthem Affiliates, in conjunction with
14   Anthem, operated and maintained the deficient Anthem computer systems and data security
15   practices. Anthem Affiliates placed the Personal Information that they had been entrusted with in the
16   Anthem Database. Instead of having independent Privacy Offices, Anthem Affiliates worked with
17   Anthem’s Privacy Office to create their data security practices. Anthem Affiliates continued to rely
18   on the Anthem Database even though there were multiple public indications and warnings that
19   Anthem’s computer systems and data security practices were inadequate.
20               243.   Despite their promises and legal obligations, BCBSA and non-Anthem BCBS
21   allowed the Personal Information that their current and former customers and members had entrusted
22   with them to be placed in to the Anthem Database even though there were multiple public
23   indications and warnings that the Anthem and Anthem Affiliates’ computer systems and data
24   security practices were inadequate.
25               244.   Defendants breached their duties to Affected Individuals by the conduct alleged in the
26   Complaint.
27               245.   Defendants breached their duty to Affected Individuals to design, maintain, and test
28   their computer systems to ensure that Affected Individuals’ Personal Information was adequately
                                                      67
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15   Page 77 of 213



 1   secured in many ways, including, but not limited to:
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
                                            68
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                 CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK         Document 315-4          Filed 10/19/15   Page 78 of 213



 1

 2

 3

 4

 5

 6                 (b) continuing to use social security numbers (SSNs) to identify members even though

 7                 other health insurance companies switched to unique member identification numbers

 8                 (MINS) as early as 2003;
 9
                   (
10

11
                   (d) needlessly maintaining information regarding former customers (as far back to
12
                   2004) on their databases and servers.22 Had Defendants simply put inactive members’
13

14                 information on backup servers or tapes, the scope of the breach would have been

15                 smaller;
16                 (
17

18

19
                   (g) failing to adequately update their data security practices and procedures even
20

21                 though those practices and procedures had been demonstrated to be inadequate by 2014

22                 because of previous security breaches.

23

24

25

26
27
          22
           See, e.g., Anthem Data Breach, Cal. Dept. of Ins., http://www.insurance.ca.gov/0400-
28   news/0100-press-releases/anthemcyberattack.cfm (last visited Oct. 19, 2015).
                                                     69
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 79 of 213



 1                      (
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26               249.   Defendants breached their duty to Affected Individuals to disclose the material fact

27   that Anthem and Anthem Affiliates’ computer systems and data security practices were inadequate

28   to safeguard Affected Individuals’ Personal Information. Had Defendants disclosed to Affected
                                                      70
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15      Page 80 of 213



 1   Individuals that their computer systems and data security practices were inadequate to safeguard
 2   Affected Individuals’ highly sensitive Personal Information, Affected Individuals would not have
 3   entrusted their Personal Information to Defendants and would not have enrolled in their insurance or
 4   health care plans.
 5               250.   Anthem and Anthem Affiliates breached their duty to Affected Individuals to disclose
 6   in a timely and accurate manner that the Anthem Data breach had occurred. Anthem and Anthem
 7   Affiliates failed to notify potentially affected customers for several weeks, and in some cases
 8   months, after they claim they discovered the breach. Indeed, several states joined together to write to
 9   Anthem to urge it to notify Affected Individuals in a more timely manner.23 As a result, the Affected
10   Individuals were not notified of the Anthem Data Breach until in or about March 2015. Additionally,
11   further discovery will be needed to determine whether Anthem and Anthem Affiliates discovered the
12   breach earlier.24
13               251.   Anthem and Anthem Affiliates’ failure to notify Affected Individuals of the Anthem
14   Data Breach in a timely and accurate manner allowed the cyberattackers to begin to use Affected
15   Individuals’ Personal Information before Affected Individuals had an opportunity to take steps to
16   protect themselves. For example, many Affected Individuals had fraudulent 2015 tax returns filed in
17   their names. While Anthem and Anthem Affiliates became aware of the Anthem Data Breach near
18   the beginning of the federal tax filing period, they failed to notify the Affected Individuals until near
19   the end of the federal tax filing period. This deprived Affected Individuals of the opportunity to take
20   steps to avoid fraudulent tax filings.
21               252.   Defendants violated their promises and representations contained in their mailed
22   privacy notices and website privacy statements.
23

24        23
             Jim Finkle, U.S. states say Anthem too slow to inform customers of breach, REUTERS (Feb.
25   11, 2015, 11:18 AM), http://www.reuters.com/article/2015/02/11/us-anthem-cybersecurity-states-
     idUSKBN0LE2QP20150211.
26        24
             There are reports that Anthem’s website dedicated to the security breach –
     www.anthemfacts.com – was registered on December 13, 2014. See e.g., Dan Goodin, String of big
27   data breaches continues with hack on health insurer Anthem, ARSTECHNICA (Feb. 5, 2015, 11:01
     AM), http://arstechnica.com/security/2015/02/string-of-big-data-breaches-continues-with-hack-on-
28   health-insurer-anthem. / (accessed Feb. 8, 2015).
                                                       71
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15     Page 81 of 213



 1               253.   Anthem and Anthem BCBS Affiliates violated their promise to “take reasonable
 2   safety measures to protect the [Personal Information].”
 3               254.   Anthem and Anthem BCBS Affiliates violated their promises by failing to adequately
 4   maintain “policies that protect the confidentiality of personal information, including Social Security
 5   numbers.”
 6               255.   Anthem and Anthem BCBS Affiliates violated their promises by failing to impose “a
 7   number of standards to: guard the confidentiality of Social Security numbers and other personal
 8   information, prohibit unlawful disclosure of Social Security numbers, and limit access to Social
 9   Security numbers.”
10               256.   Anthem and Anthem BCBS Affiliates violated their promise that employees could
11   “only access, use or disclose Social Security numbers or personal information to complete a specific
12   task and as allowed by law.”
13

14

15

16               257.   BCBSA, Anthem non-BCBS Affiliates and non-Anthem BCBS violated similar
17   promises and representations.
18               258.   Defendants violated their promise to comply with federal and state law to maintain
19   the security of Affected Individuals’ Personal Information, such as HIPAA. For example,
20   Defendants violated HIPAA by failing to establish procedures to keep the Personal Information in
21   their possession confidential and private.
22               259.   Defendants violated the Gramm-Leach-Bliley Act by failing to protect the security
23   and confidentiality of those customers’ “nonpublic personal information.” 15 U.S.C. § 6801.
24               260.   Defendants violated the Federal Trade Commission Act by engaging in the “unfair
25   practice” of failing to maintain reasonable and appropriate data security for consumers’ sensitive
26   Personal Information.
27

28
                                                72
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15      Page 82 of 213



 1
     G.          Affected Individuals Were Grievously Harmed By the Anthem Data Breach
 2
                 261.   The FTC defines identity theft as “a fraud committed or attempted using the
 3
     identifying information of another person without authority.” 25 The FTC describes “identifying
 4
     information” as “any name or number that may be used, alone or in conjunction with any other
 5
     information, to identify a specific person,” including, among other things, “[n]ame, Social Security
 6
     number, date of birth, official State or government issued driver’s license or identification number,
 7
     alien registration number, government passport number, employer or taxpayer identification
 8
     number.” 26
 9
                 262.   Identity theft victims must spend countless hours and large amounts of money
10
     repairing the impact to their credit. 27
11
                 263.   With access to an individual’s Personal Information, criminals can do more than just
12
     empty a victim’s bank account—they can also commit various types of fraud, including: obtaining a
13
     driver’s license or official identification card in the victim’s name but with the thief’s picture; using
14
     the victim’s name and Social Security Number to obtain government benefits; or, filing a fraudulent
15
     tax return using the victim’s information. In addition, identity thieves may obtain a job using the
16
     victim’s Social Security Number, rent a house or receive medical services in the victim’s name, and
17
     may even give the victim’s personal information to police during an arrest resulting in an arrest
18
     warrant being issued in the victim’s name.28 Further, loss of private and personal health information
19
     can expose the victim to loss of reputation, loss of employment, blackmail and other negative
20
     effects.
21
                 264.   Personal Information is such a valuable commodity to identity thieves that once the
22
     information has been compromised, criminals often trade the information on the “cyber black-
23

24
          25
25           17 C.F.R. § 248.201 (2013).
          26
             Id.
26        27
             Guide for Assisting Identity Theft Victims, Federal Trade Commission, 4 (September 2013),
27   http://www.consumer.ftc.gov/articles/pdf-0119-guide-assisting-id-theft-victims.pdf (last visited Oct.
     19, 2015)
28
                                                73
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK                Document 315-4         Filed 10/19/15       Page 83 of 213



 1   market” for years.
 2               265.    A study by Experian found that the “average total cost” of medical identity theft is
 3   “about $20,000” per incident, and that a majority of victims of medical identity theft were forced to
 4   pay out-of-pocket costs for healthcare they did not receive in order to restore coverage.29 Almost half
 5   of medical identity theft victims lose their healthcare coverage as a result of the incident, while
 6   nearly one-third saw their insurance premiums rise, and forty percent were never able to resolve their
 7   identity theft at all.30
 8               266.    Indeed, data breaches and identity theft have a crippling effect on individuals and
 9   detrimentally impact the entire economy as a whole.
10               267.    The injuries suffered by the Affected Individuals are a direct and proximate result of
11   the Anthem Data Breach and include:
12               (a) theft of their personal and financial information;
13
                 (b) loss or delay of tax refunds as a result of fraudulently filed tax returns;
14
                 (c) costs associated with the detection and prevention of identity theft and unauthorized use
15
     of their Personal Information and financial, business, banking, and other accounts;
16

17               (d) costs associated with time spent and the loss of productivity from taking time to address

18   and attempt to ameliorate, mitigate, and deal with the actual and future consequences of the Anthem

19   Data Breach, including finding fraudulent charges, cancelling credit cards, purchasing credit
20   monitoring and identity theft protection services, the imposition of withdrawal and purchase limits
21
     on compromised accounts, and the stress, nuisance, and annoyance of dealing with all issues
22
     resulting from the Anthem Data Breach, including additional phishing emails and phone scams;
23
                 (e) the imminent and certain impending injury flowing from fraud and identify theft posed by
24

25

26
          29
27         See Elinor Mills, Study: Medical identity theft is costly for victims, CNET (Mar. 3, 2010, 5:00
     AM), http://news.cnet.com/8301-27080_3-10460902-245.html.
        30
28         Id.
                                                      74
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 84 of 213



 1   their Personal Information being placed in the hands of hackers;
 2               (f) damages to and diminution in value of their Personal Information entrusted to Defendants
 3
     for the sole purpose of obtaining health insurance or health care services from Anthem, Anthem
 4
     Affiliates, BCBSA and Non-Anthem BCBS and with the mutual understanding that Defendants
 5
     would safeguard Affected Individuals’ data against theft and not allow access to or misuse of their
 6

 7   data by third parties;

 8               (g) money paid to Defendants for health insurance or health care services during the period

 9   of the Anthem Data Breach because Plaintiffs and Class Members would not have obtained health
10
     insurance or health care services from Defendants had Defendants disclosed that they lacked
11
     adequate systems and procedures to reasonably safeguard customers' Personal Information.
12
                 (h) overpayments to Defendants for health insurance or health care services purchased, in
13
     that a portion of the price for insurance paid by Affected Individuals to Defendants was for the costs
14

15   for Defendants to take reasonable and adequate security measures to protect Affected Individuals’

16   Personal Information, which Defendants failed to do;
17               (i) damages caused by Defendants’ failure to notify Affected Individuals about the Anthem
18
     Data Breach in a timely and accurate fashion; and
19
                 (j) continued risk to Affected Individuals’ Personal Information, which remains in the
20
     possession of Defendants and which is subject to further breaches so long as Defendants fail to
21

22   undertake appropriate and adequate measures to protect the Personal Information that Affected

23   Individuals entrusted to Defendants.

24
                 268.   Anthem itself acknowledges the harm caused by the Anthem Data Breach because it
25
     offered Affected Individuals twenty-four months of identity theft repair and credit monitoring
26
     services. Two years of identity theft repair and credit monitoring is woefully inadequate to protect
27
     Affected Individuals from a virtual lifetime of identity theft risk and does nothing to reimburse
28
                                                 75
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4         Filed 10/19/15       Page 85 of 213



 1   Plaintiffs and Class Members for the injuries they have already suffered.
 2               269.   Anthem publicly stated that any identity theft repair or credit monitoring services
 3   potentially offered beyond twenty-four months will be embedded in Anthem’s pricing. Anthem also
 4   stated it will not reimburse individuals that purchase identity theft repair or credit monitoring
 5   services.31
                                           V.      CLASS ALLEGATIONS
 6

 7   A.          Statewide Classes
                 270.   Pursuant to Fed. R. Civ. P. 23(b)(1), (b)(2), (b)(3), and (c)(4), Plaintiffs assert
 8
     common law claims for negligence (Count I), negligence per se (Count II), breach of contract
 9
     (Counts III and IV), breach of the implied covenant of good faith and fair dealing (Count V), third-
10
     party beneficiary breach of contract for the Federal Employee Class (Count VI), negligent
11
     misrepresentation (Count VII), unjust enrichment (Count VIII), as well as statutory claims under
12
     state consumer protection statutes (Count IX), state data breach notification statutes (Count X), state
13
     unfair insurance practice statutes (Count XI), state insurance privacy statutes (Count XII), and state
14
     medical privacy statutes (Count XIII), on behalf of separate statewide classes for each of the 50
15
     states, the District of Columbia, Puerto Rico, and the Virgin Islands, defined as follows:
16

17               Statewide [name of State] Class: All residents of [name of State] whose Personal Information
                 was maintained on the Anthem Database and was compromised as a result of the breach
18               announced by Anthem on or around February 5, 2015.
                 271.   Excluded from the Classes are Defendants, any entity in which Defendants have a
19
     controlling interest, and Defendants’ officers, directors, legal representatives, successors,
20
     subsidiaries, and assigns. Also excluded from the Classes is any judge, justice, or judicial officer
21
     presiding over this matter and the members of their immediate families and judicial staff.
22

23   B.          Federal Employee Class

24               272.   Pursuant to Fed. R. Civ. P. 23(b)(1), (b)(2), (b)(3), and (c)(4), Plaintiffs assert a

25   breach of contract claim on behalf of a federal employee class, defined as follows:

26               Federal Employee Class: All enrollees in the Federal Employee Health Benefits Plan whose
                 Personal Information was maintained on the Anthem Database and was compromised as a
27
          31
28             https://www.anthemfacts.com/faq
                                                76
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15    Page 86 of 213



 1               result of the breach announced by Anthem on or around February 5, 2015.
 2
                 273.   Excluded from the Class are Defendants, any entity in which Defendants have a
 3
     controlling interest, and Defendants’ officers, directors, legal representatives, successors,
 4
     subsidiaries, and assigns. Also excluded from the Class is any judge, justice, or judicial officer
 5
     presiding over this matter and the members of their immediate families and judicial staff.
 6
     C.          Certification of the Proposed Classes is Appropriate
 7
                 274.   Each of the proposed Classes meets the requirements of Fed. R. Civ. P. 23(a), (b)(1),
 8
     (b)(2), (b)(3), and (c)(4).
 9
                 275.   Numerosity: The exact number of members of the Classes is unknown to Plaintiffs at
10
     this time but there are approximately 79 million individuals in all of the Classes combined, and, on
11
     information and belief, there are thousands to millions of individuals in each class, making joinder of
12
     each individual member impracticable. Ultimately, members of the Classes will be easily identified
13
     through Defendants’ records.
14
                 276.   Commonality and Predominance: There are many questions of law and fact
15
     common to the claims of Plaintiffs and the other members of the Classes, and those questions
16
     predominate over any questions that may affect individual members of the Classes. Common
17
     questions for the Classes include:
18
                    a. Whether Defendants failed to adequately safeguard Plaintiffs’ and the Classes’
19

20                      Personal Information;

21                  b. Whether Defendants failed to protect Plaintiffs’ and the Classes’ Personal

22                      Information, as promised;
23                  c. Whether Defendants’ computer system systems and data security practices used to
24
                        protect Plaintiffs’ and the Classes’ Personal Information violated HIPAA, federal,
25
                        state and local laws, or Defendants’ duties;
26
                    d. Whether Defendants engaged in unfair, unlawful, or deceptive practices by failing to
27

28                      safeguard Plaintiffs’ and the Classes’ Personal Information properly and/or as
                                                           77
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4         Filed 10/19/15      Page 87 of 213



 1                      promised;
 2                  e. Whether Defendants violated the consumer protection statutes, data breach
 3
                        notification statutes, state unfair insurance practice statutes, state insurance privacy
 4
                        statutes, and state medical privacy statutes applicable to Plaintiffs and each of the
 5
                        Classes;
 6

 7                  f. Whether Defendants failed to notify Plaintiffs and members of the Classes about the

 8                      Anthem Data Breach as soon as practical and without delay after the Anthem Data

 9                      Breach was discovered;
10
                    g. Whether Defendants acted negligently in failing to safeguard Plaintiffs’ and the
11
                        Classes’ Personal Information;
12
                    h. Whether implied or express contracts existed between Defendants, on the one hand,
13
                        and Plaintiffs and the members of the each of the Classes, on the other;
14

15                  i. Whether Defendants’ conduct described herein constitutes a breach of their implied

16                      or express contracts with Plaintiffs and the members of each of the Classes;
17                  j. Whether Defendants should retain the money paid by Plaintiffs and members of each
18
                        of the Classes to protect their Personal Information;
19
                    k. Whether Plaintiffs and the members of the Classes are entitled to damages as a result
20
                        of Defendants’ wrongful conduct;
21

22                  l. Whether Plaintiffs and the members of the Classes are entitled to restitution as a

23                      result of Defendants’ wrongful conduct;

24                  m. What equitable relief is appropriate to redress Defendants’ wrongful conduct; and
25                  n. What injunctive relief is appropriate to redress the imminent and currently ongoing
26
                        harm faced by members of the Classes.
27

28               277.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the Classes.
                                                            78
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 88 of 213



 1   Plaintiffs and the members of the Classes sustained damages as a result of Defendants’ uniform
 2   wrongful conduct during transactions with them.
 3               278.   Adequacy: Plaintiffs will fairly and adequately represent and protect the interests of
 4   the Classes, and have retained counsel competent and experienced in complex litigation and class
 5   actions. Plaintiffs have no interests antagonistic to those of the Classes, and there are no defenses
 6   unique to Plaintiffs. Plaintiffs and their counsel are committed to prosecuting this action vigorously
 7   on behalf of the members of the proposed Classes, and have the financial resources to do so. Neither
 8   Plaintiffs nor their counsel have any interest adverse to those of the other members of the Classes.
 9               279.   Risks of Prosecuting Separate Actions: This case is appropriate for certification
10   because prosecution of separate actions would risk either inconsistent adjudications which would
11   establish incompatible standards of conduct for the Defendants or would be dispositive of the
12   interests of members of the proposed Classes. Furthermore, the Anthem Database still exists, and is
13   still vulnerable to future attacks – one standard of conduct is needed to ensure the future safety of the
14   Anthem Database.
15               280.   Policies Generally Applicable to the Classes: This case is appropriate for
16   certification because Defendants have acted or refused to act on grounds generally applicable to the
17   Plaintiffs and proposed Classes as a whole, thereby requiring the Court’s imposition of uniform
18   relief to ensure compatible standards of conduct towards members of the Classes, and making final
19   injunctive relief appropriate with respect to the proposed Classes as a whole. Defendants’ practices
20   challenged herein apply to and affect the members of the Classes uniformly, and Plaintiffs’
21   challenge to those practices hinges on Defendants’ conduct with respect to the proposed Classes as a
22   whole, not on individual facts or law applicable only to Plaintiffs.
23               281.   Superiority: This case is also appropriate for certification because class proceedings
24   are superior to all other available means of fair and efficient adjudication of the claims of Plaintiffs
25   and the members of the Classes. The injuries suffered by each individual member of the Classes are
26   relatively small in comparison to the burden and expense of individual prosecution of the litigation
27   necessitated by Defendants’ conduct. Absent a class action, it would be virtually impossible for
28   individual members of the Classes to obtain effective relief from Defendants. Even if members of
                                                      79
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 89 of 213



 1   the Classes could sustain individual litigation, it would not be preferable to a class action because
 2   individual litigation would increase the delay and expense to all parties, including the Court, and
 3   would require duplicative consideration of the common legal and factual issues presented here. By
 4   contrast, a class action presents far fewer management difficulties and provides the benefits of single
 5   adjudication, economies of scale, and comprehensive supervision by a single Court.
 6                                          VI.    CAUSES OF ACTION
 7                          COUNT I – NEGLIGENCE
      BROUGHT BY 53 STATEWIDE CLASSES AGAINST ALL DEFENDANTS EXCEPT FOR
 8                                  BCBSA
 9               282.   Plaintiffs incorporate the above allegations by reference.
10               283.   Defendants required Plaintiffs and Statewide Class Members to submit Personal
11   Information in order to obtain insurance coverage and/or to receive health care services.
12               284.   Defendants knew, or should have known, of the risks inherent in collecting and
13   storing the Personal Information of Plaintiffs and Statewide Class Members.
14               285.   As described above, Anthem owed duties of care to Plaintiffs and Statewide Class
15   Members whose Personal Information had been entrusted with Anthem. Anthem Affiliates owed
16   duties of care to Plaintiffs and Statewide Class Members whose information was placed in the
17   Anthem Database due to their dealings with Anthem Affiliates. Non-Anthem BCBS owed duties of
18   care to Plaintiffs and Statewide Class Members whose information was placed in the Anthem
19   Database due to their dealings with non-Anthem BCBS.
20               286.   Defendants breached their duties to Plaintiffs and Statewide Class Members by
21   failing to provide fair, reasonable, or adequate computer systems and data security practices to
22   safeguard Plaintiffs’ Personal Information.
23               287.   Defendants acted with wanton disregard for the security of Plaintiffs and State Class
24   Members’ Personal Information. Defendants knew or should have known that Anthem had
25   inadequate computer systems and data security practices to safeguard such information, and
26   Defendants knew or should have known that hackers were attempting to access the Personal
27   Information in health care databases, such as Anthem’s.
28               288.   A “special relationship” exists between Defendants and the Plaintiffs and Statewide
                                                           80
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15     Page 90 of 213



 1   Class Members. Anthem Affiliates entered into a “special relationship” with the Plaintiffs and State
 2   Class Members whose Personal Information was requested, collected, and received by Anthem
 3   Affiliates. A “special relationship” also exists between Anthem Affiliates and Plaintiffs and the
 4   State Class Members because Anthem Affiliates are insurers and providers of health plan services
 5   and thus stand in a fiduciary or quasi-fiduciary relationship with Plaintiffs and State Class Members.
 6   Similarly, non-Anthem BCBS entered a “special relationship” with Plaintiffs and State Class
 7   Members whose Personal Information they requested, received, or collected. A “special
 8   relationship” also exists between non-Anthem BCBS and Plaintiffs and the State Class Members
 9   because non-Anthem BCBS are insurers and providers of health plan services and thus stand in a
10   fiduciary or quasi-fiduciary relationship with Plaintiffs and State Class Members. Anthem entered
11   into a “special relationship” with all Plaintiffs and Class Members by placing their Personal
12   Information in the Anthem Database – information that Plaintiffs and State Class Members had been
13   required to provide to Anthem Affiliates or non-Anthem BCBS. Furthermore, Anthem also created
14   a “special relationship” with Plaintiffs and Statewide Class Members who provided their information
15   to Anthem Affiliates by playing a large in role in creating and maintaining centralized computer
16   systems and data security practices that were used for storage of all of Anthem Affiliates’ customers’
17   Personal Information. Finally, Anthem also created a “special relationship” with Plaintiffs and
18   Statewide Class Members whose Personal Information was placed in the Anthem Database due to
19   their dealings with non-Anthem BCBS. Those Plaintiffs and Statewide Class Members’ Personal
20   Information was placed in the Anthem Database so that they could receive access to providers and
21   discounts in areas where Anthem serves as the BCBS licensee.
22               289.   But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiffs
23   and Statewide Class Members, Plaintiffs and Statewide Class Members would not have been injured.
24               290.   The injury and harm suffered by Plaintiffs and Statewide Class Members was the
25   reasonably foreseeable result of Defendants’ breach of their duties. Defendants knew or should have
26   known that they were failing to meet their duties, and that Defendants’ breach would cause Plaintiffs
27   and Statewide Class Members to experience the foreseeable harms associated with the exposure of
28   their Personal Information.
                                                81
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4           Filed 10/19/15    Page 91 of 213



 1               291.   As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and
 2   Class Members have suffered injury and are entitled to damages in an amount to be proven at trial.
 3                       COUNT II – NEGLIGENCE PER SE
      BROUGHT BY 53 STATEWIDE CLASSES AGAINST ALL DEFENDANTS EXCEPT FOR
 4                                   BCBSA
 5               292.   Plaintiffs incorporate the above allegations by reference.
 6               293.   Pursuant to the Federal Trade Commission Act (15 U.S.C. §45), Defendants Anthem,
 7   Anthem Affiliates, and non-Anthem BCBS had a duty to provide fair and adequate computer
 8   systems and data security practices to safeguard Plaintiffs’ and Class Members’ Personal
 9   Information.
10               294.   Pursuant to HIPAA (42 U.S.C. §1302d et. seq.), Defendants had a duty to implement
11   reasonable safeguards to protect Plaintiffs’ and Class Members’ Personal Information.
12               295.   Pursuant to the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), Defendants had a duty
13   to protect the security and confidentiality of Plaintiffs’ and Class Members’ Personal Information.
14               296.   Pursuant to state laws in the following 12 states, Anthem and all other Defendants
15   operating in those states had a duty to those respective states’ Class Members to implement and
16   maintain reasonable security procedures and practices to safeguard Plaintiffs’ and Class Members’
17   Personal Information:
18                      a.      Arkansas: Ark. Code § 4-110-104
19
                        b.      California: Cal Civ. Code § 1798.81.5
20
                        c.      Connecticut: Conn. Gen. Stat. § 42-471
21
                        d.      Florida: Fla. Stat. § 501.171(2)
22

23                      e.      Indiana: Ind. Code § 24-4.9-3.5

24                      f.      Maryland: Md. Code. Comm. Law § 14-5303

25                      g.      Massachusetts: Mass. Gen Laws Ch. 93H, § 3(a)
26                      h.      Nevada: Nev. Rev. Stat. § 603A.210
27
                        i.      Oregon: Ore. Rev. Stat. § 646A.622(1)
28
                                                   82
                             CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 92 of 213



 1                      j.      Rhode Island: R.I. Gen Laws § 11-49.2-2(2)
 2                      k.      Texas: Tex. Bus. & Com. Code § 521.052(a)
 3
                        l.      Utah: Utah Code § 14-44-201(1)(a)
 4

 5               297.   Defendants breached their duties to Plaintiffs and Statewide Class Members under the

 6   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), Gramm-

 7   Leach-Bliley Act (15 U.S.C. § 6801), and the state reasonable data security statutes by failing to

 8   provide fair, reasonable, or adequate computer systems and data security practices to safeguard

 9   Plaintiffs’ and Class Members’ Personal Information.

10               298.   Defendants’ failure to comply with applicable laws and regulations constitutes

11   negligence per se.

12               299.   But for Defendants’ wrongful and negligent breach of their duties owed to Plaintiffs

13   and Statewide Class Members, Plaintiffs and Statewide Class Members would not have been injured.

14               300.   The injury and harm suffered by Plaintiffs and Statewide Class Members was the

15   reasonably foreseeable result of Defendants’ breach of their duties. Defendants knew or should have

16   known that they were failing to meet their duties, and that Defendants’ breach would cause Plaintiffs

17   and Statewide Class Members to experience the foreseeable harms associated with the exposure of

18   their Personal Information.

19               301.   As a direct and proximate result of Defendants’ negligent conduct, Plaintiffs and

20   Class Members have suffered injury and are entitled to damages in an amount to be proven at trial.

21                         COUNT III – BREACH OF CONTRACT
            BROUGHT BY 53 STATEWIDE CLASSES AGAINST ANTHEM AND ANTHEM
22                                     AFFILIATES

23               302.   Plaintiffs incorporate the above allegations by reference.

24               303.   Plaintiffs and those Statewide Class Members who purchased individual insurance

25   plans from Anthem Affiliates or who received health insurance and related benefits under a contract

26   between an employer (including private and governmental employers) and Anthem or Anthem

27   Affiliates had valid, binding, and enforceable express, third party beneficiary, or implied contracts

28   with Anthem and Anthem Affiliates as follows:
                                                   83
                             CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 93 of 213



 1               a.     Plaintiffs and Statewide Class Members or their employers paid money to Anthem
 2   and/or Anthem Affiliates and Plaintiffs and Statewide Class Members provided Anthem and/or
 3   Anthem Affiliates with their Personal Information. In exchange, Anthem and/or Anthem Affiliates
 4   agreed, among other things: (1) to provide health insurance coverage and/or related health care
 5   services to Plaintiffs and Statewide Class Members according to the terms of their health plans; (2)
 6   to take reasonable measures to protect the security and confidentiality of Plaintiffs’ and Statewide
 7   Class Members’ Personal Information; and (3) to protect Plaintiffs’ and Statewide Class Members’
 8   Personal Information in compliance with federal and state laws and regulations, including HIPAA,
 9   and industry standards.
10               b.     For those Plaintiffs and Statewide Class Members who received health insurance and
11   related benefits under a contract between an employer and Anthem and/or Anthem Affiliates,
12   Plaintiffs’ and Statewide Class Members’ employers and Anthem and/or Anthem Affiliates intended
13   for Plaintiffs to directly benefit from the contractual promises and obligations to implement security
14   measures to protect Plaintiffs’ and Statewide Class Members’ Personal Information. With respect to
15   contracts between employers and Anthem and/or Anthem Affiliates, the applicable contract is the
16   services agreement between the employer and Anthem and/or Anthem Affiliates, not the employer
17   benefits plan document.
18               c.     Additionally and alternatively, Plaintiffs and Statewide Class Members were required
19   to provide Personal Information to Anthem and Anthem Affiliates. This information was valuable to
20   Anthem and Anthem Affiliates because they used it in providing health insurance and related
21   services to Plaintiffs and Statewide Class Members, and also for their own business purposes. By
22   demanding and accepting Plaintiffs’ and Statewide Class Members’ Personal Information, Anthem
23   and Anthem Affiliates entered into implied contracts with Plaintiffs and Statewide Class Members
24   that required Anthem and Anthem Affiliates to take reasonable measures to protect the security and
25   confidentiality of the Personal Information in accordance with applicable laws, regulations, and
26   industry standards.
27               304.   The terms of Plaintiffs’ and Statewide Class Members’ contracts with Anthem and
28   Anthem Affiliates that concern the protection of Plaintiffs’ Personal Information, set forth above,
                                                      84
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 94 of 213



 1   were material terms of the contracts.
 2               305.   Anthem and Anthem Affiliates did not satisfy their promises and obligations to
 3   Plaintiffs and Statewide Class Members under the contracts in that they did not take reasonable
 4   measures to keep Plaintiffs’ and Statewide Class Members’ Personal Information secure and
 5   confidential and did not comply with the applicable laws, regulations, and industry standards.
 6               306.   Anthem and Anthem Affiliates materially breached their contracts with Plaintiffs and
 7   Statewide Class Members by failing to implement the security measures required by the contracts.
 8               307.   Plaintiffs and Statewide Class Members fully performed their obligations under their
 9   contracts with Anthem and Anthem Affiliates and satisfied all conditions, covenants, obligations,
10   and promises of these agreements.
11               308.   Anthem and Anthem Affiliates’ failure to satisfy these promises and obligations led
12   directly to the Anthem Data Breach, in which Anthem and Anthem Affiliates let unauthorized
13   parties access and exfiltrate Plaintiffs’ and Statewide Class Members’ Personal Information.
14               309.   As a result of Anthem and Anthem Affiliates’ failure to implement the security
15   measures required by the contracts, Plaintiffs and Statewide Class Members did not receive the full
16   benefit of their bargain, and instead received health insurance and/or related health care services that
17   were less valuable than what they paid for. Plaintiffs and Statewide Class Members, therefore, were
18   damaged in an amount at least equal to this overpayment.
19               310.   Also as a result of Anthem and Anthem Affiliates’ failure to implement the security
20   measures required by the contracts, Plaintiffs and Statewide Class Members have suffered actual
21   damages resulting from the theft of their Personal Information and remain at imminent risk of
22   suffering additional damages in the future.
23               311.   Accordingly, Plaintiffs and Statewide Class Members have been injured as a result of
24   Anthem and Anthem Affiliates’ breach of contract and are entitled to damages and/or restitution in
25   an amount to be proven at trial.
26                            COUNT IV – BREACH OF CONTRACT
                 BROUGHT BY 53 STATEWIDE CLASSES AGAINST NON-ANTHEM BCBS
27
                 312.   Plaintiffs incorporate the above allegations by reference.
28
                                                85
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 95 of 213



 1               313.   Plaintiffs and those Statewide Class Members who purchased individual insurance
 2   plans from non-Anthem BCBS or who received health insurance and related benefits under a
 3   contract between an employer (including private and governmental employers) had valid, binding,
 4   and enforceable express, third party beneficiary, or implied contracts with the non-Anthem BCBS as
 5   follows:
 6               a. Plaintiffs and Statewide Class Members or their employers paid money to non-Anthem
 7   BCBS and Plaintiffs provided non-Anthem BCBS with their Personal Information. In exchange,
 8   non-Anthem BCBS agreed, among other things: (1) to provide health insurance coverage and/or
 9   related health services to Plaintiffs and Statewide Class Members according to the terms of their
10   health plans; (2) to take reasonable measures to protect the security and confidentiality of Plaintiffs’
11   and Statewide Class Members’ Personal Information; and (3) to protect Plaintiffs’ and Statewide
12   Class Members’ Personal Information in compliance with federal and state laws and regulations,
13   including HIPAA, and industry standards.
14               b.     Plaintiffs’ and Statewide Class Members’ employers and non-Anthem BCBS
15   intended for Plaintiffs and Statewide Class Members to directly benefit from the contractual
16   promises and obligations to implement security measures to protect Plaintiffs’ and Statewide Class
17   Members’ Personal Information. With respect to contracts between employers and non-Anthem
18   BCBS, the applicable contract is the services agreement between the employer and non-Anthem
19   BCBS, not the employer benefits plan document.
20               c.     Additionally and alternatively, Plaintiffs and Statewide Class Members were required
21   to provide Personal Information to non-Anthem BCBS. This Personal Information was valuable to
22   non-Anthem BCBS because they used it in providing health insurance and related services to
23   Plaintiffs and Statewide Class Members, and also for their own business purposes. By demanding
24   and accepting Plaintiffs’ and Statewide Class Members’ Personal Information, non-Anthem BCBS
25   entered into implied contracts with Plaintiffs and Statewide Class Members that required non-
26   Anthem BCBS to take reasonable measures to protect the security and confidentiality of the Personal
27   Information in accordance with applicable laws, regulations, and industry standards.
28               314.   Through these contracts, non-Anthem BCBS also offered the BlueCard program,
                                                         86
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                           CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4       Filed 10/19/15     Page 96 of 213



 1   which enabled Plaintiffs and Statewide Class Members to obtain healthcare from providers in other
 2   BCBS licensees’ provider networks in certain circumstances. Plaintiffs and Statewide Class
 3   Members paid substantial premiums to non-Anthem BCBS for access to the BlueCard program.
 4               315.   The terms of Plaintiffs’ contracts with non-Anthem BCBS that concern the protection
 5   of Plaintiffs’ and Statewide Class Members’ Personal Information and the use of the BlueCard
 6   program were material terms of the contracts.
 7               316.   Non-Anthem BCBS did not satisfy their promises and obligations to Plaintiffs and
 8   Statewide Class Members under the contracts in that they failed to ensure that Plaintiffs’ and
 9   Statewide Class Members’ Personal Information would be secured as required by the contracts.
10   Instead, Plaintiffs’ and Statewide Class Members’ Personal Information was stored in the
11   inadequately-secured Anthem Database and accessed and exfiltrated in the Anthem Data Breach.
12               317.   Non-Anthem BCBS, thus, materially breached their contracts with Plaintiffs and
13   Statewide Class Members by failing to implement the security measures required by the contracts.
14               318.   Plaintiffs and Statewide Class Members fully performed their obligations under their
15   contracts with non-Anthem BCBS and satisfied all conditions, covenants, obligations, and promises
16   of these agreements.
17               319.   As a direct and proximate result of non-Anthem BCBS’ failure to implement the
18   security measures required by the contracts, Plaintiffs and Statewide Class Members did not receive
19   the full benefit of their bargain, and instead received health insurance and related services that were
20   less valuable than what they paid for. Plaintiffs and Statewide Class Members were damaged in an
21   amount at least equal to this overpayment.
22               320.   Also as a direct and proximate result of non-Anthem BCBS’ failure to implement the
23   security measures required by the contracts, Plaintiffs and Statewide Class Members have suffered
24   actual damages resulting from the theft of their Personal Information and remain at imminent risk of
25   suffering additional damages in the future.
26               321.   Accordingly, Plaintiffs and Statewide Class Members have been injured as a result of
27   non-Anthem BCBS’ breach of contract and are entitled to damages and/or restitution in an amount to
28   be proven at trial.
                                                87
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 97 of 213



 1
          COUNT V – BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR
 2                                  DEALING
         BROUGHT BY 53 STATEWIDE CLASSES AGAINST ALL DEFENDANTS EXCEPT
 3                                   BCBSA
 4               322.   Plaintiffs incorporate the above allegations by reference.

 5               323.   Plaintiffs and Statewide Class Members entered into valid, binding, and enforceable

 6   express, implied, or third-party beneficiary contracts with Anthem and Anthem Affiliates or with

 7   non-Anthem BCBS, as alleged above.

 8               324.   These contracts were subject to implied covenants of good faith and fair dealing that

 9   all parties would act in good faith and with reasonable efforts to perform their contractual

10   obligations (both explicit and fairly implied) and not to impair the rights of the other parties to

11   receive the rights, benefits, and reasonable expectations under the contracts. These included the

12   covenants that Anthem, Anthem Affiliates and non-Anthem BCBS would act fairly and in good faith

13   in carrying out their contractual obligations to take reasonable measures to protect Plaintiffs’

14   Personal Information and to comply with industry standards and federal and state laws and

15   regulations.

16               325.   “Special relationships” exist between Anthem, Anthem Affiliates and non-Anthem

17   BCBS and the Plaintiffs and Statewide Class Members. Anthem, Anthem Affiliates and non-Anthem

18   BCBS each entered into a “special relationship” with those Plaintiffs and Statewide Class Members

19   who purchased insurance plans from them and/or enrolled in health services plans with them and

20   who entrusted their Personal Information to Anthem, Anthem Affiliates and non-Anthem BCBS.

21               326.   Despite these special relationships with Plaintiffs, Anthem, Anthem Affiliates and

22   non-Anthem BCBS did not act in good faith and with fair dealing to protect Plaintiffs’ and Statewide

23   Class Members’ Personal Information. For example, instead of implementing reasonable security

24   measures to protect Plaintiffs’ and Statewide Class Members’ Personal Information, Anthem and

25   Anthem Affiliates provided woefully inadequate security measures that violated basic information

26   security principles. Similarly, non-Anthem BCBS allowed Anthem and Anthem Affiliates to store

27   and retain Plaintiffs’ and Statewide Class Members’ information in the Anthem Database in the

28   course of administering the BlueCard Program even though the Anthem Database was not
                                                    88
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 98 of 213



 1   reasonably secure.
 2               327.   Plaintiffs and Statewide Class Members performed all conditions, covenants,
 3   obligations, and promises owed to Anthem, Anthem Affiliates, and non-Anthem BCBS.
 4               328.   Anthem, Anthem Affiliates and non-Anthem BCBS’ failure to act in good faith in
 5   implementing the security measures required by the contracts denied Plaintiffs and Statewide Class
 6   Members the full benefit of their bargain, and instead they received health insurance and related
 7   services that were less valuable than what they paid for and less valuable than their reasonable
 8   expectations under the contracts. Plaintiffs and Statewide Class Members were damaged in an
 9   amount at least equal to this overpayment.
10               329.   Anthem, Anthem Affiliates and non-Anthem BCBS’ failure to act in good faith in
11   implementing the security measures required by the contracts also caused Plaintiffs and Statewide
12   Class Members to suffer actual damages resulting from the theft of their Personal Information, and
13   remain at imminent risk of suffering additional damages in the future.
14               330.   Accordingly, Plaintiffs have been injured as a result of Anthem, Anthem Affiliates
15   and non-Anthem BCBS’ breaches of the covenant of good faith and fair dealing and are entitled to
16   damages and/or restitution in an amount to be proven at trial.
17     COUNT VI – THIRD-PARTY BENEFICIARY CLAIM FOR BREACH OF CONTRACT
                               UNDER FEDERAL LAW
18    BROUGHT BY FEDERAL EMPLOYEE CLASS AGAINST ALL DEFENDANTS EXCEPT
                          ANTHEM NON-BCBS AFFILIATES
19
                 331.   Plaintiffs incorporate the above allegations by reference.
20
                 332.   BCBSA, on behalf of the Anthem BCBS Affiliates and non-Anthem BCBS, had a
21
     valid, binding, and enforceable express contract with OPM to provide insurance and other benefits to
22
     those Plaintiffs who received health insurance and related benefits under the Federal BCBSA Plan
23
     (“Federal Employee Plaintiffs”) and the Federal Employee Class Members. Under the express terms
24
     of the Federal BCBSA Contract, federal law applies to breach of contract claims.
25
                 333.   Under the Federal BCBSA Contract, BCBSA, on behalf of the Anthem BCBS
26
     Affiliates and non-Anthem BCBS, promised to take reasonable measures to protect the security and
27
     confidentiality of Federal Employee Plaintiffs’ and Federal Employee Class Members’ Personal
28
                                                89
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 99 of 213



 1   Information, and to protect their Personal Information in compliance with federal and state laws and
 2   regulations, including HIPAA, and industry standards.
 3               334.   The terms of the Federal BCBSA Contract that concern the protection of Federal
 4   Employee Plaintiffs’ Personal Information were material terms of the Federal BCBSA Contract.
 5               335.   BCBSA, the Anthem BCBS Affiliates, and non-Anthem BCBS did not satisfy their
 6   promises and obligations to OPM under the Federal BCBSA Contract, in that they did not take
 7   reasonable and contractually-required measures to keep Federal Employee Plaintiffs’ and Class
 8   Members’ Personal Information secure and confidential and did not comply with the applicable
 9   federal and state laws, regulations, and industry standards for data security.
10               336.   BCBSA, the Anthem BCBS Affiliates, and non-Anthem BCBS materially breached
11   their contract with OPM by failing to implement the security measures required by the Federal
12   BCBSA Contract. Instead, Federal Employee Plaintiffs’ and Class Members’ Personal Information
13   was stored in the inadequately-secured Anthem Database and accessed and exfiltrated in the Anthem
14   Data Breach. To the extent BCBSA outsourced the collection, storage, use, and protection of
15   Federal Employee Plaintiffs’ and Class Members’ Personal Information to other entities, BCBSA
16   remains liable for those entities’ failure to protect the Personal Information.
17               337.   OPM fully performed its obligations under the Federal BCBSA Contract and satisfied
18   all conditions, covenants, obligations, and promises of the agreement.
19               338.   BCBSA, Anthem BCBS Affiliates, and non-Anthem BCBS’s failure to satisfy their
20   promises and obligations led directly to the Anthem Data Breach, in which Anthem and Anthem
21   Affiliates let unauthorized parties access and exfiltrate Federal Employee Plaintiffs and Class
22   Members’ Personal Information.
23               339.   Federal Employee Plaintiffs and Class Members are intended third-party beneficiaries
24   of the data security provisions in the contract between BCBSA (on behalf of Anthem BCBS
25   Affiliates and non-Anthem BCBS) and OPM, and are entitled to directly enforce its terms. The
26   benefits that Federal Employee Plaintiffs and Class Members receive under the Federal BCBSA
27   Contract are not incidental to the purpose of the agreement. Instead, the purpose of the Federal
28   BCBSA Contract is to define the terms and conditions under which BCBSA, the Anthem BCBS
                                                    90
                   CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 100 of 213



 1   Affiliates, and the non-Anthem BCBS would provide health insurance and/or related health care
 2   services to Federal Employee Plaintiffs. The provisions of the agreement that pertain to data
 3   security are intended to protect the Personal Information of Federal Employee Plaintiffs and Class
 4   Members. Among other things, the Federal BCBSA Contract’s confidentiality provisions explicitly
 5   refer to “subscribers” and the statement of benefits’ confidentiality provision refers to “enrollees.”
 6   Federal Employee Plaintiffs and Class Members are subscribers and enrollees within the meaning to
 7   the Federal BCBSA Contract and are covered by the Federal BCBSA Plans governed by the
 8   contract.
 9               340.   As a result of BCBSA, Anthem BCBS Affiliates, and non-Anthem BCBS’s failure to
10   implement the security measures required by the Federal BCBSA Contract, OPM did not receive the
11   full benefit of its bargain, and instead Federal Employee Plaintiffs and Class Members received
12   health insurance and/or related health care services that were less valuable than what OPM had
13   bargained for.
14               341.   Also as a result of BCBSA, Anthem BCBS Affiliates, and non-Anthem BCBS’s
15   failure to implement the security measures required by the Federal BCBSA Contract, Federal
16   Employee Plaintiffs and Class Members have suffered actual damages resulting from the theft of
17   their Personal Information and remain at imminent risk of suffering additional damages in the future.
18   Federal Employee Plaintiffs and Class Members also overpaid for health insurance and/or related
19   health care services because they did not receive the full benefit of the services that BCBSA,
20   Anthem BCBS Affiliates, non-Anthem BCBS, and OPM intended them to receive.
21               342.   Accordingly, Federal Employee Plaintiffs and Class Members have been injured as a
22   result of Defendants’ breach of contract and are entitled to damages and/or restitution in an amount
23   to be proven at trial. Moreover, Federal Employee Plaintiffs and Class Members are additionally
24   entitled to specific performance of the contract, including OPM’s right to audit Anthem, which, as
25   discussed above, Anthem has refused and continues to refuse to allow.
26
27

28
                                                91
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 101 of 213



 1
                   COUNT VII – NEGLIGENT MISREPRESENTATION
 2       BROUGHT BY 53 STATEWIDE CLASSES AGAINST ALL DEFENDANTS EXCEPT
                                     BCBSA
 3

 4               343.   Plaintiffs incorporate the above allegations by reference.

 5               344.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS negligently and

 6   recklessly misrepresented material facts, pertaining to the sale of insurance and health benefits

 7   services, to Plaintiffs and Statewide Class Members by representing that they would maintain

 8   adequate data privacy and security practices and procedures to safeguard Plaintiffs and Statewide

 9   Class Members’ Personal Information from unauthorized disclosure, release, data breaches, and

10   theft.

11               345.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS negligently and

12   recklessly misrepresented material facts, pertaining to the sale of insurance and health benefits

13   services, to Plaintiffs and Statewide Class Members by representing that they did and would comply

14   with the requirements of relevant federal and state laws pertaining to the privacy and security of

15   Plaintiffs and Statewide Class Members’ Personal Information.

16               346.   Because of multiple warnings about the inadequacy of their data privacy and security

17   practices, Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS either knew or should

18   have known that their representations were not true.

19               347.   In reliance upon these misrepresentations, Plaintiffs and Statewide Class Members

20   purchased insurance or health benefits services from Defendants.

21               348.   Had Plaintiffs and Statewide Class Members, as reasonable persons, known of

22   Defendants’ inadequate data privacy and security practices, or that Defendants were failing to

23   comply with the requirements of federal and state laws pertaining to the privacy and security of

24   Class Members’ Personal Information, they would not have purchased insurance or health benefits

25   services from Defendants, and would not have entrusted their Personal Information to Defendants.

26               349.   As direct and proximate consequence of Defendants’ negligent misrepresentations,

27   Plaintiffs and Class Members have suffered the injuries alleged above.

28
                                                92
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 102 of 213



 1
                         COUNT VIII – UNJUST ENRICHMENT
 2      BROUGHT BY 53 STATEWIDE CLASS AGAINST ALL DEFENDANTS EXCEPT FOR
                                       BCBSA
 3
                 350.   Plaintiffs incorporate the above allegations by reference.
 4
                 351.   Plaintiffs and Class Members conferred a monetary benefit on Defendants Anthem,
 5
     Anthem Affiliates, and non-Anthem BCBS in the form of premiums paid for the purchase of health
 6
     insurance and health benefits services.
 7
                 352.   Anthem, Anthem Affiliates, and non-Anthem BCBS appreciated or had knowledge of
 8
     the benefits conferred upon them by Plaintiffs and Class Members.
 9
                 353.   The premiums for health insurance and health benefits services that Plaintiffs and
10
     Class Members paid (directly or indirectly) to Defendants were supposed to be used by Defendants,
11
     in part, to pay for the administrative costs of reasonable data privacy and security practices and
12
     procedures.
13
                 354.   As a result of Anthem, Anthem Affiliates, and non-Anthem BCBS’ conduct,
14
     Plaintiffs and Class Members suffered actual damages in an amount equal to the difference in value
15
     between health insurance and health benefit services with the reasonable data privacy and security
16
     practices and procedures that Plaintiffs and Class Members paid for, and the inadequate health
17
     insurance and health benefits services without reasonable data privacy and security practices and
18
     procedures that they received.
19
                 355.   Under principals of equity and good conscience, Defendants Anthem, Anthem
20
     Affiliates, and non-Anthem BCBS should not be permitted to retain the money belonging to
21
     Plaintiffs and Class Members because Defendant failed to implement (or adequately implement) the
22
     data privacy and security practices and procedures that Plaintiffs and Class Members paid for and
23
     that were otherwise mandated by HIPAA regulations, federal, state and local laws, and industry
24
     standards.
25
                 356.   Anthem, Anthem Affiliates, and non-Anthem BCBS should be compelled to disgorge
26
     into a common fund for the benefit of Plaintiffs and Class Members all unlawful or inequitable
27
     proceeds received by Anthem, Anthem Affiliates, and non-Anthem BCBS.
28
                                                93
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 103 of 213



 1               357.   A constructive trust should be imposed upon all unlawful or inequitable sums
 2   received by Anthem, Anthem Affiliates, and non-Anthem BCBS traceable to Plaintiffs and Class
 3   Members.
 4               358.   Plaintiffs and Class Members have no adequate remedy at law.
 5                         COUNT IX – STATE CONSUMER PROTECTION LAWS
                            BROUGHT BY THE STATEWIDE CLASSES BELOW
 6
                                             Arizona
 7                             ARIZONA CONSUMER FRAUD ACT,
                                     A.R.S. § 44-1521, et seq.
 8                (BROUGHT BY ARIZONA CLASS AGAINST ANTHEM AND ALL OTHER
                     DEFENDANTS OPERATING IN ARIZONA EXCEPT FOR BCBSA)
 9
10               359.   Plaintiffs incorporate the above allegations by reference.
11               360.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
12   Arizona engaged in deceptive and unfair acts and practices, misrepresentation, and the concealment,
13   suppression, and omission of material facts in connection with the sale and advertisement of
14   “merchandise” (as defined in the Arizona Consumer Fraud Act, A.R.S. §44-1521(5)) in violation of
15   A.R.S. §44-1522(A), including but not limited to the following:
16               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
17   material facts to the Arizona Class, in connection with the sale of insurance and health benefits
18   services, by representing that they would maintain adequate data privacy and security practices and
19   procedures to safeguard Arizona Class Members’ Personal Information from unauthorized
20   disclosure, release, data breaches, and theft;
21               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
22   material facts to the Arizona Class, in connection with sale of insurance and health benefits services,
23   by representing that they did and would comply with the requirements of relevant federal and state
24   laws pertaining to the privacy and security of Arizona Class Members’ Personal Information;
25               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
26   and concealed the material fact of the inadequacy of the privacy and security protections for Arizona
27   Class Members’ Personal Information, with the intent that others rely on the omission, suppression,
28   and concealment;
                                                94
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 104 of 213



 1               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
 2   acts and practices, in connection with the sale of insurance and health benefits services by failing to
 3   maintain the privacy and security of Arizona Class Members’ Personal Information, in violation of
 4   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
 5   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
 6   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-
 7   Leach-Bliley Act (15 U.S.C. § 6801), and the Arizona Insurance Information and Privacy Protection
 8   Act (A.R.S. §20-2113).
 9               e.     Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices in
10   connection with the sale of insurance and health benefits services by failing to disclose the Anthem
11   Data Breach to Arizona Class Members in a timely and accurate manner, in violation of Ariz. Rev.
12   Stat. § 44-7501.
13               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
14   acts and practices with respect to the sale of insurance and health benefits services by failing to take
15   proper action following the Anthem Data Breach to enact adequate privacy and security measures
16   and protect Arizona Class Members’ Personal Information from further unauthorized disclosure,
17   release, data breaches, and theft.
18               361.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
19   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
20   acts caused substantial injury to consumers that the consumers could not reasonably avoid; this
21   substantial injury outweighed any benefits to consumers or to competition.
22               362.   Defendants knew or should have known that their computer systems and data security
23   practices were inadequate to safeguard Arizona Class Members’ Personal Information and that risk
24   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
25   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
26   with respect to the rights of members of the Arizona Class.
27               363.   As a direct and proximate result of Defendants’ unlawful practices, Arizona Class
28   Members suffered injury and/or damages.
                                                95
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 105 of 213



 1               364.   Arizona Class Members seek relief under A.R.S. § 4421, et. seq., including, but not
 2   limited to, compensatory damages, punitive damages, injunctive relief, and/or attorneys’ fees and
 3   costs.
 4                                       California
                         CALIFORNIA UNFAIR COMPETITION LAW,
 5                         CAL. BUS. & PROF. CODE § 17200, et seq.
              (BROUGHT BY CALIFORNIA CLASS AGAINST ANTHEM AND ALL OTHER
 6                 DEFENDANTS OPERATING IN CALIFORNIA EXCEPT BCBSA)
 7
                 365.   Plaintiffs incorporate the above allegations by reference.
 8
                 366.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
 9
     California have violated Cal. Business and Professions Code §17200 et seq. by engaging in
10
     unlawful, unfair or fraudulent business acts and practices and unfair, deceptive, untrue or misleading
11
     advertising that constitute acts of “unfair competition” as defined in Cal. Bus. Prof. Code §17200
12
     with respect to the insurance and health benefits services provided to the California Class, including
13
     but not limited to the following:
14
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in deceptive
15
     acts and practices with regard to the insurance and health benefits services provided to the California
16
     Class by representing and advertising that they would maintain adequate data privacy and security
17
     practices and procedures to safeguard California Class Members’ Personal Information from
18
     unauthorized disclosure, release, data breaches, and theft; representing and advertising that they did
19
     and would comply with the requirements of relevant federal and state laws pertaining to the privacy
20
     and security of California Class Members’ Personal Information; and omitting, suppressing, and
21
     concealing the material fact of the inadequacy of the privacy and security protections for California
22
     Class Members’ Personal Information.
23
                 b.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
24
     acts and practices with respect to the insurance and health benefits services by establishing the sub-
25
     standard security practices and procedures described herein; by soliciting and collecting Plaintiffs’
26
     and California Class Members’ Personal Information with knowledge that the information would not
27
     be adequately protected; and by storing Plaintiffs’ and California Class Members’ Personal
28
                                                96
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4     Filed 10/19/15      Page 106 of 213



 1   Information in an unsecure electronic environment. These unfair acts and practices were immoral,
 2   unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs and
 3   California Class Members. Defendant’s practice was also contrary to legislatively declared and

 4   public policies that seek to protect consumer data and ensure that entities who solicit or are entrusted

 5   with personal data utilize appropriate security measures, as reflected by laws like the Federal Trade

 6   Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley

 7   Act (15 U.S.C. § 6801), California’s Confidentiality of Medical Information Act (Civil Code §56 et

 8   seq.), California’s unfair insurance practices statutes (Ins. Code §790 et seq.), California’s Insurance

 9   Information and Privacy Protection Act (Ins. Code §791 et seq.), and California’s data breach

10   statute, Cal. Civ. Code § 1798.81.5. The harm these practices caused to Plaintiffs and the California

11   Class Members outweighed their utility, if any.

12               c.   Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with

13   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data

14   Breach to California Class Members in a timely and accurate manner, contrary to the duties imposed

15   by Cal. Civ. Code § 1798.82. These unfair acts and practices were immoral, unethical, oppressive,

16   unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs and California Class

17   Members. The harm these practices caused to Plaintiffs and the California Class Members

18   outweighed their utility, if any.

19               d.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair

20   acts and practices with respect to the provision of insurance and health benefits services by failing to

21   take proper action following the Anthem Data Breach to enact adequate privacy and security

22   measures and protect California Class Members’ Personal Information from further unauthorized

23   disclosure, release, data breaches, and theft. These unfair acts and practices were immoral,

24   unethical, oppressive, unscrupulous, unconscionable, and/or substantially injurious to Plaintiffs and

25   California Class Members. The harm these practices caused to Plaintiffs and the California Class

26   Members outweighed their utility, if any.
                 e.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unlawful
27
     business practices by violating the privacy and security requirements of HIPAA (42 U.S.C. § 1302d
28
                                                       97
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 107 of 213



 1   et. seq.).
 2               f.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unlawful
 3   business practices by violating California’s Confidentiality of Medical Information Act (Civil Code

 4   §56 et seq.) with respect to California Class members participating in health services plans regulated

 5   by the Knox-Keene Act, and with respect to employees.

 6               g.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unlawful

 7   business practices by violating California’s unfair insurance practices statutes (Ins. Code §790 et

 8   seq.), and California’s Insurance Information and Privacy Protection Act (Ins. Code §791 et seq.,

 9   “CIIPA”) with respect to California Class Members with health insurance. With respect to CIIPA,

10   Defendants are “insurance institutions” that “collected or received” “personal or privileged

11   information” pertaining to members of the California Class “in connection with an insurance

12   transaction” and, as a result of the Anthem Data Breach, failed to maintain the confidentiality and

13   privacy of and disclosed this personal information without authorization, thereby violating CIIPA;

14               h.     Defendants Anthem and Anthem Affiliates engaged in unlawful business practices by

15   violating Cal. Civ. Code § 1798.82.

16               367.   As a direct and proximate result of Defendants Anthem, Anthem Affiliates and Non-

17   Anthem BCBS’s acts of unfair and unlawful practices and acts, the Plaintiffs were injured and lost

18   money or property, including but not limited to the premiums and/or price received by Defendants

19   for the insurance and health benefits services, the loss of their legally protected interest in the

20   confidentiality and privacy of their Personal Information, and additional losses described above.

21               368.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS knew or should

22   have known that their computer systems and data security practices were inadequate to safeguard

23   California Class Members’ Personal Information and that the risk of a data breach or theft was

24   highly likely. Defendants’ actions in engaging in the above-named unfair practices and deceptive

25   acts were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of

26   members of the California Class.

27               369.   California Class Members seek relief under Cal. Bus. & Prof. Code § 17200, et. seq.,

28   including, but not limited to, restitution to Plaintiffs and Class Members of money or property that
                                                          98
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                           CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 108 of 213



 1   the Defendants may have acquired by means of Defendants’ deceptive, unlawful, and unfair business
 2   practices, restitutionary disgorgement of all profits accruing to Defendants because of their unlawful
 3   and unfair business practices, declaratory relief, attorney’s fees and costs (pursuant to Cal. Code
 4   Civil Pro. §1021.5), and injunctive or other equitable relief.
 5                                     Colorado
                       COLORADO CONSUMER PROTECTION ACT,
 6                          COLO. REV. STAT. § 6-1-101, et. seq.
             (BROUGHT BY COLORADO CLASS AGAINST ANTHEM AND ALL OTHER
 7              DEFENDANTS OPERATING IN COLORADO EXCEPT FOR BCBSA)
 8               370.   Plaintiffs incorporate the above allegations by reference.
 9               371.   Colorado Class Members are actual or potential consumers of insurance and health
10   benefits services offered by Defendants.
11               372.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
12   deceptive, unfair, and unlawful trade acts or practices in the course of Defendants’ business,
13   vocation, or occupation, in violation of C.R.S. §6-1-105, including but not limited to the following:
14               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly
15   misrepresented and fraudulently advertised material facts pertaining to the insurance and health
16   benefits services to the Colorado Class by representing and advertising that they would maintain
17   adequate data privacy and security practices and procedures to safeguard Colorado Class Members’
18   Personal Information from unauthorized disclosure, release, data breaches, and theft, in violation of
19   Colo. Rev. Stat. §6-1-105(e), (g) (i) and (u);
20               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly
21   misrepresented material facts pertaining to insurance and health benefits services to the Colorado
22   Class by representing and advertising that they did and would comply with the requirements of
23   relevant federal and state laws pertaining to the privacy and security of Colorado Class Members’
24   Personal Information, in violation of Colo. Rev. Stat. §6-1-105(e), (g) (i) and (u);
25               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly omitted,
26   suppressed, and concealed the material fact of the inadequacy of the privacy and security protections
27   for Colorado Class Members’ Personal Information (intending to induce others to enter into a
28   transaction), in violation of Colo. Rev. Stat. §6-1-105(1)(e), (g) (i) and (u);
                                                         99
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 109 of 213



 1               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
 2   deceptive, unfair, and unlawful trade acts or practices, in violation of C.R.S. §6-1-105(3), by failing
 3   to maintain the privacy and security of Colorado Class Members’ Personal Information, in violation
 4   of duties imposed by and public policies reflected in applicable federal and state laws, resulting in
 5   the Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including
 6   the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the
 7   Gramm-Leach-Bliley Act (15 U.S.C. § 6801), Colorado Insurance Regulations (3 CCR 702-6:6-4-1,
 8   Sections 11 and 24), Colorado Unfair Insurance Practices Act (C.R.S .§10-3-1104), and Colorado’s
 9   HMO Privacy Law (C.R.S. §10-16-423);
10               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
11   unlawful trade acts or practices, in violation of C.R.S. §6-1-105(3), by failing to disclose the Anthem
12   Data Breach to Colorado Class Members in a timely and accurate manner, contrary to the duties
13   imposed by Colo. Rev. Stat. Ann. § 6-1-716(2).
14               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
15   deceptive, unfair, and unlawful trade acts or practices, in violation of C.R.S. §6-1-105(3), by failing
16   to take proper action following the Anthem Data Breach to enact adequate privacy and security
17   measures and protect Colorado Class Members’ Personal Information from further unauthorized
18   disclosure, release, data breaches, and theft.
19               373.   Defendants engaged in the above unfair or deceptive acts or practices in the course of
20   their business.
21               374.   As a direct and proximate result of Defendants’ deceptive trade practices, Colorado
22   Class Members suffered injuries to legally protected interests, including their legally protected
23   interest in the confidentiality and privacy of their Personal Information.
24               375.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
25   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
26   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
27   substantial injury outweighed any benefits to consumers or to competition.
28               376.   Defendants knew or should have known that their computer systems and data security
                                                       100
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 110 of 213



 1   practices were inadequate to safeguard Colorado Class Members’ Personal Information and that risk
 2   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 3   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 4   with respect to the rights of members of the Colorado Class.
 5               377.   Colorado Class Members seek relief under Colo. Rev. Stat. § 6-1-101, et. seq.,
 6   including, not limited to, compensatory damages, statutory damages, restitution, penalties, injunctive
 7   relief, and/or attorneys’ fees and costs.
 8                                   Connecticut
                     CONNECTICUT UNFAIR TRADE PRACTICES ACT,
 9                              C.G.S. § 42-110a et seq.,
           (BROUGHT BY CONNECTICUT CLASS AGAINST ANTHEM AND ALL OTHER
10            DEFENDANTS OPERATING IN CONNECTICUT EXCEPT FOR BCBSA)
11
                 378.   Plaintiffs incorporate the above allegations by reference.
12
                 379.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
13
     deceptive, unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in
14
     violation of C.G.S. § 42-110b, including but not limited to the following:
15
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
16
     fraudulently advertised material facts pertaining to the insurance and health benefits services to the
17
     Connecticut Class by representing and advertising that they would maintain adequate data privacy
18
     and security practices and procedures to safeguard Connecticut Class Members’ Personal
19
     Information from unauthorized disclosure, release, data breaches, and theft;
20
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
21
     material facts pertaining to insurance and health benefits services to the Connecticut Class by
22
     representing and advertising that they did and would comply with the requirements of relevant
23
     federal and state laws pertaining to the privacy and security of Connecticut Class Members’ Personal
24
     Information;
25
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
26
     and concealed the material fact of the inadequacy of the privacy and security protections for
27
     Connecticut Class Members’ Personal Information;
28
                                                101
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 111 of 213



 1               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
 2   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
 3   of Connecticut Class Members’ Personal Information, in violation of duties imposed by and public
 4   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
 5   unfair acts and practices violated duties imposed by laws including the Federal Trade Commission
 6   Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C.
 7   § 6801), the Connecticut Insurance Information and Privacy Protection Act (C.G.S. 38a-988), and
 8   the Connecticut data breach statute (C.G.S. § 42-471).
 9               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
10   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to Connecticut Class
11   Members in a timely and accurate manner, contrary to the duties imposed by C.G.S. § 36a-701b.
12               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
13   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
14   Anthem Data Breach to enact adequate privacy and security measures and protect Connecticut Class
15   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
16   theft.
17               380.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
18   Affiliates and Non-Anthem BCBS also violated Connecticut’s Unfair Insurance Practices Act, Conn.
19   Gen. Stat. §38a-815,816.
20               381.   As a direct and proximate result of Defendants’ deceptive trade practices, Connecticut
21   Class Members suffered an ascertainable loss of money or property, real or personal, as described
22   above, including the loss of their legally protected interest in the confidentiality and privacy of their
23   Personal Information.
24               382.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
25   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
26   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
27   substantial injury outweighed any benefits to consumers or to competition.
28               383.   Defendants knew or should have known that their computer systems and data security
                                                       102
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 112 of 213



 1   practices were inadequate to safeguard Connecticut Class Members’ Personal Information and that
 2   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 3   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 4   with respect to the rights of members of the Connecticut Class.
 5               384.   Connecticut Class Members seek relief under C.G.S. § 42-110a et seq., including, but
 6   not limited to, damages, statutory damages, restitution, penalties, injunctive relief, and/or attorneys’
 7   fees and costs.
 8                                 District of Columbia
            DISTRICT OF COLUMBIA CONSUMER PROTECTION PROCEDURES ACT,
 9                             D.C. CODE § 28-3904, et seq.
         (BROUGHT BY D.C. CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
10                       OPERATING IN D.C. EXCEPT FOR BCBSA)
11
                 385.   Plaintiffs incorporate the above allegations by reference.
12
                 386.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
13
     Anthem BCBS operating in the District of Columbia (“D.C.”) on behalf of the D.C. Class.
14
                 387.   As defined by D.C. Code § 28-3901, D.C. Class Members are “consumers” who
15
     purchased or received goods or services, in the form of insurance and benefits services, for personal,
16
     household, or family purposes.
17
                 388.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in D.C.
18
     engaged in unlawful trade practices, misrepresentations, and the concealment, suppression, and
19
     omission of material facts with respect to the sale and advertisement of insurance and health benefit
20
     services in violation of D.C. Code § 28-3904, including but not limited to the following:
21
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
22
     material facts, pertaining to the sale of insurance and health benefits services, to the D.C. Class by
23
     representing that they would maintain adequate data privacy and security practices and procedures to
24
     safeguard D.C. Class Members’ Personal Information from unauthorized disclosure, release, data
25
     breaches, and theft in violation of D.C. Code § 28-3904(a), (d), (e), (f), (h), and/or (u);
26
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
27
     material facts, pertaining to the sale of insurance and health benefits services, to the D.C. Class by
28
                                                103
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4          Filed 10/19/15   Page 113 of 213



 1   representing that they did and would comply with the requirements of relevant federal and state laws
 2   pertaining to the privacy and security of D.C. Class Members’ Personal Information in violation of
 3   D.C. Code § 28-3904(a), (d), (e), (f), (h), and/or (u);
 4               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 5   and concealed the material fact of the inadequacy of the privacy and security protections for D.C.
 6   Class Members’ Personal Information in violation of D.C. Code § 28-3904(a), (d), (e), (f), (h),
 7   and/or (u);
 8               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
 9   acts and practices with respect to the sale of insurance and health benefits services by failing to
10   maintain the privacy and security of D.C. Class Members’ Personal Information, in violation of
11   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
12   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
13   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-
14   Leach-Bliley Act (15 U.S.C. § 6801), and the D.C. Unfair Insurance Trade Practices Act (D.C. Code
15   §§ 31-2231.03 and 31-2231.04).
16               e.     Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
17   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
18   Breach to D.C. Class Members in a timely and accurate manner, in violation of D.C. Code § 28-
19   3852(a);
20               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
21   acts and practices with respect to the sale of insurance and health benefits services by failing to take
22   proper action following the Anthem Data Breach to enact adequate privacy and security measures
23   and protect D.C. Class Members’ Personal Information from further unauthorized disclosure,
24   release, data breaches, and theft.
25               389.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
26   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
27   acts caused substantial injury to consumers that the consumers could not reasonably avoid; this
28   substantial injury outweighed any benefits to consumers or to competition.
                                                      104
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 114 of 213



 1               390.   Defendants knew or should have known that their computer systems and data security
 2   practices were inadequate to safeguard D.C. Class Members’ Personal Information and that risk of a
 3   data breach or theft was highly likely. Defendants’ actions in engaging in the above-named unfair
 4   practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless with
 5   respect to the rights of members of the D.C. Class.
 6               391.   As a direct and proximate result of Defendants’ unlawful practices, D.C. Class
 7   Members suffered injury and/or damages.
 8               392.   D.C. Class Members seek relief under D.C. Code § 28-3905(k), including, but not
 9   limited to, restitution, injunctive relief, punitive damages, attorneys’ fees and costs, and treble
10   damages or $1500 per violation, whichever is greater.
11                                   Hawaii
           HAWAII UNFAIR PRACTICES AND UNFAIR COMPETITION STATUTE,
12                        HAW. REV. STAT. § 480-1, et seq.
      (BROUGHT BY HAWAII CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
13                  OPERATING IN HAWAII EXCEPT FOR BCBSA)
14
                 393.   Plaintiffs incorporate the above allegations by reference.
15
                 394.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
16
     Anthem BCBS operating in Hawaii on behalf of the Hawaii Class.
17
                 395.   Hawaii Class Members are “consumers” as meant by Haw. Rev. Stat. § 480-1.
18
                 396.   Hawaii Class Members purchased “goods and services” from Defendants as meant by
19
     Haw. Rev. Stat. § 480-1.
20
                 397.   Hawaii Class Members’ purchases of insurance and health benefits services from
21
     Defendants were for personal, family, and/or household purposes, as meant by Haw. Rev. Stat. §
22
     480-1.
23
                 398.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in Hawaii
24
     engaged in unfair methods of competition, unfair or deceptive acts or practices, misrepresentations,
25
     and the concealment, suppression, and omission of material facts with respect to the sale and
26
     advertisement of the services purchased by the Hawaii Class in violation of Haw. Rev. Stat. § 480-
27
     2(a), including but not limited to the following:
28
                                                105
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 115 of 213



 1               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 2   material facts, pertaining to the sale of insurance and health benefits services, to the Hawaii Class by
 3   representing that they would maintain adequate data privacy and security practices and procedures to
 4   safeguard Hawaii Class Members’ Personal Information from unauthorized disclosure, release, data
 5   breaches, and theft;
 6               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 7   material facts, pertaining to the sale of insurance and health benefits services, to the Hawaii Class by
 8   representing that they did and would comply with the requirements of relevant federal and state laws
 9   pertaining to the privacy and security of Hawaii Class Members’ Personal Information;
10               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
11   and concealed the material fact of the inadequacy of the privacy and security protections for Hawaii
12   Class Members’ Personal Information;
13               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
14   acts and practices with respect to the sale of insurance and health benefits services by failing to
15   maintain the privacy and security of Hawaii Class Members’ Personal Information, in violation of
16   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
17   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
18   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-
19   Leach-Bliley Act (15 U.S.C. § 6801), Hawaii’s Privacy of Consumer Financial Information statute
20   (Haw. Rev. Stat. § 431:3A-101, et seq.), Hawaii’s Health Maintenance Organization Act -
21   Confidentiality of Medical Information (Haw. Rev. Stat. § 432D-21), Hawaii’s Patients’ Bill of
22   Rights and Responsibilities Act (Haw. Rev. Stat. § 432E-10(b)(5)), and Hawaii’s Unfair Methods of
23   Competition and Unfair and Deceptive Acts and Practices in the Business of Insurance Act (Haw.
24   Rev. Stat. § 431:13-103(a)(1) and (a)(2)).
25               e.   Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
26   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
27   Breach to Hawaii Class Members in a timely and accurate manner, in violation of Haw, Rev. Stat. §
28   487N-2(a);
                                              106
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 116 of 213



 1               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
 2   acts and practices with respect to the sale of insurance and health benefits services by failing to take
 3   proper action following the Anthem Data Breach to enact adequate privacy and security measures
 4   and protect Hawaii Class Members’ Personal Information from further unauthorized disclosure,
 5   release, data breaches, and theft.
 6               399.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 7   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 8   acts caused substantial injury to consumers that the consumers could not reasonably avoid; this
 9   substantial injury outweighed any benefits to consumers or to competition.
10               400.   Defendants knew or should have known that their computer systems and data security
11   practices were inadequate to safeguard Hawaii Class Members’ Personal Information and that risk of
12   a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named unfair
13   practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless with
14   respect to the rights of members of the Hawaii Class.
15               401.   As a direct and proximate result of Defendants’ unlawful practices, Hawaii Class
16   Members suffered injury and/or damages.
17               402.   Hawaii Class Members seek relief under Haw. Rev. Stat. § 480-13, including, but not
18   limited to, damages, injunctive relief, attorneys’ fees and costs, and treble damages.
19                                             Illinois
                                ILLINOIS CONSUMER FRAUD ACT,
20                                815 Ill. COMP. STAT. 505/1 et seq.
                  (BROUGHT BY ILLINOIS CLASS AGAINST ANTHEM AND ALL OTHER
21                   DEFENDANTS OPERATING IN ILLINOIS EXCEPT FOR BCBSA)
22               403.   Plaintiffs incorporate the above allegations by reference.
23               404.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
24   deceptive, unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in
25   violation of 815 Ill. Comp. Stat. 505/2, including but not limited to the following:
26               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
27   fraudulently advertised material facts pertaining to the insurance and health benefits services to the
28   Illinois Class by representing and advertising that they would maintain adequate data privacy and
                                                       107
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 117 of 213



 1   security practices and procedures to safeguard Illinois Class Members’ Personal Information from
 2   unauthorized disclosure, release, data breaches, and theft;
 3               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 4   material facts pertaining to insurance and health benefits services to the Illinois Class by
 5   representing and advertising that they did and would comply with the requirements of relevant
 6   federal and state laws pertaining to the privacy and security of Illinois Class Members’ Personal
 7   Information;
 8               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 9   and concealed the material fact of the inadequacy of the privacy and security protections for Illinois
10   Class Members’ Personal Information with the intent that others rely on the omission, suppression,
11   and concealment;
12               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
13   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
14   of Illinois Class Members’ Personal Information, in violation of duties imposed by and public
15   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
16   unfair acts and practices violated duties imposed by laws including the Federal Trade Commission
17   Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C.
18   § 6801), the Illinois Insurance Information and Privacy Protection Act (215 Ill. Comp. Stat 5/1014),
19   Illinois laws regulating the use and disclosure of Social Security Numbers (815 Ill. Comp. Stat
20   505/2RR), and the Illinois Uniform Deceptive Trade Practices Act(815 Ill. Comp. Stat. 510/2(a));
21               e.   Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
22   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to Illinois Class
23   Members in a timely and accurate manner, contrary to the duties imposed by 815 Ill. Comp. Stat. §
24   530/10(a);
25               f.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
26   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
27   Anthem Data Breach to enact adequate privacy and security measures and protect Illinois Class
28   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
                                                   108
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 118 of 213



 1   theft.
 2               405.   As a direct and proximate result of Defendants’ deceptive trade practices, Illinois
 3   Class Members suffered injuries, including the loss of their legally protected interest in the
 4   confidentiality and privacy of their Personal Information, and damages, as described above.
 5               406.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 6   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 7   acts caused substantial injury that these consumers could not reasonably avoid; this substantial injury
 8   outweighed any benefits to consumers or to competition.
 9               407.   Defendants knew or should have known that their computer systems and data security
10   practices were inadequate to safeguard Illinois Class Members’ Personal Information and that risk of
11   a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named unfair
12   practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless with
13   respect to the rights of members of the Illinois Class.
14               408.   Illinois Class Members seek relief under 815 Ill. Comp. Stat. 505/10a, including, but
15   not limited to, damages, restitution, punitive damages, injunctive relief, and/or attorneys’ fees and
16   costs.
17                    ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                                815 Ill. COMP. STAT. § 510/2(a) et. seq.
18                (BROUGHT BY ILLINOIS CLASS AGAINST ANTHEM AND ALL OTHER
                     DEFENDANTS OPERATING IN ILLINOIS EXCEPT FOR BCBSA)
19

20               409.   Plaintiffs incorporate the above allegations by reference.
21               410.   While in the course of their businesses, Defendants Anthem, Anthem Affiliates and
22   Non-Anthem BCBS engaged in deceptive trade practices by making false representations, including
23   their representations that they had adequate computer systems and data security practices to protect
24   Personal Information, when their computer systems and data security practices were inadequate, in
25   violation of 815 Ill. Comp. Stat. 510/2(a)(5),(7).
26               411.   Defendants knew or should have known that their computer systems and data security
27   practices were inadequate and engaged in negligent, knowing, and/or willful acts of deception.
28               412.   Illinois Class Members are likely to be damaged by the Defendants’ deceptive trade
                                                          109
                            CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                           CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 119 of 213



 1   practices.
 2               413.   Illinois Class Members seek relief under 815 Ill. Comp. Stat. 510, including, but not
 3   limited to, injunctive relief and attorney’s fees.
 4                                     Indiana
                    INDIANA DECEPTIVE CONSUMER SALES ACT,
 5                              IND. CODE § 24-5-0.5-3
      (BROUGHT BY Indiana CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
 6                  OPERATING IN INDIANA EXCEPT FOR BCBSA)
 7
                 414.   Plaintiffs incorporate the above allegations by reference.
 8
                 415.   Members of the Indiana Class enrolled in and purchased health services from health
 9
     maintenance organizations (“HMOs”) operated by Defendants Anthem, Anthem Affiliates and Non-
10
     Anthem BCBS in Indiana for personal, family, and/or household purposes.
11
                 416.   A “Health maintenance organization” for purposes of Indiana law means “a person
12
     that undertakes to provide or arrange for the delivery of health care services to enrollees on a prepaid
13
     basis, except for enrollee responsibility for copayments or deductibles.” Ind. Code §27-13-1-19.
14
     The purchase of health care services from an HMO is not “insurance” under Indiana law, and a
15
     contract for payment for health services from an HMO, as defined in Ind. Code §27-13-1-10, is not a
16
     “contract of insurance.”
17
                 417.   “Contracts of insurance” are exempt from the Indiana Deceptive Consumer Sales
18
     Act, but the pre-paid health benefits sold by HMOs are “consumer transactions” within the coverage
19
     of that Act, and Defendants selling HMO services are “suppliers.” Ind. Code § 24-5-0.5-2(a)(1), (3),
20
     (4).
21
                 418.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS are “suppliers” who
22
     engaged in deceptive, unfair, and unlawful trade acts or practices in the conduct of “consumer
23
     transactions” pertaining to the purchase and sale of HMO services, in violation of Ind. Code § 24-5-
24
     0.5-3, including but not limited to the following:
25
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
26
     fraudulently advertised material facts pertaining to the HMO services to the Indiana Class by
27
     representing and advertising that they would maintain adequate data privacy and security practices
28
                                                110
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 120 of 213



 1   and procedures to safeguard Indiana Class Members’ Personal Information from unauthorized
 2   disclosure, release, data breaches, and theft;
 3               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 4   material facts pertaining to HMO services to the Indiana Class by representing and advertising that
 5   they did and would comply with the requirements of relevant federal and state laws pertaining to the
 6   privacy and security of Indiana Class Members’ Personal Information;
 7               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 8   and concealed the material fact of the inadequacy of the privacy and security protections for Indiana
 9   Class Members’ Personal Information;
10               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
11   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
12   of Indiana Class Members’ Personal Information, in violation of duties imposed by and public
13   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
14   unfair acts and practices violated duties imposed by laws including the Federal Trade Commission
15   Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C.
16   § 6801), Indiana’s HMO Confidentiality law (Ind. Code §27-13-31-1), and Indiana’s data breach
17   statute (§ 24-4.9-3.5);
18               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
19   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to Indiana Class
20   Members in a timely and accurate manner, contrary to the duties imposed by Ind. Code § 24-4.9-3.3;
21               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
22   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
23   Anthem Data Breach to enact adequate privacy and security measures and protect Indiana Class
24   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
25   theft.
26               419.   As a direct and proximate result of Defendants’ deceptive trade practices, Indiana
27   Class Members suffered injuries, including the loss of their legally protected interest in the
28   confidentiality and privacy of their Personal Information, and damages.
                                                       111
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 121 of 213



 1               420.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 2   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 3   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
 4   substantial injury outweighed any benefits to consumers or to competition.
 5               421.   Defendants knew or should have known that their computer systems and data security
 6   practices were inadequate to safeguard Indiana Class Members’ Personal Information and that risk
 7   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 8   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 9   with respect to the rights of members of the Indiana Class.
10               422.   Indiana Class Members seek relief under Ind. Code §24-5-0.5-4, including, not
11   limited to damages, restitution, penalties, injunctive relief, and/or attorneys’ fees and costs. Senior
12   Members of the Indiana Class injured by Defendants’ HMO unfair and deceptive trade practices also
13   seek treble damages, pursuant to § Ind. Code §24-5-0.5-4(i).
14                                         Kentucky
                           KENTUCKY CONSUMER PROTECTION ACT,
15                               KY REV. STAT. § 367.110, et. seq.
                 (BROUGHT BY KENTUCKY CLASS AGAINST ANTHEM AND ALL OTHER
16                  DEFENDANTS OPERATING IN KENTUCKY EXCEPT FOR BCBSA)
17
                 423.   Plaintiffs incorporate the above allegations by reference.
18
                 424.   Kentucky Class Members purchased insurance and health benefits services for
19
     personal, family, and/or household purposes from Defendants.
20
                 425.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
21
     deceptive, unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in
22
     violation of Ky. Rev. Stat. § 367.170, including but not limited to the following:
23
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
24
     fraudulently advertised material facts pertaining to the insurance and health benefits services to the
25
     Kentucky Class by representing and advertising that they would maintain adequate data privacy and
26
     security practices and procedures to safeguard Kentucky Class Members’ Personal Information from
27
     unauthorized disclosure, release, data breaches, and theft;
28
                                                112
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15     Page 122 of 213



 1               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 2   material facts pertaining to insurance and health benefits services to the Kentucky Class by
 3   representing and advertising that they did and would comply with the requirements of relevant
 4   federal and state laws pertaining to the privacy and security of Kentucky Class Members’ Personal
 5   Information;
 6               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 7   and concealed the material fact of the inadequacy of the privacy and security protections for
 8   Kentucky Class Members’ Personal Information;
 9               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
10   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
11   of Kentucky Class Members Personal Information, in violation of duties imposed by and public
12   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
13   unfair acts and practices violated duties imposed by laws including the Federal Trade Commission
14   Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), and the Gramm-Leach-Bliley Act (15
15   U.S.C. § 6801);
16               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
17   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to Kentucky Class
18   Members in a timely and accurate manner, contrary to the duties imposed by Ky. Rev. Stat. Ann. §
19   365.732(2).
20               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
21   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
22   Anthem Data Breach to enact adequate privacy and security measures and protect Kentucky Class
23   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
24   theft.
25               426.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
26   Affiliates and Non-Anthem BCBS also violated Kentucky’s Unfair Insurance Practices Act, Ky.
27   Rev. Stat. §304.12-010.
28               427.   As a direct and proximate result of Defendants’ deceptive trade practices, Kentucky
                                                          113
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 123 of 213



 1   Class Members suffered an ascertainable loss of money or property, real or personal, as described
 2   above, including the loss of their legally protected interest in the confidentiality and privacy of their
 3   Personal Information.
 4               428.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 5   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 6   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
 7   substantial injury outweighed any benefits to consumers or to competition.
 8               429.   Defendants knew or should have known that their computer systems and data security
 9   practices were inadequate to safeguard Kentucky Class Members’ Personal Information and that risk
10   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
11   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
12   with respect to the rights of members of the Kentucky Class.
13               430.   Kentucky Class Members seek relief under Ky. Rev. Stat. §367.220, including, not
14   limited to, damages, punitive damages, restitution and/or other equitable relief, injunctive relief,
15   and/or attorneys’ fees and costs.
16                                    Maine
                MAINE UNIFORM DECEPTIVE TRADE PRACTICES ACT,
17                        10 ME. REV. STAT. § 1212, et. seq.
      (BROUGHT BY MAINE CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
18                  OPERATING IN MAINE EXCEPT FOR BCBSA)
19
                 431.   Plaintiffs incorporate the above allegations by reference.
20
                 432.   While in the course of their businesses, Defendants Anthem, Anthem Affiliates, and
21
     Non-Anthem BCBS engaged in deceptive trade practices by making false representations, including
22
     their representations that they had adequate computer systems and data security practices to protect
23
     Personal Information, when their computer systems and data security practices were inadequate, in
24
     violation of 10 Me. Rev. Stat. §1212(E),(G).
25
                 433.   Defendants knew or should have known that their computer systems and data security
26
     practices were inadequate and engaged in negligent, knowing, and/or willful acts of deception.
27
                 434.   Maine Class Members are likely to be damaged by the Defendants’ deceptive trade
28
                                                114
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4             Filed 10/19/15   Page 124 of 213



 1   practices.
 2               435.   Maine Class Members seek relief under 10 Me. Rev. Stat. §1213, including, but not
 3   limited to, injunctive relief and attorney’s fees.
 4                                   Maryland
                       MARYLAND CONSUMER PROTECTION ACT,
 5                     MD CODE COMMERCIAL LAW, § 13-301, et. seq.
             (BROUGHT BY MARYLAND CLASS AGAINST ANTHEM AND ALL OTHER
 6              DEFENDANTS OPERATING IN MARYLAND EXCEPT FOR BCBSA)
 7
                 436.   Plaintiffs incorporate the above allegations by reference.
 8
                 437.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
 9
     Anthem BCBS operating in the Maryland on behalf of the Maryland Class.
10
                 438.   Maryland Class Members are “consumers” as meant by Md. Code Ann., Com. Law §
11
     13-101.
12
                 439.   Insurance and health benefits services are “consumer goods” and/or “consumer
13
     services” as meant by Md. Code Ann., Com. Law § 13-101.
14
                 440.   The unlawful trade practices, misrepresentations, and omissions described herein did
15
     not constitute “professional services” on the part of Defendants.
16
                 441.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
17
     Maryland engaged in unlawful trade practices, misrepresentations, and the concealment,
18
     suppression, and omission of material facts with respect to the sale and advertisement of the services
19
     in violation of Md. Code Ann., Com. Law § 13-301, including but not limited to the following:
20
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
21
     material facts, pertaining to the sale of insurance and health benefits services, to the Maryland Class
22
     by representing that they would maintain adequate data privacy and security practices and
23
     procedures to safeguard Maryland Class Members’ Personal Information from unauthorized
24
     disclosure, release, data breaches, and theft in violation of Md. Code Ann., Com. Law § 13-301(1),
25
     (2)(i), (2)(iv), (3), (5)(i), (9)(i), (9)(iii), and 14(xxi);
26
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
27
     material facts, pertaining to the sale of insurance and health benefits services, to the Maryland Class
28
                                                115
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4           Filed 10/19/15   Page 125 of 213



 1   by representing that they did and would comply with the requirements of relevant federal and state
 2   laws pertaining to the privacy and security of Maryland Members’ Personal Information in violation
 3   of Md. Code Ann., Com. Law § 13-301(1), (2)(i), (2)(iv), (3), (5)(i), (9)(i), (9)(iii), and 14(xxi);
 4               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 5   and concealed the material fact of the inadequacy of the privacy and security protections for
 6   Maryland Class Members’ Personal Information in violation of Md. Code Ann., Com. Law § 13-
 7   301(1), (2)(i), (2)(iv), (3), (5)(i), (9)(i), (9)(iii), and 14(xxi);
 8               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
 9   acts and practices with respect to the sale of insurance and health benefits services by failing to
10   maintain the privacy and security of Maryland Class Members’ Personal Information, in violation of
11   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
12   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
13   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-
14   Leach-Bliley Act (15 U.S.C. § 6801), Maryland’s Confidentiality of Medical Records Act (Md.
15   Code Ann., Health-Gen. §§ 4-302; 4-303(a)); Maryland’s Disclosure Requirements for Insurers
16   statute (Md. Code, Ins. § 4-403); Maryland’s Disclosure Requirements for Nonprofit Health Service
17   Plans statute (Md. Code, Ins. § 14-138); Maryland’s Privacy of Consumer Financial and Health
18   Information regulations (Md. Code Regs. 31.16.08.01, et seq.); Maryland’s data breach statute (Md.
19   Code Ann. Com. Law § 14-3503), and Maryland’s Social Security Number Privacy Act (Md. Code
20   Ann., Com. Law § 14-3401, et seq.);
21               e.   Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
22   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
23   Breach to Maryland Class Members in a timely and accurate manner, in violation of Md. Code Com.
24   Law § 14-3504(b)(3);
25               f.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
26   acts and practices with respect to the sale of insurance and health benefits services by failing to take
27   proper action following the Anthem Data Breach to enact adequate privacy and security measures
28   and protect Maryland Class Members’ Personal Information from further unauthorized disclosure,
                                                   116
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 126 of 213



 1   release, data breaches, and theft.
 2               442.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 3   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 4   acts caused substantial injury to consumers that the consumers could not reasonably avoid; this
 5   substantial injury outweighed any benefits to consumers or to competition.
 6               443.   Defendants knew or should have known that their computer systems and data security
 7   practices were inadequate to safeguard Maryland Class Members’ Personal Information and that risk
 8   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 9   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
10   with respect to the rights of members of the Maryland Class.
11               444.   As a direct and proximate result of Defendants’ unlawful practices, Maryland Class
12   Members suffered injury and/or damages.
13               445.   Maryland Class Members seek relief under Md. Code Ann., Com. Law § 13-408,
14   including, but not limited to, damages, injunctive relief, and attorneys’ fees and costs.
15                                          Massachusetts
                            MASSACHUSETTS CONSUMER PROTECTION ACT,
16                             MASS. GEN. LAWS ANN. CH. 93A, § 1, et. seq.
                        (BROUGHT BY MASSACHUSETTS CLASS AGAINST ANTHEM)
17

18               446.   Plaintiffs incorporate the above allegations by reference.
19               447.   Plaintiffs bring this claim against Defendant Anthem on behalf of the Massachusetts
20   Class.
21               448.   Plaintiff Lisa Daniels sent a demand for relief to Anthem, on behalf of the
22   Massachusetts Class, on February 27, 2015.
23               449.   Defendant Anthem operates in “trade or commerce” as meant by Mass. Gen. Laws
24   Ann. ch. 93A, § 1.
25               450.   Defendant Anthem engaged in deceptive and unfair acts and practices,
26   misrepresentation, and the concealment, suppression, and omission of material facts with respect to
27   the sale and advertisement of services in violation of Mass. Gen. Laws Ann. ch. 93A, § 2(a),
28   including but not limited to the following:
                                                117
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK           Document 315-4        Filed 10/19/15      Page 127 of 213



 1               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 2   material facts, pertaining to the sale of insurance and health benefits services, to the Massachusetts
 3   Class by representing that they would maintain adequate data privacy and security practices and
 4   procedures to safeguard Massachusetts Class Members’ Personal Information from unauthorized
 5   disclosure, release, data breaches, and theft;
 6               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 7   material facts, pertaining to the sale of insurance and health benefits services, to the Massachusetts
 8   Class by representing that they did and would comply with the requirements of relevant federal and
 9   state laws pertaining to the privacy and security of Massachusetts Class Members’ Personal
10   Information;
11               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
12   and concealed the material fact of the inadequacy of the privacy and security protections for
13   Massachusetts Class Members’ Personal Information;
14               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
15   acts and practices with respect to the sale of insurance and health benefits services by failing to
16   maintain the privacy and security of Massachusetts Class Members’ Personal Information, in
17   violation of duties imposed by and public policies reflected in applicable federal and state laws,
18   resulting in the Anthem Data Breach. These unfair acts and practices violated duties imposed by
19   laws including the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et.
20   seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the Massachusetts Insurance Information
21   and Privacy Protection Act (Mass. Gen. Laws ch. 175I, § 13), the Massachusetts Unfair Methods of
22   Competition and Unfair and Deceptive Acts and Practices in the Business of Insurance statute
23   (Mass. Gen. Laws Ann. ch. 176D, §§ 3(1)(a) and 3(2)); the Massachusetts Right of Privacy statute
24   (Mass. Gen. Laws Ann. ch. 214, § 1B), and the Massachusetts data breach statute (Mass. Gen. Laws
25   Ann. ch. 93H § 3(a));
26               e.   Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
27   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
28   Breach to Massachusetts Class Members in a timely and accurate manner, in violation of Mass. Gen.
                                                   118
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 128 of 213



 1   Laws Ann. ch. 93H, § 3(a);
 2               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
 3   acts and practices with respect to the sale of insurance and health benefits services by failing to take
 4   proper action following the Anthem Data Breach to enact adequate privacy and security measures
 5   and protect Massachusetts Class Members’ Personal Information from further unauthorized
 6   disclosure, release, data breaches, and theft.
 7               451.   The above unfair and deceptive practices and acts by Defendant Anthem were
 8   immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers
 9   that the consumers could not reasonably avoid; this substantial injury outweighed any benefits to
10   consumers or to competition. These acts were within the penumbra of common law, statutory, or
11   other established concepts of unfairness.
12               452.   Anthem knew or should have known that their computer systems and data security
13   practices were inadequate to safeguard Massachusetts Class Members’ Personal Information and that
14   risk of a data breach or theft was highly likely. Anthem’s actions in engaging in the above-named
15   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
16   with respect to the rights of members of the Massachusetts Class.
17               453.   As a direct and proximate result of Anthem’s unlawful practices, Massachusetts Class
18   Members suffered injury and/or damages.
19               454.   Massachusetts Class Members seek relief under Mass. Gen. Laws Ann. ch. 93A, § 9,
20   including, but not limited to, actual damages, double or treble damages, injunctive and/or other
21   equitable relief, and/or attorneys’ fees and costs.
22                                          Minnesota
23                         MINNESOTA CONSUMER FRAUD ACT,
                  MINN. STAT. § 325F.68, et. seq. AND MINN. STAT. §8.31, et. seq.
24           (BROUGHT BY MINNESOTA CLASS AGAINST ANTHEM AND ALL OTHER
                DEFENDANTS OPERATING IN MINNESOTA EXCEPT FOR BCBSA)
25
                 455.   Plaintiffs incorporate the above allegations by reference.
26
                 456.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
27
     Anthem BCBS operating in Minnesota on behalf of the Minnesota Class.
28
                                                119
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4       Filed 10/19/15      Page 129 of 213



 1               457.   Insurance and health benefits services are “merchandise” as definedby Minn. Stat. §
 2   325F.68.
 3               458.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
 4   Minnesota engaged in unlawful practices, misrepresentation, and the concealment, suppression, and
 5   omission of material facts with respect to the sale and advertisement of services in violation of
 6   Minn. Stat. Ann. § 325F.69, including but not limited to the following:
 7               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 8   material facts, pertaining to the sale of insurance and health benefits services, to the Minnesota Class
 9   by representing that they would maintain adequate data privacy and security practices and
10   procedures to safeguard Minnesota Class Members’ Personal Information from unauthorized
11   disclosure, release, data breaches, and theft;
12               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
13   material facts, pertaining to the sale of insurance and health benefits services, to the Minnesota Class
14   by representing that they did and would comply with the requirements of relevant federal and state
15   laws pertaining to the privacy and security of Minnesota Class Members’ Personal Information;
16               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
17   and concealed the material fact of the inadequacy of the privacy and security protections for
18   Minnesota Class Members’ Personal Information;
19               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
20   acts and practices with respect to the sale of insurance and health benefits services by failing to
21   maintain the privacy and security of Minnesota Class Members’ Personal Information, in violation
22   of duties imposed by and public policies reflected in applicable federal and state laws, resulting in
23   the Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including
24   the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the
25   Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the Minnesota Insurance Fair Information Reporting
26   Act (Minn. Stat. § 72A.49, et seq.), the Minnesota Health Records Act (Minn. Stat. § 144.291, et
27   seq.), and the Minnesota Unfair Claims Practices Act (Minn. Stat. § 72A.17, et seq.);
28               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful and deceptive acts
                                                     120
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 130 of 213



 1   and practices with respect to the sale of insurance and health benefits services by failing to disclose
 2   the Anthem Data Breach to Minnesota Class Members in a timely and accurate manner, in violation
 3   of Minn. Stat. Ann. § 325E.61(1)(a);
 4               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful
 5   and deceptive acts and practices with respect to the sale of insurance and health benefits services by
 6   failing to take proper action following the Anthem Data Breach to enact adequate privacy and
 7   security measures and protect Minnesota Class Members’ Personal Information from further
 8   unauthorized disclosure, release, data breaches, and theft.
 9               459.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
10   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
11   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
12   this substantial injury outweighed any benefits to consumers or to competition.
13               460.   Defendants knew or should have known that their computer systems and data security
14   practices were inadequate to safeguard Minnesota Class Members’ Personal Information and that
15   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
16   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
17   with respect to the rights of members of the Minnesota Class.
18               461.   As a direct and proximate result of Defendants’ unlawful practices, Minnesota Class
19   Members suffered injury and/or damages.
20               462.   Minnesota Class Members seek relief under Minn. Stat. Ann. § 8.31, including, but
21   not limited to, damages, injunctive and/or other equitable relief, and attorneys’ fees and costs.
22               MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                              MINN. STAT. § 325D.43, et. seq.
23           (BROUGHT BY MINNESOTA CLASS AGAINST ANTHEM AND ALL OTHER
                DEFENDANTS OPERATING IN MINNESOTA EXCEPT FOR BCBSA)
24
                 463.   Plaintiffs incorporate the above allegations by reference.
25
                 464.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
26
     Anthem BCBS operating in Minnesota on behalf of the Minnesota Class.
27
                 465.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
28
                                                121
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 131 of 213



 1   Minnesota engaged in deceptive practices, misrepresentation, and the concealment, suppression, and
 2   omission of material facts with respect to the sale and advertisement of the insurance and health
 3   benefits services in violation of Minn. Stat. § 325D.44, including but not limited to the following:
 4               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 5   material facts, pertaining to the sale of insurance and health benefits services, to the Minnesota Class
 6   by representing that they would maintain adequate data privacy and security practices and
 7   procedures to safeguard Minnesota Class Members’ Personal Information from unauthorized
 8   disclosure, release, data breaches, and theft in violation of Minn. Stat. § 325D.44(5), (7), (9), and
 9   (13);
10               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
11   material facts, pertaining to the sale of insurance and health benefits services, to the Minnesota Class
12   by representing that they did and would comply with the requirements of relevant federal and state
13   laws pertaining to the privacy and security of Minnesota Class Members’ Personal Information in
14   violation of Minn. Stat. § 325D.44(5), (7), (9), and (13);
15               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
16   and concealed the material fact of the inadequacy of the privacy and security protections for
17   Minnesota Class Members’ Personal Information in violation of Minn. Stat. § 325D.44(5), (7), (9),
18   and (13);
19               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
20   acts and practices with respect to the sale of insurance and health benefits services by failing to
21   maintain the privacy and security of Minnesota Class Members’ Personal Information, in violation
22   of duties imposed by and public policies reflected in applicable federal and state laws, resulting in
23   the Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including
24   the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the
25   Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the Minnesota Insurance Fair Information Reporting
26   Act (Minn. Stat. § 72A.49, et seq.), the Minnesota Health Records Act (Minn. Stat. § 144.291, et
27   seq.), and the Minnesota Unfair Claims Practices Act (Minn. Stat. § 72A.17, et seq.);
28               e.   Defendants Anthem and Anthem Affiliates engaged in unlawful and deceptive acts
                                                   122
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4       Filed 10/19/15     Page 132 of 213



 1   and practices with respect to the sale of insurance and health benefits services by failing to disclose
 2   the Anthem Data Breach to Minnesota Class Members in a timely and accurate manner, in violation
 3   of Minn. Stat. Ann. § 325E.61(1)(a);
 4               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful
 5   and deceptive acts and practices with respect to the sale of insurance and health benefits services by
 6   failing to take proper action following the Anthem Data Breach to enact adequate privacy and
 7   security measures and protect Minnesota Class Members’ Personal Information from further
 8   unauthorized disclosure, release, data breaches, and theft.
 9               466.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
10   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
11   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
12   this substantial injury outweighed any benefits to consumers or to competition.
13               467.   Defendants knew or should have known that their computer systems and data security
14   practices were inadequate to safeguard Minnesota Class Members’ Personal Information and that
15   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
16   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
17   with respect to the rights of members of the Minnesota Class.
18               468.   As a direct and proximate result of Defendants’ unlawful and deceptive trade
19   practices, the Anthem Data Breach affected thousands of Minnesotans. Even beyond these
20   Minnesotans, the impact on the public is widespread, including the long-term impairment of credit
21   scores, fraudulent tax filings, and national security implications.
22               469.   As a direct and proximate result of Defendants’ unlawful practices, Minnesota Class
23   Members suffered injury and/or damages.
24               470.   Minnesota Class Members seek relief under Minn. Stat. § 325D.45, including, but not
25   limited to, injunctive relief and attorneys’ fees and costs, and also seek relief under Minn. Stat. Ann.
26   § 8.31, including, but not limited to, damages.
27

28
                                                123
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 133 of 213



 1                                        Missouri
                          MISSOURI MERCHANDISING PRACTICES ACT,
 2                                 MO. STAT. § 407.010, et seq.
                 (BROUGHT BY MISSOURI CLASS AGAINST ANTHEM AND ALL OTHER
 3                  DEFENDANTS OPERATING IN MISSOURI EXCEPT FOR BCBSA.)
 4               471.   Plaintiffs incorporate the above allegations by reference.

 5               472.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-

 6   Anthem BCBS operating in Missouri on behalf of the Missouri Class.

 7               473.   Missouri Class Members purchased “merchandise” in “trade” or “commerce” as

 8   meant by Mo. Stat. § 407.010 when they purchased insurance and health benefits services for

 9   personal, family, and/or household purposes.

10               474.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in

11   Missouri engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the

12   concealment, suppression, and omission of material facts with respect to the sale and advertisement

13   of the services in violation of Mo. Stat. § 407.020(1), including but not limited to the following:

14               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented

15   material facts, pertaining to the sale of insurance and health benefits services, to the Missouri Class

16   by representing that they would maintain adequate data privacy and security practices and

17   procedures to safeguard Missouri Class Members’ Personal Information from unauthorized

18   disclosure, release, data breaches, and theft;

19               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented

20   material facts, pertaining to the sale of insurance and health benefits services, to the Missouri Class

21   by representing that they did and would comply with the requirements of relevant federal and state

22   laws pertaining to the privacy and security of Missouri Class Members’ Personal Information;

23               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,

24   and concealed the material fact of the inadequacy of the privacy and security protections for

25   Missouri Class Members’ Personal Information;

26               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair

27   acts and practices with respect to the sale of insurance and health benefits services by failing to

28   maintain the privacy and security of Missouri Class Members’ Personal Information, in violation of
                                                     124
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 134 of 213



 1   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
 2   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
 3   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-
 4   Leach-Bliley Act (15 U.S.C. § 6801), the Missouri Unfair Trade Practice Act (Mo. Stat. §
 5   375.936(4) and (6)(a)), and Missouri Statute § 354-525;
 6               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful and deceptive acts
 7   and practices with respect to the sale of insurance and health benefits services by failing to disclose
 8   the Anthem Data Breach to Missouri Class Members in a timely and accurate manner, in violation of
 9   MO. Rev. Stat. § 407.1500(2)(1)(a);
10               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful
11   and deceptive acts and practices with respect to the sale of insurance and health benefits services by
12   failing to take proper action following the Anthem Data Breach to enact adequate privacy and
13   security measures and protect Missouri Class Members’ Personal Information from further
14   unauthorized disclosure, release, data breaches, and theft.
15               475.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
16   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
17   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
18   this substantial injury outweighed any benefits to consumers or to competition.
19               476.   Defendants knew or should have known that their computer systems and data security
20   practices were inadequate to safeguard Missouri Class Members’ Personal Information and that risk
21   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
22   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
23   with respect to the rights of members of the Missouri Class.
24               477.   As a direct and proximate result of Defendants’ unlawful practices, Missouri Class
25   Members suffered an ascertainable loss of money or property, real or personal, as described above,
26   including the loss of their legally protected interest in the confidentiality and privacy of their
27   Personal Information.
28               478.   Missouri Class Members seek relief under Mo. Ann. Stat. § 407.025, including, but
                                                        125
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 135 of 213



 1   not limited to, injunctive relief, actual damages, punitive damages, and attorneys’ fees and costs.
 2                                   Montana
          MONTANA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION ACT,
 3                             MCA § 30-14-101, et seq.
            (BROUGHT BY MONTANA CLASS AGAINST ANTHEM AND ALL OTHER
 4             DEFENDANTS OPERATING IN MONTANA EXCEPT FOR BCBSA
 5               479.   Plaintiffs incorporate the above allegations by reference.
 6               480.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
 7   Anthem BCBS operating in Montana on behalf of the Montana Class.
 8               481.   The Montana Class Members are “consumers” as meant by Mont. Code § 30-14-102.
 9               482.   The Montana Class Members purchased insurance and health benefits services from
10   Defendants in “trade” and “commerce,” as meant by Mont. Code § 30-14-102, for personal, family,
11   and/or household purposes.
12               483.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
13   Montana engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the
14   concealment, suppression, and omission of material facts with respect to the sale and advertisement
15   of the services purchased by the Montana Class in violation Mont. Code § 30-14-103, including but
16   not limited to the following:
17               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
18   material facts, pertaining to the sale of insurance and health benefits services, to the Montana Class
19   by representing that they would maintain adequate data privacy and security practices and
20   procedures to safeguard Montana Class Members’ Personal Information from unauthorized
21   disclosure, release, data breaches, and theft;
22               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
23   material facts, pertaining to the sale of insurance and health benefits services, to the Montana Class
24   by representing that they did and would comply with the requirements of relevant federal and state
25   laws pertaining to the privacy and security of Montana Class Members’ Personal Information;
26               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
27   and concealed the material fact of the inadequacy of the privacy and security protections for
28   Montana Class Members’ Personal Information;
                                                126
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 136 of 213



 1               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
 2   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
 3   services by failing to maintain the privacy and security of Montana Class Members’ Personal
 4   Information, in violation of duties imposed by and public policies reflected in applicable federal and
 5   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
 6   practices violated duties imposed by laws including the Federal Trade Commission Act (15 U.S.C. §
 7   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
 8   Montana Insurance Information and Privacy Protection Act (Mont. Code Ann. § 33-19-306); and the
 9   Montana Unfair Claim Settlement Practices Act (Mont. Code Ann. § 33-18-201(1));
10               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
11   acts and practices with respect to the sale of insurance and health benefits services by failing to
12   disclose the Anthem Data Breach to Montana Class Members in a timely and accurate manner, in
13   violation of Mont. Code Ann.§ 30-14-1704(1);
14               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
15   unfair, and deceptive acts and practices with respect to the sale of insurance and health benefits
16   services by failing to take proper action following the Anthem Data Breach to enact adequate
17   privacy and security measures and protect Montana Class Members’ Personal Information from
18   further unauthorized disclosure, release, data breaches, and theft.
19               484.   The above unlawful, unfair, and deceptive acts and practices by Defendants Anthem,
20   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
21   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
22   this substantial injury outweighed any benefits to consumers or to competition.
23               485.   Defendants knew or should have known that their computer systems and data security
24   practices were inadequate to safeguard Montana Class Members’ Personal Information and that risk
25   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
26   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
27   respect to the rights of members of the Montana Class.
28               486.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
                                                          127
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 137 of 213



 1   Montana Class Members suffered an ascertainable loss of money or property, real or personal, as
 2   described above, including the loss of their legally protected interest in the confidentiality and
 3   privacy of their Personal Information.
 4               487.   Montana Class Members seek relief under Mont. Code § 30-14-133, including, but
 5   not limited to, injunctive relief, other equitable relief, actual damages or $500 per Class Member,
 6   whichever is greater, treble damages, and attorneys’ fees and costs.
 7                                         Nebraska
                           NEBRASKA CONSUMER PROTECTION ACT,
 8                              NEB. REV. STAT. § 59-1601, et. seq.
                 (BROUGHT BY NEBRASKA CLASS AGAINST ANTHEM AND ALL OTHER
 9                  DEFENDANTS OPERATING IN NEBRASKA EXCEPT FOR BCBSA)
10               488.   Plaintiffs incorporate the above allegations by reference.
11               489.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
12   Anthem BCBS operating in Nebraska on behalf of the Nebraska Class.
13               490.   Defendants engage in “trade and commerce,” as meant by Neb. Rev. Stat. § 59-1601,
14   by selling health insurance and health benefits services.”
15               491.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
16   Nebraska engaged in unfair and deceptive acts and practices, misrepresentation, and the
17   concealment, suppression, and omission of material facts with respect to the sale and advertisement
18   of the services in violation of Neb. Rev. Stat. § 59-1602, including but not limited to the following:
19               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
20   material facts, pertaining to the sale of insurance and health benefits services, to the Nebraska Class
21   by representing that they would maintain adequate data privacy and security practices and
22   procedures to safeguard Nebraska Class Members’ Personal Information from unauthorized
23   disclosure, release, data breaches, and theft;
24               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
25   material facts, pertaining to the sale of insurance and health benefits services, to the Nebraska Class
26   by representing that they did and would comply with the requirements of relevant federal and state
27   laws pertaining to the privacy and security of Nebraska Class Members’ Personal Information;
28               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
                                                      128
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 138 of 213



 1   and concealed the material fact of the inadequacy of the privacy and security protections for
 2   Nebraska Class Members’ Personal Information;
 3               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
 4   acts and practices with respect to the sale of insurance and health benefits services by failing to
 5   maintain the privacy and security of Nebraska Class Members’ Personal Information, in violation of
 6   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
 7   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
 8   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-
 9   Leach-Bliley Act (15 U.S.C. § 6801), the Nebraska Privacy of Insurance Consumer Information Act
10   (Neb. Rev. Stat. §§ 44-910, 44-916), and the Nebraska Unfair Insurance Trade Practices Act (Neb.
11   Rev. Stat. §§ 44-1524, 44-1425);
12               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful and deceptive acts
13   and practices with respect to the sale of insurance and health benefits services by failing to disclose
14   the Anthem Data Breach to Nebraska Class Members in a timely and accurate manner, in violation
15   of Neb. Rev. Stat. Ann. § 87-803(1);
16               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful
17   and deceptive acts and practices with respect to the sale of insurance and health benefits services by
18   failing to take proper action following the Anthem Data Breach to enact adequate privacy and
19   security measures and protect Nebraska Class Members’ Personal Information from further
20   unauthorized disclosure, release, data breaches, and theft.
21               492.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
22   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
23   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
24   this substantial injury outweighed any benefits to consumers or to competition.
25               493.   Defendants knew or should have known that their computer systems and data security
26   practices were inadequate to safeguard Nebraska Class Members’ Personal Information and that risk
27   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
28   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
                                                      129
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 139 of 213



 1   with respect to the rights of members of the Nebraska Class.
 2               494.   As a direct and proximate result of Defendants’ unlawful practices, Nebraska Class
 3   Members suffered injury and/or damages.
 4               495.   Nebraska Class Members seek relief under Neb. Rev. Stat. § 59-1609, including, but
 5   not limited to, injunctive relief, actual damages, and attorneys’ fees and costs.
 6                   NEBRASKA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                                NEB. REV. STAT. § 87-301, et. seq.
 7               (BROUGHT BY NEBRASKA CLASS AGAINST ANTHEM AND ALL OTHER
                    DEFENDANTS OPERATING IN NEBRASKA EXCEPT FOR BCBSA)
 8
                 496.   Plaintiffs incorporate the above allegations by reference.
 9
                 497.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
10
     Anthem BCBS operating in Nebraska on behalf of the Nebraska Class.
11
                 498.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
12
     Nebraska engaged in deceptive trade practices, misrepresentation, and the concealment, suppression,
13
     and omission of material facts with respect to the sale and advertisement of health insurance and
14
     benefits services purchased by the Nebraska Class in violation of Neb. Rev. Stat. § 87-302, including
15
     but not limited to the following:
16
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
17
     material facts, pertaining to the sale of insurance and health benefits services, to the Nebraska Class
18
     by representing that they would maintain adequate data privacy and security practices and
19
     procedures to safeguard Nebraska Class Members’ Personal Information from unauthorized
20
     disclosure, release, data breaches, and theft in violation of Neb. Rev. Stat. § 87-302(5), (7), (9), (14),
21
     and (15);
22
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
23
     material facts, pertaining to the sale of insurance and health benefits services, to the Nebraska Class
24
     by representing that they did and would comply with the requirements of relevant federal and state
25
     laws pertaining to the privacy and security of Nebraska Class Members’ Personal Information in
26
     violation of Neb. Rev. Stat. § 87-302(5), (7), (9), (14), and (15);
27
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
28
                                                130
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 140 of 213



 1   and concealed the material fact of the inadequacy of the privacy and security protections for
 2   Nebraska Class Members’ Personal Information in violation of Neb. Rev. Stat. § 87-302(5), (7), (9),
 3   (14), and (15);
 4               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
 5   deceptive trade practices with respect to the sale of insurance and health benefits services by failing
 6   to maintain the privacy and security of Nebraska Class Members’ Personal Information, in violation
 7   of duties imposed by and public policies reflected in applicable federal and state laws, resulting in
 8   the Anthem Data Breach. These deceptive trade practices violated duties imposed by laws including
 9   the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the
10   Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the Nebraska Privacy of Insurance Consumer
11   Information Act (Neb. Rev. Stat. §§ 44-910, 44-916), and the Nebraska Unfair Insurance Trade
12   Practices Act (Neb. Rev. Stat. §§ 44-1524, 44-1425);
13               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive trade practices with
14   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
15   Breach to Nebraska Class Members in a timely and accurate manner, in violation of Neb. Rev. Stat.
16   Ann. § 87-803(1);
17               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in deceptive
18   trade practices with respect to the sale of insurance and health benefits services by failing to take
19   proper action following the Anthem Data Breach to enact adequate privacy and security measures
20   and protect Nebraska Class Members’ Personal Information from further unauthorized disclosure,
21   release, data breaches, and theft.
22               499.   The above deceptive trade practices by Defendants Anthem, Anthem Affiliates and
23   Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These acts caused
24   substantial injury to consumers that the consumers could not reasonably avoid; this substantial injury
25   outweighed any benefits to consumers or to competition.
26               500.   Defendants knew or should have known that their computer systems and data security
27   practices were inadequate to safeguard Nebraska Class Members’ Personal Information and that risk
28   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
                                                      131
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 141 of 213



 1   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 2   with respect to the rights of members of the Nebraska Class.
 3               501.   As a direct and proximate result of Defendants’ unlawful practices, Nebraska Class
 4   Members suffered injury and/or damages.
 5               502.   Nebraska Class Members seek relief under Neb. Rev. Stat. § 87-303, including, but
 6   not limited to, injunctive relief, other equitable relief, and attorneys’ fees and costs.
 7                                         Nevada
                    NEVADA DECEPTIVE TRADE PRACTICES ACT,
 8          NEV. REV. STAT. § 598.0915, et. seq.; NEV. REV. STAT. § 41.600, et. seq.
      (BROUGHT BY NEVADA CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
 9                  OPERATING IN NEVADA EXCEPT FOR BCBSA)
10               503.   Plaintiffs incorporate the above allegations by reference.
11               504.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
12   Anthem BCBS operating in Nevada on behalf of the Nevada Class.
13               505.   In the course of their businesses, Defendants Anthem, Anthem Affiliates, and Non-
14   Anthem BCBS operating in Nevada engaged in deceptive acts and practices, misrepresentation, and
15   the concealment, suppression, and omission of material facts with respect to the sale and
16   advertisement of health insurance and health benefits services in violation of Nev. Rev. Stat. §
17   598.0915, including but not limited to the following:
18               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
19   material facts, pertaining to the sale of insurance and health benefits services, to the Nebraska Class
20   by representing that they would maintain adequate data privacy and security practices and
21   procedures to safeguard Nevada Class Members’ Personal Information from unauthorized
22   disclosure, release, data breaches, and theft, in violation of Nev. Rev. Stat. § 598.0915(5), (7), (9),
23   and (15);
24               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
25   material facts, pertaining to the sale of insurance and health benefits services, to the Nevada Class by
26   representing that they did and would comply with the requirements of relevant federal and state laws
27   pertaining to the privacy and security of Nebraska Class Members’ Personal Information, in
28   violation of Nev. Rev. Stat. § 598.0915(5), (7), (9), and (15);
                                                       132
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 142 of 213



 1               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 2   and concealed the material fact of the inadequacy of the privacy and security protections for Nevada
 3   Class Members’ Personal Information, in violation of Nev. Rev. Stat. § 598.0915(5), (7), (9), and
 4   (15);
 5               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
 6   deceptive trade practices with respect to the sale of insurance and health benefits services by failing
 7   to maintain the privacy and security of Nevada Class Members’ Personal Information, in violation of
 8   duties imposed by and public policies reflected in applicable federal and state laws, resulting in the
 9   Anthem Data Breach. These unfair acts and practices violated duties imposed by laws including the
10   Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-
11   Leach-Bliley Act (15 U.S.C. § 6801), the Nevada Confidentiality and Disclosure of Information
12   statute (Nev. Rev. Stat. § 695F.410), the Nevada data breach statute (Nev. Rev. Stat. Ann. §
13   603A.210), and the Nevada Trade Practices and Frauds in Insurance statute (Nev. Rev. Stat. Ann.
14   §§ 686A.025, 686A.030(1), and 686A.040);
15               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive trade practices with
16   respect to the sale of insurance and health benefits services by failing to disclose the Anthem Data
17   Breach to Nevada Class Members in a timely and accurate manner, in violation of Nev. Rev. Stat.
18   Ann. § 603A.220(1);
19               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in deceptive
20   trade practices with respect to the sale of insurance and health benefits services by failing to take
21   proper action following the Anthem Data Breach to enact adequate privacy and security measures
22   and protect Nevada Class Members’ Personal Information from further unauthorized disclosure,
23   release, data breaches, and theft.
24               506.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
25   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
26   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
27   this substantial injury outweighed any benefits to consumers or to competition.
28               507.   Defendants knew or should have known that their computer systems and data security
                                                       133
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 143 of 213



 1   practices were inadequate to safeguard Nevada Class Members’ Personal Information and that risk
 2   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 3   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 4   with respect to the rights of members of the Nevada Class.
 5               508.   As a direct and proximate result of Defendants’ deceptive practices, Nevada Class
 6   Members suffered injury and/or damages.
 7   509.        Nevada Class Members seek relief under Nev. Rev. Stat. Ann. § 41.600, including, but not
 8   limited to, injunctive relief, other equitable relief, actual damages, and attorneys’ fees and costs.
 9                                      New Jersey
                          NEW JERSEY CONSUMER FRAUD ACT,
10                            N.J. STAT. ANN. § 56:8-1, et. seq.
             (BROUGHT BY NEW JERSEY CLASS AGAINST ANTHEM AND ALL OTHER
11              DEFENDANTS OPERATING IN NEW JERSEY EXCEPT FOR BCBSA)
12               510.   Plaintiffs incorporate the above allegations by reference.
13               511.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
14   Anthem BCBS operating in New Jersey on behalf of the New Jersey Class.
15               512.   Defendants sell “merchandise,” as meant by N.J. Stat. Ann. § 56:8-1, by offering
16   health insurance and health benefits services to the public.
17               513.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in New
18   Jersey engaged in unconscionable and deceptive acts and practices, misrepresentation, and the
19   concealment, suppression, and omission of material facts with respect to the sale and advertisement
20   of health insurance and health benefits services in violation of N.J. Stat. Ann. § 56:8-2, including but
21   not limited to the following:
22               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
23   material facts, pertaining to the sale of insurance and health benefits services, to the New Jersey
24   Class by representing that they would maintain adequate data privacy and security practices and
25   procedures to safeguard New Jersey Class Members’ Personal Information from unauthorized
26   disclosure, release, data breaches, and theft;
27               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
28   material facts, pertaining to the sale of insurance and health benefits services, to the New Jersey
                                                        134
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 144 of 213



 1   Class by representing that they did and would comply with the requirements of relevant federal and
 2   state laws pertaining to the privacy and security of New Jersey Class Members’ Personal
 3   Information;
 4               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly omitted,
 5   suppressed, and concealed the material fact of the inadequacy of the privacy and security protections
 6   for New Jersey Class Members’ Personal Information with the intent that others rely on the
 7   omission, suppression, and concealment;
 8               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
 9   unconscionable and deceptive acts and practices with respect to the sale of insurance and health
10   benefits services by failing to maintain the privacy and security of New Jersey Class Members’
11   Personal Information, in violation of duties imposed by and public policies reflected in applicable
12   federal and state laws, resulting in the Anthem Data Breach. These unfair acts and practices violated
13   duties imposed by laws including the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42
14   U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the New Jersey Insurance
15   Information Practices Act (N.J. Stat. § 17:23A-1, et seq.); and the New Jersey Insurance Trade
16   Practices Act (N.J. Stat. §§ 17:29B-4(1) and (2));
17               e.     Defendants Anthem and Anthem Affiliates engaged in unconscionable and deceptive
18   acts and practices with respect to the sale of insurance and health benefits services by failing to
19   disclose the Anthem Data Breach to New Jersey Class Members in a timely and accurate manner, in
20   violation of N.J. Stat. Ann. § 56:8-163(a);
21               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
22   unconscionable and deceptive acts and practices with respect to the sale of insurance and health
23   benefits services by failing to take proper action following the Anthem Data Breach to enact
24   adequate privacy and security measures and protect New Jersey Class Members’ Personal
25   Information from further unauthorized disclosure, release, data breaches, and theft.
26               514.   The above unlawful and deceptive acts and practices and acts by Defendants Anthem,
27   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
28   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
                                                     135
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 145 of 213



 1   this substantial injury outweighed any benefits to consumers or to competition.
 2               515.   Defendants knew or should have known that their computer systems and data security
 3   practices were inadequate to safeguard New Jersey Class Members’ Personal Information and that
 4   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 5   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
 6   with respect to the rights of members of the New Jersey Class.
 7               516.   As a direct and proximate result of Defendants’ unconscionable or deceptive acts and
 8   practices, New Jersey Class Members suffered an ascertainable loss in moneys or property, real or
 9   personal, as described above, including the loss of their legally protected interest in the
10   confidentiality and privacy of their Personal Information.
11               517.   New Jersey Class Members seek relief under N.J. Stat. Ann. § 56:8-19, including, but
12   not limited to, injunctive relief, other equitable relief, actual damages, treble damages, and attorneys’
13   fees and costs.
14                                   New Mexico
                         NEW MEXICO UNFAIR PRACTICES ACT,
15                          N.M. STAT. ANN. § 57-12-1, et. seq.
            (BROUGHT BY NEW MEXICO CLASS AGAINST ANTHEM AND ALL OTHER
16             DEFENDANTS OPERATING IN NEW MEXICO EXCEPT FOR BCBSA)
17               518.   Plaintiffs incorporate the above allegations by reference.
18               519.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
19   Anthem BCBS operating in New Mexico on behalf of the New Mexico Class.
20               520.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in New
21   Mexico engaged in unconscionable, unfair, and deceptive acts and practices, misrepresentation, and
22   the concealment, suppression, and omission of material facts with respect to the sale and
23   advertisement of health insurance and health benefits services in violation of N.M. Stat. Ann. § 57-
24   12-3, including but not limited to the following:
25           a.         Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly
26   misrepresented material facts, pertaining to the sale of insurance and health benefits services, to the
27   New Mexico Class by representing that they would maintain adequate data privacy and security
28   practices and procedures to safeguard New Mexico Class Members’ Personal Information from
                                                   136
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 146 of 213



 1   unauthorized disclosure, release, data breaches, and theft;
 2           b.    Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly
 3   misrepresented material facts, pertaining to the sale of insurance and health benefits services, to the
 4   New Mexico Class by representing that they did and would comply with the requirements of
 5   relevant federal and state laws pertaining to the privacy and security of New Mexico Class
 6   Members’ Personal Information;
 7           c.    Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly omitted,
 8   suppressed, and concealed the material fact of the inadequacy of the privacy and security protections
 9   for New Mexico Class Members’ Personal Information;
10           d.    Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
11   unconscionable, and deceptive acts and practices with respect to the sale of insurance and health
12   benefits services by failing to maintain the privacy and security of New Mexico Class Members’
13   Personal Information, in violation of duties imposed by and public policies reflected in applicable
14   federal and state laws, resulting in the Anthem Data Breach. These unfair, unconscionable, and
15   deceptive acts and practices violated duties imposed by laws including the Federal Trade
16   Commission Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley
17   Act (15 U.S.C. § 6801), the New Mexico Confidentiality of Medical Information statute (N.M. Stat.
18   Ann. § 59A-46-27), the New Mexico Privacy of Nonpublic Personal Information regulation (N.M.
19   Admin. Code 13.1.3); and the New Mexico Trade Practices and Frauds in Insurance statute (N.M.
20   Stat. Ann. §§ 59A-16-4(A), 59A-16-5);
21           e.    Defendants Anthem and Anthem Affiliates engaged in unfair, unconscionable, and
22   deceptive acts and practices with respect to the sale of insurance and health benefits services by
23   failing to disclose the Anthem Data Breach to New Mexico Class Members in a timely and accurate
24   manner;
25           f.    Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair,
26   unconscionable, and deceptive acts and practices with respect to the sale of insurance and health
27   benefits services by failing to take proper action following the Anthem Data Breach to enact
28   adequate privacy and security measures and protect New Mexico Class Members’ Personal
                                                    137
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 147 of 213



 1   Information from further unauthorized disclosure, release, data breaches, and theft.
 2               521.   The above unfair, unconscionable, and deceptive acts and practices and acts by
 3   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS were immoral, unethical,
 4   oppressive, and unscrupulous. These acts caused substantial injury to consumers that the consumers
 5   could not reasonably avoid; this substantial injury outweighed any benefits to consumers or to
 6   competition.
 7               522.   Defendants knew or should have known that their computer systems and data security
 8   practices were inadequate to safeguard New Mexico Class Members’ Personal Information and that
 9   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
10   unfair, unconscionable, and deceptive acts and practices were negligent, knowing and willful, and/or
11   wanton and reckless with respect to the rights of members of the New Mexico Class.
12               523.   As a direct and proximate result of Defendants’ unfair, unconscionable, and deceptive
13   acts and practices, New Mexico Class Members suffered a loss in money or property, real or
14   personal, as described above, including the loss of their legally protected interest in the
15   confidentiality and privacy of their Personal Information.
16               524.   New Mexico Class Members seek relief under N.M. Stat. Ann. § 57-12-10, including,
17   but not limited to, injunctive relief, actual damages, and attorneys’ fees and costs, as well as treble
18   damages or $300, whichever is greater, to the Plaintiffs.
19                                         New York
                              NEW YORK GENERAL BUSINESS LAW,
20                              N.Y. GEN. BUS. LAW § 349, et. seq.
                 (BROUGHT BY NEW YORK CLASS AGAINST ANTHEM AND ALL OTHER
21                  DEFENDANTS OPERATING IN NEW YORK EXCEPT FOR BCBSA)
22               525.   Plaintiffs incorporate the above allegations by reference.
23               526.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
24   deceptive, unfair, and unlawful trade acts or practices in the conduct of trade or commerce and
25   furnishing of services, in violation of N.Y. Gen. Bus. Law § 349(a), including but not limited to the
26   following:
27               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
28   fraudulently advertised material facts, pertaining to the sale and/or furnishing of insurance and health
                                                       138
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 148 of 213



 1   benefits services, to the New York Class by representing and advertising that they would maintain
 2   adequate data privacy and security practices and procedures to safeguard New York Class Members’
 3   Personal Information from unauthorized disclosure, release, data breaches, and theft;
 4               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 5   material facts, pertaining to sale and/or furnishing of insurance and health benefits services, to the
 6   New York Class by representing and advertising that they did and would comply with the
 7   requirements of relevant federal and state laws pertaining to the privacy and security of New York
 8   Class Members’ Personal Information;
 9               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
10   and concealed the material fact of the inadequacy of their privacy and security protections for New
11   York Class Members’ Personal Information;
12               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
13   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
14   of New York Class Members’ Personal Information, in violation of duties imposed by and public
15   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
16   unfair acts and practices violated duties imposed by laws including the Federal Trade Commission
17   Act (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C.
18   § 6801), and New York’s Protection Mechanisms for Insurance Payment Information (N.Y. Soc.
19   Serv. §367-a (2)(b));
20               e.   Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
21   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to New York Class
22   Members in a timely and accurate manner, contrary to the duties imposed by N.Y. Gen Bus. Law §
23   899-aa(2);
24               f.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
25   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
26   Anthem Data Breach to enact adequate privacy and security measures and protect New York Class
27   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
28   theft.
                                              139
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 149 of 213



 1               527.   As a direct and proximate result of Defendants’ deceptive trade practices, New York
 2   Class Members suffered injury and/or damages, including the loss of their legally protected interest
 3   in the confidentiality and privacy of their Personal Information.
 4               528.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
 5   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
 6   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
 7   substantial injury outweighed any benefits to consumers or to competition.
 8               529.   Defendants knew or should have known that their computer systems and data security
 9   practices were inadequate to safeguard New York Class Members’ Personal Information and that
10   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
11   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
12   with respect to the rights of members of the New York Class.
13               530.   Plaintiffs and New York Class Members seek relief under N.Y. Gen. Bus. Law §
14   349(h), including, but not limited to, actual damages, treble damages, statutory damages, injunctive
15   relief, and/or attorney’s fees and costs.
16                                  North Carolina
                  NORTH CAROLINA UNFAIR TRADE PRACTICES ACT,
17                       N.C. GEN. STAT. ANN. § 75-1.1, et. seq.
        (BROUGHT BY NORTH CAROLINA CLASS AGAINST ANTHEM AND ALL OTHER
18         DEFENDANTS OPERATING IN NORTH CAROLINA EXCEPT FOR BCBSA)
19               531.   Plaintiffs incorporate the above allegations by reference.
20               532.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
21   Anthem BCBS operating in North Carolina on behalf of the North Carolina Class.
22               533.   Defendants’ sale, advertising, and marketing of insurance and health benefits affected
23   commerce, as meant by N.C. Gen. Stat. § 75-1.1.
24               534.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in North
25   Carolina engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the
26   concealment, suppression, and omission of material facts with respect to the sale and advertisement
27   of health insurance and health benefits services in violation of N.C. Gen. Stat. § 75-1.1, including
28   but not limited to the following:
                                                140
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK           Document 315-4        Filed 10/19/15      Page 150 of 213



 1               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 2   material facts, pertaining to the sale of insurance and health benefits services, to the North Carolina
 3   Class by representing that they would maintain adequate data privacy and security practices and
 4   procedures to safeguard North Carolina Class Members’ Personal Information from unauthorized
 5   disclosure, release, data breaches, and theft;
 6               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 7   material facts, pertaining to the sale of insurance and health benefits services, to the North Carolina
 8   Class by representing that they did and would comply with the requirements of relevant federal and
 9   state laws pertaining to the privacy and security of North Carolina Class Members’ Personal
10   Information;
11               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
12   and concealed the material fact of the inadequacy of the privacy and security protections for North
13   Carolina Class Members’ Personal Information;
14               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
15   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
16   services by failing to maintain the privacy and security of North Carolina Class Members’ Personal
17   Information, in violation of duties imposed by and public policies reflected in applicable federal and
18   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
19   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
20   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
21   North Carolina Consumer and Customer Information Privacy Act (N.C. Gen. Stat. § 58-39-1, et
22   seq.), and the North Carolina Unfair Trade Practices N.C. Gen. Stat. § 58-63-15(1) and (2));
23               e.   Defendants Anthem and Anthem Affiliates engaged in unfair, unlawful, and deceptive
24   acts and practices with respect to the sale of insurance and health benefits services by failing to
25   disclose the Anthem Data Breach to North Carolina Class Members in a timely and accurate manner,
26   in violation of N.C. Gen. Stat. Ann. § 76-65(a);
27               f.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair,
28   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
                                                      141
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 151 of 213



 1   services by failing to take proper action following the Anthem Data Breach to enact adequate
 2   privacy and security measures and protect North Carolina Class Members’ Personal Information
 3   from further unauthorized disclosure, release, data breaches, and theft.
 4               535.   The above unfair, unlawful, and deceptive acts and practices and acts by Defendants
 5   Anthem, Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and
 6   unscrupulous. These acts caused substantial injury to consumers that the consumers could not
 7   reasonably avoid; this substantial injury outweighed any benefits to consumers or to competition.
 8               536.   Defendants knew or should have known that their computer systems and data security
 9   practices were inadequate to safeguard North Carolina Class Members’ Personal Information and
10   that risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-
11   named unfair, unconscionable, and deceptive acts and practices were negligent, knowing and willful,
12   and/or wanton and reckless with respect to the rights of members of the North Carolina Class.
13               537.   As a direct and proximate result of Defendants’ unfair, unconscionable, and deceptive
14   acts and practices, North Class Members suffered injury and/or damages.
15               538.   North Carolina Class Members seek relief under N.C. Gen. Stat. §§ 75-16 and 75-
16   16.1 including, but not limited to, injunctive relief, actual damages, treble damages, and attorneys’
17   fees and costs.
18                                   North Dakota
                NORTH DAKOTA UNLAWFUL SALES OR ADVERTISING ACT,
19                        N.D. CENT. CODE §§ 51-10-01, et. seq.
          (BROUGHT BY NORTH DAKOTA CLASS AGAINST ANTHEM AND ALL OTHER
20           DEFENDANTS OPERATING IN NORTH DAKOTA EXCEPT FOR BCBSA)
21               539.   Plaintiffs incorporate the above allegations by reference.
22               540.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
23   Anthem BCBS operating in North Dakota on behalf of the North Dakota Class.
24               541.   Defendants sell and advertise “merchandise,” as meant by N.D. Cent. Code § 51-15-
25   01, in the form of insurance and health benefits services.
26               542.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in North
27   Dakota engaged in deceptive acts and practices, misrepresentation, and the concealment,
28   suppression, and omission of material facts with in connection to the sale and advertisement of
                                                      142
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 152 of 213



 1   insurance and health benefits services in violation of N.D. Cent. Code § 51-15-01, including but not
 2   limited to the following:
 3               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 4   material facts (intending for others to rely upon the misrepresentations), pertaining to the sale of
 5   insurance and health benefits services, to the North Dakota Class by representing that they would
 6   maintain adequate data privacy and security practices and procedures to safeguard North Dakota
 7   Class Members’ Personal Information from unauthorized disclosure, release, data breaches, and
 8   theft;
 9               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
10   material facts (intending for others to rely upon the misrepresentations), pertaining to the sale of
11   insurance and health benefits services, to the North Dakota Class by representing that they did and
12   would comply with the requirements of relevant federal and state laws pertaining to the privacy and
13   security of North Dakota Class Members’ Personal Information;
14               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
15   and concealed the material fact of the inadequacy of the privacy and security protections for North
16   Dakota Class Members’ Personal Information, with the intent that others rely on the omission,
17   suppression, and concealment;
18               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
19   deceptive acts and practices with respect to the sale of insurance and health benefits services by
20   failing to maintain the privacy and security of North Dakota Class Members’ Personal Information,
21   in violation of duties imposed by and public policies reflected in applicable federal and state laws,
22   resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and practices
23   violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. § 45), HIPAA
24   (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the North Dakota
25   Confidentiality of Medical Information statute (N.D. Cent. Code Ann. § 26.1-36-12.4); the North
26   Dakota Privacy of Consumer Financial and Health Information rule (N.D. Admin. Code 45-14-01-
27   01, et seq.); and the North Dakota Prohibited Practices in Insurance Business statute (N.D. Cent.
28   Code Ann. § 26.1-04-03(1) and (2));
                                              143
                        CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 153 of 213



 1               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive acts and practices
 2   with respect to the sale of insurance and health benefits services by failing to disclose the Anthem
 3   Data Breach to North Dakota Class Members in a timely and accurate manner, in violation of N.D.
 4   Cent. Code Ann. § 51-30-02;
 5               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in deceptive
 6   acts and practices with respect to the sale of insurance and health benefits services by failing to take
 7   proper action following the Anthem Data Breach to enact adequate privacy and security measures
 8   and protect North Dakota Class Members’ Personal Information from further unauthorized
 9   disclosure, release, data breaches, and theft.
10               543.   The above deceptive acts and practices and acts by Defendants Anthem, Anthem
11   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
12   acts caused substantial injury to consumers that the consumers could not reasonably avoid; this
13   substantial injury outweighed any benefits to consumers or to competition.
14               544.   Defendants knew or should have known that their computer systems and data security
15   practices were inadequate to safeguard North Dakota Class Members’ Personal Information and that
16   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
17   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
18   respect to the rights of members of the North Dakota Class.
19               545.   As a direct and proximate result of Defendants’ deceptive acts and practices,
20   Defendant acquired money or property from North Dakota Class Members.
21               546.   North Carolina Class Members seek relief under N.D. Cent. Code Ann. § 51-15-09
22   including, but not limited to, injunctive relief, damages, restitution, treble damages, and attorneys’
23   fees and costs.
24                                  Oklahoma
                     OKLAHOMA CONSUMER PROTECTION ACT,
25                        15 OKL. STAT. ANN. § 751, et. seq.
        (BROUGHT BY OKLAHOMA CLASS AGAINST ANTHEM AND ALL DEFENDANTS
26                 OPERATING IN OKLAHOMA EXCEPT FOR BCBSA)
27               547.   Plaintiffs incorporate the above allegations by reference.
28               548.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
                                                            144
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                              CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4        Filed 10/19/15      Page 154 of 213



 1   Anthem BCBS operating in Oklahoma on behalf of the Oklahoma Class.
 2               549.   The Oklahoma Class Members purchased “merchandise,” as meant by Okla. Stat. tit.
 3   15, § 752, in the form of insurance and health benefits services.
 4               550.   The Oklahoma Class Members’ purchases of insurance and health benefits services
 5   from Defendants constituted “consumer transactions” as meant by Okla. Stat. tit. 15, § 752.
 6               551.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
 7   Oklahoma engaged in unlawful, unfair, and deceptive trade practices, misrepresentation, and the
 8   concealment, suppression, and omission of material facts with respect to the sale and advertisement
 9   of the services purchased by the Oklahoma Class in violation of Okla. Stat. tit. 15, § 753, including
10   but not limited to the following:
11               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly, or with
12   reason to know, misrepresented material facts pertaining to the sale of insurance and health benefits
13   services to the Oklahoma Class by representing that they would maintain adequate data privacy and
14   security practices and procedures to safeguard Oklahoma Class Members’ Personal Information
15   from unauthorized disclosure, release, data breaches, and theft in violation of Okla. Stat. tit. 15, §
16   753(5) and (8);
17               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly, or with
18   reason to know, misrepresented material facts pertaining to the sale of insurance and health benefits
19   services to the Oklahoma Class by representing that they did and would comply with the
20   requirements of relevant federal and state laws pertaining to the privacy and security of Oklahoma
21   Class Members’ Personal Information in violation of Okla. Stat. tit. 15, § 753(5) and (8);
22               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
23   and concealed the material fact of the inadequacy of the privacy and security protections for
24   Oklahoma Class Members’ Personal Information in violation of Okla. Stat. tit. 15, § 753(5) and (8);
25               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
26   unlawful, and deceptive trade practices with respect to the sale of insurance and health benefits
27   services by failing to maintain the privacy and security of Oklahoma Class Members’ Personal
28   Information, in violation of duties imposed by and public policies reflected in applicable federal and
                                                      145
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 155 of 213



 1   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
 2   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
 3   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
 4   Oklahoma Privacy of Consumer Financial and Health Information regulation (Okla. Admin. Code §§
 5   365:35-1-40, 365:35-1-20); and the Oklahoma Unfair Practices and Fraud in Insurance statute (Okla.
 6   Stat. Ann. tit. 36, § 1204(1) and (2));
 7               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
 8   trade practices with respect to the sale of insurance and health benefits services by failing to disclose
 9   the Anthem Data Breach to Oklahoma Class Members in a timely and accurate manner, in violation
10   of 24 Okla. Sta. Ann. § 163(A);
11               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
12   unfair, and deceptive trade practices with respect to the sale of insurance and health benefits services
13   by failing to take proper action following the Anthem Data Breach to enact adequate privacy and
14   security measures and protect Oklahoma Class Members’ Personal Information from further
15   unauthorized disclosure, release, data breaches, and theft.
16               552.   The above unlawful, unfair, and deceptive trade practices and acts by Defendants
17   Anthem, Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and
18   unscrupulous. These acts caused substantial injury to consumers that the consumers could not
19   reasonably avoid; this substantial injury outweighed any benefits to consumers or to competition.
20               553.   Defendants knew or should have known that their computer systems and data security
21   practices were inadequate to safeguard Oklahoma Class Members’ Personal Information and that
22   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
23   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
24   respect to the rights of members of the Oklahoma Class.
25               554.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
26   Oklahoma Class Members suffered injury and/or damages.
27               555.   Oklahoma Class Members seek relief under Okla. Stat. Ann. tit. 15, § 761.1
28   including, but not limited to, injunctive relief, actual damages, and attorneys’ fees and costs.
                                                         146
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 156 of 213



 1                                  Pennsylvania
                      PENNSYLVANIA UNFAIR TRADE PRACTICES,
 2                         73 PA STAT. ANN. § 201-1, et. seq.
          (BROUGHT BY PENNSYLVANIA CLASS AGAINST ANTHEM AND ALL OTHER
 3           DEFENDANTS OPERATING IN PENNSYLVANIA EXCEPT FOR BCBSA)
 4               556.   Plaintiffs incorporate the above allegations by reference.
 5               557.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
 6   Anthem BCBS operating in Pennsylvania on behalf of the Pennsylvania Class.
 7               558.   The Pennsylvania Class Members purchased insurance and health benefits services
 8   from Defendants in “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2, for personal,
 9   family, and/or household purposes.
10               559.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
11   Pennsylvania engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and
12   the concealment, suppression, and omission of material facts with respect to the sale and
13   advertisement of the services purchased by the Pennsylvania Class in violation of 73 Pa. Cons. Stat.
14   Ann. § 201-3, including but not limited to the following:
15               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
16   material facts pertaining to the sale of insurance and health benefits services to the Pennsylvania
17   Class by representing that they would maintain adequate data privacy and security practices and
18   procedures to safeguard Pennsylvania Class Members’ Personal Information from unauthorized
19   disclosure, release, data breaches, and theft in violation of 73 Pa. Cons. Stat. Ann. § 201-3(4)(v),
20   (ix), and (xxi);
21               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
22   material facts pertaining to the sale of insurance and health benefits services to the Pennsylvania
23   Class by representing that they did and would comply with the requirements of relevant federal and
24   state laws pertaining to the privacy and security of Pennsylvania Class Members’ Personal
25   Information in violation of 73 Pa. Cons. Stat. Ann. § 201-3(4)(v), (ix), and (xxi);
26               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
27   and concealed the material fact of the inadequacy of the privacy and security protections for
28   Pennsylvania Class Members’ Personal Information in violation of in violation of 73 Pa. Cons. Stat.
                                                  147
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4        Filed 10/19/15     Page 157 of 213



 1   Ann. § 201-3(4)(v), (ix), and (xxi);
 2               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
 3   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
 4   services by failing to maintain the privacy and security of Pennsylvania Class Members’ Personal
 5   Information, in violation of duties imposed by and public policies reflected in applicable federal and
 6   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
 7   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
 8   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
 9   Pennsylvania Quality Healthcare Accountability and Protection statute (40 Pa. Cons. Stat. Ann. §
10   991.2131); and the Pennsylvania Unfair Insurance Practices Act (40 Pa. Cons. Stat. Ann. §
11   1171.1(a)(1)(i) and (a)(2));
12               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
13   acts and practices with respect to the sale of insurance and health benefits services by failing to
14   disclose the Anthem Data Breach to Pennsylvania Class Members in a timely and accurate manner,
15   in violation of 73 Pa. Stat. § 2303(a);
16               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
17   unfair, and deceptive acts and practices with respect to the sale of insurance and health benefits
18   services by failing to take proper action following the Anthem Data Breach to enact adequate
19   privacy and security measures and protect Pennsylvania Class Members’ Personal Information from
20   further unauthorized disclosure, release, data breaches, and theft.
21               560.   The above unlawful, unfair, and deceptive acts and practices by Defendants Anthem,
22   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
23   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
24   this substantial injury outweighed any benefits to consumers or to competition.
25               561.   Defendants knew or should have known that their computer systems and data security
26   practices were inadequate to safeguard Pennsylvania Class Members’ Personal Information and that
27   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
28   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
                                                     148
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4       Filed 10/19/15        Page 158 of 213



 1   respect to the rights of members of the Pennsylvania Class.
 2               562.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
 3   Pennsylvania Class Members suffered an ascertainable loss of money or property, real or personal,
 4   as described above, including the loss of their legally protected interest in the confidentiality and
 5   privacy of their Personal Information.
 6               563.   Pennsylvania Class Members seek relief under 73 Pa. Cons. Stat. § 201-9.2,
 7   including, but not limited to, injunctive relief, actual damages or $100 per Class Member, whichever
 8   is greater, treble damages, and attorneys’ fees and costs.
 9                                    Rhode Island
                  RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT,
10                           R.I. GEN. LAWS § 6-13.1, et. seq.
          (BROUGHT BY RHODE ISLAND CLASS AGAINST ANTHEM, INC. EXCEPT FOR
11                                      BCBSA)
12               564.   Plaintiffs incorporate the above allegations by reference.
13               565.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
14   Anthem BCBS operating in Rhode Island on behalf of the Rhode Island Class.
15               566.   The Rhode Island Class Members purchased insurance and health benefits services
16   from Defendants in “trade” and “commerce,” as meant by R.I. Gen. Laws § 6-13.1-1, for personal,
17   family, and/or household purposes.
18               567.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in Rhode
19   Island engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the
20   concealment, suppression, and omission of material facts with respect to the sale and advertisement
21   of the services purchased by the Rhode Island Class in violation of R.I. Gen. Laws Ann. § 6-13.1-2,
22   including but not limited to the following:
23               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
24   material facts pertaining to the sale of insurance and health benefits services to the Rhode Island
25   Class by representing that they would maintain adequate data privacy and security practices and
26   procedures to safeguard Rhode Island Class Members’ Personal Information from unauthorized
27   disclosure, release, data breaches, and theft in violation of R.I. Gen. Laws Ann. § 6-13.1-1(6)(v),
28   (vii), (ix), (xii), (xiii), and (xiv);
                                                149
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4      Filed 10/19/15       Page 159 of 213



 1               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 2   material facts pertaining to the sale of insurance and health benefits services to the Rhode Island
 3   Class by representing that they did and would comply with the requirements of relevant federal and
 4   state laws pertaining to the privacy and security of Rhode Island Class Members’ Personal
 5   Information in violation of R.I. Gen. Laws Ann. § 6-13.1-1(6)(v), (vii), (ix), (xii), (xiii), and (xiv);
 6               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 7   and concealed the material fact of the inadequacy of the privacy and security protections for Rhode
 8   Island Class Members’ Personal Information in violation of in violation of R.I. Gen. Laws Ann. § 6-
 9   13.1-1(6)(v), (vii), (ix), (xii), (xiii), and (xiv);
10               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
11   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
12   services by failing to maintain the privacy and security of Rhode Island Class Members’ Personal
13   Information, in violation of duties imposed by and public policies reflected in applicable federal and
14   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
15   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
16   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
17   Rhode Island Confidentiality of Health Care Information Act (R.I. Gen. Laws § 5-37.3-4); the Rhode
18   Island data breach statute (R.I. Gen. Laws § 11-49.2-2(2), and the Rhode Island Unfair Competition
19   and Practices in Insurance statute (R.I. Gen. Laws § 27-29-4(1) and (2));
20               e.   Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
21   acts and practices with respect to the sale of insurance and health benefits services by failing to
22   disclose the Anthem Data Breach to Rhode Island Class Members in a timely and accurate manner,
23   in violation of R.I. Gen. Laws Ann. § 11-49.2-3(a);
24               f.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
25   unfair, and deceptive acts and practices with respect to the sale of insurance and health benefits
26   services by failing to take proper action following the Anthem Data Breach to enact adequate
27   privacy and security measures and protect Rhode Island Class Members’ Personal Information from
28   further unauthorized disclosure, release, data breaches, and theft.
                                                       150
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 160 of 213



 1               568.   The above unlawful, unfair, and deceptive acts and practices by Defendants Anthem,
 2   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
 3   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
 4   this substantial injury outweighed any benefits to consumers or to competition.
 5               569.   Defendants knew or should have known that their computer systems and data security
 6   practices were inadequate to safeguard Rhode Island Class Members’ Personal Information and that
 7   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
 8   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
 9   respect to the rights of members of the Rhode Island Class.
10               570.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
11   Rhode Island Class Members suffered an ascertainable loss of money or property, real or personal,
12   as described above, including the loss of their legally protected interest in the confidentiality and
13   privacy of their Personal Information.
14               571.   Rhode Island Class Members seek relief under R.I. Gen. Laws § 6-13.1-5.2,
15   including, but not limited to, injunctive relief, other equitable relief, actual damages or $200 per
16   Class Member, whichever is greater, punitive damages, and attorneys’ fees and costs.
17                                South Dakota
      SOUTH DAKOTA DECEPTIVE TRADE PRACTICES AND CONSUMER PROTECTION
18                                    ACT,
                       S.D. CODIFIED LAWS § 37-24-1, et. seq.
19      (BROUGHT BY SOUTH DAKOTA CLASS AGAINST ANTHEM AND ALL OTHER
           DEFENDANTS OPERATING IN SOUTH DAKOTA EXCEPT FOR BCBSA)
20
                 572.   Plaintiffs incorporate the above allegations by reference.
21
                 573.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
22
     Anthem BCBS operating in South Dakota on behalf of the South Dakota Class.
23
                 574.   Defendants advertise and sell “goods or services” and/or “merchandise” in “trade”
24
     and “commerce,” as meant by S.D. Codified Laws § 37-24-1, in the form of insurance and health
25
     benefits services.
26
                 575.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in South
27
     Dakota engaged in deceptive acts and practices, misrepresentation, and the concealment,
28
                                                151
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK          Document 315-4         Filed 10/19/15      Page 161 of 213



 1   suppression, and omission of material facts with respect to the sale and advertisement of health
 2   insurance and health benefits services in violation of S.D. Codified Laws § 37-24-6, including but
 3   not limited to the following:
 4               a.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly and
 5   intentionally misrepresented material facts, pertaining to the sale of insurance and health benefits
 6   services, to the South Dakota Class by representing that they would maintain adequate data privacy
 7   and security practices and procedures to safeguard South Dakota Class Members’ Personal
 8   Information from unauthorized disclosure, release, data breaches, and theft in violation of S.D.
 9   Codified Laws § 37-24-6(1);
10               b.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly and
11   intentionally misrepresented material facts, pertaining to the sale of insurance and health benefits
12   services, to the South Dakota Class by representing that they did and would comply with the
13   requirements of relevant federal and state laws pertaining to the privacy and security of South
14   Dakota Class Members’ Personal Information in violation of S.D. Codified Laws § 37-24-6(1);
15               c.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS knowingly and
16   intentionally omitted, suppressed, and concealed the material fact of the inadequacy of the privacy
17   and security protections for South Dakota Class Members’ Personal Information in violation of in
18   violation of S.D. Codified Laws § 37-24-6(1);
19               d.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
20   deceptive acts and practices with respect to the sale of insurance and health benefits services by
21   failing to maintain the privacy and security of South Dakota Class Members’ Personal Information,
22   in violation of duties imposed by and public policies reflected in applicable federal and state laws,
23   resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and practices
24   violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. § 45), HIPAA
25   (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), and the Unfair Trade
26   Practices in Insurance statute (S.D. Codified Laws §§ 58-33-5, 58-33-6).
27               e.   Defendants Anthem and Anthem Affiliates knowingly and intentionally engaged in
28   deceptive acts and practices with respect to the sale of insurance and health benefits services by
                                                       152
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                        CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 162 of 213



 1   failing to disclose the Anthem Data Breach to South Dakota Class Members in a timely and accurate
 2   manner;
 3               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in deceptive
 4   acts and practices with respect to the sale of insurance and health benefits services by failing to take
 5   proper action following the Anthem Data Breach to enact adequate privacy and security measures
 6   and protect South Dakota Class Members’ Personal Information from further unauthorized
 7   disclosure, release, data breaches, and theft.
 8               576.   The above deceptive acts and practices by Defendants Anthem, Anthem Affiliates
 9   and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These acts caused
10   substantial injury to consumers that the consumers could not reasonably avoid; this substantial injury
11   outweighed any benefits to consumers or to competition.
12               577.   Defendants knew or should have known that their computer systems and data security
13   practices were inadequate to safeguard South Dakota Class Members’ Personal Information and that
14   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
15   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
16   respect to the rights of members of the South Dakota Class.
17               578.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
18   South Dakota Class Members were adversely affected, injured, and/or damaged.
19               579.   South Dakota Class Members seek relief under S.D. Codified Laws § 37-24-31,
20   including, but not limited to, actual damages.
21                                    Tennessee
                       TENNESSEE CONSUMER PROTECTION ACT,
22                         TENN. CODE ANN. §§ 47-18-101, et. seq.
             (BROUGHT BY TENNESSEE CLASS AGAINST ANTHEM AND ALL OTHER
23              DEFENDANTS OPERATING IN TENNESSEE EXCEPT FOR BCBSA)
24               580.   Plaintiffs incorporate the above allegations by reference.
25               581.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-
26   Anthem BCBS operating in Tennessee on behalf of the Tennessee Class.
27               582.   Defendants advertised and sold “goods” or “services” in “trade” and “commerce,” as
28   meant by Tenn. Code § 47-18-103, in the form of insurance and health benefits services from
                                                   153
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK            Document 315-4       Filed 10/19/15      Page 163 of 213



 1   Defendants.
 2               583.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
 3   Tennessee engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the
 4   concealment, suppression, and omission of material facts with respect to the sale and advertisement
 5   of insurance and health benefits services in violation Tenn. Code § 47-18-104, including but not
 6   limited to the following:
 7               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 8   material facts, pertaining to the sale of insurance and health benefits services, to the Tennessee Class
 9   by representing that they would maintain adequate data privacy and security practices and
10   procedures to safeguard Tennessee Class Members’ Personal Information from unauthorized
11   disclosure, release, data breaches, and theft in violation of Tenn. Code § 47-18-104(b)(5) and (9);
12               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
13   material facts, pertaining to the sale of insurance and health benefits services, to the Tennessee Class
14   by representing that they did and would comply with the requirements of relevant federal and state
15   laws pertaining to the privacy and security of Tennessee Class Members’ Personal Information in
16   violation of Tenn. Code § 47-18-104(b)(5) and (9);
17               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
18   and concealed the material fact of the inadequacy of the privacy and security protections for
19   Tennessee Class Members’ Personal Information in violation of Tenn. Code § 47-18-104(b)(5) and
20   (9);
21               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
22   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
23   services by failing to maintain the privacy and security of Tennessee Class Members’ Personal
24   Information, in violation of duties imposed by and public policies reflected in applicable federal and
25   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
26   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
27   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), the
28   Tennessee Health Maintenance Organization Act (Tenn. Code § 56-32-125); the Tennessee Prepaid
                                                  154
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 164 of 213



 1   Limited Health Service Organization Act of 2000 (Tenn. Code § 56-51-150); and the Tennessee
 2   Unfair Trade Practices and Unfair Claims Settlement Act of 2009 (Tenn. Code Ann. § 56-8-
 3   104(1)(A) and (2)).
 4               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
 5   acts and practices with respect to the sale of insurance and health benefits services by failing to
 6   disclose the Anthem Data Breach to Tennessee Class Members in a timely and accurate manner, in
 7   violation of Tenn. Code. Ann. § 47-18-2107(b);
 8               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
 9   unfair, and deceptive acts and practices with respect to the sale of insurance and health benefits
10   services by failing to take proper action following the Anthem Data Breach to enact adequate
11   privacy and security measures and protect Tennessee Class Members’ Personal Information from
12   further unauthorized disclosure, release, data breaches, and theft.
13               584.   The above unlawful, unfair, and deceptive acts and practices by Defendants Anthem,
14   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
15   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
16   this substantial injury outweighed any benefits to consumers or to competition.
17               585.   Defendants knew or should have known that their computer systems and data security
18   practices were inadequate to safeguard Tennessee Class Members’ Personal Information and that
19   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
20   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
21   respect to the rights of members of the Tennessee Class.
22               586.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
23   Tennessee Class Members suffered an ascertainable loss of money or property, real or personal, as
24   described above, including the loss of their legally protected interest in the confidentiality and
25   privacy of their Personal Information.
26               587.   Tennessee Class Members seek relief under Tenn. Code Ann. § 47-18-109, including,
27   but not limited to, injunctive relief, actual damages, treble damages for each willful or knowing
28   violation, and attorneys’ fees and costs.
                                                155
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 165 of 213



 1                                         Vermont
                              VERMONT CONSUMER FRAUD ACT,
 2                              9 VT. STAT. ANN. §§ 2451, et. seq.
                 (BROUGHT BY VERMONT CLASS AGAINST ANTHEM AND ALL OTHER
 3                  DEFENDANTS OPERATING IN VERMONT EXCEPT FOR BCBSA)
 4               588.   Plaintiffs incorporate the above allegations by reference.

 5               589.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates and Non-

 6   Anthem BCBS operating in Vermont on behalf of the Vermont Class.

 7               590.   The Vermont Class Members are “consumers” as meant by Vt. Stat. Ann. tit. 9, §

 8   2451a.

 9               591.   The Vermont Class Members purchased “goods” or “services,” as meant by Vt. Stat.

10   Ann. tit. 9, § 2451a., in the form of insurance and health benefits services for personal, family,

11   and/or household purposes.

12               592.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in

13   Vermont engaged in unlawful, unfair, and deceptive acts and practices, misrepresentation, and the

14   concealment, suppression, and omission of material facts with respect to the sale and advertisement

15   of insurance and health benefits services in violation of Vt. Stat. Ann. tit. 9, § 2453, including but

16   not limited to the following:

17               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented

18   material facts pertaining to the sale of insurance and health benefits services to the Vermont Class by

19   representing that they would maintain adequate data privacy and security practices and procedures to

20   safeguard Vermont Class Members’ Personal Information from unauthorized disclosure, release,

21   data breaches, and theft;

22               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented

23   material facts pertaining to the sale of insurance and health benefits services to the Vermont Class by

24   representing that they did and would comply with the requirements of relevant federal and state laws

25   pertaining to the privacy and security of Vermont Class Members’ Personal Information;

26               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,

27   and concealed the material fact of the inadequacy of the privacy and security protections for

28   Vermont Class Members’ Personal Information;
                                                156
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4        Filed 10/19/15      Page 166 of 213



 1               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair,
 2   unlawful, and deceptive acts and practices with respect to the sale of insurance and health benefits
 3   services by failing to maintain the privacy and security of Vermont Class Members’ Personal
 4   Information, in violation of duties imposed by and public policies reflected in applicable federal and
 5   state laws, resulting in the Anthem Data Breach. These unfair, unlawful, and deceptive acts and
 6   practices violated duties imposed by laws including Federal Trade Commission Act (15 U.S.C. §
 7   45), HIPAA (42 U.S.C. § 1302d, et seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), and the
 8   Vermont Insurance Trade Practices Act (Vt. Stat. Ann. tit. 8, § 4724).
 9               e.     Defendants Anthem and Anthem Affiliates engaged in unlawful, unfair, and deceptive
10   acts and practices with respect to the sale of insurance and health benefits services by failing to
11   disclose the Anthem Data Breach to Vermont Class Members in a timely and accurate manner, in
12   violation of 9 Vt. Stat. Ann. § 2435(b)(1);
13               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unlawful,
14   unfair, and deceptive acts and practices with respect to the sale of insurance and health benefits
15   services by failing to take proper action following the Anthem Data Breach to enact adequate
16   privacy and security measures and protect Vermont Class Members’ Personal Information from
17   further unauthorized disclosure, release, data breaches, and theft.
18               593.   The above unlawful, unfair, and deceptive acts and practices by Defendants Anthem,
19   Anthem Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous.
20   These acts caused substantial injury to consumers that the consumers could not reasonably avoid;
21   this substantial injury outweighed any benefits to consumers or to competition.
22               594.   Defendants knew or should have known that their computer systems and data security
23   practices were inadequate to safeguard Vermont Class Members’ Personal Information and that risk
24   of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
25   deceptive acts and practices were negligent, knowing and willful, and/or wanton and reckless with
26   respect to the rights of members of the Vermont Class.
27               595.   As a direct and proximate result of Defendants’ deceptive acts and practices, the
28   Vermont Class Members suffered injury and/or damages.
                                                   157
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 167 of 213



 1               596.   Vermont Class Members seek relief under Vt. Stat. Ann. tit. 9, § 2461, including, but
 2   not limited to, injunctive relief, restitution, actual damages, disgorgement of profits, exemplary
 3   damages, and attorneys’ fees and costs.
 4                                    Washington
                      WASHINGTON CONSUMER PROTECTION ACT,
 5                         WASH. REV. CODE § 19.86.020, et. seq.
            (BROUGHT BY WASHINGTON CLASS AGAINST ANTHEM AND ALL OTHER
 6             DEFENDANTS OPERATING IN WASHINGTON EXCEPT FOR BCBSA)
 7               597.   Plaintiffs incorporate the above allegations by reference.
 8               598.   Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
 9   deceptive, unfair, and unlawful trade acts or practices in the conduct of trade or commerce, in
10   violation of Wash. Rev. Code §19.86.020, including but not limited to the following:
11               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented and
12   fraudulently advertised material facts pertaining to the insurance and health benefits services to the
13   Washington Class by representing and advertising that they would maintain adequate data privacy
14   and security practices and procedures to safeguard Washington Class Members’ Personal
15   Information from unauthorized disclosure, release, data breaches, and theft;
16               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
17   material facts pertaining to insurance and health benefits services to the Washington Class by
18   representing and advertising that they did and would comply with the requirements of relevant
19   federal and state laws pertaining to the privacy and security of Washington Class Members’ Personal
20   Information;
21               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
22   and concealed the material fact of the inadequacy of the privacy and security protections for
23   Washington Class Members’ Personal Information;
24               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in
25   deceptive, unfair, and unlawful trade acts or practices by failing to maintain the privacy and security
26   of Washington Class Members Personal Information, in violation of duties imposed by and public
27   policies reflected in applicable federal and state laws, resulting in the Anthem Data Breach. These
28   unfair acts and practices violated duties imposed by laws including Federal Trade Commission Act
                                                      158
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4       Filed 10/19/15     Page 168 of 213



 1   (15 U.S.C. § 45), HIPAA (42 U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C. §
 2   6801), and the Washington regulations pertaining to Privacy of Consumer Financial and Health
 3   Information (Wash. ADC 284-04-300).
 4               e.     Defendants Anthem and Anthem Affiliates engaged in deceptive, unfair, and
 5   unlawful trade acts or practices by failing to disclose the Anthem Data Breach to Washington Class
 6   Members in a timely and accurate manner, contrary to the duties imposed by § 19.255.010(1);
 7               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in
 8   deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following the
 9   Anthem Data Breach to enact adequate privacy and security measures and protect Washington Class
10   Members’ Personal Information from further unauthorized disclosure, release, data breaches, and
11   theft.
12               599.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
13   Affiliates and Non-Anthem BCBS also violated Washington’s Unfair Insurance Practices Act,
14   Wash. Rev. Code §48.30.010.
15               600.   As a direct and proximate result of Defendants’ deceptive trade practices, Washington
16   Class Members suffered injury and/or damages.
17               601.   The above unfair and deceptive practices and acts by Defendants Anthem, Anthem
18   Affiliates and Non-Anthem BCBS were immoral, unethical, oppressive, and unscrupulous. These
19   acts caused substantial injury to consumers that these consumers could not reasonably avoid; this
20   substantial injury outweighed any benefits to consumers or to competition.
21               602.   Defendants knew or should have known that their computer systems and data security
22   practices were inadequate to safeguard Washington Class Members’ Personal Information and that
23   risk of a data breach or theft was highly likely. Defendants’ actions in engaging in the above-named
24   unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless
25   with respect to the rights of members of the Washington Class.
26               603.   Washington Class Members seek relief under Wash. Rev. Code § 19.86.090,
27   including, but not limited to, actual damages, treble damages, injunctive relief, and attorneys’ fees
28   and costs.
                                                159
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15        Page 169 of 213



 1                               COUNT X – DATA BREACH STATUTES
                             BROUGHT BY THE STATEWIDE CLASSES BELOW
 2
                                        California
 3                       CALIFORNIA CUSTOMER RECORDS ACT,
                             CAL. CIV. CODE § 1798.80, et. seq.
 4           (BROUGHT BY CALIFORNIA CLASS AGAINST ANTHEM AND ALL OTHER
                DEFENDANTS OPERATING IN CALIFORNIA EXCEPT FOR BCBSA)
 5
                 604.   Plaintiffs incorporate the above allegations by reference.
 6
                 605.   “[T]o ensure that personal information about California residents is protected,” the
 7
     California legislature enacted Civil Code section 1798.81.5, which requires that any business that
 8
     “owns, licenses, or maintains personal information about a California resident shall implement and
 9
     maintain reasonable security procedures and practices appropriate to the nature of the information, to
10
     protect the personal information from unauthorized access, destruction, use, modification, or
11
     disclosure.”
12
                 606.   Defendants are businesses that own, maintain, and license personal information,
13
     within the meaning of 1798.81.5, about Plaintiffs and Class Members.
14
                 607.   Defendants, to the extent they assert they are not “a provider of health care, health
15
     care service plan, or contractor regulated by the Confidentiality of Medical Information Act,”
16
     violated Civil Code section 1798.81.5 by failing to implement reasonable measures to protect Class
17
     Members’ Personal Information.
18
                 608.   Businesses that own or license computerized data that includes personal information,
19
     including Social Security numbers, are required to notify California residents when their Personal
20
     Information has been acquired (or has reasonably believed to have been acquired) by unauthorized
21
     persons in a data security breach “in the most expedient time possible and without unreasonable
22
     delay.” Cal. Civ. Code § 1798.82. Among other requirements, the security breach notification must
23
     include “the types of personal information that were or are reasonably believed to have been the
24
     subject of the breach.” Cal. Civ. Code § 1798.82.
25
                 609.   Defendants are businesses that own or license computerized data that includes
26
     personal information as defined by Cal. Civ. Code § 1798.82.
27
                 610.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
28
                                                160
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 170 of 213



 1   includes personal information as covered by Cal. Civ. Code § 1798.82.
 2               611.   Because Anthem and Anthem Affiliates reasonably believed that Plaintiffs Personal
 3   was acquired by unauthorized persons during the Anthem Data Breach, Anthem and Anthem
 4   Affiliates had an obligation to disclose the data breach in a timely and accurate fashion as mandated
 5   by Cal. Civ. Code § 1798.82.
 6               612.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
 7   Anthem and Anthem Affiliates violated Cal. Civ. Code § 1798.82.
 8               613.   As a direct and proximate result of Defendants’ violations of the Cal. Civ. Code §§
 9   1798.81.5; 1798.82, Plaintiffs and Class Members suffered damages, as described above.
10               614.   Plaintiffs and California Class Members seek relief under Cal. Civ. Code § 1798.84,
11   including, but not limited to, actual damages and injunctive relief.
12                                     Colorado
                         COLO. REV. STAT. ANN. § 6-1-716(2), et. seq.
13          (BROUGHT BY COLORADO CLASS AGAINST ANTHEM AND ALL ANTHEM
                AFFILIATES OPERATING IN COLORADO EXCEPT FOR BCBSA)
14
                 615.   Plaintiffs incorporate the above allegations by reference.
15
                 616.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
16
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
17
     in the most expedient time possible and without unreasonable delay under Colo. Rev. Stat. Ann. § 6-
18
     1-716(2).
19
                 617.   Defendants are businesses that own or license computerized data that includes
20
     personal information as defined by Colo. Rev. Stat. Ann. § 6-1-716(1),(2).
21
                 618.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
22
     includes personal information as covered by Colo. Rev. Stat. Ann. § 6-1-716(1),(2).
23
                 619.   Because Anthem and Anthem Affiliates were aware of a breach of their security
24
     system, Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and
25
     accurate fashion as mandated by Colo. Rev. Stat. Ann. § 6-1-716 (2).
26
                 620.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
27
     Anthem and Anthem Affiliates violated Colo. Rev. Stat. Ann. § 6-1-716 (2).
28
                                                161
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 171 of 213



 1               621.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
 2   Colo. Rev. Stat. Ann. § 6-1-716(2), Plaintiffs and Class Members suffered damages, as described
 3   above.
 4               622.   Plaintiffs and Class Members seek relief under Colo. Rev. Stat. Ann. § 6-1-716(4),
 5   including, but not limited to, actual damages and equitable relief.
 6                                    Delaware
                         DEL. CODE ANN. TIT. 6 § 12B-102(a), et seq.
 7          (BROUGHT BY DELAWARE CLASS AGAINST ANTHEM AND ALL ANTHEM
                AFFILIATES OPERATING IN DELAWARE EXCEPT FOR BCBSA)
 8
                 623.   Plaintiffs incorporate the above allegations by reference.
 9
                 624.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
10
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
11
     (which is reasonably likely to result in the misuse of a Delaware resident’s personal information) in
12
     the most expedient time possible and without unreasonable delay under 6 Del. Code Ann. § 12B-
13
     102(a).
14
                 625.   Defendants are businesses that own or license computerized data that includes
15
     personal information as defined by 6 Del. Code Ann. § 12B-102(a).
16
                 626.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
17
     includes personal information as covered under 6 Del. Code Ann. § 12B-101(4).
18
                 627.   Because Anthem and Anthem Affiliates were aware of a breach of their security
19
     system (which is reasonably likely to result in a misuse Delaware residents’ personal information),
20
     Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and accurate
21
     fashion as mandated by 6 Del. Code Ann. § 12B-102(a).
22
                 628.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
23
     Anthem and Anthem Affiliates violated 6 Del. Code Ann. § 12B-102(a).
24
                 629.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of 6
25
     Del. Code Ann. § 12B-102(a), Plaintiffs and Class Members suffered damages, as described above.
26
                 630.   Plaintiffs and Class Members seek relief under 6 Del. Code Ann. § 12B-104,
27
     including, but not limited to, actual damages and broad equitable relief.
28
                                                162
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 172 of 213



 1                               District of Columbia
                           D.C. CODE § 28-3852(a), et. seq.
 2      (BROUGHT BY DISTRICT OF COLUMBIA CLASS AGAINST ANTHEM AND ALL
      ANTHEM AFFILIATES OPERATING IN THE DISTRICT OF COLUMBIA EXCEPT FOR
 3                                     BCBSA)
 4               631.   Plaintiffs incorporate the above allegations by reference.

 5               632.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class

 6   Members if Anthem and Anthem Affiliates become aware of a breach of their data security system

 7   in the most expedient time possible and without unreasonable delay under D.C. Code § 28-3852(a).

 8               633.   Defendants are businesses that own or license computerized data that includes

 9   personal information as defined by D.C. Code § 28-3852(a).

10               634.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)

11   includes personal information as covered under D.C. Code § 28-3851(3).

12               635.   Because Anthem and Anthem Affiliates were aware of a breach of their security

13   system, Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and

14   accurate fashion as mandated by D.C. Code § 28-3852(a).

15               636.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,

16   Anthem and Anthem Affiliates violated D.C. Code § 28-3852(a).

17               637.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of D.C.

18   Code § 28-3852(a), Plaintiffs and Class Members suffered damages, as described above.

19               638.   Plaintiffs and Class Members seek relief under D.C. Code § 28-3853(a), including,

20   but not limited to, actual damages.

21                                         Georgia
                                GA. CODE ANN. § 10-1-912(a), et. seq.
22               (BROUGHT BY GEORGIA CLASS AGAINST ANTHEM AND ALL ANTHEM
                     AFFILIATES OPERATING IN GEORGIA EXCEPT FOR BCBSA
23
                 639.   Plaintiffs incorporate the above allegations by reference.
24
                 640.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
25
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
26
     (that was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and Class
27
     Members’ Personal Information) in the most expedient time possible and without unreasonable delay
28
                                                163
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 173 of 213



 1   under Ga. Code Ann. § 10-1-912(a).
 2               641.   Defendants are businesses that own or license computerized data that includes
 3   personal information as defined by Ga. Code Ann. § 10-1-912(a).
 4               642.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
 5   includes personal information as covered under Ga. Code Ann. § 10-1-912(a).
 6               643.   Because Anthem and Anthem Affiliates were aware of a breach of their security
 7   system (that was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and
 8   Class Members’ Personal Information), Anthem and Anthem Affiliates had an obligation to disclose
 9   the data breach in a timely and accurate fashion as mandated by Ga. Code Ann. § 10-1-912(a).
10               644.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
11   Anthem and Anthem Affiliates violated Ga. Code Ann. § 10-1-912(a).
12               645.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Ga.
13   Code Ann. § 10-1-912(a), Plaintiffs and Class Members suffered damages, as described above.
14               646.   Plaintiffs and Class Members seek relief under Ga. Code Ann. § 10-1-912 including,
15   but not limited to, actual damages and injunctive relief.
16                                   Hawaii
                         HAW. REV. STAT. § 487N-2(a), et. seq.
17    (BROUGHT BY HAWAII CLASS AGAINST ANTHEM AND ALL ANTHEM AFFILIATES
                    OPERATING IN HAWAII EXCEPT FOR BCBSA)
18
                 647.   Plaintiffs incorporate the above allegations by reference.
19
                 648.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
20
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
21
     without unreasonable delay under Haw. Rev. Stat. § 487N-2(a).
22
                 649.   Defendants are businesses that own or license computerized data that includes
23
     personal information as defined by Haw. Rev. Stat. § 487N-2(a).
24
                 650.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
25
     includes personal information as covered under Haw. Rev. Stat. § 487N-2(a).
26
                 651.   Because Anthem and Anthem Affiliates were aware of a breach of their security
27
     system, Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and
28
                                                164
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 174 of 213



 1   accurate fashion as mandated by Haw. Rev. Stat. § 487N-2(a).
 2               652.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
 3   Anthem and Anthem Affiliates violated Haw. Rev. Stat. § 487N-2(a).
 4               653.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
 5   Haw. Rev. Stat. § 487N-2(a), Plaintiffs and Class Members suffered damages, as described above.
 6               654.   Plaintiffs and Class Members seek relief under Haw. Rev. Stat. § 487N-3(b),
 7   including, but not limited to, actual damages.
 8                                   Iowa
                         IOWA CODE ANN. § 715C.2(1), et. seq.
 9     (BROUGHT BY IOWA CLASS AGAINST ANTHEM AND ALL ANTHEM AFFILIATES
                     OPERATING IN IOWA EXCEPT FOR BCBSA)
10
                 655.   Plaintiffs incorporate the above allegations by reference.
11
                 656.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
12
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
13
     in the most expeditious time possible and without unreasonable delay under Iowa Code Ann. §
14
     715C.2(1).
15
                 657.   Defendants are businesses that own or license computerized data that includes
16
     personal information as defined by Iowa Code Ann. § 715C.2(1).
17
                 658.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
18
     includes personal information as covered under Iowa Code Ann. § 715C.2(1).
19
                 659.   Because Anthem and Anthem Affiliates were aware of a breach of their security
20
     system, Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and
21
     accurate fashion as mandated by Iowa Code Ann. § 715C.2(1).
22
                 660.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
23
     Anthem and Anthem Affiliates violated Iowa Code Ann. § 715C.2(1).
24
                 661.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Iowa
25
     Code Ann. § 715C.2(1), Plaintiffs and Class Members suffered damages, as above.
26
                 662.   Plaintiffs and Class Members seek relief under Iowa Code Ann. § 714.16(7),
27
     including, but not limited to, actual damages and injunctive relief.
28
                                                165
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 175 of 213



 1                                    Kansas
                         KAN. STAT. ANN. § 50-7a02(a), et. seq.
 2    (BROUGHT BY KANSAS CLASS AGAINST ANTHEM AND ALL ANTHEM AFFILIATES
                    OPERATING IN KANSAS EXCEPT FOR BCBSA)
 3
                 663.   Plaintiffs incorporate the above allegations by reference.
 4
                 664.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
 5
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
 6
     (that was reasonably likely to have caused misuse Plaintiffs and Class Members’ Personal
 7
     Information) in the most expedient time possible and without unreasonable delay under Kan. Stat.
 8
     Ann. § 50-7a02(a).
 9
                 665.   Defendants are businesses that own or license computerized data that includes
10
     personal information as defined by Kan. Stat. Ann. § 50-7a02(a).
11
                 666.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
12
     includes personal information as covered under Kan. Stat. Ann. § 50-7a02(a).
13
                 667.   Because Anthem and Anthem Affiliates were aware of a breach of their security
14
     system (that was reasonably likely to have caused misuse Plaintiffs and Class Members’ Personal
15
     Information), Anthem and Anthem Affiliates had an obligation to disclose the data breach in a
16
     timely and accurate fashion as mandated by Kan. Stat. Ann. § 50-7a02(a).
17
                 668.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
18
     Anthem and Anthem Affiliates violated Kan. Stat. Ann. § 50-7a02(a).
19
                 669.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Kan.
20
     Stat. Ann. § 50-7a02(a), Plaintiffs and Class Members suffered damages, as described above.
21
                 670.   Plaintiffs and Class Members seek relief under Kan. Stat. Ann. § 50-7a02(g),
22
     including, but not limited to, broad equitable relief.
23
                                      Kentucky
24                       KY. REV. STAT. ANN. § 365.732(2), et. seq.
            (BROUGHT BY KENTUCKY CLASS AGAINST ANTHEM AND ALL ANTHEM
25              AFFILIATES OPERATING IN KENTUCKY EXCEPT FOR BCBSA)
26               671.   Plaintiffs incorporate the above allegations by reference.

27               672.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class

28   Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
                                                 166
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                   CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 176 of 213



 1   (that was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and Class
 2   Members’ Personal Information) in the most expedient time possible and without unreasonable delay
 3   under Ky. Rev. Stat. Ann. § 365.732(2).
 4               673.   Defendants are businesses that hold computerized data that includes personal
 5   information as defined by Ky. Rev. Stat. Ann. § 365.732(2).
 6               674.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
 7   includes personal information as covered under Ky. Rev. Stat. Ann. § 365.732(2).
 8               675.   Because Anthem and Anthem Affiliates were aware of a breach of their security
 9   system (was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and Class
10   Members’ Personal Information), Anthem and Anthem Affiliates had an obligation to disclose the
11   data breach in a timely and accurate fashion as mandated by Ky. Rev. Stat. Ann. § 365.732(2).
12               676.   Thus, by failing to disclose the Anthem Data Breach in a timely and accurate manner,
13   Anthem and Anthem Affiliates violated Ky. Rev. Stat. Ann. § 365.732(2).
14               677.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Ky.
15   Rev. Stat. Ann. § 365.732(2), Plaintiffs and Class Members suffered damages, as described above.
16               678.   Plaintiffs and Class Members seek relief under Ky. Rev. Stat. Ann. § 446.070,
17   including, but not limited to actual damages.
18                                     Louisiana
                         LA. REV. STAT. ANN. § 51:3074(A), et. seq.
19          (BROUGHT BY LOUISIANA CLASS AGAINST ANTHEM AND ALL ANTHEM
                AFFILIATES OPERATING IN LOUISIANA EXCEPT FOR BCBSA)
20
                 679.   Plaintiffs incorporate the above allegations by reference.
21
                 680.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
22
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
23
     (that was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and Class
24
     Members’ Personal Information) in the most expedient time possible and without unreasonable delay
25
     under La. Rev. Stat. Ann. § 51:3074(C).
26
                 681.   Defendants are businesses that own or license computerized data that includes
27
     personal information as defined by La. Rev. Stat. Ann. § 51:3074(C).
28
                                                167
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 177 of 213



 1               682.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
 2   includes personal information as covered under La. Rev. Stat. Ann. § 51:3074(C).
 3               683.   Because Anthem and Anthem Affiliates were aware of a breach of their security
 4   system (was reasonably likely to have caused unauthorized persons to acquire Plaintiffs and Class
 5   Members’ Personal Information), Anthem and Anthem Affiliates had an obligation to disclose the
 6   data breach in a timely and accurate fashion as mandated by La. Rev. Stat. Ann. § 51:3074(C).
 7               684.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of La.
 8   Rev. Stat. Ann. § 51:3074(C), Plaintiffs and Class Members suffered damages, as described above.
 9               685.   Plaintiffs and Class Members seek relief under La. Rev. Stat. Ann. § 51:3075,
10   including, but not limited to, actual damages.
11                                     Michigan
                         MICH. COMP. LAWS ANN. § 445.72(1), et. seq.
12           (BROUGHT BY MICHIGAN CLASS AGAINST ANTHEM AND ALL ANTHEM
                 AFFILIATES OPERATING IN MICHIGAN EXCEPT FOR BCBSA)
13
                 686.   Plaintiffs incorporate the above allegations by reference.
14
                 687.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
15
     Members if they discover a security breach, or receive notice of a security breach (where
16
     unencrypted and unredacted Personal Information was accessed or acquired by unauthorized
17
     persons), without unreasonable delay under Mich. Comp. Laws Ann. § 445.72(1).
18
                 688.   Defendants are businesses that own or license computerized data that includes
19
     personal information as defined by Mich. Comp. Laws Ann. § 445.72(1).
20
                 689.   Plaintiffs and Class Members’ Personal Information (e.g. Social Security numbers)
21
     includes personal information as covered under Mich. Comp. Laws Ann. § 445.72(1).
22
                 690.   Because Anthem and Anthem Affiliates discovered a security breach and had notice
23
     of a security breach (where unencrypted and unredacted Personal Information was accessed or
24
     acquired by unauthorized persons), Anthem and Anthem Affiliates had an obligation to disclose the
25
     data breach in a timely and accurate fashion as mandated by Mich. Comp. Laws Ann. § 445.72(4).
26
                 691.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
27
     Mich. Comp. Laws Ann. § 445.72(4), Plaintiffs and Class Members suffered damages, as above.
28
                                                168
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4          Filed 10/19/15       Page 178 of 213



 1               692.   Plaintiffs and Class Members seek relief under Mich. Comp. Laws Ann. §
 2   445.72(13), including, but not limited to, a civil fine.
 3                                 New Hampshire
                      N.H. REV. STAT. ANN. § 359-C:20(I)(a), et. seq.
 4     (BROUGHT BY NEW HAMPSHIRE CLASS AGAINST ANTHEM AND ALL ANTHEM
           AFFILIATES OPERATING IN NEW HAMPSHIRE EXCEPT FOR BCBSA)
 5
                 693.   Plaintiffs incorporate the above allegations by reference.
 6
                 694.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
 7
     Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
 8
     (in which misuse of Personal Information has occurred or is reasonably likely to occur) as soon as
 9
     possible under N.H. Rev. Stat. Ann. § 359-C:20(I)(a).
10
                 695.   Defendants are businesses that own or license computerized data that includes
11
     personal information as defined by N.H. Rev. Stat. Ann. § 359-C:20(I)(a).
12
                 696.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
13
     includes personal information as covered under N.H. Rev. Stat. Ann. § 359-C:20(I)(a).
14
                 697.   Because Anthem and Anthem Affiliates were aware of a security breach (in which
15
     misuse of Personal Information has occurred or is reasonably likely to occur), Anthem and Anthem
16
     Affiliates had an obligation to disclose the data breach in a timely and accurate fashion as mandated
17
     by N.H. Rev. Stat. Ann. § 359-C:20(I)(a).
18
                 698.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of N.H.
19
     Rev. Stat. Ann. § 359-C:20(I)(a), Plaintiffs and Class Members suffered damages, as described
20
     above.
21
                 699.   Plaintiffs and Class Members seek relief under N.H. Rev. Stat. Ann. § 359-C:21(I),
22
     including, but not limited to, actual damages and injunctive relief.
23
                                     Oregon
24                   OR. REV. STAT. ANN. § 646A.604(1), et. seq.
     (BROUGHT BY OREGON CLASS AGAINST ANTHEM AND ALL OTHER DEFENDANTS
25                 OPERATING IN OREGON EXCEPT FOR BCBSA)
26               700.   Plaintiffs incorporate the above allegations by reference.
27               701.   Pursuant to Or. Rev. Stat. Ann. § 646A.622(1), a business “that maintains records
28   which contain personal information” of a Oregon resident “shall implement and maintain reasonable
                                                    169
                      CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 179 of 213



 1   security measures to protect those records from unauthorized access, acquisition, destruction, use,
 2   modification or disclosure.”
 3               702.   Defendants are businesses that maintain records which contain personal information,
 4   within the meaning of Or. Rev. Stat. Ann. § 646A.622(1), about Plaintiffs and Class Members.
 5               703.   Defendants violated Or. Rev. Stat. Ann. § 646A.622(1) by failing to implement
 6   reasonable measures to protect Class Members’ Personal Information,
 7               704.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
 8   Members if Anthem and Anthem Affiliates become aware of a breach of their data security system
 9   in the most expeditious time possible and without unreasonable delay under Or. Rev. Stat. Ann. §
10   646A.604(1).
11               705.   Defendants are businesses that own, maintain, or otherwise possess data that includes
12   consumers personal information as defined by Or. Rev. Stat. Ann. § 646A.604(1).
13               706.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
14   includes personal information as covered under Or. Rev. Stat. Ann. § 646A.604(1).
15               707.   Because Anthem and Anthem Affiliates discovered a breach of their security system,
16   Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely and accurate
17   fashion as mandated by Or. Rev. Stat. Ann. § 646A.604(1).
18               708.   As a direct and proximate result of Defendants’ violations of Or. Rev. Stat. Ann. §§
19   646A.604(1) and 646A.622(1), Plaintiffs and Class Members suffered damages, as described above.
20               709.   Plaintiffs and Class Members seek relief under Or. Rev. Stat. § 646A.624(3),
21   including, but not limited to, actual damages and injunctive relief.
22                                South Carolina
                         S.C. CODE ANN. § 39-1-90(A), et. seq.
23     (BROUGHT BY SOUTH CAROLINA CLASS AGAINST ANTHEM AND ALL ANTHEM
           AFFILIATES OPERATING IN SOUTH CAROLINA EXCEPT FOR BCBSA)
24
                 710.   Plaintiffs incorporate the above allegations by reference.
25
                 711.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
26
     Members following discovery or notification of a breach of their data security system (if personal
27
     information that was not rendered unusable through encryption, redaction, or other methods was, or
28
                                                170
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 180 of 213



 1   was reasonably believed to have been, acquired by an unauthorized person, creating a material risk
 2   of harm) in the most expedient time possible and without unreasonable delay under S.C. Code Ann.
 3   § 39-1-90(A).
 4               712.   Defendants are businesses that own or license computerized data or other data that
 5   includes personal identifying information as defined by S.C. Code Ann. § 39-1-90(A).
 6               713.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
 7   includes personal identifying information as covered under S.C. Code Ann. § 39-1-90(D)(3).
 8               714.   Because Anthem and Anthem Affiliates discovered a breach of its data security
 9   system (in which personal information that was not rendered unusable through encryption, redaction,
10   or other methods was, or was reasonably believed to have been, acquired by an unauthorized person,
11   creating a material risk of harm), Anthem and Anthem Affiliates had an obligation to disclose the
12   data breach in a timely and accurate fashion as mandated by S.C. Code Ann. § 39-1-90(A).
13               715.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of S.C.
14   Code Ann. § 39-1-90(A), Plaintiffs and Class Members suffered damages, as described above.
15               716.   Plaintiffs and Class Members seek relief under S.C. Code Ann. § 39-1-90(G),
16   including, but not limited to, actual damages and injunctive relief.
17                                    Tennessee
                          TENN. CODE ANN. § 47-18-2107(b), et. seq.
18          (BROUGHT BY TENNESSEE CLASS AGAINST ANTHEM AND ALL ANTHEM
                AFFILIATES OPERATING IN TENNESSEE EXCEPT FOR BCBSA)
19
                 717.   Plaintiffs incorporate the above allegations by reference.
20
                 718.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
21
     Members following discovery or notification of a breach of their data security system (in which
22
     unencrypted personal information was, or is reasonably believed to have been, acquired by an
23
     unauthorized person) in the most expedient time possible and without unreasonable delay under
24
     Tenn. Code Ann. § 47-18-2107(b).
25
                 719.   Defendants are businesses that own or license computerized data that includes
26
     personal information as defined by Tenn. Code Ann. § 47-18-2107(a)(2).
27
                 720.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
28
                                                171
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 181 of 213



 1   includes personal information as covered under Tenn. Code Ann. § 47-18-2107(a)(3)(A).
 2               721.   Because Anthem and Anthem Affiliates discovered a breach of their security system
 3   (in which unencrypted personal information was, or is reasonably believed to have been, acquired by
 4   an unauthorized person), Anthem and Anthem Affiliates had an obligation to disclose the data
 5   breach in a timely and accurate fashion as mandated by Tenn. Code Ann. § 47-18-2107(b).
 6               722.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
 7   Tenn. Code Ann. § 47-18-2107(b), Plaintiffs and Class Members suffered damages, as described
 8   above.
 9               723.   Plaintiffs and Class Members seek relief under Tenn. Code Ann. §§ 47-18-2107(h),
10   47-18-2104(d), 47-18-2104(f), including, but not limited to, actual damages, injunctive relief and
11   treble damages.
12                                         Virginia
                               VA. CODE ANN. § 18.2-186.6(B), et. seq.
13               (BROUGHT BY VIRGINIA CLASS AGAINST ANTHEM AND ALL ANTHEM
                     AFFILIATES OPERATING IN VIRGINIA EXCEPT FOR BCBSA)
14
                 724.   Plaintiffs incorporate the above allegations by reference.
15
                 725.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
16
     Members following discovery or notification of a breach of their data security system (if
17
     unencrypted or unredacted personal information was or is reasonably believed to have been accessed
18
     and acquired by an unauthorized person who will, or it is reasonably believed who will, engage in
19
     identify theft or another fraud) without unreasonable delay under Va. Code Ann. § 18.2-186.6(B).
20
                 726.   Defendants are entities that own or license computerized data that includes personal
21
     information as defined by Va. Code Ann. § 18.2-186.6(B).
22
                 727.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
23
     includes personal information as covered under Va. Code Ann. § 18.2-186.6(A).
24
                 728.   Because Anthem and Anthem Affiliates discovered a breach of their security system
25
     (in which unencrypted or unredacted personal information was or is reasonably believed to have
26
     been accessed and acquired by an unauthorized person, who will, or it is reasonably believed who
27
     will, engage in identify theft or another fraud), Anthem and Anthem Affiliates had an obligation to
28
                                                172
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 182 of 213



 1   disclose the data breach in a timely and accurate fashion as mandated by Va. Code Ann. § 18.2-
 2   186.6(B).
 3               729.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Va.
 4   Code Ann. § 18.2-186.6(B), Plaintiffs and Class Members suffered damages, as describedabove.
 5               730.   Plaintiffs and Class Members seek relief under Va. Code Ann. § 18.2-186.6(I),
 6   including, but not limited to, actual damages.
 7                                  Washington
                      WASH. REV. CODE ANN. § 19.255.010(1), et. seq.
 8        (BROUGHT BY WASHINGTON CLASS AGAINST ANTHEM AND ALL ANTHEM
              AFFILIATES OPERATING IN WASHINGTON EXCEPT FOR BCBSA)
 9
                 731.   Plaintiffs incorporate the above allegations by reference.
10
                 732.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
11
     Members following discovery or notification of the breach of their data security system (if personal
12
     information was, or is reasonably believed to have been, acquired by an unauthorized person and the
13
     personal information was not secured) in the most expedient time possible and without unreasonable
14
     delay under Wash. Rev. Code Ann. § 19.255.010(1).
15
                 733.   Defendants are businesses that own or license computerized data that includes
16
     personal information as defined by Wash. Rev. Code Ann. § 19.255.010(1).
17
                 734.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
18
     includes personal information as covered under Wash. Rev. Code Ann. § 19.255.010(5).
19
                 735.   Because Anthem and Anthem Affiliates discovered a breach of its security system (in
20
     which personal information was, or is reasonably believed to have been, acquired by an unauthorized
21
     person and the personal information was not secured), Anthem and Anthem Affiliates had an
22
     obligation to disclose the data breach in a timely and accurate fashion as mandated by Wash. Rev.
23
     Code Ann. § 19.255.010(1).
24
                 736.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
25
     Wash. Rev. Code Ann. § 19.255.010(1), Plaintiffs and Class Members suffered damages, as
26
     described above.
27
                 737.   Plaintiffs and Class Members seek relief under Wash. Rev. Code Ann. §§
28
                                                173
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 183 of 213



 1   19.255.010(10)(a), 19.255.010(10)(b) including, but not limited to, actual damages and injunctive
 2   relief.
 3                                        Wisconsin
                               WIS. STAT. ANN. § 134.98(2), et. seq.
 4             (BROUGHT BY WISCONSIN CLASS AGAINST ANTHEM AND ALL ANTHEM
                   AFFILIATES OPERATING IN WISCONSIN EXCEPT FOR BCBSA)
 5
                 738.   Plaintiffs incorporate the above allegations by reference.
 6
                 739.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
 7
     Members if they know that personal information in its possession has been acquired by a person
 8
     whom it has not authorized to acquire the personal information within a reasonable time under Wis.
 9
     Stat. Ann. §§ 134.98(2)-(3)(a).
10
                 740.   Defendants are businesses that maintain or license personal information as defined by
11
     Wis. Stat. Ann. § 134.98(2).
12
                 741.   Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
13
     includes personal information as covered under Wis. Stat. Ann. § 134.98(1)(b).
14
                 742.   Because Anthem and Anthem Affiliates knew that personal information in its
15
     possession had been acquired by a person whom it has not authorized to acquire the personal
16
     information, Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely
17
     and accurate fashion as mandated by Wis. Stat. Ann. § 134.98(2).
18
                 743.   As a direct and proximate result of Anthem and Anthem Affiliates’ violations of Wis.
19
     Stat. Ann. § 134.98(3)(a), Plaintiffs and Class Members suffered damages, as described above.
20
                 744.   Plaintiffs and Class Members seek relief under Wis. Stat. Ann. § 134.98, including,
21
     but not limited to, actual damages and injunctive relief.
22
                                         Wyoming
23                           WYO. STAT. ANN. § 40-12-502(a), et. seq.
               (BROUGHT BY WYOMING CLASS AGAINST ANTHEM AND ALL ANTHEM
24                 AFFILIATES OPERATING IN WYOMING EXCEPT FOR BCBSA)
25               745.   Plaintiffs incorporate the above allegations by reference.
26               746.   Anthem and Anthem Affiliates are required to accurately notify Plaintiffs and Class
27   Members when they become aware of a breach of its data security system (if the misuse of personal
28   identifying information has occurred or is reasonably likely to occur) in the most expedient time
                                                      174
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 184 of 213



 1   possible and without unreasonable delay under Wyo. Stat. Ann. § 40-12-502(a).
 2               747.    Defendants are businesses that own or license computerized data that includes
 3   personal information as defined by Wyo. Stat. Ann. § 40-12-502(a).
 4               748.    Plaintiffs and Class Members’ Personal Information (e.g., Social Security numbers)
 5   includes personal information as covered under Wyo. Stat. Ann. § 40-12-502(a).
 6               749.    Because Anthem and Anthem Affiliates were aware of a breach of their data security
 7   system (in which the misuse of personal identifying information has occurred or is reasonably likely
 8   to occur), Anthem and Anthem Affiliates had an obligation to disclose the data breach in a timely
 9   and accurate fashion as mandated by Wyo. Stat. Ann. § 40-12-502(a).
10               750.    As a direct and proximate result of Anthem and Anthem Affiliates’ violations of
11   Wyo. Stat. Ann. § 40-12-502(a), Plaintiffs and Class Members suffered damages, as described
12   above.
13               751.    Plaintiffs and Class Members seek relief under Wyo. Stat. Ann. § 40-12-502(f),
14   including, but not limited to, actual damages and broad equitable relief.
15                      COUNT XI – STATE UNFAIR INSURANCE PRACTICE STATUTES
                            BROUGHT BY THE STATEWIDE CLASSES BELOW
16
                                             Arizona
17                    ARIZONA UNFAIR INSURANCE PRACTICES STATUTE,
        (A.R.S. § 20-442, 443, 444) AGAINST ALL DEFENDANTS OPERATING IN ARIZONA
18                                      EXCEPT FOR BCBSA
19               752.    Plaintiffs incorporate the preceding allegations by reference.
20               753.    Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
21   Anthem BCBS operating in Arizona on behalf of the Arizona Class whose personal information was
22   compromised as a result of the Anthem Data Breach.
23               754.    Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS operating in
24   Arizona engaged in an unfair methods of competition or an unfair or deceptive acts or practices in
25   the business of insurance in violation of A.R.S. §40-442, 443, and 444, including but not limited to:
26               a.      Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
27               material facts pertaining to the sale of insurance and health benefits services to the Arizona
28               Class by representing that they would maintain adequate data privacy and security practices
                                                         175
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                             CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15      Page 185 of 213



 1               and procedures to safeguard Arizona Class Members’ Personal Information from
 2               unauthorized disclosure, release, data breaches, and theft;
 3               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
 4               material facts pertaining to the sale of insurance and health benefits services to the Arizona
 5               Class by representing that they did and would comply with the requirements of relevant
 6               federal and state laws pertaining to the privacy and security of Arizona Class Members’
 7               Personal Information;
 8               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
 9               and concealed the material fact of the inadequacy of the privacy and security protections for
10               Arizona Class Members’ Personal Information;
11               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
12               acts and practices with respect to the sale of insurance and health benefits services by failing
13               to maintain the privacy and security of Arizona Class Members Personal Information, in
14               violation of duties imposed by and public policies reflected in applicable federal and state
15               laws, resulting in the Anthem Data Breach. These unfair acts and practices violated duties
16               imposed by laws including the Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42
17               U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), and the Arizona
18               Insurance Information and Privacy Protection Act (A.R.S. §20-2113).
19               e.     Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
20               respect to the sale of insurance and health benefits services by failing to disclose the Anthem
21               Data Breach to Arizona Class Members in a timely and accurate manner, in violation of Ariz.
22               Rev. Stat. § 44-7501.
23               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
24               acts and practices with respect to the sale of insurance and health benefits services by failing
25               to take proper action following the Anthem Data Breach to enact adequate privacy and
26               security measures and protect Arizona Class Members’ Personal Information from further
27               unauthorized disclosure, release, data breaches, and theft.
28       4. The Arizona Class have suffered damages from Defendants Anthem, Anthem Affiliates, and
                                                  176
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4         Filed 10/19/15      Page 186 of 213



 1               Non-Anthem BCBS’ unfair methods of competition and unfair or deceptive acts and
 2               practices in the business of insurance in violation of A.R.S. §40-442, 443, and 444.
 3       5. The Arizona Class seek relief including but not limited to actual damages, nominal damages,
 4               injunctive relief, and/or attorneys’ fees and costs.
 5                                  Massachusetts
       UNFAIR METHODS OF COMPETITION AND UNFAIR AND DECEPTIVE ACTS AND
 6                   PRACTICES IN THE BUSINESS OF INSURANCE,
         (MASS. GEN. LAWS ANN. CH. 176D, § 1, et seq.) AGAINST ALL DEFENDANTS
 7                 OPERATING IN MASSACHUSETTS EXCEPT BCBSA
 8               755.   Plaintiffs incorporate the above allegations by reference.
 9               756.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
10   Anthem BCBS operating in Massachusetts on behalf of the Massachusetts Class whose personal
11   information was compromised as a result of the Anthem Data Breach.
12               757.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
13   methods of competition or unfair or deceptive acts or practices in the business of insurance, in
14   violation of Mass. Gen. Laws Ann. ch. 176D, §§ 3(1)(a) & 3(2), including, but not limited to:
15               a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
16               material facts pertaining to the sale of insurance and health benefits services to the
17               Massachusetts Class by representing that they would maintain adequate data privacy and
18               security practices and procedures to safeguard Massachusetts Class Members’ Personal
19               Information from unauthorized disclosure, release, data breaches, and theft;
20               b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
21               material facts pertaining to the sale of insurance and health benefits services to the
22               Massachusetts Class by representing that they did and would comply with the requirements
23               of relevant federal and state laws pertaining to the privacy and security of Massachusetts
24               Class Members’ Personal Information;
25               c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
26               and concealed the material fact of the inadequacy of the privacy and security protections for
27               Massachusetts Class Members’ Personal Information;
28               758.   The Massachusetts Class Members have suffered injury resulting from Defendants’
                                                      177
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 187 of 213



 1   illegal disclosures and failures to maintain the confidentiality of their personal, financial, and/or
 2   health information.
 3               759.   The Massachusetts Class seeks relief including but not limited to damages, injunctive
 4   relief, and/or attorneys’ fees and costs.
 5                                              New Mexico
                    TRADE PRACTICES AND FRAUDS IN INSURANCE BUSINESS,
 6         (N.M. STAT. ANN. § 59A-16-1, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                                   NEW MEXICO EXCEPT BCBSA
 7
                 760.   Plaintiffs incorporate the above allegations by reference.
 8
                 761.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
 9
     Anthem BCBS operating in New Mexico on behalf of the New Mexico Class whose personal
10
     information was compromised as a result of the Anthem Data Breach.
11
                 762.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
12
     methods of competition or unfair or deceptive acts or practices in the business of insurance, in
13
     violation of N.M. Stat. Ann. § 59A-16-4 and N.M. Stat. Ann. § 59A-16-5, including, but not limited
14
     to:
15
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
16
                 material facts pertaining to the sale of insurance and health benefits services to the New
17
                 Mexico Class by representing that they would maintain adequate data privacy and security
18
                 practices and procedures to safeguard New Mexico Class Members’ Personal Information
19
                 from unauthorized disclosure, release, data breaches, and theft;
20
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
21
                 material facts pertaining to the sale of insurance and health benefits services to the New
22
                 Mexico Class by representing that they did and would comply with the requirements of
23
                 relevant federal and state laws pertaining to the privacy and security of New Mexico Class
24
                 Members’ Personal Information;
25
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
26
                 and concealed the material fact of the inadequacy of the privacy and security protections for
27
                 New Mexico Class Members’ Personal Information;
28
                                                 178
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 188 of 213



 1               763.   The New Mexico Class Members have suffered injury resulting from Defendant
 2   Anthem’s illegal disclosure and failure to maintain the confidentiality of their personal, financial,
 3   and/or health information.
 4               764.   The New Mexico Class seeks relief including but not limited to actual damages,
 5   injunctive relief, and/or attorneys’ fees and costs.
 6                                         North Dakota
                    PROHIBITED PRACTICES IN INSURANCE BUSINESS,
 7    (N.D. CENT. CODE § 26.1-04-01, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                             NORTH DAKOTA EXCEPT BCBSA
 8
                 765.   Plaintiffs incorporate the above allegations by reference.
 9
                 766.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
10
     Anthem BCBS operating in North Dakota on behalf of the North Dakota Class whose personal
11
     information was compromised as a result of the Anthem Data Breach.
12
                 767.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
13
     methods of competition or unfair or deceptive acts or practices in the business of insurance, in
14
     violation of N.D. Cent. Code Ann. § 26.1-04-03(1) and N.D. Cent. Code Ann. § 26.1-04-03(2),
15
     including, but not limited to:
16
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
17
                 material facts pertaining to the sale of insurance and health benefits services to the North
18
                 Dakota Class by representing that they would maintain adequate data privacy and security
19
                 practices and procedures to safeguard North Dakota Class Members’ Personal Information
20
                 from unauthorized disclosure, release, data breaches, and theft;
21
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
22
                 material facts pertaining to the sale of insurance and health benefits services to the North
23
                 Dakota Class by representing that they did and would comply with the requirements of
24
                 relevant federal and state laws pertaining to the privacy and security of North Dakota Class
25
                 Members’ Personal Information;
26
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
27
                 and concealed the material fact of the inadequacy of the privacy and security protections for
28
                                                 179
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4          Filed 10/19/15     Page 189 of 213



 1               North Dakota Class Members’ Personal Information;
 2               768.   The North Dakota Class Members have suffered injury resulting from Defendants’
 3   illegal disclosures and failures to maintain the confidentiality of their personal, financial, and/or
 4   health information.
 5               769.   The North Dakota Class seeks relief including but not limited to damages, injunctive
 6   relief, and/or attorneys’ fees and costs.
 7                                              Texas
                 TEXAS UNFAIR AND DECEPTIVE INSURANCE PRACTICE LAWS,
 8           (TEX. INS. CODE §§ 541.003, 541.051, 541.052, 541.061, 541.151) AGAINST ALL
                      DEFENDANTS OPERATING IN TEXAS EXCEPT BCBSA
 9
                 770.   Plaintiffs incorporate the above allegations by reference.
10
                 771.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
11
     Anthem BCBS operating in Texas on behalf of the Texas Class whose personal information was
12
     compromised as a result of the Anthem Data Breach.
13
                 772.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
14
     methods of competition or unfair or deceptive acts or practices in the business of insurance, in
15
     violation of Tex. Ins. Code §§ 541.003, 541.051, 541.052, and 541.061 including, but not limited to:
16
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
17
                 material facts pertaining to the sale of insurance and health benefits services to the Texas
18
                 Class by representing that they would maintain adequate data privacy and security practices
19
                 and procedures to safeguard Texas Class Members’ Personal Information from unauthorized
20
                 disclosure, release, data breaches, and theft;
21
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
22
                 material facts pertaining to the sale of insurance and health benefits services to the Texas
23
                 Class by representing that they did and would comply with the requirements of relevant
24
                 federal and state laws pertaining to the privacy and security of Texas Class Members’
25
                 Personal Information;
26
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
27
                 and concealed the material fact of the inadequacy of the privacy and security protections for
28
                                                 180
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15       Page 190 of 213



 1               Texas Class Members’ Personal Information;
 2               773.   The Texas Class Members have suffered injury resulting from Defendants’ illegal
 3   disclosures and failures to maintain the confidentiality of their personal, financial, and/or health
 4   information.
 5               774.   The Texas Class seeks relief including but not limited to damages, injunctive relief,
 6   and/or attorneys’ fees and costs.
 7                                         West Virginia
                UNFAIR TRADE PRACTICES IN THE BUSINESS OF INSURANCE,
 8     (W. VA. CODE § 33-11-1, et seq.) AGAINST ALL DEFENDANTS OPERATING IN WEST
                                    VIRGINIA EXCEPT BCBSA
 9
                 775.   Plaintiffs incorporate the above allegations by reference.
10
                 776.   Plaintiffs bring this claim against Defendants Anthem, Anthem Affiliates, and Non-
11
     Anthem BCBS operating in West Virginia on behalf of the West Virginia Class whose personal
12
     information was compromised as a result of the Anthem Data Breach.
13
                 777.   Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
14
     methods of competition or unfair or deceptive acts or practices in the business of insurance, in
15
     violation of W. Va. Code Ann. §§ 33-11-4(1), 33-11-4(2), and 33-11-4(12), including, but not
16
     limited to:
17
                 a.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
18
                 material facts pertaining to the sale of insurance and health benefits services to the West
19
                 Virginia Class by representing that they would maintain adequate data privacy and security
20
                 practices and procedures to safeguard West Virginia Class Members’ Personal Information
21
                 from unauthorized disclosure, release, data breaches, and theft;
22
                 b.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS misrepresented
23
                 material facts pertaining to the sale of insurance and health benefits services to the West
24
                 Virginia Class by representing that they did and would comply with the requirements of
25
                 relevant federal and state laws pertaining to the privacy and security of West Virginia Class
26
                 Members’ Personal Information;
27
                 c.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS omitted, suppressed,
28
                                                 181
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4         Filed 10/19/15         Page 191 of 213



 1               and concealed the material fact of the inadequacy of the privacy and security protections for
 2               West Virginia Class Members’ Personal Information;
 3               d.     Defendants Anthem, Anthem Affiliates, and Non-Anthem BCBS engaged in unfair
 4               acts and practices with respect to the sale of insurance and health benefits services by failing
 5               to maintain the privacy and security of West Virginia Class Members Personal Information,
 6               in violation of duties imposed by and public policies reflected in applicable federal and state
 7               laws, resulting in the Anthem Data Breach. These unfair acts and practices violated duties
 8               imposed by laws including Federal Trade Commission Act (15 U.S.C. § 45), HIPAA (42
 9               U.S.C. § 1302d et. seq.), the Gramm-Leach-Bliley Act (15 U.S.C. § 6801), West Virginia’s
10               Prepaid Limited Health Service Organization Act (W. Va. Code Ann. § 33-25D-28), and
11               West Virginia’s Health Maintenance Organization Act (W. Va. Code Ann. § 33-25A-2).
12               e.     Defendants Anthem and Anthem Affiliates engaged in unfair acts and practices with
13               respect to the sale of insurance and health benefits services by failing to disclose the Anthem
14               Data Breach to West Virginia Class Members in a timely and accurate manner, in violation
15               of W.V. Code § 46A.2A 102(a)
16               f.     Defendants Anthem, Anthem Affiliates and Non-Anthem BCBS engaged in unfair
17               acts and practices with respect to the sale of insurance and health benefits services by failing
18               to take proper action following the Anthem Data Breach to enact adequate privacy and
19               security measures and protect West Virginia Class Members’ Personal Information from
20               further unauthorized disclosure, release, data breaches, and theft.
21               778.   The West Virginia Class Members have suffered injury resulting from Defendants’
22   illegal disclosures and failures to maintain the confidentiality of their personal, financial, and/or
23   health information.
24               779.   The West Virginia Class seeks relief including but not limited to damages, injunctive
25   relief, and/or attorneys’ fees and costs.
26
27

28
                                                 182
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 192 of 213



 1
      COUNT XII: STATE INSURANCE PERSONAL INFORMATION PRIVACY STATUTES
 2                 BROUGHT BY THE STATEWIDE CLASSES BELOW
 3                                            Arizona
           ARIZONA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 4    (A.R.S. §20-2113, § 20-2118(b)) AGAINST ALL DEFENDANTS OPERATING IN ARIZONA
                                          EXCEPT BCBSA
 5
                 780.   Plaintiffs incorporate the above allegations by reference.
 6
                 781.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
 7
     operating in Arizona on behalf of the Arizona Class whose personal information was compromised
 8
     as a result of the Anthem Data Breach.
 9
                 782.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
10
     of the Arizona Insurance Information and Privacy Protection Act, A.R.S. §20-2102.
11
                 783.   Defendants Anthem and Anthem Affiliates collected and received individually-
12
     identifiable personal information regarding members of the Arizona Class during insurance
13
     transactions.
14
                 784.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
15
     personal information regarding members of the Arizona Class that was collected or received in
16
     connection with an insurance transaction without their authorization, in violation of A.R.S. §20-
17
     2113.
18
                 785.   The Anthem Data Breach compromised the Personal Information and violated the
19
     rights of members of the Arizona Class.
20
                 786.   The Arizona Class has suffered damages from Defendants Anthem and Anthem
21
     Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
22
                 787.   The Arizona Class seeks relief under A.R.S. §20-2118(b)) including but not limited to
23
     actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
24
                                          Connecticut
25     CONNECTICUT INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
      (CONN. GEN. STAT. §38a-988, 995, 999) AGAINST ALL DEFENDANTS OPERATING IN
26                           CONNECTICUT EXCEPT BCBSA
27               788.   Plaintiffs incorporate the above allegations by reference.

28               789.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
                                                            183
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                              CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 193 of 213



 1   operating in Connecticut on behalf of the Connecticut Class whose personal information was
 2   compromised as a result of the Anthem Data Breach.
 3               790.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
 4   of the Connecticut Insurance Information and Privacy Protection Act, C.G.S.§38a-976(12).
 5               791.   Defendants Anthem and Anthem Affiliates collected and received individually-
 6   identifiable personal information regarding members of the Connecticut Class during insurance
 7   transactions.
 8               792.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
 9   personal information regarding members of the Connecticut Class that was collected or received in
10   connection with an insurance transaction without their authorization, in violation of C.G.S. §38a-
11   988.
12               793.   Defendants Anthem and Anthem Affiliates failed to create and implement the
13   standards and procedures for the management, transfer and security of personal information,
14   including medical record information, required by C.G.S §38a-999, including standards and
15   procedures to guard against the unauthorized access to and collection of, use or disclosure of this
16   information, and thereby violated C.G.S §38a-999.
17               794.   The Anthem Data Breach compromised Personal Information, including medical
18   record information, and violated the rights of members of the Connecticut Class.
19               795.   The Connecticut Class has suffered damages from Defendants Anthem and Anthem
20   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information,
21   including medical record information.
22               796.   The Connecticut Class seeks relief under C.G.S §38a-995 including but not limited to
23   actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
24                                        Georgia
          GEORGIA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
25    (GA. CODE §33-39-14, 21(b)) AGAINST ALL DEFENDANTS OPERATING IN GEORGIA
                                       EXCEPT BCBSA
26
                 797.   Plaintiffs incorporate the above allegations by reference.
27
                 798.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
28
                                                184
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 194 of 213



 1   operating in Georgia on behalf of the Georgia Class whose personal information was compromised
 2   as a result of the Anthem Data Breach.
 3               799.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
 4   of the Georgia Insurance Information and Privacy Protection Act, Ga. Code §33-39-14.
 5               800.   Defendants Anthem and Anthem Affiliates collected and received individually-
 6   identifiable personal information regarding members of the Georgia Class during insurance
 7   transactions.
 8               801.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
 9   personal information regarding members of the Georgia Class that was collected or received in
10   connection with an insurance transaction without their authorization, in violation of Ga. Code §33-
11   39-14.
12               802.   The Anthem Data Breach compromised Personal Information, including medical
13   record information, and violated the rights of members of the Georgia Class.
14               803.   The Georgia Class has suffered damages from Defendants Anthem and Anthem
15   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
16               804.   The Georgia Class seeks relief under Ga. Code §33-39-21(b), including but not
17   limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
18                                          Illinois
            ILLINOIS INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
19        (215 ILCS 5/1014, 1021) AGAINST ALL DEFENDANTS OPERATING IN ILLINOIS
                                        EXCEPT BCBSA
20
                 805.   Plaintiffs incorporate the above allegations by reference.
21
                 806.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
22
     operating in Illinois on behalf of the Illinois Class whose personal information was compromised as
23
     a result of the Anthem Data Breach.
24
                 807.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
25
     of the Illinois Insurance Information and Privacy Protection Act, 215 ILCS 5/1014.
26
                 808.   Defendants Anthem and Anthem Affiliates collected and received individually-
27
     identifiable personal information regarding members of the Illinois Class during insurance
28
                                                185
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 195 of 213



 1   transactions.
 2               809.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
 3   personal information regarding members of the Illinois Class that was collected or received in
 4   connection with an insurance transaction without their authorization, in violation of 215 ILCS
 5   5/1014.
 6               810.   The Anthem Data Breach compromised Personal Information, including medical
 7   record information, and violated the rights of members of the Illinois Class.
 8               811.   The Illinois Class has suffered damages from Defendants Anthem and Anthem
 9   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information
10   in violation of 215 ILCS 5/1014
11               812.   The Illinois Class seeks relief under 215 ILCS 5/1021, including but not limited to
12   actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
13                                              Maine
              MAINE INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
14          (ME. REV. STAT. 24-A, § 2215(1), 24-A, § 2217(2)) AGAINST ALL DEFENDANTS
                             OPERATING IN MAINE EXCEPT BCBSA
15
                 813.   Plaintiffs incorporate the above allegations by reference.
16
                 814.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
17
     operating in Maine on behalf of the Maine Class whose personal information was compromised as a
18
     result of the Anthem Data Breach.
19
                 815.   Defendants Anthem and Anthem Affiliates are entities licensed to engage in the
20
     business of insurance in Maine and collect, maintain or distribute personal information arising out of
21
     insurance transactions.
22
                 816.   Defendants Anthem and Anthem Affiliates collected, maintained and/or distributed
23
     personal information arising out of insurance transactions regarding the Maine Class, and that
24
     information was compromised as a result of the Anthem Data Breach.
25
                 817.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
26
     personal information regarding members of the Maine Class without their authorization, in violation
27
     of Me. Rev. Stat. 24-A, § 2215(1).
28
                                                186
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 196 of 213



 1               818.   Members of the Maine Class were injured and have suffered damages as a result of
 2   Defendants Anthem and Anthem Affiliates’ illegal disclosure and failure to maintain the
 3   confidentiality of their personal information in violation of Me. Rev. Stat. 24-A, § 2215(1).
 4               819.   The Maine Class seeks relief under Me. Rev. Stat. 24-A, § 2217, including but not
 5   limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
 6                                        Massachusetts
       MASSACHUSETTS INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 7    (MASS. GEN. LAWS CH. 175I, § 1, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                            MASSACHUSETTS EXCEPT BCBSA
 8
                 820.   Plaintiffs incorporate the above allegations by reference.
 9
                 821.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
10
     operating in Massachusetts on behalf of the Massachusetts Class whose personal information was
11
     compromised as a result of the Anthem Data Breach.
12
                 822.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” as defined
13
     by the Massachusetts Insurance Information and Privacy Protection Act, Mass. Gen. Laws ch. 175I,
14
     § 2.
15
                 823.   Defendants Anthem and Anthem Affiliates collected and received “personal
16
     information,” as defined by the Massachusetts Insurance Information and Privacy Protection Act,
17
     Mass. Gen. Laws ch. 175I, § 2, regarding members of the Massachusetts Class in connection with
18
     insurance transactions.
19
                 824.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
20
     members of the Massachusetts Class that was collected or received in connection with an insurance
21
     transactions without the Massachusetts Class Members’ written authorization, in violation of Mass.
22
     Gen. Laws ch. 175I, § 13.
23
                 825.   The Anthem Data Breach compromised Personal Information and violated the rights
24
     of members of the Massachusetts Class.
25
                 826.   The Massachusetts Class suffered injury from Defendants Anthem and Anthem
26
     Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
27
                 827.   The Massachusetts Class seek relief under Mass. Gen. Laws ch. 175I, § 20 including
28
                                                187
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 197 of 213



 1   but not limited to special damages, compensatory damages, nominal damages, injunctive relief,
 2   and/or attorneys’ fees and costs.
 3                                            Minnesota
               MINNESOTA INSURANCE FAIR INFORMATION REPORTING ACT,
 4          (MINN. STAT. § 72A.49, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                                  MINNESOTA EXCEPT BCBSA
 5
                 828.   Plaintiffs incorporate the above allegations by reference.
 6
                 829.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
 7
     operating in Minnesota on behalf of the Minnesota Class whose personal information was
 8
     compromised as a result of the Anthem Data Breach.
 9
                 830.   Defendants Anthem and Anthem Affiliates are “insurer[s]” as defined by the
10
     Minnesota Insurance Fair Information Reporting Act, Minn. Stat. § 72A.491.
11
                 831.   Defendants Anthem and Anthem Affiliates collected and received “personal
12
     information,” as defined by the Minnesota Insurance Fair Information Reporting Act, Minn. Stat. §
13
     72A.491, regarding members of the Minnesota Class in connection with insurance transactions.
14
                 832.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
15
     members of the Minnesota Class that was collected or received in connection with an insurance
16
     transactions without the Minnesota Class Members’ authorization, in violation of Minn. Stat. §
17
     72A.502.
18
                 833.   The Anthem Data Breach compromised Personal Information and violated the rights
19
     of members of the Minnesota Class.
20
                 834.   The Minnesota Class suffered injury from Defendants Anthem and Anthem
21
     Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
22
                 835.   The Minnesota Class seek relief under Minn. Stat. § 72A.503 and Minn. Stat. § 13.08
23
     including but not limited to actual damages, injunctive relief, declaratory relief, and any other
24
     equitable relief, as well as exemplary damages of not less than $1,000 and not more than $15,000 for
25
     each willful violation.
26
27

28
                                                188
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 198 of 213



 1                                           Montana
           MONTANA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
 2       (MONT. CODE § 33-19-101, et seq.) AGAINST ALL DEFENDADNTS OPERATING IN
                                  MONTANA EXCEPT BCBSA
 3
                 836.   Plaintiffs incorporate the above allegations by reference.
 4
                 837.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
 5
     operating in Montana on behalf of the Montana Class whose personal information was compromised
 6
     as a result of the Anthem Data Breach.
 7
                 838.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” as defined
 8
     by the Montana Insurance Information and Privacy Protection Act, Mont. Code § 33-19-104.
 9
                 839.   Defendants Anthem and Anthem Affiliates collected and received “personal
10
     information,” as defined by the Montana Insurance Information and Privacy Protection Act, Mont.
11
     Code § 33-19-104, regarding members of the Montana Class in connection with insurance
12
     transactions.
13
                 840.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
14
     members of the Montana Class that was collected or received in connection with an insurance
15
     transactions without the Montana Class Members’ written authorization, in violation of Mont. Code
16
     Ann. § 33-19-306.
17
                 841.   The Anthem Data Breach compromised Personal Information and violated the rights
18
     of members of the Montana Class.
19
                 842.   The Montana Class suffered injury from Defendants Anthem and Anthem Affiliates’
20
     illegal disclosure and failure to maintain the confidentiality of their personal information.
21
                 843.   The Montana Class seeks relief under Mont. Code Ann. § 33-19-407 including but
22
     not limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
23
                                              New Jersey
24                NEW JERSEY INSURANCE INFORMATION PRACTICES ACT,
         (N.J. STAT. § 17:23A-1, et seq.) AGAINST ALL DEFENDANTS OPERATING IN NEW
25                                      JERSEY EXCEPT BCBSA
26               844.   Plaintiffs incorporate the above allegations by reference.

27               845.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates

28   operating in New Jersey on behalf of the New Jersey Class whose personal information was
                                                    189
                     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                       CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 199 of 213



 1   compromised as a result of the Anthem Data Breach.
 2               846.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” as defined
 3   by the New Jersey Insurance Information Practices Act, N.J. Stat. § 17:23A-2.
 4               847.   Defendants Anthem and Anthem Affiliates collected and received “personal
 5   information,” as defined by the New Jersey Insurance Information Practices Act, N.J. Stat. §
 6   17:23A-2, regarding members of the New Jersey Class in connection with insurance transactions.
 7               848.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
 8   members of the New Jersey Class that was collected or received in connection with an insurance
 9   transactions without the New Jersey Class Members’ written authorization, in violation of N.J. Stat.
10   § 17:23A-13.
11               849.   The Anthem Data Breach compromised Personal Information and violated the rights
12   of members of the New Jersey Class.
13               850.   The New Jersey Class suffered injury from Defendants Anthem and Anthem
14   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
15               851.   The New Jersey Class seeks relief under N.J. Stat. § 17:23A-20 including but not
16   limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
17                                         North Carolina
       NORTH CAROLINA CONSUMER AND CUSTOMER INFORMATION PRIVACY ACT,
18      (N.C. GEN. STAT. § 58-39-1, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                             NORTH CAROLINA EXCEPT BCBSA
19
                 852.   Plaintiffs incorporate the above allegations by reference.
20
                 853.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
21
     operating in North Carolina on behalf of the North Carolina Class whose personal information was
22
     compromised as a result of the Anthem Data Breach.
23
                 854.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” as defined
24
     by the North Carolina Consumer and Customer Information Privacy Act, N.C. Gen. Stat. § 58-39-15.
25
                 855.   Defendants Anthem and Anthem Affiliates collected and received “personal
26
     information,” as defined by the North Carolina Consumer and Customer Information Privacy Act,
27
     N.C. Gen. Stat. § 58-39-15, regarding members of the North Carolina Class in connection with
28
                                                190
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 200 of 213



 1   insurance transactions.
 2               856.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
 3   members of the North Carolina Class that was collected or received in connection with an insurance
 4   transactions without the North Carolina Class Members’ written authorization, in violation of N.C.
 5   Gen. Stat. § 58-39-75.
 6               857.   The Anthem Data Breach compromised Personal Information and violated the rights
 7   of members of the North Carolina Class.
 8               858.   The North Carolina Class suffered injury from Defendants Anthem and Anthem
 9   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information.
10               859.   The North Carolina Class seek relief under N.C. Gen. Stat. § 58-39-105 including but
11   not limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
12                                          Ohio
           OHIO INSURANCE TRANSACTION INFORMATION STANDARDS LAW,
13   (OHIO REV. CODE § 3904.13, §3904.21(b) AGAINST ALL DEFENDANTS OPERATING IN
                                   OHIO EXCEPT BCBSA
14
                 860.   Plaintiffs incorporate the above allegations by reference.
15
                 861.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
16
     operating in Ohio on behalf of the Ohio Class whose personal information was compromised as a
17
     result of the Anthem Data Breach.
18
                 862.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
19
     of the Insurance Transaction Information Standards Law, Ohio Rev. Code § 3904.13.
20
                 863.   Defendants Anthem and Anthem Affiliates collected and received individually-
21
     identifiable personal information regarding members of the Ohio Class during insurance
22
     transactions.
23
                 864.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
24
     personal information regarding members of the Ohio Class that was collected or received in
25
     connection with an insurance transaction without their authorization, in violation of Ohio Rev. Code
26
     § 3904.13.
27
                 865.   The Anthem Data Breach compromised Personal Information, including medical
28
                                                191
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 201 of 213



 1   record information, and violated the rights of members of the Ohio Class.
 2               866.   The Ohio Class have suffered damages from Defendants Anthem and Anthem
 3   Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal information
 4   in violation of Ohio Rev. Code § 3904.13.
 5               867.   The Illinois Class seek relief under Ohio Rev. Code §3904.21, including but not
 6   limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
 7                                              Oregon
                OREGON USE AND DISCLOSURE OF INSURANCE INFORMATION,
 8        (OR. REV. STAT. § 746.600, et seq.) AGAINST ALL DEFENDANTS OPERATING IN
                                     OREGON EXCEPT BCBSA
 9
                 868.   Plaintiffs incorporate the above allegations by reference.
10
                 869.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
11
     operating in Oregon on behalf of the Oregon Class whose personal information was compromised as
12
     a result of the Anthem Data Breach.
13
                 870.   Defendants Anthem and Anthem Affiliates are “licensee[s]” as defined by the Oregon
14
     Use and Disclosure of Insurance Information Statute, Or. Rev. Stat. § 746.600.
15
                 871.   Defendants Anthem and Anthem Affiliates are “health insurer[s]” as defined by the
16
     Oregon Use and Disclosure of Insurance Information Statute, Or. Rev. Stat. § 746.600.
17
                 872.   Defendants Anthem and Anthem Affiliates collected and received “personal
18
     information,” as defined by the Oregon Use and Disclosure of Insurance Information Statute, Or.
19
     Rev. Stat. § 746.600, regarding members of the Oregon Class in connection with insurance
20
     transactions.
21
                 873.   Defendants Anthem and Anthem Affiliates disclosed personal information regarding
22
     members of the Oregon Class that was collected or received in connection with an insurance
23
     transactions without the Oregon Class Members’ written authorization, in violation of Or. Rev. Stat.
24
     § 746.665.
25
                 874.   Defendants Anthem and Anthem Affiliates used or disclosed personal information
26
     regarding members of the Oregon Class that was collected or received in connection with an
27
     insurance transactions without obtaining the Oregon Class Members’ authorization, in violation of
28
                                                192
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 202 of 213



 1   Or. Rev. Stat. § 746.607(2).
 2               875.   The Anthem Data Breach compromised Personal Information and violated the rights
 3   of members of the Oregon Class.
 4               876.   The Oregon Class suffered injury from Defendants Anthem and Anthem Affiliates’
 5   illegal disclosure and failure to maintain the confidentiality of their personal information.
 6               877.   The Oregon Class seeks relief under Or. Rev. Stat. § 746.680 including but not
 7   limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
 8    COUNT XIII: STATE MEDICAL AND HEALTH INFORMATION PRIVACY STATUTES
                    BROUGHT BY THE STATEWIDE CLASSES BELOW
 9
                                               California
10                CALIFORNIA CONFIDENTIALITY OF MEDICAL INFORMATION ACT,
                 (CIVIL CODE §56 et seq.) AGAINST ANTHEM AND ANTHEM AFFILIATES
11                                    OPERATING IN CALIFORNIA
12               878.   Plaintiffs incorporate the above allegations by reference.
13               879.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
14   operating in California on behalf of the California Class whose personal information was
15   compromised as a result of the Anthem Data Breach.
16               880.   Defendants Anthem and Anthem Affiliates provide “health care service plans,” as
17   defined in Civil Code §§56.05(g), and are entities regulated pursuant to the Knox-Keene Health Care
18   Service Plan Act of 1975, and are therefore subject to the requirements of the California
19   Confidentiality of Medical Information Act. Anthem’s health care service plans in California
20   include, but are not limited to Anthem Blue Cross HMO (CaliforniaCare), described by Anthem as
21   “one of the largest HMOs in the country.”
22               881.   The California Class includes “patients,” as defined by the Confidentiality of Medical
23   Information Act to whom “medical information” in the possession of Defendants Anthem and
24   Anthem Affiliates pertains, as defined in Civil Code §§56.05(j) and (k).
25               882.   Defendants Anthem and Anthem Affiliates disclosed medical information pertaining
26   to members of the proposed California Class to unauthorized persons without first obtaining consent,
27   in violation of Civil Code §56.10(a).
28               883.   Defendants Anthem and Anthem Affiliates’ negligence resulted in the release of
                                                     193
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                         CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 203 of 213



 1   individually-identifiable medical information pertaining to members of the California Class to
 2   unauthorized persons and the breach of the confidentiality of that information. Defendants Anthem
 3   and Anthem Affiliates’ negligent failure to maintain or preserve medical information pertaining to
 4   members of the California Class in a manner that preserved the confidentiality of the information
 5   contained therein violates Civil Code §56.101(a).
 6               884.   Defendants Anthem and Anthem Affiliates are also “employer[s]” that receive and
 7   maintain medical information pertaining to members of the California Class for purposes of Civil
 8   Code §56.20.
 9               885.   Defendants Anthem and Anthem Affiliates failed to establish appropriate procedures
10   to ensure the confidentiality and protection from unauthorized use and disclosure of that medical
11   information pertaining to members of the California Class, as required by Civil Code §56.20.
12               886.   Defendants Anthem and Anthem Affiliates disclosed medical information pertaining
13   to members of the California Class to unauthorized persons without first obtaining consent, in
14   violation of Civil Code §56.20(c), and permitted the information to be used by unauthorized persons
15   for purposes other than the administering and maintaining employee benefit plans, including health
16   care plans and plans providing short-term and long-term disability income, workers’ compensation
17   and for determining eligibility for paid and unpaid leave from work for medical reasons, in violation
18   of Civil Code §56.20(d).
19               887.   The California Class were injured and have suffered damages from Defendants
20   Anthem and Anthem Affiliates’ illegal disclosure and negligent release of their medical information
21   in violation of Civil Code §§56.10, 56.20, and 56.101, and therefore seek relief under Civil Code
22   §56.35 and §56.36 including but not limited to actual damages, nominal statutory damages of
23   $1,000, civil penalties, injunctive relief, and/or attorneys’ fees and costs.
24                                             Maryland
                      MARYLAND DISCLOSURE REQUIREMENTS FOR INSURERS,
25               (MD. CODE, INS. § 4-403) AGAINST ANTHEM AND ANTHEM AFFILIATES
                                       OPERATING IN MARYLAND
26
27               888.   Plaintiffs incorporate the above allegations by reference.
28               889.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
                                                            194
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                              CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 204 of 213



 1   operating in Maryland on behalf of the Maryland Class whose medical information was
 2   compromised as a result of the Anthem Data Breach.
 3               890.   Defendants Anthem and Anthem Affiliates are “insurer[s]” as meant by Md. Code,
 4   Ins. § 4-403.
 5               891.   Defendants Anthem and Anthem Affiliates disclosed medical information pertaining
 6   to members of the Maryland Class without their authorization and for no other reason permitted by
 7   Md. Code, Ins. § 4-403, and therefore violated Md. Code, Ins. § 4-403.
 8               892.   The Anthem Data Breach compromised medical information and violated the rights
 9   of members of the Maryland Class.
10               893.   The Maryland Class suffered injury from Defendants Anthem and Anthem Affiliates’
11   illegal disclosure and failure to maintain the confidentiality of their medical information.
12               894.   The Maryland Class seeks relief under Md. Code, Ins. § 4-403 including but not
13   limited to declaratory relief, injunctive relief, attorneys’ fees and costs, as well as actual damages for
14   Defendants’ knowing violation of Md. Code, Ins. § 4-403.
15     MARYLAND DISCLOSURE REQUIREMENTS FOR NONPROFIT HEALTH SERVICE
                                         PLANS,
16        (MD. CODE, INS. § 14-138) AGAINST ANTHEM AND ANTHEM AFFILIATES
                                OPERATING IN MARYLAND
17
                 895.   Plaintiffs incorporate the above allegations by reference.
18
                 896.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
19
     operating health services plans in Maryland on behalf of the Maryland Class whose medical
20
     information was compromised as a result of the Anthem Data Breach.
21
                 897.   Defendants Anthem and Anthem Affiliates operate “nonprofit health service plans”
22
     and/or “Blue Cross or Blue Shield” plans in Maryland as meant by Md. Code, Ins. § 14-138.
23
                 898.   Defendants Anthem and Anthem Affiliates disclosed medical information pertaining
24
     to members of the Maryland Class without their authorization and for no other reason permitted by
25
     Md. Code, Ins. § 14-138, and therefore violated Md. Code, Ins. § 14-138.
26
                 899.   The Anthem Data Breach compromised medical information and violated the rights
27
     of members of the Maryland Class.
28
                                                195
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 205 of 213



 1               900.   The Maryland Class suffered injury from Defendants Anthem and Anthem Affiliates’
 2   illegal disclosure and failure to maintain the confidentiality of their medical information.
 3               901.   The Maryland Class seeks relief under Md. Code, Ins. § 14-138 including but not
 4   limited to declaratory relief, injunctive relief, attorneys’ fees and costs, as well as actual damages for
 5   Defendants’ knowing violation of Md. Code, Ins. § 14-138.
 6               MARYLAND CONFIDENTIALITY OF MEDICAL RECORDS ACT,
           (MD. CODE, HEALTH-GEN. § 4-301, et seq.) AGAINST ANTHEM AND ANTHEM
 7                       AFFILIATES OPERATING IN MARYLAND
 8               902.   Plaintiffs incorporate the above allegations by reference.
 9               903.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
10   operating in Maryland on behalf of the Maryland Class whose medical records were compromised as
11   a result of the Anthem Data Breach.
12               904.   Defendants Anthem and Anthem Affiliates operate as “health maintenance
13   organizations” as defined in Md. Code Ann., Health-Gen. § 19-301, and are therefore “health care
14   providers” as defined in Md. Code Ann., Health-Gen. § 4-301 subject to the requirements of the
15   Maryland Confidentiality of Medical Records Act.
16               905.   Defendants Anthem and Anthem Affiliates are also a “person” to whom medical
17   records are disclosed as meant by Md. Code Ann., Health-Gen. § 4-302, and are therefore subject to
18   the requirements of the Maryland Confidentiality of Medical Records Act.
19               906.   Defendants Anthem and Anthem Affiliates disclosed medical records pertaining to
20   the Maryland Class without their authorization and for no other reason permitted by Md. Code Ann.,
21   Health-Gen. § 4-302, and therefore violated Md. Code Ann., Health-Gen. § 4-302.
22               907.   Maryland Class Members were injured by Defendants Anthem and Anthem
23   Affiliates’ disclosure of their medical records in violation Md. Code Ann., Health-Gen. § 4-302.
24               908.   The Maryland Class seeks relief pursuant to Md. Code Ann., Health-Gen. § 4-309,
25   including but not limited to declaratory relief, injunctive relief, and attorneys’ fees and costs, as well
26   as actual damages for Defendants’ knowing violations of Md. Code Ann., Health-Gen. § 4-302.
27

28
                                                196
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 206 of 213



 1                                            Minnesota
                             MINNESOTA HEALTH RECORDS ACT,
 2        (MINN. STAT. § 144.291, et seq.) AGAINST ANTHEM AND ANTHEM AFFILIATES
                                   OPERATING IN MINNESOTA
 3
                 909.   Plaintiffs incorporate the above allegations by reference.
 4
                 910.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
 5
     operating in Minnesota on behalf of the Minnesota Class whose health records were compromised as
 6
     a result of the Anthem Data Breach.
 7
                 911.   As a result of conducting the business of insurance and other health benefits services
 8
     in Minnesota, including but not limited to the processing of claims and third-party payments for
 9
     health care, Defendants Anthem and Anthem Affiliates received from health care providers health
10
     records pertaining to members of the Minnesota Class.
11
                 912.   Defendants Anthem and Anthem Affiliates negligently and/or intentionally released
12
     the health records pertaining to the Minnesota Class without their signed and dated consent and for
13
     no other reason permitted by Minn. Stat. Ann. § 144.293, and therefore violated Minn. Stat. Ann. §
14
     144.293.
15
                 913.   Minnesota Class Members were injured by Defendants Anthem and Anthem
16
     Affiliates’ negligent and/or intentional release of their health records in violation of Minn. Stat. Ann.
17
     § 144.293.
18
                 914.   The Minnesota Class seeks relief for Defendants Anthem and Anthem Affiliates’
19
     violation of Minn. Stat. Ann. § 144.293, including but not limited to compensatory damages,
20
     nominal damages, injunctive relief, and/or attorneys’ fees and costs.
21
                                              Rhode Island
22        RHODE ISLAND CONFIDENTIALITY OF HEALTH CARE INFORMATION ACT,
        (R.I. GEN. LAWS § 5-37.3-1, et seq.) AGAINST ANTHEM AND ANTHEM AFFILIATES
23                               OPERATING IN RHODE ISLAND
24               915.   Plaintiffs incorporate the above allegations by reference.

25               916.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates

26   operating in Rhode Island on behalf of the Rhode Island Class whose confidential health care

27   information was compromised as a result of the Anthem Data Breach.

28               917.   As a result of conducting the business of insurance and other health benefits services
                                                          197
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                            CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 207 of 213



 1   in Rhode Island, including but not limited to the processing of claims and third-party payments for
 2   health care, Defendants Anthem and Anthem Affiliates possessed confidential health care
 3   information pertaining to members of the Rhode Island Class.
 4               918.   Defendants Anthem and Anthem Affiliates released or transferred confidential health
 5   care information pertaining to the Rhode Island Class without their written consent and for no other
 6   reason permitted by R.I. Gen. Laws § 5-37.3-4, and therefore violated R.I. Gen. Laws § 5-37.3-4.
 7               919.   Defendants Anthem and Anthem Affiliates failed to establish the security procedures
 8   in relation to confidential health care information as required by R.I. Gen. Laws § 5-37.3-4, and
 9   therefore violated R.I. Gen. Laws § 5-37.3-4.
10               920.   Rhode Island Class Members were injured by Defendants Anthem and Anthem
11   Affiliates’ release or transfer of their confidential health care information and/or Defendants Anthem
12   and Anthem Affiliates’ failure to establish security procedures to protect their confidential healthcare
13   information in violation of R.I. Gen. Laws § 5-37.3-4.
14               921.   The Rhode Island Class seeks relief for Defendants Anthem and Anthem Affiliates’
15   violation of R.I. Gen. Laws § 5-37.3-4, including but not limited to actual damages, punitive
16   damages, declaratory relief, injunctive relief, and/or attorneys’ fees and costs, as well as statutory
17   damages of $5,000 for each knowing and intentional violation.
18                                            Virginia
            VIRGINIA INSURANCE INFORMATION AND PRIVACY PROTECTION ACT,
19         (VA. CODE § 38.2-600, et seq.) AGAINST ANTHEM AND ANTHEM AFFILIATES
                                     OPERATING IN VIRGINIA
20
                 922.   Plaintiffs incorporate the above allegations by reference.
21
                 923.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
22
     operating in Virginia on behalf of the Virginia Class whose information was compromised as a result
23
     of the Anthem Data Breach.
24
                 924.   Defendants Anthem and Anthem Affiliates are “insurance institutions” as defined by
25
     the Virginia Insurance Information and Privacy Protection Act, Va. Code § 38.2-602.
26
                 925.   Defendants Anthem and Anthem Affiliates collected and received “medical-record
27
     information,” as defined by the Virginia Insurance Information and Privacy Protection Act, Va.
28
                                                198
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15        Page 208 of 213



 1   Code § 38.2-602, regarding members of the Virginia Class in connection with insurance
 2   transactions.
 3               926.   Defendants Anthem and Anthem Affiliates disclosed medical-record information
 4   regarding members of the Virginia Class that was collected or received in connection with an
 5   insurance transactions without the Virginia Class Members’ written authorization, in violation of Va.
 6   Code § 38.2-613.
 7               927.   The Anthem Data Breach compromised medical-record information and violated the
 8   rights of members of the Virginia Class.
 9               928.   The Virginia Class suffered injury from Defendants Anthem and Anthem Affiliates’
10   illegal disclosure and failure to maintain the confidentiality of their medical-record information.
11               929.   The Virginia Class seek relief under Va. Code § 38.2-617 including but not limited to
12   actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
13        VIRGINIA HEALTH RECORDS PRIVACY STATUTE, (VA. CODE § 32.1-127.1:03)
           AGAINST ANTHEM AND ANTHEM AFFILIATES OPERATING IN VIRGINIA
14
                 930.   Plaintiffs incorporate the above allegations by reference.
15
                 931.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
16
     operating in Virginia on behalf of the Virginia Class whose health records were compromised as a
17
     result of the Anthem Data Breach.
18
                 932.   Virginia law recognizes an individual’s right of privacy in the content of his or her
19
     health records. Va. Code § 32.1-127.1:03.
20
                 933.   As a result of conducting the business of insurance and other health benefits services
21
     in Virginia, including but not limited to the processing of claims and third-party payments for health
22
     care, Defendants Anthem and Anthem Affiliates possessed health records pertaining to members of
23
     the Virginia Class.
24
                 934.   Defendants Anthem and Anthem Affiliates are “health care entit[ies]” as defined by
25
     Va. Code Ann. § 32.1-127.1:03 and had a duty under Virginia law to not redisclose or otherwise
26
     reveal any health records in its possession regarding the Virginia Class. Va. Code § 32.1-
27
     127.1:03(3).
28
                                                199
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 209 of 213



 1               935.   Defendants Anthem and Anthem Affiliates redisclosed or otherwise revealed the
 2   health records pertaining to the Virginia Class without their consent and for no other reason
 3   permitted by Va. Code § 32.1-127.1:03(3), and therefore violated Va. Code § 32.1-127.1:03(3).
 4               936.   Virginia Class Members were injured by Defendants Anthem and Anthem Affiliates’
 5   illegal disclosure and negligent release of their health records in violation of Va. Code § 32.1-
 6   127.1:03(3).
 7               937.   The Virginia Class seeks relief for Defendants Anthem and Anthem Affiliates’
 8   violation of Va. Code § 32.1-127.1:03(3), including but not limited to actual damages, special
 9   damages, nominal damages, exemplary damages, injunctive relief, and/or attorneys’ fees and costs.
10                                        Washington
                WASHINGTON UNIFORM HEALTH CARE INFORMATION ACT,
11         (WASH. REV. CODE §70.02.045, § 70.02.170) AGAINST ANTHEM AND ANTHEM
                         AFFILIATES OPERATING IN WASHINGTON
12
                 938.   Plaintiffs incorporate the above allegations by reference.
13
                 939.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
14
     operating in Washington on behalf of the Washington Class whose personal information was
15
     compromised as a result of the Anthem Data Breach.
16
                 940.   As a result of conducting the business of insurance and other health benefits services,
17
     including but not limited to the processing of claims and third-party payments for health care, in
18
     Washington, Defendants Anthem and Anthem Affiliates possessed personal information including
19
     personal health care information pertaining to members of the Washington Class.
20
                 941.   Defendants Anthem and Anthem Affiliates released personal information, including
21
     health care information, regarding members of the Washington Class without authorization in
22
     violation of Wash. Rev. Code §70.02.045.
23
                 942.   The Washington Class were injured and have suffered damages from Defendants
24
     Anthem and Anthem Affiliates’ illegal disclosure and negligent release of their personal
25
     information, including health care information in violation of Wash. Rev. Code §70.02.045.
26
                 943.   The Washington Class seek relief under Wash. Rev. Code §70.02.170, including but
27
     not limited to actual damages, nominal damages, injunctive relief, and/or attorneys’ fees and costs.
28
                                                200
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15        Page 210 of 213



 1                                      Wisconsin
           WISCONSIN INSURANCE MEDICAL INFORMATION PRIVACY STATUTE,
 2   (WIS. STAT. § 610.70) AGAINST ANTHEM AND ANTHEM AFFILIATES OPERATING IN
                                       WISCONSIN
 3
                 944.   Plaintiffs incorporate the above allegations by reference.
 4
                 945.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
 5
     operating in Wisconsin on behalf of the Wisconsin Class whose personal information was
 6
     compromised as a result of the Anthem Data Breach.
 7
                 946.   Defendants Anthem and Anthem Affiliates are “insurance institution[s]” for purposes
 8
     of Wis. Stat. § 610.70.
 9
                 947.   Defendants Anthem and Anthem Affiliates collected and received individually-
10
     identifiable personal medical information regarding members of the Wisconsin Class during
11
     insurance transactions.
12
                 948.   Defendants Anthem and Anthem Affiliates disclosed individually-identifiable
13
     personal medical information regarding members of the Wisconsin Class that was collected or
14
     received in connection with an insurance transaction without their authorization, in violation of Wis.
15
     Stat. § 610.70.
16
                 949.   The Anthem Data Breach compromised personal medical information and violated
17
     the rights of members of the Wisconsin Class.
18
                 950.   The Wisconsin Class has suffered damages from Defendants Anthem and Anthem
19
     Affiliates’ illegal disclosure and failure to maintain the confidentiality of their personal medical
20
     information in violation of Wis. Stat. § 610.70.
21
                 951.    The Wisconsin Class seeks relief, including but not limited to actual damages,
22
     nominal damages, injunctive relief, and/or attorneys’ fees and costs.
23
                 WISCONSIN CONFIDENTIALITY OF HEATH RECORDS LAW,
24       (WIS. STAT. § 146.82(5), §142.84) AGAINST ANTHEM AND ANTHEM AFFILIATES
                                    OPERATING IN WISCONSIN
25
                 952.   Plaintiffs incorporate the above allegations by reference.
26
                 953.   Plaintiffs bring this claim against Defendants Anthem and Anthem Affiliates
27
     operating in Wisconsin on behalf of the Wisconsin Class whose personal information was
28
                                                201
                          CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK              Document 315-4        Filed 10/19/15      Page 211 of 213



 1   compromised as a result of the Anthem Data Breach.
 2               954.   Wisconsin law requires that all health records remain confidential. Wis. Stat.
 3   §146.82.
 4               955.   As a result of conducting the business of insurance and other health benefits services,
 5   including but not limited to the processing of claims and third-party payments for health care, in
 6   Wisconsin, Defendants Anthem and Anthem Affiliates possessed health records pertaining to
 7   members of the Wisconsin Class.
 8               956.   Defendants Anthem and Anthem Affiliates are “covered entit[ies]” for purposes of
 9   Wis. Stat. §146.82(5) and had a duty not to re-disclose any health records in its possession regarding
10   the Wisconsin Class under Wisconsin law. Wis. Stat. §146.82(5).
11               957.   Defendants Anthem and Anthem Affiliates re-disclosed health records pertaining to
12   the Wisconsin Class without their consent and for no other reason permitted by either Wis. Stat.
13   §146.82(5) or §610.70, and therefore violated Wis. Stat. §146.82(5).
14               958.   Wisconsin Class members were injured and have suffered damages from Defendants
15   Anthem and Anthem Affiliates’ illegal disclosure and negligent release of their health information in
16   violation of Wis. Stat. §146.82(5).
17               959.   The Wisconsin Class seek relief under Wis. Stat. § 146.81, including but not limited
18   to actual damages, nominal damages, exemplary damages of up to $25,000 for knowing and willful
19   violations and up to $1,000 for negligent violations, statutory penalties, injunctive relief, and/or
20   attorneys’ fees and costs.
21                                         VII.    PRAYER FOR RELIEF
22               WHEREFORE, Plaintiffs, on behalf of themselves and the 53 Statewide Classes, seek the
23   following relief:
24               A.     An order certifying this action as a class action under Fed. R. Civ. P. 23, defining the
25   Classes as requested herein, appointed the undersigned as Class counsel, and finding that Plaintiffs
26   are proper representatives of the Classes requested herein.
27               B.     Plaintiffs request injunctive relief. Awarding injunctive and other equitable relief as
28   is necessary to protect the interests of the Classes, including (i) an order prohibiting Defendants from
                                                        202
                       CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                          CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK             Document 315-4         Filed 10/19/15     Page 212 of 213



 1   engaging in the wrongful and unlawful acts described herein; (ii) requiring Defendants to protect all
 2   data collected or received through the course of their business in accordance with HIPAA
 3   regulations, the Gramm-Leach Bliley Act, other federal, state and local laws, and best practices
 4   under industry standards; (iii) requiring Defendants to design, maintain, and test their computer
 5   systems to ensure that Personal Information in their possession is adequately secured and protected;
 6   (iv) requiring Defendants to disclose any future data breaches in a timely and accurate manner; (v)
 7   requiring Defendants to engage third-party security auditors as well as internal security personnel to
 8   conduct testing, including simulated attacks, penetration tests, and audits on Defendants’ systems on
 9   a periodic basis and ordering them to promptly correct any problems or issues detected by these
10   auditors; (vi) requiring Defendants to audit, test, and train their security personnel to run automated
11   security monitoring, aggregating, filtering and reporting on log information in a unified manner; (vii)
12

13

14                ; (ix) requiring Defendants to encrypt all Personal Information; (x) requiring Defendants to
15   audit, test, and train its security personnel regarding any new or modified procedures; (xi) requiring
16   Anthem to segment data by, among other things, creating firewalls and access controls so that if one
17   area of the Anthem network is compromised, hackers cannot gain access to other portions of
18   Anthem’s systems; (xii) requiring Defendants to purge, delete, and destroy in a reasonably secure
19   and timely manner Personal Information no longer necessary for their provision of services; (xiii)
20   requiring Defendants to conduct regular database scanning and securing checks; (xiv) requiring
21   Defendants to routinely and continually conduct internal training and education to inform internal
22   security personnel how to identify and contain a breach when it occurs and what to do in response to
23   a breach; (xv) requiring Defendants to provide lifetime credit monitoring and identity theft repair
24   services to members of the Classes; and (xvi) requiring Defendants to educate all class members
25   about the threats they face as a result of the loss of their Personal Information to third parties, as well
26   as steps Class Members must take to protect themselves.
27               C.     Plaintiffs also request actual damages, punitive damages, treble damages, statutory
28   damages, exemplary damages, equitable relief, restitution, and disgorgement of profits.
                                                    203
                    CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 15-md-02617-LHK
     2055695.1
     Case 5:15-md-02617-LHK               Document 315-4          Filed 10/19/15    Page 213 of 213



 1                                       VIII. DEMAND FOR JURY TRIAL
 2               Plaintiffs demand a trial by jury on all triable issues.
 3
                                                         COHEN MILSTEIN SELLERS & TOLL PLLC
 4                                                       ANDREW N. FRIEDMAN
 5                                                       SALLY M. HANDMAKER
                                                         ERIC KAFKA
 6
                 Dated: October 19, 2015                 By: /s/ Andrew N. Friedman
 7
                                                         ALTSHULER BERZON LLP
 8
                                                         EVE H. CERVANTEZ
 9                                                       JONATHAN WEISSGLASS

10               Dated: October 19, 2015                 By: /s/ Eve H. Cervantez     _____________

11                                                       Lead Plaintiffs’ Counsel
12
                                                         LIEFF CABASER HEIMANN & BERNSTEIN,
13                                                       LLP
                                                         MICHEL SOBOL
14
                                                         GIRARD GIBBS LLP
15                                                       ERIC GIBBS
16
                                                         Plaintiffs’ Steering Committee
17

18

19

20

21

22

23

24

25

26
27

28
                                                 204
                           CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
                                      CASE NO. 15-md-02617-LHK
     2055695.1
